    Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                     Document      Page 1 of 231



                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


    In re:                                                Chapter 11

    Oberweis Dairy, Inc., et al.,1                        Case No. 24-05385

                           Debtor.                        Honorable David D. Cleary



    ORDER (A) APPROVING THE SALE OF SUBSTANTIALLY ALL OF THE ASSETS
      OF THE DEBTORS FREE AND CLEAR OF INTERESTS INCLUDING LIENS,
    CLAIMS, AND ENCUMBRANCES; (B) AUTHORIZING THE ASSUMPTION AND
    ASSIGNMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES; AND
                      (C) GRANTING RELATED RELIEF

             Upon consideration of the motion (the “Motion”) dated April 24, 2024 of the above-

captioned debtors and debtors-in-possession (the “Debtors”)2, for, inter alia, entry of an order (this

“Sale Approval Order”) (A) approving the sale (the “Sale”) of substantially all of the Debtors’

assets free and clear of all interests, including “Liens” (as defined in 11 U.S.C. § 101(37), “Claims”

(as defined in 11 U.S.C. § 101(5)), and encumbrances (collectively with all Liens and Claims, the

“Interests”), pursuant to sections 105, 363 and 365 of title 11 of the United States Code, 11 U.S.C.

§§ 101 et seq. (as amended, the “Bankruptcy Code”), and Rules 2002, 6004 and 6006 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”); (B) authorizing the assumption

and assignment of certain executory contracts and unexpired leases (the “Assumed Contracts”)


1
  The Debtors in this case, and the last four digits of their respective federal employer identification
numbers, are Oberweis Dairy, Inc. (‘7516); The Oberweis Group, Inc. (‘1378); North Aurora Ice Cream,
LLC (‘8506); TOGI RE I, LLC (‘5952); TOGI Brands, LLC (‘7072); and Third Millennium Real Estate
L.L.C. (‘1589).
2
 Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Asset
Purchase Agreement. All words or phrases used in this Sale Approval Order that are not capitalized herein
but otherwise defined in the Bankruptcy Code shall have the meanings ascribed to them in the Bankruptcy
Code.


1326705v4
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19             Desc Main
                                  Document      Page 2 of 231



identified by the Purchaser (hereafter defined) and more fully described in that certain Amended

Asset Purchase Agreement dated May 31, 2024 attached hereto as Exhibit A and expressly

incorporated herein (the “Asset Purchase Agreement”) by and between the Debtors as Seller and

Hoffmann Dairy, LLC, a Missouri limited liability company, as buyer (the “Purchaser”) for the

purchase of the Sale Assets (as defined in the Asset Purchase Agreement); and (C) granting related

relief; and the Debtors, after consultation with CIBC Bank USA, an Illinois state chartered bank

(“CIBC”), and the official committee of unsecured creditors appointed in the Chapter 11 Cases

(hereafter defined) on April 19, 2024 (the “Committee”, and together with CIBC, the “Constituent

Parties”), having determined that the Purchaser made the highest and best offer for the Sale Assets;

and the Bankruptcy Court (the “Court”) having previously entered on May 3, 2024 that certain

Corrected Order [Dkt. No. 99] (the “Sale Procedures Order”) setting forth the underlying process

(the “Sale Process”) for the marketing of the Sale Assets, the solicitation of bids and the approval

and consummation of the ultimate Sale; and the Sale Procedures Order having incorporated the

accompanying bidding procedures (the “Approved Bidding Procedures”), the “Summary Sale

Notice,” and the “Assumption Notice” attached as Exhibits A-C thereto; and the Court having

conducted a hearing on June 5, 2024 (the “Sale Hearing”), to consider the approval of the Sale

Assets to the Purchaser under the Asset Purchase Agreement; and the Court having reviewed:

(a) the Motion, (b) all objections to the relief sought in the Motion, including to the assumption of

the Assumed Contracts (the “Sale Objections”) (c) the manner of resolution of certain of the Sale

Objections as announced on the record at the Sale Hearing, (d) the reservation of rights by and

among the Constituent Parties and Labrynth Ventures, LLC, an Illinois limited liability company

pursuant to that certain proposed Stipulated Order filed with the Court on June 3, 2024 [Dkt. No.

210] (the “Labrynth Reservation of Rights”), (e) the arguments of counsel made, and (f) the



                                                 2
1326705v4
 Case 24-05385        Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19              Desc Main
                                   Document      Page 3 of 231



evidence proffered or adduced at the Sale Hearing; and it appearing that the relief requested in the

Motion is in the best interests of the Debtors, their estates and their creditors, and other parties in

interest; and upon the record of the Sale Hearing and these Chapter 11 Cases; and after due

deliberation thereon; and good cause appearing therefor.

        IT IS HEREBY FOUND AND DETERMINED THAT:

        A.     Fed. R. Bankr. P. 7052. The findings and conclusions set forth herein constitute

the Court’s findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052, made

applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the extent any of the following

findings of fact constitute conclusions of law, they are adopted as such. To the extent any of the

following conclusions of law constitute findings of fact, they are adopted as such. The Court’s

findings and conclusions shall also include any oral findings of fact and conclusions of law made

by the Court on the record during or at the conclusion of the Sale Hearing, which findings and

conclusions are expressly incorporated herein.

        B.     Jurisdiction and Venue. The Court has jurisdiction over the Motion pursuant to

28 U.S.C. § 157 and 1334, and this matter is a core proceeding pursuant to, inter alia, 28 U.S.C.

§ 157(b)(2)(A) and § 157(b)(2)(N). Venue of this case and the Motion in this district is proper

under 28 U.S.C. §§ 1408 and 1409.

        C.     Statutory Predicates. The statutory predicates for the relief sought in the Motion

are sections 105(a), 363 and 365 of the Bankruptcy Code, and Rules 2002, 6004, 6006 and 9014

of the Bankruptcy Rules.

        D.     Final Sale Approval Order. This Sale Approval Order constitutes a final order

within the meaning of 28 U.S.C. § 158(a). Notwithstanding Bankruptcy Rules 6004(h) and

6006(d), and to any extent necessary under Bankruptcy Rule 9014 and Rule 54(b) of the Federal



                                                  3
1326705v4
 Case 24-05385         Doc 229   Filed 06/07/24 Entered 06/07/24 11:41:19             Desc Main
                                 Document      Page 4 of 231



Rule of Civil Procedure, as made applicable by Bankruptcy Rule 7054, the Court finds that there

is no just reason for delay in the implementation of this Sale Approval Order, and directs entry of

judgment as set forth herein. No appeal, motion to reconsider, or similar pleading has been filed

with respect to the Sale Procedures Order, and the Sale Procedures Order is a final order of the

Court, has not been vacated, withdrawn, rescinded, or amended, and remains in full force and

effect.

          E.   Petition Date. On April 12, 2024 (the “Petition Date”), the Debtors commenced

these proceedings by filing petitions for relief under chapter 11 of the Bankruptcy Code (the

“Chapter 11 Cases”).

          F.   Retention of Investment Banker. On May 24, 2024, the Court entered that certain

Order Authorizing the Debtor’s Retention and Employment of Livingstone Partners, LLC as

Investment Bankers (“Livingstone”) pursuant to that certain Engagement Agreement between the

Debtors and Livingstone dated as of February 22, 2024 (“Livingstone Engagement Agreement”),

to market and solicit offers to purchase the Sale Assets [Dkt No. 174] (the “Livingstone Retention

Order”).

          G.   Sale Assets. The Sale Assets consist of the assets and property of the estates of the

Debtors as specifically described in the Asset Purchase Agreement, but not the Excluded Assets

as defined therein.

          H.   Entry of Sale Procedures Order. The Sale Procedures Order: (i) authorized and

approved the Approved Bidding Procedures; (ii) determined the stalking horse bid to constitute

the Stalking Horse Bid under the Approved Bidding Procedures; (iii) approved the form asset

purchase agreement for bidders to submit in competition with the Stalking Horse Bid;

(iv) scheduled an auction (the “Auction”) and the Sale Hearing; (v) established procedures for the



                                                 4
1326705v4
 Case 24-05385         Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19            Desc Main
                                  Document      Page 5 of 231



assumption and assignment of the Assumed Contracts, and for noticing and determining the cure

amount necessary to enable the Debtors to consummate the proposed assumption and assignment

of the Assumed Executory Contract/Leases (the “Cure Costs”); (vi) approved the form and matter

of notice of all procedures, protections, schedules, agreements and relating hearings (the

“Notices”); (vii) established deadlines for submitting bids (“Bid Deadline”); (viii) stated the

parameters of acceptable bids (“Qualified Bids”); (ix) delineated the requirements to participate as

a bidder at the Auction (“Qualified Bidders”); (x) set forth the criteria for determining the

successful bid (“Prevailing Bid”) and the back-up bid (“Back-Up Bid”); (xi) and granted certain

related relief.

        I.        Compliance with Sale Procedures Order. The Approved Bidding Procedures

were substantively and procedurally fair to all parties. As demonstrated by (i) the testimony and

other evidence proffered or adduced at the Sale Hearing, and (ii) the representations of counsel

made on the record at the Sale Hearing, the Debtors have conducted the Sale Process in compliance

with the Sale Procedures Order and the Approved Bidding Procedures, and the Auction was duly

noticed and conducted in a non-collusive, fair and good faith manner. The Debtors and their

professionals have actively marketed the Sale Assets, including the initiation of teaser letters to

hundreds of prospective suitors; obtained non-disclosure agreements from approximately eighty-

one (81) prospective suitors; created and made available a virtual due diligence room containing

comprehensive financial and other information regarding the Debtors; conducted management

meetings with prospective suitors; and otherwise enabled prospective suitors to conduct due

diligence. Accordingly, the Sale Process was conducted in compliance with the Sale Procedures

Order, and has afforded prospective suitors a full and fair opportunity to participate in the sale

process and make higher and better offers.



                                                 5
1326705v4
 Case 24-05385       Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19           Desc Main
                                 Document      Page 6 of 231



        J.     Notice. As evidenced by the certificates of service previously filed with the Court

[Dkt. Nos. 93, 126, 127, 177, and 192]: (i) proper, timely, adequate and sufficient notice of the

Motion, the Sale Hearing, the Sale, the assumption and assignment procedures for the Assumed

Contracts (including the objection deadline and the outstanding amounts with respect to any Cure

Costs), has been provided in accordance with sections 102(1), 363 and 365 of the Bankruptcy Code

and Bankruptcy Rules 2002, 6004 and 6006 and in compliance with the Sale Procedures Order,

(ii) such notice was good and sufficient, and appropriate under the particular circumstances, and

(iii) no other or further notice of the Motion, the Sale Hearing, the Sale, or the assumption and

assignment of the Assumed Contracts is or shall be required.

        K.     Auction. At or prior to the Bid Deadline, the Debtors received one (1) Qualified

Bid from the Purchaser, in addition to the Stalking Horse Bid, and conducted the Auction on May

29, 2024, culminating in the Asset Purchase Agreement of the Purchaser being deemed the

Prevailing Bid, and the asset purchase agreement submitted by BAB Project O, LLC, an Illinois

limited liability company (the “Stalking Horse”), being designated as the Back-Up Bid.

        L.     Corporate Authority. The Debtors: (i) have full corporate power and authority to

execute the Asset Purchase Agreement and all other documents contemplated thereby, and the Sale

of the Sale Assets by the Debtors have been duly and validly authorized by all necessary corporate

action of the Debtors, (ii) have all of the corporate power and authority necessary to consummate

the transactions contemplated by the Asset Purchase Agreement, and (iii) have taken all corporate

action necessary to authorize and approve the Asset Purchase Agreement and the consummation

by the Debtors of the transactions contemplated thereby. No consents or approvals, other than

those expressly provided for in the Asset Purchase Agreement or this Sale Approval Order, are

required for the Debtors to consummate such transactions.



                                                6
1326705v4
 Case 24-05385         Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19            Desc Main
                                    Document      Page 7 of 231



        M.      Opportunity to Object. A fair and reasonable opportunity to object or be heard

with respect to the Motion and the Sale has been afforded to all interested persons and entities,

including: (i) the Office of the United States Trustee for Region 11; (ii) counsel for BMO Harris

Bank N.A; (iii) counsel for CIBC; (iv) counsel for the Committee; (v) counsel for the Purchaser;

(vi) counsel for the Stalking Horse; (vii) all entities reasonably known by the Debtors (or their

representatives and retained professionals) to have an Interest in the Sale Assets; (viii) all parties

to the Debtors’ contracts and leases; (ix) the District Director of the Internal Revenue Service for

the Northern District of Illinois; (x) the Office of the Attorney General of Illinois; (xi) all taxing

authorities identified in the bankruptcy schedules filed in this proceeding; (xii) all equity security

holders of the Debtors; (xiii) all entities filing notices of appearance or requests for notice under

Bankruptcy Rule 2002 in this Bankruptcy Case; and (xiv) all parties receiving the Summary Sale

Notice and the Assumption Notice.

        N.      Sale in Best Interest. Consummation of the Sale of the Sale Assets to the

Purchaser pursuant to the Asset Purchase Agreement is in the best interests of the Debtors, their

creditors, their estates and other parties in interest.

        O.      Sound Business Justification. Sound business reasons exist for the Sale. Entry

into the Asset Purchase Agreement constitutes the Debtors’ exercise of sound business judgment

and such act is in the best interests of the Debtors, their estates, and all parties in interest. The

Court finds that the Debtors have articulated good and sufficient business reasons justifying the

Sale. Such business reasons include: (i) the Asset Purchase Agreement constitutes the highest

and best offer for the Sale Assets; (ii) the Asset Purchase Agreement and the closing thereon will

present the best opportunity to realize the value of the Sale Assets as a going concern, and avoid

the decline and devaluation of the Sale Assets; and (iii) under the circumstances of the Chapter 11



                                                    7
1326705v4
 Case 24-05385       Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19            Desc Main
                                 Document      Page 8 of 231



Cases, the Debtors are unable to propose a plan of reorganization that would be confirmable prior

to the expiration of debtor-in-possession financing or that would meet the requirements of section

1129 of the Bankruptcy Code.

        P.     Arm’s-Length Sale. The Asset Purchase Agreement was negotiated, proposed and

entered into by the Debtors and the Purchaser without collusion, in good faith, and from arm’s-

length bargaining positions. Neither the Debtors nor the Purchaser have engaged in any conduct

that would cause or permit the Asset Purchase Agreement to be avoided under section 363(m) or

(n) of the Bankruptcy Code.

        Q.     Successful Bidder; Highest and Best Value. After conclusion of the Auction, the

Debtors determined, in accordance with their business judgment, and in consultation with the

Constituent Parties, that the Asset Purchase Agreement was (i) a Qualified Bid and (ii) the highest

and best bid for the Sale Assets made at the Auction. As a result, the Debtors declared the

Purchaser the Prevailing Bidder for the Sale Assets in accordance with the terms of the Sale

Procedures Order. The Debtors conducted a fair and open Sale Process. The Sale Process, the

Approved Bidding Procedures, and the Auction were non-collusive, duly noticed and provided a

full, fair, and reasonable opportunity for any person to comply with the Approved Bidding

Procedures and to make an offer to purchase the Sale Assets. The process conducted by the

Debtors pursuant to the Approved Bidding Procedures resulted in the highest or best value for the

Sale Assets for the Debtors and their estates, and any other transaction would not have yielded as

favorable an economic result.

        R.     Good Faith Purchaser. The Purchaser is a good faith purchaser for value and, as

such, is entitled to all of the protections afforded under section 363(m) of the Bankruptcy Code

and any other applicable or similar bankruptcy and non-bankruptcy law. The Purchaser has been



                                                8
1326705v4
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19             Desc Main
                                  Document      Page 9 of 231



and will be acting in good faith within the meaning of section 363(m) of the Bankruptcy Code in

closing the transactions contemplated by the Asset Purchase Agreement.

        S.     Fair Consideration. The consideration provided by the Purchaser for the Sale

Assets pursuant to the Asset Purchase Agreement: (i) is fair and reasonable, (ii) is the highest and

best offer for the Sale Assets, (iii) will provide a greater recovery for the Debtors’ creditors than

would be provided by any other practical available alternative, and (iv) constitutes reasonably

equivalent value and fair consideration under the Bankruptcy Code and under the laws of the

United States, any state, territory, possession or the District of Columbia.

        T.     Free and Clear Sale; Purchaser’s Reliance. The Debtors may sell the Sale Assets

free and clear of all Interests (other than title exceptions and other Permitted Encumbrances as

defined in the Asset Purchase Agreement) because, with respect to each creditor asserting a lien,

claim, encumbrance, or interest, one or more of the standards set forth in Bankruptcy Code

§ 363(f)(1)-(5) has been satisfied. Those holders of Interests who did not object or withdrew

objections to the Sale are deemed to have consented to the Sale pursuant to section 363(f)(2) of

the Bankruptcy Code. Those holders of Interests who did object fall within one or more of the

other subsections of section 363(f) of the Bankruptcy Code. The Purchaser would not have entered

into the Asset Purchase Agreement and would not consummate the transactions contemplated

thereby if the Sale of the Sale Assets were not free and clear of all Interests (other than Permitted

Encumbrances), or if the Purchaser would, or in the future could, be liable for any such Interests

(other than Permitted Encumbrances), including, as applicable, certain liabilities related to the

business of the Debtors (“Business”) that will not be assumed by the Purchaser, as described in

the Asset Purchase Agreement. A sale of the Sale Assets other than one free and clear of all

Interests (other than Permitted Encumbrances) would adversely impact the Debtors, their estates,



                                                 9
1326705v4
 Case 24-05385        Doc 229        Filed 06/07/24 Entered 06/07/24 11:41:19            Desc Main
                                     Document     Page 10 of 231



and their creditors, and would yield substantially less value for the Debtors’ estates, with less

certainty than provided under the Sale. The Purchaser has relied upon this Sale Approval Order to

provide the Purchaser, with good and marketable title to and possession of the Sale Assets free and

clear of all Interests (including, without limitation, any potential derivative, vicarious, transferee,

or successor liability Interests or Claims), except as set forth in the Asset Purchase Agreement.

        U.      Transfer Free and Clear of Liabilities. Except as provided in the Asset Purchase

Agreement, the (i) transfer of the Sale Assets to the Purchaser and (ii) assignment to the Purchaser

of the Assumed Contracts, will not subject the Purchaser to any liability whatsoever prior to the

Closing Date or by reason of such transfer under the Bankruptcy Code, the laws of the United

States including under applicable environmental statutes, regulations or ordinances (“Federal

Environmental Laws”), the laws of any state, territory, or possession (including under applicable

environmental statutes, regulations or ordinances, the “State Environmental Laws” and together

with the Federal Environmental Laws, the “Environmental Laws”), or the District of Columbia,

based, in whole or in part, directly or indirectly, on any theory of law or equity, including, without

limitation, any theory of equitable law, including, without limitation, any theory of antitrust,

successor or transferee liability.

        V.      Assumption of Executory Contracts and Unexpired Leases. The Debtors have

demonstrated that it is an exercise of their sound business judgment to assume and assign the

Assumed Contracts to the Purchaser in connection with the consummation of the Sale, and the

assumption and assignment of the Assumed Contracts is in the best interests of the Debtors, their

estates, and their creditors. The Assumed Contracts being assigned to the Purchaser are an integral

part of the Sale Assets being purchased by the Purchaser and, accordingly, such assumption and

assignment of Assumed Contracts is reasonable, enhances the value of the Debtors’ estates, and



                                                  10
1326705v4
 Case 24-05385       Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19            Desc Main
                                 Document     Page 11 of 231



does not constitute unfair discrimination. The assumption and assignment of the Assumed

Contracts is to occur on, or substantially contemporaneously with, the closing of the transactions

under the Asset Purchase Agreement (the “Closing” or the “Closing Date”).

        W.     Cure/Adequate Assurance. Except as provided below in this paragraph W, the

Debtors, in accordance with the Asset Purchase Agreement, have or will, either by agreement or

otherwise, (i) cured, or have provided adequate assurance of cure, of any default existing prior to

the Closing under any of the Assumed Contracts, within the meaning of section 365(b)(l)(A) of

the Bankruptcy Code (including the Cure Costs), and (ii) provided compensation or adequate

assurance of compensation to any party for any actual pecuniary loss to such party resulting from

a default prior to the date hereof under any of the Assumed Contracts within the meaning of

section 365(b)(l)(B) of the Bankruptcy Code. The Purchaser has provided adequate assurance of

future performance of and under the Assumed Contracts within the meaning of

section 365(b)(l)(C) of the Bankruptcy Code. With respect to Added Contracts and Additional

Contracts (as each of these terms is defined in the Asset Purchase Agreement), the Purchaser shall

be solely responsible for all Cure Costs relating thereto without offset against the Cash Component

(as defined under the Asset Purchase Agreement).

        X.     Prompt Consummation. The Sale of the Sale Assets must be approved and

consummated promptly in order to preserve the value of the Sale Assets. Time is of the essence in

consummating the Sale, and the Debtors and the Purchaser intend to close the sale as soon as

possible in accordance with the Asset Purchase Agreement.

        Y.     No Intentional Fraudulent Transfer. The Asset Purchase Agreement was not

entered into for the purpose of hindering, delaying or defrauding creditors under the Bankruptcy




                                                11
1326705v4
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                  Document     Page 12 of 231



Code or under the laws of the United States, any state, territory, possession or the District of

Columbia.

        Z.     Purchaser Not an Insider and No Successor Liability. The Purchaser was not

and is not an “insider” or “affiliate” of the Debtors, as those terms are defined in the Bankruptcy

Code, and no common identity of incorporators, directors or stockholders exists between Purchaser

and the Debtors. Pursuant to the Asset Purchase Agreement, the Purchaser is not purchasing all

of the Debtors’ assets because the Purchaser is not purchasing any of the Excluded Assets, and the

Purchaser is not holding itself out to the public as a continuation of the Debtors. The Sale does

not amount to a consolidation, merger or de facto merger of the Purchaser and the Debtors and/or

the Debtors’ estates, there is not substantial continuity between the Purchaser and the Debtors,

there is no continuity of enterprise between the Debtors and the Purchaser, the Purchaser is not a

mere continuation of the Debtors or the Debtors’ estates, and the Purchaser does not constitute a

successor to the Debtors or the Debtors’ estates.

        AA.    Legal, Valid Transfer. Upon the payment of the Purchase Price under the Asset

Purchase Agreement at Closing, the transfer of the Sale Assets to the Purchaser will be a legal,

valid, and effective transfer of the Sale Assets, and will vest the Purchaser with all right, title, and

interest of the Debtors to the Sale Assets free and clear of all Interests, except as set forth in the

Asset Purchase Agreement or this Sale Approval Order. The consummation of the Sale is legal,

valid, and properly authorized under all applicable provisions of the Bankruptcy Code, including,

sections 105(a), 363(b), 363(f), 363(m), 365(b) and 365(f) and all of the applicable requirements

of such sections have been complied with in respect of the Sale.

        BB.    Asset Purchase Agreement Not Modified. The terms of the Asset Purchase

Agreement, including any amendments, supplements, and modifications thereto, are fair and



                                                  12
1326705v4
 Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19            Desc Main
                                 Document     Page 13 of 231



reasonable in all respects, and the terms of this Sale Approval Order shall not modify the terms of

the Asset Purchase Agreement unless expressly provided herein.

        CC.    No Sub Rosa Plan. The Sale does not constitute a sub rosa chapter 11 plan for

which approval has been sought without the protections that a disclosure statement would afford.

The Sale neither impermissibly restructures the rights of the Debtors’ creditors, nor impermissibly

dictates a liquidating plan of reorganization for the Debtors.

        DD.    No Liability for Excluded Assets or Excluded Liabilities. By consummating the

Sale and the transactions contemplated by the Asset Purchase Agreement, neither the Purchaser

nor any of the Sale Assets will be subject to any claim, liability or obligation arising out of, or

relating to, any Excluded Asset or any excluded liability as set forth in paragraph 5 of the Asset

Purchase Agreement, including, without limitation, under the Bankruptcy Code, any

environmental law, or any other laws of the United States, any state, territory, possession or the

District of Columbia (collectively, the “Excluded Liabilities”).

        EE.    Personal Identification Information. Elise Frejka, Esq. has been appointed as

consumer privacy ombudsman (“CPO”) in the Chapter 11 Cases, evidenced by that certain: (i)

Order Directing the United States Trustee to Appoint a Consumer Privacy Ombudsman entered

May 1, 2024 [Dkt. No. 90]; (ii) Amended Notice of Appointment of Consumer Privacy

Ombudsman Pursuant to § 332 dated May 10, 2024 [Dkt. No. 120] and (iii) Acceptance of

Appointment and Verified Statement of Elise S. Frejka, CIPP/US dated May 10, 2024 [Dkt. No.

121]. On June 3, 2024, the CPO caused to be filed that certain Report of the Consumer Privacy

Ombudsman, which was admitted into evidence as Debtors’ Exhibit 1 (the “CPO Report”) [Dkt.

No. 209], which is incorporated into this Sale Approval Order. The CPO Report contains various

recommendations in connection with the sale of personally identifiable information (“PII”). In the



                                                 13
1326705v4
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19              Desc Main
                                  Document     Page 14 of 231



CPO Report, the CPO makes recommendations for the transfer and use of the PII and concludes

that if those recommendations are incorporated into this Sale Approval Order, they will strike an

appropriate balance between the privacy rights of consumers and practical considerations

associated with the Sale. Debtors and Purchaser have agreed to abide by the recommendations set

forth by the CPO in the CPO Report with respect to the transfer and use of the PII. The Court finds

the Purchaser to be a “Qualified Buyer” as such term is defined in the CPO Report.

        FF.    Objections. The Sale Objections consist of the following filed objections (i)

Docket No. 180 filed by Americredit Financial Services, Inc. d/b/a GM Financial (“GM

financial”); (ii) Docket No. 183 filed by Wheaton Retail Wheaton, Illinois; (iii) Docket No. 193

filed by Banc of America Leasing & Capital, LLC (“BOA”); (iv) Docket No. 197 filed by

Schererville Main Street, LLC; (v) Docket No. 199 filed by Daimler Truck Financial Services

USA LLA (“Daimler”); (vi) Docket No. 204 filed by the Committee; (vii) Docket No. 208 filed

by AMS Mechanical Systems; (viii) Docket No. 211 filed by Ecolab, Inc. (ix) Docket No. 212

filed by The Travelers Indemnity Company (together with all of its affiliates, “Travelers”); and (x)

Docket No. 215 filed by Foremost Farms USA.

        GG.    Legal and Factual Bases. The legal and factual bases set forth in the Motion and

at the Sale Hearing establish just cause for the relief granted herein.

        NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED

EFFECTIVE IMMEDIATELY THAT:

General Provisions

        1.     The Motion is GRANTED and APPROVED to the extent provided herein.

        2.     All objections to the Motion or the relief requested therein, including but not limited

to the Sale Objections, that have not been withdrawn, waived, or settled, and all reservations of



                                                 14
1326705v4
 Case 24-05385       Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19             Desc Main
                                 Document     Page 15 of 231



rights included therein, are overruled on the merits and denied with prejudice, except as provided

in paragraphs 48 and 52 of this Sale Approval Order.

Approval of the Sale of the Sale Assets

        3.     The Asset Purchase Agreement including any amendments, supplements and

modifications thereto, and all of the terms and conditions therein, is hereby approved in all

respects.

        4.     Pursuant to 11 U.S.C. § 363(b), the transfer of the Sale Assets to the Purchaser free

and clear of all Interests (except those specifically permitted by the Asset Purchase Agreement),

and the transactions contemplated thereby are approved in all respects. Notwithstanding anything

contained in this Sale Approval Order or the Asset Purchase Agreement to the contrary, the Sale

Assets shall specifically exclude the following assets secured by liens in favor of the following

parties: BMO Bank N.A. (“BMO”), BOA, and Daimler.

BMO:

 Unit #      VIN                        Year      Mileage       Purchased      Make
                                                                date
 682         4UZAC2G76PCUE8852          2023      36792         1/18/2023      FREIGHTLINER
 685         4UZAC2G71PCUE8855          2023      38819         1/20/2023      FREIGHTLINER
 679         4UZAC2G76PCUE8849          2023      18471         2/16/2023      FREIGHTLINER
 687         4UZAC2G75PCUE8857          2023      50757         2/15/2023      FREIGHTLINER
 266         1FVACWFC9PHNZ7360          2023      17166         2/20/2023      Freightliner
 267         1FVACWFC1PHUE8128          2023      17087         2/20/2023      Freightliner
 268         1FVACWFC3PHUE8129          2023      9662          2/20/2023      Freightliner


BOA:

 Unit #      VIN                        Year         Mileage    Purchased      Make
                                                                date
 667         4UZAC2GA8NCNR4490 2022                  75,985     3/31/2022      FREIGHTLINER


Daimler:


                                                15
1326705v4
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19              Desc Main
                                  Document     Page 16 of 231



 Unit #      VIN                        Year       Mileage       Purchased       Make
                                                                 date
 681         4UZAC2G74PCUE8851          2023       23653         4/21/2023       FREIGHTLINER
 683         4UZAC2G78PCUE8853          2023       23753         4/21/2023       FREIGHTLINER
 688         4UZAC2G77PCUE8858          2023       25657         4/25/2023       FREIGHTLINER
 678         4UZAC2G74PCUE8848          2023       25232         6/8/2023        FREIGHTLINER
 689         4UZAC2G79PCUE8859          2023       50091         3/15/2023       FREIGHTLINER


        5.     Except as otherwise specifically provided in the Asset Purchase Agreement, the

Purchaser shall not be liable for any claims against the Debtors or any of their predecessors or

affiliates or any other third party whatsoever, and the Purchaser shall have no successor or

vicarious liabilities of any kind or character (including, without limitation, any products liability

claims with respect to any Sale Assets, inventory, or other assets sold, shipped or delivered prior

to the Closing), whether known or unknown as of the Closing, now existing or hereafter arising,

whether fixed or contingent, with respect to the Debtors or the Business or any obligations of, or

claims against, the Debtors or any of their predecessors or affiliates or any other third party

whatsoever arising at any time, including, but not limited to, liabilities on account of any taxes

arising, accruing, or payable under, out of, in connection with, or in any way relating to the Sale

Assets prior to the Closing.

        6.     The transactions contemplated by the Asset Purchase Agreement are undertaken by

the Purchaser in good faith, as that term is used in section 363(m) of the Bankruptcy Code, and

accordingly, the reversal or modification on appeal of the authorization provided herein by this

Sale Approval Order to consummate the Sale shall not affect the validity of the Sale to the

Purchaser. The Purchaser is a purchaser in good faith of the Sale Assets and is entitled to all of the

protections afforded by section 363(m) of the Bankruptcy Code.

        7.     As a good faith purchaser of the Sale Assets, the Purchaser has not entered into an

agreement with any other bidders at the Sale, and has not colluded with any of the other bidders,

                                                 16
1326705v4
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                  Document     Page 17 of 231



potential bidders or any other parties interested in the Sale Assets, and therefore neither the Debtors

nor any successor in interest to the Debtors’ estates shall be entitled to bring an action against the

Purchaser, and the Sale may not be avoided pursuant to section 363(n) of the Bankruptcy Code.

Sale and Transfer of Sale Assets

        8.     Pursuant to section 363(b) of the Bankruptcy Code, the Debtors are hereby

authorized to transfer the Sale Assets to the Purchaser and consummate the Sale in accordance

with, and subject to the terms and conditions of, the Asset Purchase Agreement and this Sale

Approval Order, and to transfer and assign all right, title and interest (including common law

rights) to all Sale Assets, to be conveyed in accordance with, and subject to the terms and

conditions of, the Asset Purchase Agreement, and are further authorized and directed to execute

and deliver, and are empowered to perform under, consummate and implement, the Asset Purchase

Agreement, together with all additional instruments and documents that may be reasonably

necessary or desirable to implement the Asset Purchase Agreement, including, without limitation,

any related documents, exhibits and schedules, and to take all further actions as may be reasonably

requested by the Purchaser for the purposes of assigning, transferring, granting, conveying and

conferring to the Purchaser or reducing to possession, the Sale Assets, or as may be necessary or

appropriate to the performance of the Debtors’ obligations as contemplated by the Asset Purchase

Agreement. Adam Kraber, or any duly authorized representative of the Debtors, is hereby

authorized to execute any and all documents reasonably necessary to consummate the Sale.

        9.     Pursuant to sections 363(b) and 363(f) of the Bankruptcy Code and upon payment

of the amounts due at Closing by the Purchaser under the Asset Purchase Agreement in accordance

with this Sale Approval Order, the Sale Assets shall be transferred to the Purchaser upon the

Closing Date free and clear of all Interests (except the Assumed Liabilities and Permitted



                                                  17
1326705v4
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19              Desc Main
                                  Document     Page 18 of 231



Encumbrances) of any kind or nature whatsoever including, but not limited to, Interests in respect

of the following: (a) any labor agreements; (b) all mortgages, deeds of trust, liens and security

interests; (c) any pension, welfare, compensation or other employee benefit plans, agreements,

practices and programs, including, without limitation, any pension plan of the Debtors; (d) any

other employee, worker’s compensation, occupational disease or unemployment or temporary

disability related claim, including, without limitation, claims that might otherwise arise under or

pursuant to (i) the Employee Retirement Income Security Act of 1974, as amended, (ii) the Fair

Labor Standards Act, (iii) Title VII of the Civil Rights Act of 1964, (iv) the Federal Rehabilitation

Act of 1973, (v) the National Labor Relations Act, (vi) the Worker Adjustment and Retraining Act

of 1988, (vii) the Age Discrimination and Employee Act of 1967 and Age Discrimination in

Employment Act, as amended, (viii) the Americans with Disabilities Act of 1990, (ix) the

Consolidated Omnibus Budget Reconciliation Act of 1985, (x) the Illinois Worker Adjustment and

Retraining Notification Act, (xi) state discrimination laws, (xii) state unemployment compensation

laws or any other similar state laws, or (xiii) any other state or federal benefits or claims relating

to any employment with the Debtors or any of its affiliates or predecessors; (e) any bulk sales or

similar law; (f) any tax statutes or ordinances, including, without limitation, the Internal Revenue

Code of 1986, as amended; (g) any theories of successor or products liability; and (h) any

Environmental Laws. Nothing in this Sale Approval Order shall be construed to: (1) release,

nullify, or enjoin a Governmental Authority from enforcing any Environmental Laws under which

a purchaser of property would otherwise be liable as a current owner or operator after the date of

purchase, or (2) permit, in any circumstances, a Governmental Authority to obtain from the

Purchaser penalties arising under Environmental Laws prior to the Closing Date. For purposes of

clarification, any employee medical claims which are incurred prior to the Closing (regardless of



                                                 18
1326705v4
 Case 24-05385         Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19                Desc Main
                                   Document     Page 19 of 231



when such claims are presented for payment) shall be claims against the bankruptcy estates of the

Debtors, and not the Purchaser, and the Purchaser shall be responsible only for such claims which

are incurred after the Closing. All such Interests of any kind or nature whatsoever including but

not limited to the Interests of CIBC Bank USA, an Illinois state charted bank, shall attach (effective

upon the transfer of the Sale Assets to the Purchaser) to the proceeds of the Purchase Price without

further act or deed or order of Court, with the same force, validity, priority and effect, if any, as

the Interests formerly had against the Sale Assets, subject to the Debtors’ ability to challenge the

extent, validity, priority and effect of the Interests unless subject to and as otherwise provided in

any other order of this Court in the Chapter 11 Cases. Additionally, for the avoidance of doubt,

Purchaser shall have no liability, obligation, or responsibility whatsoever to the Debtors,

Governmental Authority or any other Person with respect to, or in connection with, any Excluded

Asset or any Excluded Liability of any kind or character, whether known or unknown, as of the

Closing Date, whether fixed or contingent, including, without limitation, any liability or other

obligation arising under the Bankruptcy Code, any Environmental Laws, or any other laws of the

United States, any state, territory, possession or the District of Columbia.

        10.     The following claimants asserting secured claims shall be provisionally paid at

Closing, without prejudice to the right of any entity to object to the parties in interest to assert

objections to the validity, enforceability, priority, or extent of the liens, security interests or claims

of such claimants, or the value of the collateral securing such claims on or before July 31, 2024:

(a) BOA in the agreed amount of $1,116,592.58 as payment in full for, and in satisfaction of any

Interests on, all assets comprising the Sale Assets but not the vehicle identified as unit number 667




                                                   19
1326705v4
    Case 24-05385      Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19                  Desc Main
                                    Document     Page 20 of 231



in paragraph 4 of this Sale Approval Order;3 (b) Americredit Financial Services, Inc. d/b/a GM

Financial in the amount of $45,196.55 as payment in full of its secured claim on a Chevy vehicle,

VIN No. 1GB5YLE71NF2750275052; and (c) TSC Equipment Finance LLC in the amount of

$235,749.04 as payment in full of its secured claim on vehicles with VIN Nos.

4UZAC2GA5NCNR4494,                 4UZAC2GA7NCNR4495,                 and      4UZAC2GA7NCNR4498

(collectively, the “Provisionally Allowed Secured Claims”). On or before July 8, 2024, holders of

Provisionally Allowed Secured Claim secured by a lien shall supplement their proofs of claim with

evidence necessary to establish the value of their respective collateral. A status hearing on the

Provisionally Allowed Secured Claims shall be set for August 7, 2024, at 11:00 a.m., without

further notice. The Debtors shall cause the service of this Sale Approval Order on the holders of

the Provisionally Allowed Secured Claims on the later of June 7, 2024, or two business days after

entry of this Sale Approval Order, by overnight courier, CM/ECF, or email. Provisionally Allowed

Secured Claims may be subject to rescission or allowed indefeasibly, in each instance in whole or

in part, upon further of the Bankruptcy Court.

        11.     At Closing, the Debtors shall pay Daimler, on account of its secured purchase

money security interest in the three 2023 Freightliners identified as Sale Assets in the Asset

Purchase Agreement (Unit Nos. 677, 684, and 690), the agreed amount of $300,000.00, as payment

in full for, and in satisfaction of all Interests on, all assets comprising the Sale Assets but not the




3
 BOA retains its lien rights in unit 667 and shall have the right to amend its claim to reflect the remaining
deficiency balance it is owed, plus retain its rights to a claim for the post-petition transfer paid to the
Debtors for the payment reversal.


                                                     20
1326705v4
    Case 24-05385      Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19                Desc Main
                                   Document     Page 21 of 231



vehicles identified as unit numbers 678, 681, 683, 688, and 689 in paragraph 4 of this Sale

Approval Order.4

        12.     With respect to the Interests of the following secured creditors pending the

allowance of their respective claims and as adequate protection for such interests, the Debtors shall

establish an earmarked reserve from the Sale proceeds (the “Secured Creditors Reserve”) in the

amounts set opposite each such creditor to which their Interests shall attach without further order

of Court or act or deed: (a) First Commonwealth Equipment Finance - $318,147.50; and (b) Wells

Fargo Equipment Finance, Inc. - $71,695.93 (collectively, the “Pending Secured Claims”). The

holders of the Pending Secured Claims shall file proofs of claim, supporting documentation, and

evidence necessary to establish the value of their respective collateral on or before July 8, 2024.

All persons desiring to object to one or more of the Pending Secured Claims, the validity, priority

or extent of liens, security interests, or claims related to the Pending Secured Claims, the value of

the collateral for the Pending Secured Claims, shall file such objections on or before July 31, 2024.

A status hearing on the Pending Secured Claims shall be set for August 7, 2024, at 11:00 a.m.,

without further notice. The Debtors shall cause the service of this Sale Approval Order upon the

holders of the Pending Secured Claims on the later of June 7, 2024, or two business days after

entry of this Sale Approval Order, by overnight courier, CM/ECF, or email.

        13.     On the Closing Date, this Sale Approval Order will be construed and constitute for

any and all purposes a full and complete general assignment, conveyance and transfer of the Sale

Assets or a bill of sale transferring good and marketable title in such Sale Assets to the Purchaser,

free and clear of all Interests. On the Closing Date, and subject to section 365 of the Bankruptcy



4
  Daimler retains its lien rights in units 678, 681, 683, 688, and 689, provided however, upon sale or
disposition of the foregoing vehicles, Daimler shall be deemed to have conclusively and irrevocably waived
any claim of deficiency against the Debtors’ estates and any other entity.

                                                   21
1326705v4
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                  Document     Page 22 of 231



Code, this Sale Approval Order also shall be construed and constitute for any and all purposes a

complete and general assignment of all right, title and interest of the Debtors to the Purchaser in

Assumed Contracts, subject to the Asset Purchase Agreement, and shall be deemed to satisfy

conclusively the Debtors’ requirement to obtain the entry of an executory contract approval order

as required under the Asset Purchase Agreement.

        14.     All entities who are presently, or on the Closing Date may be, in possession of some

or all of the Sale Assets are hereby directed to surrender possession of the Sale Assets to the

Purchaser on the Closing Date.

        15.     Except as expressly permitted by the Asset Purchase Agreement or this Sale

Approval Order, all Persons, including, but not limited to, all debt security holders, equity security

holders, governmental, tax, and regulatory authorities, lenders, trade, products liability and other

creditors, receiving notice of the Motion and holding Interests of any kind or nature whatsoever

against or in the Debtors or the Sale Assets (whether legal or equitable, secured or unsecured,

matured or unmatured, contingent or non-contingent, senior or subordinated, now existing or

hereinafter arising), arising under or out of, in connection with, or in any way relating to, the

Debtors, the Sale Assets, or the transfer of the Sale Assets to the Purchaser, hereby are forever

barred, estopped, and permanently enjoined from asserting against the Purchaser, its successors or

assigns, its property, or the Sale Assets, such persons’ Interests, without further notice, act or deed.

        16.     On the Closing Date of the Sale, each of the Debtors’ creditors is authorized and

directed to execute such documents and take all other actions as may be necessary to release its

Interests in the Sale Assets, if any, as such Interests may have been recorded or otherwise exist,

except as to Sale Assets being transferred subject to Permitted Encumbrances.




                                                  22
1326705v4
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                  Document     Page 23 of 231



        17.    Subject to the terms and conditions of this Sale Approval Order and the Asset

Purchase Agreement, the transfer of the Sale Assets to the Purchaser pursuant to the Asset Purchase

Agreement constitutes a legal, valid, and effective transfer of the Sale Assets, and shall vest the

Purchaser with all right, title, and interest of the Debtors in and to the Sale Assets free and clear of

all Interests of any kind or nature whatsoever.

 Assumption and Assignment of Assumed Contracts

        18.    Pursuant to sections 105(a) and 365 of the Bankruptcy Code, as set forth in the Sale

Procedures Order and subject to and conditioned upon the terms of the Asset Purchase Agreement

and the Closing of the Sale, the Debtors’ assumption and assignment to the Purchaser, and the

Purchaser’s assumption on the terms set forth in the Asset Purchase Agreement, of the Assumed

Contracts is hereby approved, and the requirements of section 365(b)(l) of the Bankruptcy Code

with respect thereto are hereby deemed satisfied.

        19.    The Debtors are hereby authorized and directed in accordance with sections 105(a),

363 and 365 of the Bankruptcy Code to (a) assume and assign to the Purchaser, effective upon the

Closing Date of the Sale, the Assumed Contracts free and clear of all Interests of any kind or nature

whatsoever (other than Permitted Encumbrances) and (b) execute and deliver to the Purchaser such

documents or other instruments as may be necessary to assign and transfer the Assumed Contracts

to the Purchaser.

        20.    The Assumed Contracts shall be transferred to, and remain in full force and effect

for the benefit of, the Purchaser in accordance with their respective terms, notwithstanding any

provision in any such Assumed Contracts (including those of the type described in

sections 365(b)(2) and (f) of the Bankruptcy Code) that prohibits, restricts, or conditions such

assignment or transfer. Pursuant to section 365(k) of the Bankruptcy Code, the Debtors shall be



                                                  23
1326705v4
 Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19              Desc Main
                                 Document     Page 24 of 231



relieved from any further liability with respect to the Assumed Contracts after such assignment to

and assumption by the Purchaser.

          21.   All amounts that must be paid and obligations that must be otherwise satisfied,

pursuant to sections 365(b)(1)(A) and (B) of the Bankruptcy Code, in connection with the

assignment and assumption of the Assumed Contracts, including Cure Costs and other cure

obligations that are required to be cured pursuant to the Bankruptcy Code to effect the assignment

and obtain this Sale Approval Order (without giving effect to any acceleration clauses or any

default provisions of the kind specified in section 365(b)(2) of the Bankruptcy Code) shall be paid

and satisfied by the Debtors as provided in the Asset Purchase Agreement at the Closing, or as

otherwise agreed by the Purchaser and counter-party to any such Assumed Executory

Contracts/Lease. All defaults or other obligations of the Debtors under the Assumed Contracts

arising or accruing on or after the Petition Date to the Closing Date (without giving effect to any

acceleration clauses or any default provisions of the kind specified in section 365(b)(2) of the

Bankruptcy Code) shall be cured by the Debtors at the Closing Date, or as otherwise agreed by the

Debtors and counter-party to any such Assumed Executory Contracts/Lease, to the extent required

by the Bankruptcy Code. Except as set forth in the Asset Purchase Agreement with respect to the

assumed Cure Costs, Assumed Liabilities, and other cure obligations relating to Added Contracts

and/or Additional Contracts for which the Purchaser shall be responsible, the Purchaser shall have

no liability or obligation to cure executory contracts or unexpired leases defaults accruing prior to

the Closing Date. The Debtors shall have no liability or obligation under the Assumed Contracts

accruing on or after the Closing Date. Notwithstanding any language in this paragraph to the

contrary, the Purchaser shall not be responsible for any taxes and tax payments related to the Sale

Assets.



                                                 24
1326705v4
 Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                 Document     Page 25 of 231



        22.    Each non-Debtor party or third-party beneficiary to any Assumed Contracts is

hereby forever barred, estopped, and permanently enjoined from asserting against the Debtors or

the Purchaser, or the property of either of them, any default existing as of the date of the Closing

Date of the Sale.

        23.    Within ten (10) business days following the Closing Date, the Debtors shall file

with the Court a notice setting forth those Assumed Contracts actually assumed and assigned to

Purchaser pursuant to the terms of the Asset Purchase Agreement and this Sale Approval Order.

        24.    The Debtors are hereby authorized to transfer the PII to the Purchaser subject to the

terms hereof. Debtors and Purchaser shall comply with the recommendations set forth by the CPO

in the CPO Report with respect to the transfer and use of the PII.

        Additional Provisions

        25.    The consideration provided by the Purchaser for the Sale Assets under the Asset

Purchase Agreement shall be deemed to constitute reasonably equivalent value and fair

consideration under the Bankruptcy Code and under the laws of the United States, any state,

territory, possession, or the District of Columbia, and the Sale and the transactions consummated

in connection therewith are not, and shall not be, avoidable under the Bankruptcy Code or any

such laws.

        26.    Subject to the terms of this Sale Approval Order and the Asset Purchase Agreement,

which is hereby approved in all respects by this Sale Approval Order, the Purchaser shall pay to

the Debtors at Closing the Purchase Price. Effective upon the transfer of the Sale Assets to the

Purchaser, all Interests of any kind or nature whatsoever (other than Permitted Encumbrances)

shall attach to the proceeds of the Purchase Price with the same force, validity, priority and effect,

if any, as Interests formerly had against the Sale Assets, subject to the Debtors’, the Committee’s,



                                                 25
1326705v4
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                  Document     Page 26 of 231



or any other party’s ability to challenge the extent, validity, priority and effect of the Interests

(including the value of any collateral with respect thereto) unless subject to and as otherwise

provided in any other order of this Court in this Bankruptcy Case.

        27.     This Sale Approval Order: (a) shall be effective as a determination that, upon

payment by Purchaser of the Purchase Price under the Asset Purchase Agreement in accordance

herewith, all Interests of any kind or nature whatsoever existing as to the Debtors or the Sale Assets

prior to the Closing Date have been unconditionally released, discharged and terminated, and that

the conveyances described herein have been effected, and (b) shall be binding upon and shall

govern the acts of all entities, including without limitation, all filing agents, filing officers, title

agents, title companies, recorders of mortgages, recorders of deeds, registrars of deeds,

administrative agencies, governmental departments, secretaries of state, federal, state, and local

officials, and all other persons and entities who may be required by operation of law, the duties of

their office, or contract, to accept, file, register or otherwise record or release any documents or

instruments, or who may be required to report or insure any title or state of title in or to any of the

Sale Assets. Each and every federal, state and local governmental agency or department is hereby

directed to accept any and all documents and instruments necessary and appropriate to

consummate the transactions contemplated by the Asset Purchase Agreement. The Purchaser and

the Debtors shall take such further steps and execute such further documents, assignments,

instruments and papers as shall be reasonably requested by the other to implement and effectuate

the transactions contemplated in this paragraph. All Interests of record as of the date of this Sale

Approval Order shall be forthwith removed and stricken as against the Sale Assets (other than

Permitted Encumbrances). All entities described in this paragraph are authorized and specifically




                                                  26
1326705v4
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                  Document     Page 27 of 231



directed to strike all such recorded Interests against the Sale Assets from their records, official and

otherwise.

        28.    If any entity that has filed statements or other documents or agreements evidencing

Interests in any of the Sale Assets does not deliver to the Debtors or the Purchaser prior to the

Closing Date, in proper form for filing and executed by the appropriate parties, termination

statements, instruments of satisfaction, releases of liens and easements, and any other documents

necessary for the purpose of documenting the release of all interests and other interests that the

entity has or may assert with respect to any of the Sale Assets, the Debtors and/or the Purchaser

and their respective agents are hereby authorized to execute and file, register, or record such

statements, instruments, releases and other documents on behalf of such person or entity with

respect to any of the Sale Assets.

        29.    To the extent provided by section 525 of the Bankruptcy Code, no Governmental

Authority may deny, revoke, suspend or refuse to renew any permit, license, or similar grant

relating to the operation of the Sale Assets sold, transferred, or conveyed to the Purchaser on

account of the filing or pendency of this Bankruptcy Case or the consummation of the Sale

contemplated by the Asset Purchase Agreement.

        30.    As specifically provided in the Asset Purchase Agreement, the Debtors will

cooperate with the Purchaser and the Purchaser will cooperate with the Debtors to ensure that the

transaction contemplated in the Asset Purchase Agreement is consummated, and the Debtors will

make such modifications or supplements to any bill of sale or other document executed in

connection with the Closing to facilitate such consummation as contemplated by the Asset

Purchase Agreement, as may be reasonably requested by the Purchaser pursuant to the terms of

the Asset Purchase Agreement.



                                                  27
1326705v4
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19              Desc Main
                                  Document     Page 28 of 231



        31.    The Purchaser shall have no liability or responsibility for any liability or other

obligation of the Debtors, or any third party whatsoever arising under or related to Excluded

Assets, Excluded Liabilities or the Sale Assets other than for the Assumed Liabilities and the

Assumed Contracts to the extent provided under the Asset Purchase Agreement. Without limiting

the generality of the foregoing, and except as otherwise specifically provided in the Asset Purchase

Agreement, the Purchaser shall not be liable for any claims against the Debtors or any of their

predecessors or affiliates or any third party whatsoever, and the Purchaser shall have no successor

liabilities (including, without limitation, product liability with respect to any assets sold, shipped

or delivered prior to the Closing Date) of any kind or character whether known or unknown as of

the Closing Date, now existing or hereafter arising, whether fixed or contingent, with respect to

the Debtors or any obligations of the Debtors arising prior to the Closing Date, including, but not

limited to, liabilities on account of any taxes arising, accruing, or payable under, out of, or in

connection with, or in any way relating to the operation of the Business prior to the Closing Date,

and all parties are hereby forever barred, estopped and permanently enjoined from asserting any

such claims against the Purchaser, its successors and assigns or against the Sale Assets.

        32.    Except for the Assumed Liabilities and the Assumed Contracts as set forth in the

Asset Purchase Agreement, under no circumstances whatsoever shall the Purchaser be deemed a

successor of or to the Debtors for any Interests against or in the Debtors or the Sale Assets or the

Excluded Assets of any kind or nature whatsoever. Except for the Assumed Liabilities and the

Assumed Contracts as set forth in the Asset Purchase Agreement, the sale, transfer, assignment

and delivery of the Sale Assets and the Assumed Contracts shall not be subject to any Interests,

and Interests of any kind or nature whatsoever shall remain with, and continue to be obligations

of, the Debtors or such other applicable Person. All persons holding Interests against or in the



                                                 28
1326705v4
 Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                 Document     Page 29 of 231



Debtors or the Sale Assets of any kind or nature whatsoever shall be, and hereby are, forever

barred, estopped, and permanently enjoined from asserting, prosecuting, or otherwise pursuing

such Interests of any kind or nature whatsoever against the Purchaser, its officers, directors,

shareholders and professionals, its property, its successors and assigns, or the Sale Assets with

respect to any Interests of any kind or nature whatsoever (other than Permitted Encumbrances)

such person or entity had, has, or may have against or in the Debtors, their estates, officers,

directors, shareholders, or the Sale Assets. Following the Closing Date, no holder of an Interest

in the Debtors shall interfere with the Purchaser’s title to, or use and enjoyment of, the Sale Assets

and the Assumed Contracts based on or related to such Interest, or any actions that the Debtors or

any third party may take in the Chapter 11 Cases.

        33.    This Court shall retain jurisdiction to enforce and implement the terms and

provisions of the Asset Purchase Agreement, all amendments thereto, any waivers and consents

thereunder, and of each of the agreements executed in connections therewith in all respects,

including to: (a) compel delivery of the Sale Assets to the Purchaser free and clear of Interests

(other than Permitted Encumbrances), or compel the performance of other obligations owed by the

Debtors; (b) compel delivery of the Purchase Price or performance of other obligations owed to

the Debtors; (c) resolve any disputes arising under or related to the Asset Purchase Agreement, the

Cure Costs, and adequate assurance of future performance of the Assumed Contracts; (d) interpret,

implement, and enforce the provisions of this Sale Approval Order; (e) protect the Purchaser

against (i) claims made related to any of the Excluded Liabilities, (ii) any claims of successor or

products liability related to the Sale Assets or Assumed Contracts or any of the Excluded Assets,

or (iii) any claims of Interests (other than Permitted Encumbrances) asserted in the Debtors or the

Sale Assets, of any kind or nature whatsoever; and (f) to require delivery of any Sale Assets or



                                                 29
1326705v4
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19              Desc Main
                                  Document     Page 30 of 231



proceeds thereof by the Debtors to Purchaser, or of any Excluded Assets or proceeds thereof by

Purchaser to the Debtors or their designee or successor.

        34.    The terms and provisions of the Asset Purchase Agreement and this Sale Approval

Order shall be binding in all respects upon, and shall inure to the benefit of, the Debtors and their

respective affiliates, successors and assigns, their estates, and their creditors, the Purchaser, and

its respective affiliates, successors and assigns, and any affected third parties, including, but not

limited to, all Persons asserting Interests in the Sale Assets to be sold to the Purchaser pursuant to

the Asset Purchase Agreement, notwithstanding any subsequent appointment of any trustee(s)

under any chapter of the Bankruptcy Code, as to which trustee(s) such terms and provisions

likewise shall be binding.

        35.    The failure to specifically identify any particular provisions of the Asset Purchase

Agreement in this Sale Approval Order shall not diminish or impair the effectiveness of such

provision, it being the intent of the Court that the Asset Purchase Agreement be authorized and

approved in its entirety.

        36.    The Asset Purchase Agreement and any related agreements, documents or other

instruments may be modified, amended or supplemented by the parties thereto, in a writing signed

by both parties, and in accordance with the terms thereof, without further order of the Court,

provided that any such modification, amendment or supplement does not have a material adverse

effect on the Debtors’ estates.

        37.    Nothing contained in any order entered in the Chapter 11 Cases subsequent to entry

of this Sale Approval Order, nor in any chapter 11 plan confirmed in the Chapter 11 Cases, shall

conflict with or derogate from the provisions of the Asset Purchase Agreement or the terms of this

Sale Approval Order.



                                                 30
1326705v4
 Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19              Desc Main
                                 Document     Page 31 of 231



        38.    Notwithstanding the provisions of Bankruptcy Rules 6004(h), 6006(d) and 7062,

or any provisions of the Local Rules, this Sale Approval Order shall not be stayed after the entry

hereof, but shall be effective and enforceable immediately upon entry, and the fourteen (14) day

stay provided in the Bankruptcy Rules 6004(h) and 6006(d) is hereby expressly waived and shall

not apply. Time is of the essence and the Debtors, and the Purchaser may close the Sale as soon as

practicable. Any party objecting to this Sale Approval Order must exercise due diligence in filing

an appeal and pursuing a stay within the time prescribed by law and prior to the Closing, or risk

its appeal being foreclosed as moot.

        39.    The provisions of this Sale Approval Order are nonseverable and mutually

dependent.

        40.    To the extent applicable, the automatic stay pursuant to section 362 of the

Bankruptcy Code is hereby lifted or otherwise modified with respect to the Debtors to the extent

necessary, without further order of the Court (a) to allow Purchaser to give the Debtors any notice

provided for in the Asset Purchase Agreement, and (b) to allow Purchaser to take any and all

actions permitted by the Asset Purchase Agreement. ·

        41.    The Sale shall not be subject to any bulk sales laws.

        42.    The Debtors and each other Person having duties or responsibilities under the Asset

Purchase Agreement or this Sale Approval Order, and their respective agents, representatives, and

attorneys, are authorized and empowered to carry out all of the provisions of the Asset Purchase

Agreement, to issue, execute, deliver, file and record, as appropriate, the Asset Purchase

Agreement, and any related agreements, and to take any action contemplated by the Asset Purchase

Agreement or this Sale Approval Order, and to issue, execute, deliver, file and record, as

appropriate, such other contracts, instruments, releases, deeds, bills of sale, assignments, or other



                                                 31
1326705v4
 Case 24-05385       Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19            Desc Main
                                 Document     Page 32 of 231



agreements, and to perform such other acts as are consistent with, and necessary or appropriate to,

implement, effectuate and consummate the Asset Purchase Agreement and this Sale Approval

Order and the transactions contemplated thereby and hereby, all without further application to, or

order of, the Court. Without limiting the generality of the foregoing, this Sale Approval Order

shall constitute all approvals and consents, if any, required by applicable business corporation,

trust and other laws of applicable governmental units with respect to the implementation and

consummation of the Asset Purchase Agreement and this Sale Approval Order and the transactions

contemplated thereby and hereby.

        43.    Upon Closing, the Debtors are authorized and directed to pay Livingstone, and

Livingstone is entitled to receive, on a final allowed basis, a broker commission pursuant to the

Livingstone Engagement Agreement and the Livingstone Retention Order in an amount to be

calculated by the Debtors at Closing after consultation with the Constituent Parties. Other than

the payments to Livingstone, the Provisionally Allowed Secured Claims, payments arising in the

ordinary course as administrative claims prior to Closing, payments pursuant to the Court’s

monthly interim compensation order, and the Break-Up Fee (as defined in the Sale Procedures

Order), the balance of the Sale proceeds shall be held in the bank accounts of the Debtors at CIBC,

and be expended only after further Order of Court.

        44.    The Debtors are authorized to return all security deposits received from bidders

other than the Prevailing Bidder and the Back-Up Bidder; provided however, Debtors are

authorized to return the deposit of the Back-Up Bidder upon Closing with the Prevailing Bidder.

        45.    This Sale Approval Order shall have no effect on, and shall not be deemed a

termination of, any rights of the Committee or any other party in interest pursuant to paragraph 25

of the Final Order Authorizing (A) Secured Post-Petition Financing on a Super Priority Basis



                                                32
1326705v4
 Case 24-05385          Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19             Desc Main
                                    Document     Page 33 of 231



Pursuant to 11 U.S.C. § 364, (B) Use of Cash Collateral Pursuant to 11 U.S.C. § 363 and (C) Grant

of Adequate Protection Pursuant to 11 U.S.C. §§ 363 and 364 (Docket No. 109, the “Final DIP

Order”), and the Challenge Period Termination Date currently in place, subject to further extension

in accordance with the Final DIP Order, shall be unaffected by this Sale Approval Order.

        46.       To the extent that any provision of this Sale Approval Order conflicts with the Asset

Purchase Agreement, this Sale Approval Order shall control.

        47.       The Asset Purchase Agreement of the Back-Up Bid, as modified at the Auction to

add an allocation paragraph and reserve certain rights with respect to executory contracts and

unexpired leases, shall remain binding and in full force and effect in accordance with the Sale

Procedures Order. In the event the Purchaser defaults in the performance of its obligations under

the Asset Purchase Agreement then, in such event, in accordance with the Approved Bidding

Procedures, the Seller is authorized to close on the Back-Up Bid without further order of Court.

In such event, the terms and conditions of this Sale Approval Order shall apply to such Back-Up

Bid and a closing therein shall take place in accordance with the Sale Procedures Order.

        48.       The Labrynth Reservation of Rights be and is hereby approved, subject to entry by

separate order.

        49.       Notwithstanding anything to the contrary contained in this Sale Approval Order,

the Asset Purchase Agreement, or asset purchase agreement submitted by the Stalking Horse, no

agreements with, or insurance policies issued by, Travelers shall be assumed or assigned by the

Debtors, and the rights of Travelers to the letter of credit with number ending 0441 shall be

unaffected. Exhibit H to the Asset Purchase Agreement and the asset purchase agreement

submitted by the Stalking Horse is hereby conclusively deemed amended to reflect this paragraph

49 without further act, deed, or order.



                                                   33
1326705v4
 Case 24-05385         Doc 229   Filed 06/07/24 Entered 06/07/24 11:41:19              Desc Main
                                 Document     Page 34 of 231



        50.     Notwithstanding anything to the contrary contained in this Sale Approval Order,

the Asset Purchase Agreement, or asset purchase agreement submitted by the Stalking Horse, the

Purchaser or Stalking Horse, as the case may be, shall provide the Debtors, the Committee, CIBC,

and their respective counsel, access to the Sale Assets for the purposes of valuation, appraisals,

allocation of the purchase price, and related matters upon reasonable notice and during normal

business hours. The provisions of this paragraph are in addition to any access rights granted in the

Purchase Agreement and the asset purchase agreement submitted by the Stalking Horse.

        51.     The Purchaser shall be entitled to take title to the Sale Assets through one or more

affiliated entities with the full benefits and protections of this Sale Approval Order being afforded

to such affiliated entities.

        52.     With respect to the proposed assumption and assignment of executory contracts or

unexpired leases objected to by the Committee [Dkt. No. 204]; Ecolab, Inc. [Dkt No. 211]; and

Foremost Farms USA [Dkt. No. 215], the objections and rights of each of these non-debtor parties

are preserved and the Debtors shall neither assume nor assign such executory contracts or

unexpired leases absent (a) consent of the applicable objecting party, the Debtors, and the

Constituent Parties; or (b) further Order of the Bankruptcy Court.



Dated: Chicago, Illinois
       June ___, 2024                              HONORABLE DAVID D. CLEARY
                                                   UNITED STATES BANKRUPTCY JUDGE




This Order Prepared by:

HOWARD L. ADELMAN, ESQ. (ARDC# 0015458)
HENRY B. MERENS, ESQ. (ARDC #6181695)
ADAM P. SILVERMAN, ESQ. (ARDC #6256676)
ALEXANDER F. BROUGHAM, ESQ. (ARDC #6301515)

                                                 34
1326705v4
 Case 24-05385     Doc 229   Filed 06/07/24 Entered 06/07/24 11:41:19   Desc Main
                             Document     Page 35 of 231



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                                           35
1326705v4
Case 24-05385   Doc 229   Filed 06/07/24 Entered 06/07/24 11:41:19   Desc Main
                          Document     Page 36 of 231



                              Exhibit A to

  Order: (A) Approving the Sale of Substantially
 All of the Assets of the Debtors Free and Clear of
       Interests Including Liens, Claims, and
Encumbrances; (B) Authorizing the Assumption and
Assignment of Executory Contracts and Unexpired
     Leases; and (C) Granting Related Relief:

                 Asset Purchase Agreement
 Case 24-05385       Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19             Desc Main
                                 Document     Page 37 of 231



            AMENDED AND RESTATED ASSET PURCHASE AGREEMENT

        THIS AMENDED AND RESTATED ASSET PURCHASE AGREEMENT
(“Agreement”) is made and entered into this 31st day of May, 2024 (the “Effective Date”), which
amends and restates that certain Asset Purchase Agreement dated May 24, 2024, by and between
THE OBERWEIS GROUP, INC., a Delaware corporation (“TOGI”), OBERWEIS DAIRY, INC.,
an Illinois corporation (“ODI”), TOGI BRANDS, LLC, an Illinois limited liability company
(“Brands”), NORTH AURORA ICE CREAM, LLC, an Illinois limited liability company
(“NAIC”), THIRD MILLENNIUM REAL ESTATE L.L.C., an Illinois limited liability company
(“TMRE”), and TOGI RE I, LLC, an Illinois limited liability company (“TRI”, together with
TOGI, ODI, Brands, NAIC, and TMRE, “Seller” or the “Seller Entities”), and HOFFMANN
DAIRY, LLC, a Missouri limited liability company (“Purchaser”), each a “Party” and
collectively, the “Parties”.

                                      W I T N E S S E T H:

        A.      WHEREAS, one or more of the Seller Entities is currently engaged in the business
of manufacturing, packaging, and distributing traditional, flavored, and organic milk, ice cream,
juice, and other dairy products (any and all products manufactured or distributed by Seller shall be
collectively referred to as the “ODI Products”), and the home delivery and retail sale of the ODI
Products, primarily in the Midwest (collectively, the “ODI Business”);

        B.     WHEREAS, the ODI Business is comprised of (i) a manufacturing facility located
at 951 Ice Cream Drive, North Aurora, Illinois owned by NAIC (the “North Aurora
Manufacturing Plant”); (ii) the operation of distribution centers across the Midwest leased by
ODI (the “ODI Depots”); (iii) the ownership and operation of owned retail stores owned by NAIC,
TMRE, and TRI (the “ODI Owned Retail Stores”); (iv) the operation of retail stores leased by
ODI (the “ODI Leased Retail Stores”); (v) the operation of home delivery services by ODI
described below in the States of Illinois, Missouri, Indiana, Michigan, and Wisconsin; (vi) the sale
and distribution by ODI of premium dairy products to regional grocery retailers; (vii) franchising
by TOGI and Brands of ice cream retail stores and pizzerias; and (viii) the ownership of, and rights
to use, trademarks, tradenames and other intellectual property through TOGI and other Seller
Entities;

      C.      WHEREAS, ODI leases and operates the ODI Depots at the locations set forth on
Exhibit A attached hereto and made a part hereof;

        D.       WHEREAS, one or more of the Seller Entities owns the ODI Owned Retail Stores
at the eight (8) locations set forth on Exhibit B attached hereto and made a part hereof;

        E.     WHEREAS, ODI leases and operates the ODI Leased Retail Stores at the locations
set forth on Exhibit C attached hereto and made a part hereof;

        F.     WHEREAS, the home delivery business utilizes specialized knowledge, knowhow,
and information relating to home delivery of ODI Products which constitutes intellectual property of
ODI, and includes the rights and interests of Seller to serve existing home delivery routes and
customers of ODI (the foregoing property of ODI, other than the ODI Products, utilized in the home
delivery business shall be collectively referred to as the “Home Delivery Assets”);


1326147v3
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19                Desc Main
                                  Document     Page 38 of 231



        G.      WHEREAS, prior to January 12, 2024, ODI conducted a home delivery business
in the states of Virginia, North Carolina, and Maryland (the “East Coast Home Delivery
Business”), and utilized Home Delivery Assets related to the East Coast Home Delivery Business
(the Home Delivery Assets relating to the East Coast Home Delivery Business shall be collectively
referred to as the “East Coast Home Delivery Assets”);

       H.      WHEREAS, on January 12, 2024, ODI transferred the East Coast Home Delivery
Assets to an unrelated third party and no longer owns the East Coast Home Delivery Assets, nor
operates the East Coast Home Delivery Business;

         I.      WHEREAS, Purchaser acknowledges that the Seller Entities voluntarily commenced
cases for reorganization under chapter 11 of the Bankruptcy Code (the “Bankruptcy Code”), filed
on April 12, 2024 (the “Filing Date”) in the United States Bankruptcy Court for the Northern District
of Illinois (the “Bankruptcy Court”), designated as Case Nos. 24-05385, 24-05388, 24-05389, 24-
05391, 24-05392, and 24-05393 (collectively, the “Chapter 11 Cases”), and from and after said
date have been operating their respective businesses and managing their property and affairs under
the jurisdiction of the Bankruptcy Court as debtors-in-possession;

        J.      WHEREAS, on May 1, 2024, the Seller Entities sought and obtained the entry of a
sales procedure order by the Bankruptcy Court, which is incorporated herein by reference and made
a part hereof, establishing a sale process in the Chapter 11 Cases and bidding procedures for the
marketing and sale of substantially all the assets of the Sellers, as more fully set forth therein (the
“Sale Procedures Order”); and

        K.      WHEREAS, pursuant to the terms and conditions of the Sale Procedures Order and
Sections 363(b) and 365(a) of the Bankruptcy Code, Seller Entities desire to sell the “Sale Assets”
(as defined below) to Purchaser, and in connection therewith, assume and assign to Purchaser certain
executory contracts and leased real property, and Purchaser desires to purchase the Sale Assets from
the Seller Entities and assume such executory contracts and unexpired leases upon the terms and
conditions hereinafter set forth; and

        L.      WHEREAS, Purchaser acknowledges this Agreement constitutes a bid for the
acquisition of the Sale Assets as part of a sale process under the Sale Procedures Order and agrees
to be bound thereby.

       NOW, THEREFORE, in consideration of the mutual covenants and agreements
hereinafter set forth, and for other good and valuable consideration, the parties agree as follows:

        1.     Incorporation of Recitals. The recitals hereinbefore set forth constitute an integral
part of this Agreement, evidencing the intent of the parties in executing this Agreement, and
describing the circumstances surrounding its execution. Accordingly, said recitals are, by express
reference, made a part of the covenants hereof, and this Agreement shall be construed in the light
thereof.

        2.     Purchase and Sale of Assets. Subject to the terms and conditions of this Agreement,
and to the approval of the Bankruptcy Court, Seller shall sell to Purchaser, and Purchaser shall
purchase from Seller, at the “Closing” (as defined below), all of the right, title and interest of Seller
in and to the following assets, free and clear of any and all interests, including liens, claims and

                                                   2
1326147v3
 Case 24-05385         Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19                  Desc Main
                                    Document     Page 39 of 231



encumbrances, other than “Permitted Encumbrances,” “Permitted Title Exceptions,” and “Assumed
Liabilities” (all as defined below) (collectively, the “Sale Assets”):

               (a)     Except with respect to “credit card receivables,” and “real estate advances
to insider” which are Excluded Assets as described in paragraph 3(i) and 3(j) below, all trade and
other accounts receivable as of the Closing (collectively, the “ODI Accounts Receivable”);

                (b)    All inventory, including raw materials, work in process, finished goods,
packing and shipping materials, supplies, promotional materials, service parts, inventory in transit
to Seller and prepaid inventory;

                (c)     All machinery, equipment, apparatus, tools, tooling, coolers, freezers, parts,
accessories, furniture, fixtures, computers, furnishings, signage, displays, shelving, telephone and
fax equipment and systems, supplies and other tangible personal property located at the North
Aurora Manufacturing Plant, the ODI Depots, the ODI Owned Retail Stores and the ODI Leased
Retail Stores, or otherwise utilized in or pertaining to the ODI Business, wherever located and
whether in possession of a third party, including but not limited to the personal property described
on Exhibit D attached hereto and made a part hereof;

                (d)   All vehicles listed on Exhibit E attached hereto and made a part hereof
(collectively, the “ODI Vehicles”);

                (e)      Subject to the right of the Seller Entities to retain copies (electronic or
otherwise) of financial information necessary for the preparation of all tax returns and other
requirements under law, all books, records, financial information, and documents pertaining to the
ODI Business, whether or not physically located in the North Aurora Manufacturing Plant, including,
but not limited to, customer files, lists and sales records (including credit information); supplier files,
lists, records and literature; product literature and all marketing, advertising and promotional
materials; computer software and data bases owned by Seller Entities; source codes; records of
salesman commissions or other compensation; management information systems; warehouse
management systems; personnel records for any former employees of the Seller Entities as of the
Closing who are employed by Purchaser after the Closing; and correspondence and other electronic
transmissions relating to any and all of the foregoing (collectively, the “Books and Records”), but
excluding personnel files for any former employees of Seller Entities as of the Closing who are not
employed by Purchaser within thirty (30) days from and after the Closing, Seller Entities’ business
organizational documents, corporate minute books, corporate seals, stock record books, and income
tax returns (collectively, the “Excluded Books and Records”);

               (f)    All intellectual property pertaining to the ODI Business described on
Exhibit F attached hereto and made a part hereof (the “ODI IP”);

                 (g)     The following intangible personal property used in the ODI Business, in each
case, if any, if and to the extent assignable, and subject to all third party consents: (i) software and
rights to use licensed software; (ii) all of Seller’s right, title and interest in and to the names described
on Exhibit F; and any variants or usage thereof; (iii) the rights to use all telephone and fax numbers
currently in use in the operation of the ODI Business, all of which are listed on Exhibit G attached
hereto and made a part hereof; (iv) the goodwill associated with the ODI Business; and (v) any and


                                                     3
1326147v3
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19                Desc Main
                                  Document     Page 40 of 231



all other proprietary information pertaining to the ODI Business and belonging to or registered in the
name of any of the Seller Entities (collectively, the “ODI Intangible Assets”);

                (h)    Those certain current and pending estimates, open orders, customer
contracts, customer contacts, and purchase orders to Seller from its customers which are
outstanding as of the Closing and selected by Purchaser, in its sole and absolute discretion
(collectively, the “Assumed Customer Purchase Orders”);

                (i)     All of the right, title and interest of NAIC, TMRE, and TRI in and to the
North Aurora Manufacturing Plant and the ODI Owned Retail Stores, as described on Exhibit B,
including all land, buildings, structures, improvements, fixtures and systems, easements, rights of
way to adjacent or adjoining streets, alleys or roadways, hereditaments, tenements, and
appurtenances thereto (collectively, the “Acquired Real Estate”);

               (j)    All of the right, title and interest of Seller in and to those certain executory
contracts and unexpired leases, if any, selected by Purchaser, in its sole and absolute discretion,
on Exhibit H attached hereto and made a part hereof (collectively, the “Assumed Contracts”);

              (k)      All permits, licenses and approvals, if any, if and to the extent assignable
and subject to all third-party consents, including, all environmental permits, if any (the “ODI
Permits”);

                (l)     To the extent assignable, and subject to third party consents, all transferrable
prepaid expenses and deposits as of Closing, including security and vendor deposits as of Closing,
if any, except that with respect to prepaid insurance policies and deposits thereon, only prepaid
expenses and deposits for policies related to automobile liability, automobile physical damage, and
property and equipment breakdown (collectively the “Automobile Coverage”) arising in connection
with the ODI Business shall be included in the Sale Assets, and any and all rights of any kind or
nature relating to insurance policies and related refunds other than for Automobile Coverage shall
remain property of the Seller after Closing;

                (m)     All unexpired warranties of manufacturers, vendors or other third parties, if
any, if and to the extent assignable and subject to all third-party consents; and

              (n)     All right, title and interest of Seller in the Home Delivery Assets, excluding
the East Coast Home Delivery Assets, subject to consumer and privacy ombudsman or other
requirements under the Bankruptcy Code.

        3.      Excluded Assets. Anything herein to the contrary notwithstanding, Seller shall retain
and shall not sell, convey, transfer, assign or deliver to Purchaser any right, title and interest in and
to the following assets and properties of Seller, and Purchaser hereby acknowledges that it does not
have nor will it acquire at Closing or thereafter an interest of any kind whatsoever in the following
assets and properties of Seller (collectively, the “Excluded Assets”):

              (a)    any cash or cash equivalents whatsoever, whether on hand, in banks or
elsewhere, including all bid deposits submitted by third parties under the terms of the Sale
Procedures Order and the “Cash Component” (as defined below) and the “Purchase Price” (as
defined below);

                                                   4
1326147v3
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                  Document     Page 41 of 231



               (b)     any and all inventory in the possession of Seller which is owned by
a customer of Seller and not reflected on the books and records of Seller as Seller-owned inventory;

               (c)     Excluded Books and Records;

               (d)    With the exception of any causes of action directly related to the Sale
Assets, all causes of action and litigation rights existing as of the Closing in favor of Seller,
including any and all causes of action arising under Sections 510, 544-553 of the United States
Bankruptcy Code;

               (e)     all tax refunds whenever arising, and all rights or other tax benefits arising
from Seller’s net operating losses arising prior to the Closing;

             (f)    all rights of Seller under executory contracts and unexpired leases that are
not Assumed Contracts;

              (g)    all non-transferable prepaid expenses and deposits arising in connection
with the ODI Business;

                (h)    any right, title or interest in and to any insurance policies, together with any
and all cash surrender values thereunder, and any returns and refunds of premiums paid, and other
amounts due back to Seller, with respect to cancelled policies;

                (i)     any and all “credit card receivables.” For purposes of this Agreement,
“credit card receivables” means and refers to any and all amounts due and owing to Seller Entities, or
any of them, by customers of Seller Entities, or any of them, whether arising prior to or after the
Filing Date which are paid through the use of credit or charge cards;

                (j)     any and all “real estate advances to insider.” For purposes of this
Agreement, “real estate advances to insider” means and refers to any and all amounts due and owing
to Seller from an insider of Seller for advances made by Seller on behalf of such insider with respect
to real estate located in O’Fallon, Missouri and Zionsville, Indiana under which there is no
applicable lease between such insider, or its affiliates, and Seller;

               (k)     all rights of Seller arising under this Agreement and ancillary agreements;

               (l)    any and all privileges of Seller with any of its professionals including
attorneys, accountants, and other advisors, whether related to attorney-client privilege, attorney
work product, or otherwise;

               (m)     all bank accounts and lock boxes;

               (n)     the East Coast Home Delivery Assets;

               (o)     all right, title and interest of Seller in and to all employee benefit plans;

               (p)     all rights, title or interests arising out of, under or related to the Excluded
Assets, including any refunds or credits.

                                                  5
1326147v3
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                  Document     Page 42 of 231



        4.     Assumed Liabilities. On the terms and subject to the conditions set forth in this
Agreement and the “Sale Approval Order” (as defined below), effective as of the Closing,
Purchaser shall assume and pay, perform, discharge or otherwise satisfy in accordance with their
respective terms the following liabilities (and only the following liabilities) (collectively, the
“Assumed Liabilities”):

               (a)     All liabilities of Seller under the customer loyalty program and gift card
program;

               (b)     All liabilities of Seller for deposit obligations on bottles utilized to sell ODI
Products in the ordinary course of business;

               (c)     All liabilities and obligations of Seller arising out of, under or relating to
any Assumed Contracts or Assumed Customer Purchase Orders other than “Cure Costs” (as
defined below), except for Cure Costs related to “Additional Contracts” and “Added Contracts”
(as each term is defined herein), which shall be assumed and paid by Purchaser;

               (d)    any damage caused by Purchaser in connection with the use, storage and/or
removal of the Sale Assets from any ODI Leased Retail Stores or ODI Depots;

                (e)     Any and all loss, cost, claim, liability, damage and expense of any kind
whatsoever (including, reasonable attorney’s fees, legal and other expenses incurred by the Seller
in connection therewith), that the Seller may at any time suffer, sustain, incur, realize or become
subject to which arises out of, under, or relates to the Sale Assets or the ODI Business from and
after the Closing. For clarity, liabilities described in this subparagraph (e) accruing prior to Closing
are Excluded Liabilities as set forth in paragraph 5(j) of this Agreement; and

              (f)     All liabilities and obligations of Seller owing to employees for accrued
vacation and personal time off consistent with Seller’s historical practices.

         5.      Excluded Liabilities. Notwithstanding any provision in this Agreement to the
contrary, Purchaser is assuming only the Assumed Liabilities and is not assuming, and shall not
be deemed to have assumed, any other liabilities of Seller of whatever nature (whether arising prior
to, at the time of, or subsequent to the Closing), whether absolute, accrued, contingent or otherwise,
whether due or to become due and whether known or unknown or currently existing or hereafter
arising or matured or unmatured, direct or indirect, and Seller shall be solely and exclusively liable
for any and all such liabilities, including those liabilities set forth below:

                (a)    All liabilities of Seller relating to or otherwise arising, whether before, on
or after the Closing, out of, or in connection with, any of the Excluded Assets;

              (b)    Any and all liabilities of Seller with respect to executory contracts and
unexpired leases which are not Assumed Contracts;

               (c)     Any and all liabilities of Seller with respect to estimates, open orders,
customer contracts, customer contacts, and purchase orders to Seller from its customers which are
outstanding as of the Closing and which are not Assumed Customer Purchase Orders;


                                                   6
1326147v3
 Case 24-05385         Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19                  Desc Main
                                    Document     Page 43 of 231



               (d)    All liabilities of Seller for any taxes (including, without limitation, taxes
payable by reason of contract, assumption, transferee or successor liability, operation of Law,
pursuant to Treasury Regulation Section 1502-6 (or any similar provision of any state or local law)
or otherwise), and:

                        (i)     Any taxes owed by Seller and arising in connection with the
                consummation of the transactions contemplated by this Agreement arising or
                related to any period(s) on or prior to the Closing;

                        (ii)    Taxes imposed on any person that are the responsibility of Seller
                (including, for the avoidance of doubt, the amount of transfer taxes required to be
                paid by Seller in consummating this Agreement); and

                         (iii)   Taxes arising from or in connection with an Excluded Asset;

                (e)    All liabilities with respect to employment or other provision of services,
compensation, severance, benefits or payments of any nature owed to any current or former
employee, officer, director, member, partner or independent contractor of Seller or any ERISA
affiliate (or any beneficiary or dependent of any such individual), whether or not employed by
Purchaser or any of its affiliates after the Closing, that:

                        (i)    Arises out of or relates to the employment, service provider or other
                relationship between Seller or ERISA affiliate and any such individual, including
                the termination of such relationship;

                         (ii)    Arises out of or relates to any benefit plan; or

                       (iii) Arises out of or relates to employment events or conditions
                occurring on or before the Closing;

                (f)     All liabilities related to the WARN Act and the Illinois WARN Act, in each
case to the extent applicable, for any action resulting from employees’ separation of employment
prior to or on the Closing;

               (g)     All liabilities related to employees (whether full-time, temporary or
otherwise) that are terminated or separated prior to or on the Closing;

                (h)     All liabilities of Seller to its equity holders respecting dividends,
distributions in liquidation, redemptions of interests, option payments or otherwise;

              (i)   All liabilities arising out of or relating to any business or property formerly
owned or operated by Seller, any affiliate or predecessor thereof, but not presently owned and
operated by Seller;

                 (j)    All liabilities relating to claims, actions, suits, arbitrations, litigation matters,
proceedings, investigations or other actions (in each case, whether involving private parties,
authorities, or otherwise) involving, against, or affecting any of the Sale Assets or the ODI Business,
whether commenced, filed, initiated, or threatened before or after the Closing and which was or

                                                     7
1326147v3
 Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19              Desc Main
                                 Document     Page 44 of 231



could have been asserted on or prior to the Closing or to the extent the basis of which arose or
accrued on or prior to the Closing;

               (k)     All obligations of Seller arising and to be performed prior to the Closing
arising from or related to the ODI Business or the Sale Assets, other than as expressly assumed
herein;

               (l)     All liabilities of Seller or its predecessors arising out of any contract,
agreement, permit, franchise or claim that is not transferred to Purchaser because of any failure to
obtain any third-party or governmental consent required for such transfer; and

              (m)     Any and all liabilities of any kind or nature relating to the failure of Seller
to comply with bulk sale laws, in any jurisdiction.

       6.      Deposit and Purchase Price.

                (a)   Deposit. Purchaser deposited an amount equal to Five Hundred Thirty-One
Thousand Two Hundred Fifty and 00/100 Dollars ($531,250.00) in an interest-bearing account
with Chicago Title and Trust with interest payable to Purchaser, to be disbursed only upon Order
of the Bankruptcy Court (the “Deposit”). The Deposit shall be credited to the Purchaser against
the Purchase Price at the closing of the transaction contemplated hereunder (the “Closing”), or
returned to the Purchaser as provided herein;

               (b)     Purchase Price. The purchase price for the Sale Assets shall be an amount
equal to Twenty-One Million Two Hundred Fifty Thousand and 00/100 Dollars ($21,250,000) (the
“Cash Component”), subject to the “Purchase Price Adjustment” (as defined below), plus the
Assumed Liabilities (collectively, the “Purchase Price”). An amount equal to the Cash Component
minus the “Purchase Price Adjustment” (as defined below), if any, and the Deposit shall be payable
by Purchaser to Seller at the Closing by wire transfer. Purchaser reserves the right to increase the
Purchase Price at the Auction as provided in the Sale Procedures Order;

                (c)    Purchase Price Adjustment. The Cash Component of the Purchase Price
shall be subject to a Purchase Price reduction (but not an increase) at Closing in an amount equal
to: (i) the “ODI Accounts Receivable Variance”, if any (as defined below), plus (ii) the “Inventory
Variance”, if any (as defined below) (the “Purchase Price Adjustment”).

               (d)     Purchase Price Adjustment Calculation. For the purposes hereof:

                       (i)    the ODI Accounts Receivable Variance shall be the difference
               between the actual amount of the ODI Accounts Receivable of Seller as determined
               by Seller based upon the books and records of Seller at the “Pre-Closing Calculation
               Date” (as defined below) (the “Actual ODI Accounts Receivable”) and One
               Million Two Hundred Thousand Dollars ($1,200,000.00) (the “Target ODI
               Accounts Receivable”). The difference, if any, so calculated shall be conclusively
               deemed to be the “ODI Accounts Receivable Variance” and shall be final, binding
               and conclusive. For clarity, if the Actual ODI Accounts Receivable is equal to or
               greater than the Target ODI Accounts Receivable, the ODI Accounts Receivable
               Variance shall be deemed equal to $0.00, and there shall be no Purchase Price

                                                 8
1326147v3
 Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19              Desc Main
                                 Document     Page 45 of 231



               Adjustment based upon the ODI Accounts Receivable Variance. For further clarity,
               the credit card receivables are an Excluded Asset and do not comprise ODI
               Accounts Receivable.

                       (ii)    The Inventory Variance shall be the difference between the actual
               inventory of Seller based upon the books and records of Seller at the Pre-Closing
               Calculation Date (the “Actual Inventory”) and Four Million Four Hundred
               Thousand and 00/100 Dollars ($4,400,000.00) (the “Target Inventory”). The
               difference, if any, so calculated shall be conclusively deemed to be the “Inventory
               Variance” and shall be final, binding and conclusive. For clarity, if the Actual
               Inventory is equal to or greater than the Target Inventory, the Inventory Variance
               shall be deemed equal to $0.00, and there shall be no Purchase Price Adjustment
               based upon an Inventory Variance.

               (e)    Purchase Price Adjustment Calculation Date. For the purposes hereof,
the Pre-Closing Calculation Date shall mean the fourth (4th) business day prior to the Closing.
Purchaser shall have the right to verify the ODI Accounts Receivable Variance and the Inventory
Variance between the Pre-Closing Calculation Date and Closing, either through physical
inspection or other method of verification.

               (f)     Purchase Price Adjustment Dispute. The Parties shall use all
commercially reasonable efforts in good faith to resolve any differences with respect to the ODI
Accounts Receivable Variance and/or the Inventory Variance. In the event the Parties are unable
to resolve any differences with respect to such variances, then, in such event, the Purchase Price
Adjustment shall be submitted to the Bankruptcy Court upon the joint request of Seller and
Purchaser for expedited determination.

                (g)     Allocation of Purchase Price. The Purchase Price and the Assumed
Liabilities (plus other relevant items) shall be allocated among the Sale Assets for all purposes
(including tax and financial accounting) in a manner consistent with Sections 338 and 1060 of the
Internal Revenue Code of 1986, as amended, and the regulations thereunder (the “Allocation
Schedule”). A draft of the Allocation Schedule shall be prepared by Purchaser and delivered to
Seller within 45 days following the Closing Date. If Seller notifies Purchaser in writing that Seller
objects to one or more items reflected in the Allocation Schedule, Seller and Purchaser shall
negotiate in good faith to resolve such dispute. If the Parties are unable to resolve the dispute
within 15 days after such written notice, either Party may submit the dispute to the Bankruptcy
Court for determination. Purchaser and Seller shall file all tax returns (including amended returns
and claims for refund) and information reports in a manner consistent with the Allocation
Schedule. Any adjustments to the Purchase Price pursuant to Section 6(c) herein shall be allocated
in a manner consistent with the Allocation Schedule.

        7.     Method of Sale; Bankruptcy Court Approval. Purchaser acknowledges that its
offer contained herein:

               (a)     is made pursuant Sale Procedures Order;

               (b)     is subject to Bankruptcy Court approval;


                                                 9
1326147v3
 Case 24-05385       Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19              Desc Main
                                 Document     Page 46 of 231



               (c)   is irrevocable, and shall be valid and subsisting so long as required under
the Sale Procedures Order; and

               (d)    will also be subject to further competitive bidding at the “Auction” as
described in the “Approved Bidding Procedures” attached to the Sale Procedures Order and
expressly incorporated herein and made a part hereof.

By submitting this offer, each of Purchaser and Seller shall be deemed to have consented to the
Sale Procedures Order and the Approved Bidding Procedures, and agrees to be bound by the terms
and conditions thereof in connection with this Agreement, in each case, as such terms and
condition may be amended by Seller on the record at the Auction. Capitalized terms not otherwise
defined herein shall have the same meanings ascribed in the Approved Bidding Procedures.
Notwithstanding the foregoing, in the event of any conflict between the Sale Procedures Order and
Approved Bidding Procedures and this Agreement, the Sale Procedures Order shall control in all
respects and for all purposes.

       8.      Title and Survey.

               (a)    The following protocols shall be implemented with respect to the Acquired
Real Estate:

                    (i)      Title commitments for title insurance from Chicago Title Insurance
       Company (“CTI”) for the Acquired Real Estate are contained in the Data Room and have
       been made available to the Purchaser (the “Title Commitments”);

                     (ii)    The most recent ALTA surveys in Seller’s possession for the
       Acquired Real Estate are contained in the Data Room and have been made available to the
       Purchaser (the “ODI Surveys”). The ODI Surveys shall be sufficient for the standard
       exclusions and exceptions contained in the 2016 ALTA Title Policy issued at the time of
       Closing by CTI to be waived by CTI at closing;

                       (iii)   The Purchaser shall have to and including the Bid Deadline to submit
       to Seller written objections (the “Title/Survey Objections”) to the Title Commitments and
       the ODI Surveys specifying the specific title exceptions and survey defects which Purchaser
       requires to be removed or corrected prior to Closing other than the “Permitted Title
       Exceptions” (as defined below) (collectively the “Unpermitted Title Exceptions”);
       provided, however, that Purchaser shall not be required to so object to unpaid taxes or
       assessments currently due and payable or existing liens, security interests, mortgages, or
       deeds of trust and other monetary encumbrances affecting the Acquired Real Estate
       (collectively, the “Monetary Encumbrances”), which shall each be considered
       Unpermitted Title Exceptions;

                       (iv)    Seller shall have ten (10) business days from receipt of the
       Title/Survey Objections to resolve any Unpermitted Title Exceptions. Should Seller be
       unable to resolve one or more of the Unpermitted Title Exceptions, Purchaser shall have the
       option of terminating this Agreement and receiving a return of the Deposit or take title to
       the given real estate parcel(s) subject to the Unpermitted Title Exceptions, in which case the
       Unpermitted Title Exceptions shall become Permitted Title Exceptions;

                                                10
1326147v3
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                  Document     Page 47 of 231



                      (v)     Real estate taxes not yet due and owing shall be prorated at Closing
       based upon actual bills, if available, or in an amount equal to one hundred five percent
       (105%) of the last ascertainable tax bill if current bills are unavailable.

                 (b)     For purposes hereof, the following shall constitute permitted title exceptions
(collectively the “Permitted Title Exceptions”): (1) all real estate taxes not yet due and payable,
and all inchoate liens for unpaid real estate taxes; (2) water and sewer charges not yet due and payable
as of the date of the Closing; (3) all present and future zoning, building, environmental and other
laws, ordinances, codes, restrictions and regulations of all governmental authorities having
jurisdiction with respect to the Acquired Real Estate, including without limitation, landmark
designations and all zoning variances and special exceptions, if any, provided that any violations of
same do not materially interfere with the current use and occupancy of the Acquired Real Estate; (4)
all covenants, restrictions and rights and all easements and agreements (recorded or otherwise) for
the erection and/or maintenance of water, gas, steam; electric, telephone, sewer or other utility
pipelines, poles, wires, conduits or other; like facilities, and appurtenances thereto, over, across and
under the Acquired Real Estate; (5) all other covenants, reservations, restrictions, rights, easements,
declarations and agreements of record, if any, provided that any violations of same do not materially
interfere with the current use and occupancy of the Acquired Real Estate; and (6) any encumbrances,
defects or objection to title and any and all other matters whatsoever in each case arising out of the
acts or omissions of Purchaser.

       9.      Closing.

               (a)     Closing Date. In the event that Purchaser is the prevailing bidder at the
Auction with respect to the Sale Assets, and this Agreement is approved as the Prevailing Bid by
order of the Bankruptcy Court at the Sale Hearing (the “Sale Approval Order”), then subject to
the terms and conditions of this Agreement, as may be amended at the Auction or otherwise, the
Closing shall take place at the offices of CTI at 10 South LaSalle Street, Suite 3100, Chicago,
Illinois 60603 at 10:00 a.m. at the later of June 12, 2024 or five (5) calendar days following the
entry of the Sale Approval Order, or at such other location, time and date as shall be mutually
agreed upon by the parties, but in no event the later than June 19, 2024. The time of the Closing
shall be deemed to be effective as of 12:01 a.m. (Chicago time) on the date of the Closing;

                (b)     Seller’s Deliveries at Closing. At the Closing, Seller shall execute and
deliver or cause to be executed and delivered to Purchaser the following documents, each of which
shall be in form and substance acceptable to Seller and Purchaser and their respective counsel:

                       (i)     Bill of Sale for the Sale Assets (the “Bill of Sale”);

                     (ii)  Assignments of the Assumed Contracts (the “Assumed Contracts
               Assignments”);

                     (iii) Assignment of the Assumed Purchase Orders (the “Assumed
               Purchase Orders Assignment”);

                      (iv)  Assignment of the ODI Intangible Assets (the “ODI Intangible
               Assets Assignment”);


                                                  11
1326147v3
 Case 24-05385       Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19            Desc Main
                                Document     Page 48 of 231



                      (v)    Assignment of the ODI IP (the “ODI IP Assignment”);

                      (vi)   Assignment of the ODI Permits (the “ODI Permit Assignment”);

                     (vii) Original certificates of title for the ODI Vehicles assigned by Seller
              to Purchaser which are in the possession of ODI;

                      (viii) Copies of all Books and Records;

                      (ix)   A certified copy of the Sale Approval Order;

                      (x)     Originals of the Assumed Contracts, and if unavailable, true and
              correct copies thereof;

                      (xi)   The following conveyance documents for the Acquired Real Estate:

                             (A)     Special Warranty Deed

                             (B)     ALTA Statement

                             (C)     Gap Undertaking

                             (D)     Transfer Tax Declarations

                             (E)     FIRPTA

                             (F)     1099 Forms

                             (G)     Policies of Title Insurance issued by CTI reflecting title in
                                     the name of the Purchaser in the allocated amount of the
                                     Purchase Price, subject only to the Permitted Title
                                     Exceptions.

                     (xii) A certified resolution of Seller’s Board of Directors or managers, as
              the case may be, authorizing the execution, delivery and performance of this
              Agreement;

                      (xiii) If requested by Purchaser, notices in a form reasonably satisfactory
              to Purchaser executed by Seller's president, or CRO, as the case may be, to each
              customer or account debtor of Seller of the sale of the Sale Assets, and Purchaser’s
              right to collect the applicable receivables; and

                     (xiv) Such other instruments and documents as Purchaser or CTI shall
              reasonably request to consummate the transactions contemplated in this
              Agreement.

               (c)     Purchaser’s Deliveries at Closing. At the Closing, Purchaser shall execute
and deliver or cause to be executed and delivered to Seller the following:


                                               12
1326147v3
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                  Document     Page 49 of 231



                       (i)    The Purchase Price, as may be amended by the Purchase Price
               Adjustment, by cashier's check or wire transfer (with the Deposit to be credited
               against such payment);

                      (ii)  A certified resolution of Purchaser's Board of Directors (or other
               governing body) authorizing the execution, delivery and performance of this
               Agreement;

                     (iii) Executed counterparts of the Bill of Sale, the Assumed Contracts
               Assignments, Assumed Purchase Orders Assignment, the ODI IP Assignment, the
               ODI Intangible Assets Assignment and the ODI Permit Assignment;

                        (iv)   A solvency certificate verifying the solvency of Purchaser and its
               ability to consummate the transaction contemplated herein;

                       (v)     The “Removal Property COI” (as defined below); and

                      (vi)  Such other instruments and documents as Seller or CTI shall
               reasonably request to consummate the transactions contemplated in this
               Agreement.

       10.     Assumption of Contracts at Closing.

               (a)    Subject to paragraph (e) below, Exhibit H sets forth a list of all Assumed
Contracts that Purchaser desires Sellers to assign to Purchaser at Closing subject to approval by
the Bankruptcy Court, designated in the column labeled “Assume” in Exhibit H with the word
“Accept”;

               (b)    Seller shall take all actions required to assume and assign the Assumed
Contracts to Purchaser in the Chapter 11 cases, including: (i) taking all actions required to facilitate
any negotiations with the counterparties to such contracts and obtaining an order from the
Bankruptcy Court containing a finding that the proposed assumption and assignment of the
Assumed Contracts to Purchaser satisfies all applicable requirements of Section 365 of the
Bankruptcy Code; and (ii) expressly authorizing the assumption and assignment of the Assumed
Contracts;

                (c)    Promptly upon request of Seller, Purchaser agrees to provide to Seller and
counterparties to the Assumed Contract financial information, including financial statements of
Purchaser or other information demonstrating its creditworthiness, reasonably necessary to
establish adequate assurance of future performance and otherwise cooperate with Seller and the
counterparties with respect to establishing such adequate assurance. Seller will maintain (and ensure
that all such counterparties maintain) the confidentiality of all such information received from
Purchaser, and Seller will use (and ensure that all such counterparties use) such information solely
for the purpose of establishing adequate assurance of future performance. In addition, Seller will
undertake commercially reasonable efforts to require all counterparties to enter into written
confidentiality agreements with Seller and Purchaser, on terms reasonably acceptable to Purchaser,
governing the use and disclosure of any financial information of Purchaser shared with them in
connection with establishing adequate assurance of future performance, unless disclosure of

                                                  13
1326147v3
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19              Desc Main
                                  Document     Page 50 of 231



financial information is not requested by the applicable counterparty. In the event a counterparty is
unwilling to enter into such confidentiality agreement, Seller shall so advise Purchaser, whereupon
Purchaser shall promptly inform Seller that either (i) Purchaser desires Seller to assume and assign
the applicable Assumed Contract notwithstanding the absence of a confidentiality agreement, or (ii)
Purchaser does not desire Seller to assume and assign the applicable Assumed Contract. Upon
Purchaser’s election not to have Seller assume and assign an Assumed Contract, Seller shall be
under no obligation to assume or assign such Assumed Contract; and Seller and Purchaser shall
proceed to Closing with no change to the Purchase Price. Notwithstanding the foregoing, in the
event of a contested matter before the Bankruptcy Court to determine Purchaser’s ability to
demonstrate adequate assurance of future performance of any Assumed Contract, Seller shall have
no obligation to require a counterparty to enter into a confidentiality agreement, and Seller shall be
free to use Purchaser’s financial information in any proceeding on such contested matter subject to
a protective order as necessary and appropriate to maintain the confidentiality of Purchaser’s
financial information;

                (d)     At Closing, (i) Seller shall assume and assign to Purchaser each of the
Assumed Contracts that is capable of being assumed and assigned and (ii) Purchaser shall assume
and perform and discharge the Assumed Liabilities (if any) under the Assumed Contracts pursuant
to the entry of an order by the Bankruptcy Court, approving the assumption and assignment of the
Assumed Contracts (the “Executory Contract Approval Order”). The Executory Contract
Approval Order shall expressly provide that the Seller shall bear all costs necessary to remedy any
existing defaults under the Assumed Contracts (the “Cure Costs”), except as otherwise provided
herein;

                (e)    Prior to the Closing Date, Seller shall not reject or alter any of its executory
contracts or unexpired leases, unless otherwise agreed to in writing by Purchaser. Prior to the
Closing, Purchaser shall have the right to notify Seller in writing of any contract it previously
declined to designate as an Assumed Contract by specifying its election to “reject” such executory
contract or unexpired lease in Exhibit H but now desires to add to the list of Assumed Contracts (an
“Added Contract”) (in which case, the Added Contract shall be deemed to be one of the Assumed
Contracts); provided, however, that in the event the Purchaser designates an Added Contract, then,
in such event, the Cure Costs therefor shall be borne solely by the Purchaser so long as such Cure
Costs are reasonably consistent with Seller’s representations thereof, and the Purchaser shall have
the sole responsibility to establish adequate assurance of future performance for any Added
Contract. Exhibit H shall be deemed amended to reflect any Added Contract to the list of Assumed
Contracts. Anything herein to the contrary notwithstanding, should a disagreement arise between
Seller and Purchaser regarding the Cure Costs of any Added Contract and a resolution to the
satisfaction of Purchaser is not reached within a reasonable period of time not to exceed three
business days after Purchaser’s notice to Seller of such disagreement: (i) Purchaser may, at its sole
discretion, remove the contract from the list of Assumed Contracts; (ii) Seller shall be under no
obligation to assume or assign such Added Contract; and (iii) and Seller and Purchaser shall proceed
to Closing with no change to the Purchase Price. In no event shall Seller be obligated to pay any
Cure Costs for an Added Contract;

               (f)     Seller acknowledges and agrees that upon the entry of the Sale Approval
Order, (i) Purchaser shall have the right to negotiate any amendments or modifications to the terms


                                                  14
1326147v3
 Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                 Document     Page 51 of 231



of the Assumed Contracts; and (ii) upon the entry of the Sale Approval Order, Purchaser may
negotiate such amendments and modifications with such third parties; and

                (g)      Anything herein to the contrary notwithstanding, Purchaser will also be
responsible for the Cure Costs of any Additional Contract, provided that such Cure Costs are
reasonably consistent with Seller’s representations thereof. For purposes of this Section,
“Additional Contract” means any Assumed Contract listed on Exhibit H attached hereto that is
not designated for assumption on the “Amended Exhibit H to Stalking Horse APA: Executory
Contracts” (Doc. 171) filed with the Bankruptcy Court on May 23, 2024. Should a disagreement
arise between Seller and Purchaser regarding the Cure Costs of any Additional Contract and a
resolution to the satisfaction of Purchaser is not reached within a reasonable period of time not to
exceed three business days after Purchaser’s notice to Seller of such disagreement: (i) Purchaser
may, at its sole discretion, remove the contract from the list of Assumed Contracts; (ii) Seller shall
be under no obligation to assume or assign such Additional Contract; and (iii) Seller and Purchaser
shall proceed to Closing with no change to the Purchase Price. In no event shall Seller be obligated
to pay any Cure Costs for an Additional Contract.

       11.     Delivery and Condition of the Sale Assets.

                (a)    Immediately upon completion of the Closing, Seller shall be deemed to have
fully and completely turned over to Purchaser the possession, custody and control of the Sale
Assets. In connection therewith, Seller shall be deemed to have vacated the Acquired Real Estate,
the ODI Depots for which there is an Assumed Contract, and the ODI Leased Retail Stores for
which there is an Assumed Contract concurrently upon the Closing. Purchaser agrees that, from
and after the Closing, Purchaser shall be solely responsible and liable for any loss, cost, damages,
expenses or liabilities of any kind or nature whatsoever arising out of, under or related to the
applicable ODI Leased Retail Stores for which there is an Assumed Contract, ODI Depots for
which there is an Assumed Contract, the Acquired Real Estate and/or Purchaser’s storage, use,
removal, sale, transfer, conveyance or other disposition of the Sale Assets transferred hereunder.
Seller is not assuming and shall not be liable or responsible for any or all such liabilities or
obligations after Closing;

                 (b)    Purchaser agrees that it is purchasing and shall take possession of the Sale
Assets, on an AS IS, WHERE IS basis, with all faults of any kind or nature, including latent or patent
defects, and without other representations and warranties, express, implied or statutory, written or
oral, of any kind, nature or description except as expressly provided herein. Purchaser acknowledges
that it has previously been given the opportunity to and has conducted such investigations and
inspections of the Sale Assets as Purchaser has deemed necessary or appropriate for the purposes of
this Agreement. Purchaser further acknowledges it has completed all of its due diligence with respect
to the transactions contemplated herein as of the Effective Date;

                (c)    Except as expressly provided for herein, Purchaser acknowledges and agrees
that Seller has not made, and hereby does not make or intend to make, any express or implied
representations, statements, warranties, or conditions of any kind or nature whatsoever concerning
the Sale Assets, including without limitation of the generality of the foregoing: (i) the condition,
working order, sufficiency, quantity and/or quality of any or all of the Sale Assets; (ii) the
assignability of the ODI Permits or any of them; (iii) the environmental status and conditions of the

                                                 15
1326147v3
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                  Document     Page 52 of 231



ODI Depots, ODI Leased Retail Stores or the Acquired Real Estate; (iv) the condition of the roof,
heating, central cooling, ventilating, lighting, plumbing and electrical fixtures and systems, basement
flooding, leaks, seepage, insect infestation of the ODI Depots, ODI Leased Retail Stores or the
Acquired Real Estate; (v) the ability to use the telephone numbers; (vi) the condition or quality of
Seller’s customers, employees, assets, liabilities, operations, profitability or lack thereof; (vii) the
accuracy of projections, estimates, budgets, forecasts, or any other matters of any kind or nature
whatsoever arising out of, under or related to the ODI Business and/or the matters leading up to this
Agreement; (viii) the completeness or accuracy of Seller’s past or present financial statements, books
and records and other financial information; or (ix) any and all implied warranties of merchantability
or fitness for a particular purpose.

                (d)    With respect to any Sale Asset located within an ODI Depot or ODI Leased
Retail Store for which the applicable unexpired lease for said premises is not an Assumed Contract
and which Purchaser desires to remove from said premises (the “Removal Property”), Purchaser
shall proceed as follows:

                        (i)   Within two (2) days of Closing, Purchaser shall provide Seller with
               a list of Removal Property. Removal Property shall be confined to personal property
               constituting Sale Assets and shall not constitute fixtures. If Seller believes any
               Removal Property to be a fixture or otherwise not constitute Sale Assets, Purchaser
               and Seller shall use commercially reasonable efforts to resolve such dispute in a
               timely manner, and to the extent necessary, confer with the applicable landlord to
               resolve such dispute. The Bankruptcy Court shall be the arbiter of what constitutes
               personal property or a fixture, absent consensual resolution.

                       (ii)    Purchaser shall cause removal of the Removal Property no later than
               five business days after Closing, provide however, that in the event the Removal
               Property is not removed by June 30, 2024, Purchaser shall be obligated to pay the
               applicable landlord all holdover rent caused by such untimely removal, together with
               all other applicable charges under the lease as if Purchaser was the tenant thereunder.

                       (iii)  Prior to causing removal of the Removal Property, Purchaser shall
               provide Seller with a certificate of insurance adding Sellers as additional insureds
               and loss payee providing for insurance coverage for any damages caused by
               Purchaser in removing Sale Assets from any applicable ODI Depot or ODI Leased
               Retail (the “Removal Property COI”)

                       (iv)    Upon completion of removal of the Removal Property, Purchaser
               shall leave the applicable ODI Depot or ODI Leased Retail Store in substantially
               the same condition as prior to causing such removal (other than giving effect to
               removal of the Removal Property). In the event of any damages caused by removal
               of the Removal Property to any ODI Depot or ODI Leased Retail Store, Purchaser
               shall be solely liable to compensate the applicable landlord for such damages.

       12.     Conditions Precedent to the Obligations of Purchaser. All obligations of
Purchaser hereunder are subject to the fulfillment, at or prior to the Closing, of each of the
conditions precedent set forth below or otherwise contained herein.

                                                  16
1326147v3
 Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                 Document     Page 53 of 231



                (a)    The representations and warranties of Seller contained herein shall be true
and correct on and as of Closing, with the same force and effect as though made on and as of said
date, except as affected by the transactions contemplated hereby;

               (b)     Seller shall have performed all of its obligations and agreements, and
complied with all of its covenants herein, to be performed and complied with by Seller, prior to
Closing or such earlier date as herein specified. At the Closing, Seller shall deliver possession of
the Sale Assets to Purchaser as set forth herein;

               (c)     The Bankruptcy Court shall have entered the Sale Approval Order:

                       (i)      Approving the sale, transfer and assignment of the Sale Assets to
               Purchaser free and clear of any and all liens, claims and encumbrances, including
               but not limited to all: (i) successor liability obligations under applicable law
               (subject to the willingness of the Bankruptcy Court to exculpate the Purchaser from
               such liability); (ii) collective bargaining agreement obligations, if any; (iii) pension
               and other retiree obligations, if any; and (iv) claims for taxes assessed by, or owing
               to, any governmental entity, but expressly subject to Permitted Encumbrances,
               Permitted Title Exceptions and Assumed Liabilities;

                       (ii)     Providing that any and all valid “Interests” (as defined in the
               Bankruptcy Code) including but not limited to liens, claims and encumbrances,
               shall attach to the Cash Component of the Purchase Price at Closing;

                      (iii) Approving Seller’s assumption and assignment of the Assumed
               Contracts, in accordance with Section 365 of the Bankruptcy Code, in which case
               the Sale Approval Order shall be deemed to be the Executory Contract Approval
               Order for purposes hereof; and

                      (iv)    Containing a finding that Purchaser is a good faith purchaser
               pursuant to Section 363(m) of the Bankruptcy Code;

               (d)     For the purposes of this Agreement, “Permitted Encumbrances” shall be:

                      (i)     Encumbrances for current taxes not yet due and payable or being
               contested in good faith; and

                       (ii)    Permitted Title Exceptions.

               (e)     There shall have been no Material Adverse Change (as specifically defined
below) in the Sale Assets or the ODI Business relating thereto from the date hereof until the Closing
except as disclosed, and reasonably acceptable, to Purchaser. For the purposes of this Agreement,
a “Material Adverse Change” shall mean and be limited to an occurrence of the following:

                      (i)    the closure of a majority of the ODI Owned Retail Stores or ODI
               Leased Retail Stores, in the aggregate, for a period in excess of three (3)
               consecutive days;


                                                 17
1326147v3
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                  Document     Page 54 of 231



                       (ii)   the cessation of the home delivery business for a period in excess of
               three (3) consecutive days;

                     (iii) the cessation of ice cream and milk processing at the North Aurora
               Manufacturing Plant for a period in excess of three (3) consecutive days;

                     (iv)   the layoff or termination of a twenty percent (20%) or more of
               employees who work at the North Aurora Manufacturing Plant; or

                       (v)        the entry of an order or other force of law of a governmental unit
               requiring the cessation of the ODI Business in the ordinary course for a period in
               excess of five (5) consecutive days or more, which is not vacated or otherwise
               withdrawn or stayed prior to becoming enforceable.

        13.    Conditions Precedent to the Obligations of Seller. All obligations of Seller
hereunder are subject to the fulfillment, at or prior to the Closing, of each of the conditions set
forth below or otherwise contained herein:

                (a)     The representations and warranties of Purchaser herein contained shall be
true and correct on and as of the Closing, with the same force and effect as though made on and as
of said date, except as affected by the transactions contemplated hereby;

               (b)    Purchaser shall have acted in good faith and in a non-collusive manner in
connection with the sale process including the Auction, and shall have performed all of its
obligations and agreements, and complied with all of its covenants herein to be performed and
complied with by Purchaser, prior to the Closing or such earlier date as may be specified herein.
At the Closing, Purchaser shall take possession of the Sale Assets as contemplated herein;

               (c)     The Bankruptcy Court shall have entered the Sale Approval Order;

                (d)   If Purchaser has reached, or contemplates reaching, an employment or
consulting agreement with any former or current officer of Seller, Purchaser shall have fully
disclosed the terms and conditions of any and all such employment and/or consulting agreements
to the Bankruptcy Court prior to the entry of the Sale Approval Order.

      14.     Covenants. Between the date hereof and the Closing, Seller and Purchaser hereby
covenant and agree, as the case may be, as follows:

               (a)     Seller shall not sell, lease, transfer, convey, assign or dispose of in any
manner whatsoever, any of the Sale Assets except in the ordinary course of the ODI Business
consistent with past practices;

                 (b)     Seller agrees to maintain and preserve the Sale Assets prior to the Closing
in its present state and condition in all material respects, subject only to use in the ordinary course
of business and ordinary wear and tear;

              (c)    Seller agrees to maintain the Books and Records in a complete and accurate
manner on a basis consistent with past bookkeeping and accounting practices of Seller;

                                                  18
1326147v3
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                  Document     Page 55 of 231



                 (d)    Seller agrees to pay all taxes, of any kind and nature incurred or arising prior
to Closing, as and when due, or as soon thereafter as is practicable, which may in any way affect
or relate to the Sale Assets, provided, however, Seller shall be obligated to pay such taxes only to
the extent authorized under the Bankruptcy Code;

               (e)    Seller agrees to operate the ODI Business in the ordinary course between
the date hereof and Closing consistent with past practices;

               (f)     Each party agrees not to knowingly take, or fail to take, any action which
by reason of taking or such failure to take would make any representations or warranties of each
party herein materially untrue, inaccurate or otherwise misleading; and

               (g)  Each party agrees to take all corporate and other action reasonably
necessary to consummate and carry out the transactions contemplated herein.

       15.     Seller’s Representations and Warranties. Seller represents and warrants to
Purchaser as follows:

               (a)      Seller has good and marketable title to the Sale Assets and, upon the entry
of the Sale Approval Order, Purchaser will acquire all right, title and interest in the Sale Assets,
free and clear of all interests including liens, claims and encumbrances, other than the Permitted
Encumbrances and Permitted Title Exceptions;

               (b)     Subject only to the approval of the Bankruptcy Court, Seller has full power
and authority to execute and perform this Agreement and all documents and instruments to be
executed by Seller pursuant to this Agreement. This Agreement, and all documents related hereto,
have been or will be duly executed and delivered by duly authorized officers of Seller. Upon the
approval of the Bankruptcy Court, this Agreement shall constitute a legal, valid and binding
obligation of Seller enforceable against Seller in accordance with its terms;

                (c)     Subject only to the approval of the Bankruptcy Court, and to the best of
Seller’s knowledge, information and belief, no consent, authorization, order or approval of, or
filing or registration with, any governmental commission, board or other regulatory body of the
United States or any state or political subdivision thereof is required for or in connection with the
consummation by Seller of the transactions contemplated by this Agreement;

                 (d)    Subject only to the approval of the Bankruptcy Court, neither the execution
and delivery of this Agreement by Seller, nor the consummation by Seller of the transactions
contemplated hereby, will conflict with or result in a breach of any of the terms, conditions or
provisions of Seller's Certificate of Incorporation or by-laws, or of any order, writ, injunction,
judgment or decree of any court or governmental authority or of any arbitration award to which
Seller is a party or by which Seller is bound;

                 (e)    Seller has made available to Purchaser summaries of all material benefit
plans covering employees, directors or consultants or former employees, directors or consultants
in, or related to, the ODI Business;



                                                  19
1326147v3
 Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19              Desc Main
                                 Document     Page 56 of 231



               (f)     Except as set forth on Exhibit I hereto, there are no employment,
consulting, severance or indemnification contracts between Seller and any of its employees. Seller:

                      (i)    is not party to or bound by any collective bargaining or similar
               agreement with any labor organization; has no employees that are represented by
               any labor organization; and

                     (ii)    has no knowledge of any union organizing activities among the
               employees of Seller.

                (g)    To the best of Seller’s knowledge, information and belief, Seller is and at
all times has been in compliance in all respects with all ODI Permits applicable to it, or applicable
to the conduct and operations of the ODI Business, or relating to or affecting the Sale Assets,
except for such failures to comply that would not, individually or in the aggregate, have or be
reasonably expected to have a material adverse effect. Seller has not received any written notice
from any governmental body specifically alleging:

                        (i)   any actual, alleged, possible or potential material violation of, or
               failure to comply with, any such permits; or

                      (ii)   any actual, alleged, possible or potential revocation, withdrawal,
               suspension, cancellation or termination of, or any modification to, any permit.

               (h)    The names of the twenty (20) largest customers of the Seller measured by
revenue for the twelve (12) calendar months ended December 31, 2023, have been provided to
Purchaser. Unless otherwise disclosed to Purchaser prior to execution of this Agreement, none of
said customers has notified the Seller in writing that it is, and to the best of Seller’s knowledge,
information and belief, no such customer is:

                       (i)     canceling or terminating its relationship with the Seller; or

                       (ii)   considering or intends, anticipates or otherwise expects to stop,
               materially decrease the volume of, or materially change, adjust, alter or otherwise
               modify any of the terms (whether related to payment, price or otherwise) with
               respect to purchasing materials, products or services from the Seller.

      16.     Purchaser’s Representations and Warranties. Purchaser, as a material
inducement to the execution of this Agreement by Seller, represents and warrants to Seller:

               (a)     Purchaser is a limited liability company duly organized and validly existing
under the laws of the State of Missouri;

               (b)    Purchaser has full power and authority to execute and perform this
Agreement and all documents and instruments to be executed by Purchaser pursuant to this
Agreement. This Agreement, and all documents related hereto, have been, or will be, executed and
delivered by duly authorized manager of Purchaser. This Agreement shall constitute a legal, valid
and binding obligation of Purchaser enforceable against Purchaser in accordance with its terms;


                                                 20
1326147v3
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                  Document     Page 57 of 231



               (c)     Except for the approval of the Bankruptcy Court, no consent, authorization,
order or approval of, or filing or registration with, any governmental commission, board or other
regulatory body of the United States or any state or political subdivision thereof is required for or in
connection with the consummation by Purchaser of the transactions contemplated by this
Agreement;

                (d)    Neither the execution and delivery of this Agreement by Purchaser, nor the
consummation by Purchaser of the transactions contemplated hereby, will conflict with or result
in a breach of any of the terms, conditions or provisions of Purchaser's organizational documents,
or of any statute or administrative regulation, or of any order, writ, injunction, judgment or decree
of any court or governmental authority or of any arbitration award to which Purchaser is a party
or by which Purchaser is bound;

               (e)    Purchaser has or shall be deemed to have completed all of its due diligence
efforts regarding the ODI Business and the Sale Assets as of the Effective Date and Purchaser
hereby waives further due diligence requirements as of the Effective Date.

                (f)     Purchaser has, and will have at the Closing, sufficient funds in an aggregate
amount necessary to pay the Purchase Price, to perform the Assumed Liabilities as they become due
in accordance with their terms and to consummate all of the other transactions hereunder, including
the payment of the Purchase Price and all fees, expenses of, and other amounts required to be paid
by, Purchaser in connection with the acquisition of the Sale Assets. Purchaser is and shall be capable
of satisfying the conditions contained in sections 365(b)(1)(C) and 365(f) of the Bankruptcy Code
with respect to the Assigned Contracts and the related Assumed Liabilities.

       17.    Termination and Remedies. This Agreement and the transactions contemplated
herein may be terminated prior to Closing pursuant to any of the following:

               (a)     By Purchaser or Seller in the event the Bankruptcy Court does not authorize
Seller to proceed in accordance with the terms of this Agreement as drafted, in which case
Purchaser shall be entitled to a refund of its Deposit.

                 (b)     By the mutual written consent of Seller and Purchaser, in which case, this
Agreement shall be null and void and of no legal effect whatsoever upon Seller’s return of the
Deposit, and each party hereto shall suffer their own losses, costs, expenses or damages arising
out of, or related to this Agreement;

                (c)     Upon the closing of a Prevailing Bid submitted at by a party other than
Purchaser, and provided that Purchaser is not in default hereunder, then subject to the terms and
conditions of the bidding procedures approved in the Sale Procedures Order concerning the Back-
Up Bid, this Agreement shall be null and void and of no legal effect whatsoever upon Seller’s
return of the Deposit, and each party hereto shall otherwise suffer their own losses, costs, expenses
or damages arising out of, or related to this Agreement; or

               (d)     By either of the parties hereto if the other party materially defaults under
this Agreement or if the Closing shall not have occurred at or before 5:00 p.m. on June 30, 2024;
provided, however, that the right to terminate this Agreement under this subparagraph shall not be
available to any party whose failure to fulfill any of its obligations under this Agreement has been

                                                  21
1326147v3
 Case 24-05385         Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19                Desc Main
                                   Document     Page 58 of 231



the cause of or resulted in the failure of the Closing to occur on or prior to the aforesaid date,
provided however, that:

                        (i)    If Purchaser is not in default hereunder and Seller fails to make the
                required deliveries at the Closing or materially defaults under this Agreement with
                no fault of Purchaser, then Purchaser shall have the right to:

                                (A)     terminate this Agreement and thereupon this Agreement
                        shall be null and void and of no legal effect whatsoever upon Seller’s return
                        of the Deposit to Purchaser;

                               (B)      pursue the remedy of specific performance of this
                        Agreement in the Bankruptcy Court, in which case, if successful, Purchaser
                        shall be entitled to offset from the Purchase Price at Closing all of its
                        reasonable costs and expenses incurred in connection therewith (including,
                        without limitation, reasonable attorneys' fees); or

                                (C)     waive or agree to modify the occurrences causing Seller's
                        inability to consummate the transactions contemplated herein, after which
                        Purchaser shall be required to consummate the transactions contemplated
                        herein; and

                        (ii)   If Seller is not in default hereunder, and Purchaser fails to pay the
                balance of the Purchase Price at the Closing as set forth above, or refuses to close
                for any reason, then Seller, as its sole remedy, shall be entitled to retain the Deposit
                as liquidated damages for Purchaser’s default.

        18.    Brokers. Excluding Livingstone, the parties hereto warrant to each other that they
have not engaged, consented to, or authorized any other broker, investment banker, or other third
party to act on their behalf, directly or indirectly, as a broker or finder in connection with the
transactions contemplated by this Agreement, and that no such other third party is entitled to any
fee or compensation in connection with this Agreement or the transactions contemplated hereby by
reason of any action of it. Seller and Purchaser shall indemnify, defend and hold harmless the other
from any and all claims of any broker, investment banker, or other broker or finder, arising by,
through or under either of them in connection with this transaction.

        19.     Risk of Loss. Legal title to, and all risk of loss for, the Sale Assets shall be
transferred to Purchaser effective upon the Closing.

        20.     Further Assurances; Post-Closing Obligations.

                 (a)     Seller and Purchaser shall each make their respective books and records
(including work papers in the possession of their respective accountants and, to the extent they exist,
Seller’s annual income tax returns, quarterly tax returns and payroll tax returns) with respect to the
ODI Business and Sale Assets available for inspection by the other Party, or by its duly accredited
representatives, for reasonable business purposes at all reasonable times during normal business
hours, for a three (3) year period after the Closing, with respect to all transactions of Seller occurring
prior to and relating to the Closing, provided that, with respect to Purchaser, its obligation under this

                                                   22
1326147v3
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                  Document     Page 59 of 231



subparagraph shall only relate to the Books and Records that are Sale Assets, and not any of
Purchaser’s other books and records. As used in this subparagraph, the right of inspection includes
the right to make extracts or copies. The representatives of a Party inspecting the records of the
other Party shall be reasonably satisfactory to the other Party;

                (b)     For a period of ninety (90) days after the Closing, Purchaser shall, at no cost
to Seller, for purposes of Seller’s continuing efforts to complete the administration of Seller’s
estate in the Chapter 11 Case, make reasonably available to Seller during all normal business hours:
(1) access to the Acquired Real Estate; and (2) the employees of Seller that Purchaser hires, if any;

                (c)     On and after the date of the Closing, Seller shall not deposit any checks made
payable to Seller on account of any of the Sale Assets and shall hold any such checks in trust for
Purchaser until such time as Seller delivers such checks to Purchaser, which delivery shall occur no
later than two (2) business days after Seller receives such checks. Furthermore, on and after the date
of the Closing, any payments received by Seller via direct deposit, wire transfer or other form of
electronic payment on account of any of the Sale Assets shall be held by Seller in trust for Purchaser
until such time as Seller transfers such payments to Purchaser, which transfer shall occur no later
than two (2) business days after Seller receives such payments;

                (d)    From and after the Closing, Seller hereby constitutes and appoints
Purchaser the true and lawful attorney and attorneys of Seller, with full power of substitution, in
the name of Purchaser or in the name and stead of Seller, but on behalf of, for the benefit and at
the expense of Purchaser, solely for the purpose of endorsing and/or otherwise negotiating any
checks or other instruments representing payments on ODI Accounts Receivable which may be
made payable to Seller. Seller acknowledges that the foregoing powers are coupled with an interest
and shall be irrevocable by it or upon its subsequent dissolution or in any manner or for any reason;

              (e)     From and after the Closing for a period of ninety (90) days, Seller agrees to
forward to Purchaser all emails received in connection with the ODI Business;

              (f)     From and after the Closing, the Parties shall execute such further
documents, and perform such further acts, as may be necessary to transfer and convey the Acquired
Assets to Purchaser on the terms herein contained and to otherwise comply with the terms of this
Agreement and consummate the transactions contemplated hereby.

        21.     Entire Agreement. This Agreement, including those documents identified herein or
to be appended hereto as Exhibits constitutes the entire contract between the parties relating to the
subject matter hereof and is the final and complete expression of their intent. No prior or
contemporaneous negotiations, promises, agreements, covenants, or representations of any kind or
nature, whether made orally or in writing, have been made or relied upon by the parties, or any of
them, in negotiations leading to this Agreement or relating to the subject matter hereof, which are
not expressly contained herein, or which have not become merged and finally integrated into this
Agreement; it being the intention of the parties hereto that in the event of any subsequent litigation,
controversy, or dispute concerning the terms and provisions of this Agreement, no party shall be
permitted to offer to introduce oral or extrinsic evidence concerning the terms and conditions hereof
that are not included or referred to herein and not reflected in writing. This Agreement can be
changed, modified or amended only by a writing executed by the parties. No conditions of any

                                                  23
1326147v3
 Case 24-05385         Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19                Desc Main
                                   Document     Page 60 of 231



kind or nature exist to the legal effectiveness of this Agreement which shall be in full force and
effect immediately upon execution and delivery by the parties hereto, subject to entry of the Sale
Approval Order and as otherwise required under the Bankruptcy Code.

        22.     Survival of Representations and Warranties. The warranties and representations
of the parties hereto shall survive the Closing until such time as the applicable statute of limitations
as to any claims resulting from the breach thereof, has expired.

        23.     Notices. All notices required or permitted to be given hereunder shall be in writing
and may be delivered by hand, by facsimile, by nationally recognized private courier, or by United
States mail. Notices delivered by mail shall be deemed given five (5) business days after being
deposited in the United States mail, postage prepaid, registered or certified mail. Notices delivered by
hand, by facsimile, or by nationally recognized private courier shall be deemed given on the first
business day following receipt; provided, however, that a notice delivered by facsimile shall only be
effective if such notice is also delivered by hand, or deposited in the United States mail, postage
prepaid, registered or certified mail, on or before two (2) business days after its delivery by facsimile.
All notices shall be addressed as follows (or to such other address as any party shall have advised the
others in writing):

                If to Seller addressed to:

                        Oberweis Dairy, Inc.
                        840 Ice Cream Drive N.
                        Aurora, IL 60542
                        Attn: Adam Kraber, President

                        With a copy to:

                        Fort Dearborn Partners
                        190 S. LaSalle St., Suite 1050
                        Chicago, IL 60603
                        Attn: Mr. Kevin Cleary
                        -and-

                        Adelman & Gettleman, Ltd.
                        53 W. Jackson Blvd., Suite 1050
                        Chicago, IL 60604
                        Attn: Howard L. Adelman, Esq.
                               Henry B. Merens, Esq.
                               Adam P. Silverman, Esq.

                If to Purchaser addressed to:

                        Hoffmann Dairy, LLC
                        568 Lincoln Avenue
                        Winnetka, IL 60093
                        Attn: Gregory Hoffmann

                                                   24
1326147v3
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                  Document     Page 61 of 231




                       With a copy to:

                       Berger, Cohen & Brandt, L.C.
                       8000 Maryland Avenue
                       Suite 1500
                       Clayton, MO 63105
                       Attn: Guy Brandt

                       -and-

                       Lathrop GPM LLP
                       155 North Wacker Drive
                       Suite 3800
                       Chicago, IL 60606-1787
                       Attn: Bryan E. Minier

 and/or to such other respective addresses and/or addressees as may be designated by notice given
 in accordance with the provisions of this paragraph.

                24.     No Contract until Execution. This Agreement shall become valid and
binding only after it is executed and delivered by the parties. Until execution hereof, it is the
intention of the parties that:

               (a)     no agreement, contract, offer of agreement or proposal arises and

               (b)      no estoppel is created by the submission of any draft hereof or any other
conduct of the parties.

        25.     Expenses. Each party hereto shall bear all fees and expenses incurred by such party
in connection with, relating to or arising out of the execution, delivery and performance of this
Agreement and the consummation of the transactions contemplated hereby, including, without
limitation, attorneys', accountants' and other professional fees and expenses.

         26.     Non-Waiver. The failure in any one or more instances of a party to insist upon
performance of any of the terms, covenants or conditions of this Agreement, to exercise any right
or privilege in this Agreement conferred, or the waiver by said party of any breach of any of the
terms, covenants or conditions of this Agreement, shall not be construed as a subsequent waiver of
any such terms, covenants, conditions, rights or privileges, but the same shall continue and remain
in full force and effect as if no such forbearance or waiver had occurred. No waiver shall be effective
unless it is in writing and signed by an authorized representative of the waiving party.

        27.     Binding Effect. This Agreement shall inure to the benefit of and be binding upon
the parties hereto, and their successors and permitted assigns. Nothing in this Agreement, express
or implied, is intended to convey on any person other than the parties hereto, and their respective
successors and permitted assigns any rights, remedies, obligations or liabilities under or by reason
of this Agreement, including, without limitation, third party beneficiary rights.


                                                  25
1326147v3
 Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19               Desc Main
                                  Document     Page 62 of 231



        28.    Assignability. This Agreement is not assignable by either party without the prior
written consent of the other party, which consent shall not be unreasonably withheld.

        29.      Jurisdiction. The Bankruptcy Court shall have exclusive jurisdiction to enforce
each and every term and condition of this Agreement, including but not limited to hearing and
determining claims or disputes among the parties hereto arising as a result of this Agreement or
arising as a result of any claimed breach of this Agreement, whether at law or in equity; provided,
however, that if the Bankruptcy Court is unwilling or unable to hear any such dispute, the courts of
the state of Illinois and the federal courts of the United States of America located in Illinois will
have sole jurisdiction over any and all disputes between or among the parties, whether at law or in
equity, arising out of or relating to this Agreement or any agreement contemplated hereby. EACH
OF THE PARTIES HEREBY IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL
BY JURY IN ANY LEGAL PROCEEDING ARISING OUT OF OR RELATED TO THIS
AGREEMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY.

        30.      Applicable Law. This Agreement shall be governed and controlled as to validity,
enforcement, interpretation, construction, effect and in all other respects by the internal laws of the
State of Illinois applicable to contracts made in that State.

        31.    Severability. If any provision of this Agreement shall be judicially determined to
be unenforceable or invalid, the remainder of this Agreement shall be unaffected to the greatest
extent possible.

       32.     Headings. The headings contained in this Agreement are for convenience of
reference only and shall not affect the meaning or interpretation of this Agreement.

       33.     Time of Essence. Time is of the essence to this Agreement.

        34.    Counterparts. This Agreement may be executed in counterparts. All counterparts
hereof shall collectively constitute a single agreement. This Agreement may be executed and
delivered by means of a facsimile machine or by .pdf, .tif, .gif, .jpeg, or similar attachment to
electronic mail (any such delivery, an “Electronic Delivery”), each of which shall be deemed an
original and shall be treated in all manner and respects as an original executed counterpart and
shall be considered to have the same binding legal effect as if it were the original signed version
thereof delivered in person. At the request of any party, each other party shall re-execute the
original form of this Agreement and deliver such form to all other parties. No party shall raise the
use of Electronic Delivery to deliver a signature or the fact that any signature or agreement or
instrument was transmitted or communicated through the use of Electronic Delivery as a defense
to the formation of a contract, and each party unconditionally, absolutely and irrevocably forever
waives any such defense.

        35.     Construction of Terms. This Agreement has been drafted jointly by the parties in
full consultation with their respective attorneys, and no ambiguity in this Agreement shall be
interpreted or construed against any of the parties.


         [The remainder of this page is intentionally left blank. Signature page follows.]


                                                  26
1326147v3
 Case 24-05385       Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19         Desc Main
                                 Document     Page 63 of 231



        IN WITNESS WHEREOF, the Parties have executed this Asset Purchase Agreement on
the date first above written.

SELLER:                                            PURCHASER:

THE OBERWEIS GROUP, INC.,                          HOFFMANN DAIRY, LLC,
a Delaware corporation                             a Missouri limited liability company

By _________________________________               By _________________________________
Its: President                                        Gregory Hoffmann, Manager


OBERWEIS DAIRY, INC.,
an Illinois corporation

By _________________________________
Its: President


TOGI BRANDS, LLC,
an Illinois limited liability company

By _________________________________
Its: President


NORTH AURORA ICE CREAM, LLC,
an Illinois limited liability company

By _________________________________
Its: President


THIRD MILLENNIUM REAL ESTATE, L.L.C.,
an Illinois limited liability company

By _________________________________
Its: President


TOGI RE I, LLC,
an Illinois limited liability company

By _________________________________
Its: President



                          [Signature Page to Asset Purchase Agreement]
 Case 24-05385   Doc 229   Filed 06/07/24 Entered 06/07/24 11:41:19   Desc Main
                           Document     Page 64 of 231



                                  EXHIBIT A

                                 ODI DEPOTS


                                  (See attached.)




63817155
 Case 24-05385            Doc 229        Filed 06/07/24 Entered 06/07/24 11:41:19    Desc Main
                                         Document     Page 65 of 231



 No.       Address                                     Phone          Fax      Lease Description

 1         1103 Martin Luther King Drive Building 3,   309-827-6966   N/A
           Suite B
           Bloomington, IL 61701

 2         8415 Mid County Industrial Drive            314-426-1377   N/A
           St. Louis, MO 63114

 3         2040 S. Lynhurst Dr.                        317-982-7357   N/A
           Indianapolis, IN 46268

 4         9803 R (Rear) South 13th Street             414-762-7015   N/A
           Oak Creek, WI 53154-4923

 5         12809 Premier Center Court                  734-207-7006   N/A
           Plymouth, MI 48170

 6         840 Ice Cream Drive North                   630-801-6122   N/A
           Aurora, I160542




63817155
 Case 24-05385   Doc 229   Filed 06/07/24 Entered 06/07/24 11:41:19   Desc Main
                           Document     Page 66 of 231



                                  EXHIBIT B

                            OWNED REAL ESTATE


                                  (See attached.)




63817155
 Case 24-05385               Doc 229   Filed 06/07/24 Entered 06/07/24 11:41:19     Desc Main
                                       Document     Page 67 of 231



           COMMONLY KNOWN AS             TITLE HOLDER   CT COMMITMENT NO.     DATE OF CT
                                                                             COMMITMENT

 1.        951 Ice Cream Drive,              NAIC         24CST272081LV             January 9, 2024
           North Aurora, IL

 2.        4811 Dempster Street,             NAIC         24CST272090LV           February 29, 2024
           Skokie, IL

 3.        929 Burlington Avenue,            NAIC         24CST272085LV            February 7, 2024
           Western Springs, IL

 4.        860 East Boughton Road,           TRI          24CST272083LV             January 8, 2024
           Bolingbrook, IL

 5.        515 Roosevelt Road,               TRI          24CST272083LV             January 8, 2024
           Glen Ellyn, IL

 6.        9 East Dundee Road,              TMRE          24CST272086LV            February 7, 2024
           Arlington Heights, IL

 7.        967 Waukegan Road,               TMRE          24CST272087LV            February 7, 2024
           Glenview, IL

 8.        6469 and 6485 North              TMRE          24CST272088LV            February 7, 2024
           Lincoln Avenue,
           Lincolnwood, IL


NAIC = North Aurora Ice Cream, LLC
TRI = TOGI Real Estate I, LLC
TMRE = Third Millenium Real Estate, L.L.C.




63817155
 Case 24-05385   Doc 229   Filed 06/07/24 Entered 06/07/24 11:41:19   Desc Main
                           Document     Page 68 of 231



                                  EXHIBIT C

                                RETAIL LEASES


                                  (See attached.)




63817155
       Case 24-05385         Doc 229           Filed 06/07/24 Entered 06/07/24 11:41:19                  Desc Main
                                               Document     Page 69 of 231



No.   Lease City          Address                       Phone No.      Email                                Lease
                                                                                                            Description
1     Ballwin             15021 Manchester Road         636-527-0550   ballwin.mo@oberweis.com
                          Ballwin, MO 63011
2     Bartlett            925 S. Route 59               630-372-1633   bartlettil@oberweis.com
                          Bartlett, IL 60103
3     Bloomingdale        338 W. Army Trail Road        630-924-3020   bloomingdale.il@oberweis.com
                          Bloomingdale, IL 60108
4     Bloomington         2105 N. Veterans Parkway      309-808-2382   bloomington.il@oberweis.com
                          Bloomington, IL 61704
5     Bolingbrook         230 North Weber Road          630-759-5557   bolingbrook.il@oberweis.com
                          Bolingbrook, IL 60440
6     Champaign           1905 S. Neil Street           217-568-6444   champaign.il@oberweis.com
                          Champaign, IL 61820
7     Downers Grove       60 Ogden Avenue,              630-810-1270   downersgrove.il@oberweis.com
                          Store #A- 9
                          Downers Grove, IL 60515
8     Elgin               400 South Randall Road,       847-697-5970   elgin.il@oberweis.com
                          Unit A
                          Elgin, IL 60123
9     Elmhurst            1018-20 S. York Road          630-782-0141   Elmhurst.IL@oberweis.com
                          Elmhurst, IL 60126
10    Evergreen Park      3152 W. 95th. Street          708-423-7700   evergreenpark.il@oberweis.com
                          Evergreen Park, IL 60805
11    Geneva              2150 S. Randall Rd            630-686-9090   geneva.il@oberweis.com
                          Geneva, IL 60134
12    Gurnee              5572 Grand Ave., Suite 1      847-406-3000   gurnee.il@oberweis.com
                          Gurnee, IL 60031
13    Joliet/Plainfield   2200 Route 59                 815-254-6739   joliet.il@oberweis.com
                          Plainfield, IL 60544
14    Kirkwood            10338 Manchester Road         314-966-8200   kirkwood.mo@oberweis.com
                          Kirkwood, MO 63122
15    Lake Zurich         684 S. Rand Road Lake         847-550-9000   lakezurich.il@oberweis.com
                          Zurich, IL 60047
16    Lakeview            3055 N. Sheffield Ave.        773-697-3317   lakeview.il@oberweis.com
                          Chicago, IL 60657
17    Mokena              11310-12 W. Lincoln Hwy.      815-806-3045   mokena.il@oberweis.com
                          Mokena, IL 60448
18    Naperville South    2879 95th Street, Suite 155   630-922-7756   napervillesouth.il@oberweis.com
                          Naperville, IL 60564
19    Naperville North    760 N. Route 59, Suite 120    630-904-2600   napervillenorth.il@oberweis.com
                          Naperville, IL 60566
20    Oakville            4590 Telegraph Road St.       314-416-9600   oakville.mo@oberweis.com
                          Louis, MO 63129



      63817155
       Case 24-05385       Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19                      Desc Main
                                         Document     Page 70 of 231



No.   Lease City        Address                        Phone No.      Email                               Lease
                                                                                                          Description
21    O’Fallon          1816 State HWY K               636-362-4770   ofallon.mo@oberweis.com
                        Fallon, MO 63366
22    Orland Park       7202 W. 159th St.              708-429-7220   orlandpark.il@oberweis.com
                        Orland Park, IL 60462
23    Oswego            2274 Route 30, Suite C         630-906-6455   oswego.il@oberweis.com
                        Oswego, IL 60543
24    Park Ridge        101-103 S. Northwest           847-692-9840   parkridge.il@oberweis.com
                        Highway
                        Park Ridge, IL 60068
25    Rolling Meadows   1735 Algonquin Road            847-290-9222   rollingmeadows.il@oberweis.com
                        Rolling Meadows, IL 60008
26    Royal Oak         3208 Woodward Avenue           248-565-1071   royaloakwoodward.mi@oberweis.com
                        Royal Oak, MI 48073
27    Schaumburg        30 Roselle Road                847-534-0544   schaumburg.il@oberweis.com
                        Schaumburg, IL 60193
28    Schererville      725 Main St.                   219-322-8811   schererville.in@oberweis.com
                        Schererville, IN 46375
29    St. Peters        7090 Mexico Road               636-970-0105   stpeters.mo@oberweis.com
                        St. Peters, MO 63376
30    St. Charles       1790 W. Main Street            630-443-6666   stcharles.il@oberweis.com
                        St. Charles, IL 60175
31    Troy              6854 Rochester Road            248-250-9574   troy.mi@oberweis.com
                        Troy, MI 48085
32    Wheaton           811 E. Butterfield Road, Ste   630-665-0000   wheaton.il@oberweis.com
                        119
                        Wheaton, IL 60189




      63817155
 Case 24-05385   Doc 229   Filed 06/07/24 Entered 06/07/24 11:41:19   Desc Main
                           Document     Page 71 of 231



                                  EXHIBIT D

                                  ASSET LIST


                                  (See attached.)




63817155
                      Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document     Page 72 of 231


 Asset Number   Date Acquired    Asset Description 1                                   G/L Asset Account Description
    03-06            1/28/2003   NORTEL MERIDIAN SYSTEM/CUSTOMER SERVICE               Communication Equipment
    03-07            2/28/2003   MICROS-3700 SYSTEM UPGRADE                            Machinery & Equipment - North Aurora DS
    03-09            1/29/2003   OFFICE RE-WORK.CARPET,LAMINATE TOPS,FILES             Office Furniture - North Aurora
    03-11            4/11/2003   TAPE DRIVE/BACK UP                                    Data Processing Equipment
    03-12             4/3/2003   3 ICE CREAM CARTS 3586.90+358690+1575.09              Marketing / Promotional Assets
    03-13             4/4/2003   CUSTOMER SERVICE VIDEO 2 INVOICES                     Marketing / Promotional Assets
    03-14            3/10/2003   WORK TABLE,CABINET,SHELF                              Machinery & Equipment - Bloomingdale
    03-17            4/16/2003   RACKS FOR COOLER                                      Machinery & Equipment - N.A. Plant
    03-18             4/1/2003   FRUIT FEEDER                                          Machinery & Equipment - N.A. Plant
    03-20             4/2/2003   SOFT SERVE FREEZER                                    M/E - Glen Ellyn TBJ
    03-26            4/18/2003   MENU BOARD/POSTER HOLDER                              Machinery & Equipment - Orland Park
    03-28            4/28/2003   FINAL PAYMENT OF CHANNEL LETTERS                      Machinery & Equipment - Orland Park
    03-29            4/18/2003   PICNIC TABLE AND RECEPTACLE                           Machinery & Equipment - Orland Park
    03-30            4/18/2003   BLENDER                                               Machinery & Equipment - Orland Park
    03-31            4/18/2003   WAFFLE CONE BAKER                                     Machinery & Equipment - Orland Park
    03-32            4/18/2003   SAFE AND LOCK                                         Machinery & Equipment - Orland Park
    03-33            4/22/2003   SOFT SERVE FREEZER                                    Machinery & Equipment - Orland Park
    03-34             3/1/2003   FOSS MILKO SCAN FT120                                 Machinery & Equipment - Lab
    03-35             1/3/2003   IN FLOOR CONVEYOR                                     Machinery & Equipment - N.A. Plant
    03-36            3/20/2003   DEPOSIT ON FRUIT FEEDER                               Machinery & Equipment - N.A. Plant
    03-37             5/1/2003   3001 ACIP UNIT W/TRANSMITTER                          Machinery & Equipment - N.A. Plant
    03-38             5/5/2003   WINSTALLATION OF WIRING TO CIP PUMP MOTOR             Machinery & Equipment - N.A. Plant
    03-39             5/5/2003   FRISTAM PUMP                                          Machinery & Equipment - N.A. Plant
    03-41            3/30/2003   LASER PRINTER/COPIER/SCANNER                          Machinery & Equipment - Indianapolis TC
    03-43            4/18/2003   SMOOTHER/BLENDER PACKAGE                              Machinery & Equipment - Orland Park
    03-46            3/19/2003   HOMOGENIZER DRIVE/HOMOGENIZER VALVE                   Machinery & Equipment - N.A. Plant
    03-47            1/31/2003   HOMOGENIZER FREQUENCY DRIVE                           Machinery & Equipment - N.A. Plant
    03-48            1/10/2003   MATERIAL AND LABOR FURNISHED FOR MECHANICAL INSTAL    Machinery & Equipment - N.A. Plant
    03-49            3/17/2003   MENU BOARD                                            Machinery & Equipment - Elgin
    03-50            4/18/2003   BEV COUNTER,RAIL TABLE,DIPPING CABINET ETC.           Machinery & Equipment - Orland Park
    03-51            4/18/2003   COMMERCIAL AWNINGS                                    Machinery & Equipment - Orland Park



63817155
                      Case 24-05385         Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                       Document     Page 73 of 231


 Asset Number   Date Acquired    Asset Description 1                                    G/L Asset Account Description
    03-55            4/18/2003   MUZAK SYSTEM                                           Machinery & Equipment - Orland Park
    03-56             1/1/2003   SIGNAGE                                                Machinery & Equipment - Kirkwood
    03-57             1/1/2003   FREEZERS 2 INVOICES 26772.90+152.47                    Machinery & Equipment - Kirkwood
    03-58             1/1/2003   CASH REGISTER                                          Machinery & Equipment - Kirkwood
    03-59             1/1/2003   ADE                                                    Machinery & Equipment - Kirkwood
    03-60             1/1/2003   STORAGE CABINET                                        Machinery & Equipment - Kirkwood
    03-72            3/13/2003   MICROS REGISTER/PRINTER                                Machinery & Equipment - Oakville
    03-74            5/22/2003   WALK IN COOLER SHELF                                   Machinery & Equipment - Orland Park
    03-75            5/19/2003   INSTALLATION OF SPRINKLER                              Machinery & Equipment - Orland Park
    03-85            8/30/2003   CUSTOM COW PENDANT FIXTURE                             Machinery & Equipment - Gurnee
    03-86            5/15/2003   HOSE MACHINE AND DYE                                   Machinery & Equipment - Truck Maintenance
    03-87             5/2/2003   WELDER MILLERMATIC 251                                 Machinery & Equipment - Truck Maintenance
    03-88            3/19/2003   ENTERPRISE MGT.                                        Data Processing Equipment
    03-93             5/1/2003   #16 2003 CHEVY PICKUP - PLANT                          Vehicles
    03-95            5/27/2003   #23 2003 CHEVY VAN - DS MANT                           Vehicles
    03-96            6/30/2003   30% DOWN ON CIP FLOW CONTROL                           Machinery & Equipment - N.A. Plant
    03-98            4/16/2003   REGISTER/PRINTER                                       Machinery & Equipment - Rolling Meadows
    11-76            11/1/2011   Watchguard                                             Machinery & Equipment - D.S. Equipment Inv
    96-01            11/5/1996   JSB-ACOUSTICS                                          Leasehold Improvements - Bolingbrook
    96-02            11/5/1996   JSB-ELECTRIC                                           Leasehold Improvements - Bolingbrook
    96-03            11/5/1996   JSB-MILLWORK                                           Leasehold Improvements - Bolingbrook
    96-04            11/5/1996   JSB-PAINTING & WALL COVERING                           Leasehold Improvements - Bolingbrook
    96-07            11/5/1996   JSB-SPRINKLERS                                         Leasehold Improvements - Bolingbrook
    96-08            11/5/1996   JSB-TILE FLOORING                                      Leasehold Improvements - Bolingbrook
    96-09            11/5/1996   JSB-DOOR FRAMES & HARDWARE                             Leasehold Improvements - Bolingbrook
    96-10            11/5/1996   JSB-GENERAL CONDITIONS                                 Leasehold Improvements - Bolingbrook
    96-11            11/5/1996   JSB-FEES                                               Leasehold Improvements - Bolingbrook
    96-12            11/5/1996   JSB-DRYWALL & CARPENTRY                                Leasehold Improvements - Bolingbrook
    96-14            11/5/1996   JSB-PLUMBING                                           Leasehold Improvements - Bolingbrook
    96-16            11/5/1996   JSB INTERIOR CONSTRUCTION                              Leasehold Improvements - Bolingbrook
    97-01            6/25/1997   4 HONEY LOCUST TREES & PLANTING MIX                    Land & Land Improvements



63817155
                      Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document     Page 74 of 231


 Asset Number   Date Acquired    Asset Description 1                                   G/L Asset Account Description
    97-02             4/5/1997   BOULDERS FOR TURF PROTECTION                          Land & Land Improvements
    97-03             6/9/1997   FENCE AROUND DUMPSTERS - NORTH AURORA                 Land & Land Improvements
    97-04             7/5/1997   GENERAL CONSTRUCTION FOR ICE CREAM PLANT              Buildings - North Aurora
    97-05             4/3/1997   ROOF IMPROVEMENTS                                     Buildings - North Aurora Dairy Store
    97-06            9/22/1997   LEASE LEGAL FEES                                      Leasehold Improvements - Oswego
    97-11            7/30/1997   LEASE LEGAL FEES                                      Leasehold Improvements - Park Ridge
    97-13          10/27/1997    LEASE LEGAL FEES                                      Leasehold Improvements - Arlington Heights
    97-28            7/17/1997   JSB-GLASS                                             Leasehold Improvements - Arlington Heights
    97-32             1/1/1997   POWER STEAM CONTROL VALVE w/INDC                      Machinery & Equipment - N.A. Plant
    97-34             2/4/1997   SINGLE FLAVOR VARIEGATOR                              Machinery & Equipment - N.A. Plant
    97-35            3/28/1997   6.75 IMPELLER-BLEND (C318MD 3 A.T.)                   Machinery & Equipment - N.A. Plant
    97-36             4/2/1997   WAREHOUSE RACKING                                     Machinery & Equipment - N.A. Plant
    97-38            4/30/1997   REFRIGERATION SYSTEM                                  Machinery & Equipment - N.A. Plant
    97-39             4/3/1997   FRONT LINE LEADERSHIP TRNG-MANAGING CHN               Office Furniture - North Aurora
    97-40             5/9/1997   FRONT LINE LEADERSHIP TRNG-FOSTERING IM               Office Furniture - North Aurora
    97-43             2/3/1997   SCALE                                                 Machinery & Equipment - N.A. Plant
    97-44            6/11/1997   PRODUCER SIGNS (25)                                   Machinery & Equipment - N.A. Plant
    97-47            9/30/1997   LUBE EQUIPMENT                                        Machinery & Equipment - Truck Maintenance
    97-48            9/19/1997   TRUCK MAINTENANCE EQUIPMENT                           Machinery & Equipment - Truck Maintenance
    97-49            9/26/1997   ROBINAIR RECYCLER 17800A                              Machinery & Equipment - Truck Maintenance
    97-54            9/22/1997   OBERWEIS PHOTOS & FRAMES                              Machinery & Equipment - Oswego
    97-55            9/22/1997   MUSIC SYSTEM                                          Machinery & Equipment - Oswego
    97-62          10/31/1997    CIP BALANCE - TO BE SEPERATED                         Machinery & Equipment - Bolingbrook
    97-64            3/12/1997   FRONT LINE LEADERSHIP TRAINING                        Office Furniture - North Aurora
    97-66            3/12/1997   FRONT LINE LEADERSHIP TRAINING                        Office Furniture - North Aurora
    97-67            3/24/1997   LAMINATOR, 12”“                                       Office Furniture - North Aurora
    97-70            7/10/1997   FRONT LINE LEADERSHIP TRAINING                        Office Furniture - North Aurora
    97-71            8/29/1997   FRONT LINE LEADERSHIP TRAINING                        Office Furniture - North Aurora
    97-78            9/19/1997   MODULE AND WALLPLATES INSTALLED                       Communication Equipment
    97-83            7/30/1997   JSB-DEMOLITION                                        Leasehold Improvements - Park Ridge
    97-84             8/6/1997   JSB-DEMOLITION                                        Leasehold Improvements - Elmhurst



63817155
                      Case 24-05385         Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                        Document     Page 75 of 231


 Asset Number   Date Acquired    Asset Description 1                                     G/L Asset Account Description
    97-86            7/30/1997   BARRIER TENSION 890-1P                                  Machinery & Equipment - Park Ridge
    97-88            7/23/1997   COMPUTER ACCESSORIES                                    Office Furniture - North Aurora
    97-89            7/30/1997   JSB-DRYWALL, CARPENTRY & ACCOUSTICS                     Leasehold Improvements - Park Ridge
    97-90            7/30/1997   JSB-ELECTRIC                                            Leasehold Improvements - Park Ridge
    97-93            12/8/1997   CASER                                                   Machinery & Equipment - Lab
    97-98          10/21/1997    AWNINGS                                                 Leasehold Improvements - Oswego
    98-01            1/23/1998   DOOR ASSEMBLY FABRICATION                               Buildings - North Aurora
    98-02            1/19/1998   SMOKE DETECTORS INTO ALARM SYSTEM (Installation)        Leasehold Improvements - Oswego
    98-11            1/23/1998   SAFE & 3 MEDECO LOCKS                                   Machinery & Equipment - Bloomingdale
    98-12            1/23/1998   BLACK & WHITE PHOTOS                                    Machinery & Equipment - Bloomingdale
    98-18            1/29/1998   LEGAL FIRE-PROOF FILE                                   Office Furniture - North Aurora
    98-26            1/23/1998   ENVIRONMENTAL ASSESSMENT                                Leasehold Improvements - Bloomingdale
    98-29            1/23/1998   APPRAISAL OF 338 ARMY TRAIL RD IN BLOOMINGDALE          Leasehold Improvements - Bloomingdale
    98-30            1/23/1998   VILLAGE OF BLOOMINGDALE #9009                           Leasehold Improvements - Bloomingdale
    98-31            1/23/1998   MILLER BROTHERS LANDSCAPE                               Leasehold Improvements - Bloomingdale
    98-32            1/23/1998   JSB-ARCHITECTURAL FEE-ORGINAL & ADDITIONS               Leasehold Improvements - Bloomingdale
    98-33            1/23/1998   MILLER BROTHERS LANDSCAPE                               Leasehold Improvements - Bloomingdale
    98-34            1/23/1998   FROM CIP ACCOUNT                                        Leasehold Improvements - Bloomingdale
    98-36            1/23/1998   JSB-ADD’L ARCHITECTURAL FEES-REVIEW OCT., 1997          Leasehold Improvements - Bloomingdale
    98-42             2/6/1998   10 X 8 SHED                                             Machinery & Equipment - Rolling Meadows
    98-46            1/14/1998   JSB-ARCHITECTURAL FEE (ADDITIONAL)                      Leasehold Improvements - Arlington Heights
    98-47            1/14/1998   JSB-MECHANICAL ENGINEERING PLANS                        Leasehold Improvements - Arlington Heights
    98-49             3/9/1998   BLACK & WHITE PHOTOS                                    Machinery & Equipment - Downers Grove
    98-50             3/2/1998   DOOR BETWEEN CASING ROOM & BOTTLING MACHINE             Buildings - North Aurora
    98-51             3/9/1998   SAFE & KEYS                                             Leasehold Improvements - Downers Grove
    98-54            2/17/1998   BLACK & WHITE PHOTOS                                    Machinery & Equipment - Western Springs
    98-55            3/14/1998   CUSTOM MENU BOARDS-INTERIOR SIGNS/LABOR                 Leasehold Improvements - Downers Grove
    98-58            3/18/1998   AMANA MICROWAVE - PUSH BUTTON RCS820LW 800              Machinery & Equipment - Downers Grove
    98-60            3/16/1998   DESK/PEDESTAL/3 CHAIRS/2 LATERAL FILES & 3 CABINET      Office Furniture - North Aurora
    98-63            3/17/1998   LABOR/MATERIAL FOR CONDENSOR SUMP PIPING ETC            Machinery & Equipment - N.A. Plant
    98-64            3/13/1998   QST 2”“ O-RINGS & QST 2”“ PRESSURE RELIEF VLAVE         Machinery & Equipment - N.A. Plant



63817155
                      Case 24-05385         Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                       Document     Page 76 of 231


 Asset Number   Date Acquired    Asset Description 1                                    G/L Asset Account Description
     98-66            3/2/1998   PULLED & TERMINATED 2 CABLES, VOICE CABLE 50 & DAT     Communication Equipment
     98-68           3/23/1998   SCHWEPPE                                               Machinery & Equipment - Bloomingdale
     98-70           4/29/1998   PICTORIALS FOR COOLER DOOR & ID PLAQUES                Buildings - North Aurora Dairy Store
     98-71           4/29/1998   PICTORIALS FOR COOLER DOORS & ID PLAQUES               Leasehold Improvements - Oswego
     98-72            3/9/1998   JSB-ARCHITECTURAL FEES                                 Leasehold Improvements - Downers Grove
     98-73            3/9/1998   HEALTH INSPECTION PERMIT                               Leasehold Improvements - Downers Grove
     98-74            3/9/1998   MECHANICAL ENGINEERING                                 Leasehold Improvements - Downers Grove
     98-75            3/9/1998   JSB-PERMIT FEE                                         Leasehold Improvements - Downers Grove
     98-76            3/9/1998   OBERWEIS PANEL ON SHOPPING CENTER PYLON SIGN           Leasehold Improvements - Downers Grove
     98-77            3/9/1998   LEASE LEGAL FEES                                       Leasehold Improvements - Downers Grove
     98-78            3/9/1998   JSB-SANITATION PERMIT FEE                              Leasehold Improvements - Downers Grove
     98-79            3/9/1998   JSB INTERIOR CONSTRUCTION                              Leasehold Improvements - Downers Grove
     98-80            4/1/1998   RE-INSTALLED DOORS AND RE-ANCHORED 2 X 6’S AS NEED     Buildings - North Aurora
     98-81           4/29/1998   PICTORIALS FOR COOLER DOORS & ID PLAQUES               Leasehold Improvements - Arlington Heights
     98-83           4/29/1998   PICTORIALS FOR COOLER DOORS & ID PLAQUES               Leasehold Improvements - Downers Grove
     98-84            4/9/1998   JSB INTERIOR CONSTRUCTION                              Leasehold Improvements - Downers Grove
     98-85           4/29/1998   PICTORIALS FOR COOLER & ID PLAQUES                     Leasehold Improvements - Bloomingdale
     98-89           4/29/1998   PICTORIALS FOR COOLER DOORS & ID PLAQUES               Leasehold Improvements - Park Ridge
     98-90           4/29/1998   PICTORIALS FOR COOLER DOORS & ID PLAQUES               Leasehold Improvements - Western Springs
     98-91           4/29/1998   PICTORIALS FOR COOLER DOORS & ID PLAQUES               Leasehold Improvements - Bolingbrook
     98-93           4/29/1998   PICTORIALS FOR COOLER DOORS & ID PLAQUES               Leasehold Improvements - Elmhurst
     98-96            4/1/1998   STAINLESS STEELTOP, SINK, FAUCET & SINK COVER          Machinery & Equipment - Rolling Meadows
     99-03           4/14/1999   WINDOW TREATMENT ETCHED LOOK                           Leasehold Improvements - Elgin
    00-008           9/26/2000   DRIVE THRU AWNING                                      Machinery & Equipment - Rolling Meadows
    00-012           3/15/2000   OVEN,MICROWAVE                                         Machinery & Equipment - Elgin
    00-013           4/24/2000   MIX’N MACHINE                                          Machinery & Equipment - Elgin
    00-014           4/24/2000   MIX’N MACHINE                                          Machinery & Equipment - Oswego
    00-015           5/31/2000   SUN SHADES                                             Machinery & Equipment - Oswego
    00-016         10/18/2000    GAS TANK/LIQUID PUMP                                   Machinery & Equipment - Truck Maintenance
    00-018           9/25/2000   CHECKER TABLE TOPS                                     Machinery & Equipment - Naperville
    00-022           4/24/2000   MIN’N MACHINE                                          Machinery & Equipment - Arlington Heights



63817155
                      Case 24-05385         Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                        Document     Page 77 of 231


 Asset Number   Date Acquired    Asset Description 1                                     G/L Asset Account Description
    00-023           4/24/2000   MIX’N MACHINE                                           Machinery & Equipment - Downers Grove
    00-026           6/15/2000   2-6FT. BENCHES                                          Machinery & Equipment - Park Ridge
    00-027           4/24/2000   MIX’N MACHINE                                           Machinery & Equipment - Park Ridge
    00-028           6/15/2000   ICE CREAM DISPLAY CASE                                  Machinery & Equipment - Park Ridge
    00-029           5/15/2000   INSTALL HAND RAILS ON EAST AND WEST SIDE OF BUILDI      Leasehold Improvements - Arlington Heights
    00-033           5/23/2000   ENGINEERING SERVICES                                    Leasehold Improvements - Joliet DS
    00-034           7/17/2000   REMAINDER OF ENGINEERING FEES                           Leasehold Improvements - Joliet DS
    00-035           8/21/2000   CHANGE AWNING COLOR                                     Leasehold Improvements - Joliet DS
    00-036           4/24/2000   MIX’N MACHINE                                           Machinery & Equipment - Elmhurst
    00-037           1/11/2000   SHELVING                                                Office Furniture - North Aurora
    00-049            4/8/2000   #134 GRAPHIC KIT                                        Vehicles
    00-063            1/1/2000   DOOR/GARAGE DOOR OPENER                                 Machinery & Equipment - St. Louis TC
    00-064           2/17/2000   FREEZER SHIPPER PALLETS                                 Machinery & Equipment - St. Louis TC
    00-065           1/31/2000   INSTALL CAMERA SURVEILLANCE SYSTEM                      Machinery & Equipment - N.A. Plant
    00-073           6/22/2000   LOT OF PALLET RACK                                      Machinery & Equipment - N.A. Plant
    00-075            1/1/2000   2 PYLON SIGN SLOT                                       Machinery & Equipment - Joliet DS
    00-080            7/6/2000   CHECKER TABLE TOPS                                      Machinery & Equipment - Joliet DS
    00-081           5/31/2000   3 COLOR DOOR PICTORIALS                                 Machinery & Equipment - Joliet DS
    00-083            3/3/2000   2 TENTS                                                 Marketing / Promotional Assets
    00-084           3/10/2000   BANNER AND FLAGS                                        Marketing / Promotional Assets
    00-085           5/10/2000   3 FREEZERS                                              Marketing / Promotional Assets
    00-086           5/25/2000   FREIGHT FOR MARKETING TRUCK                             Marketing / Promotional Assets
    00-087           4/14/2000   MARKETING-SHELVIN                                       Marketing / Promotional Assets
    00-088           6/21/2000   STEP VAN KIT                                            Marketing / Promotional Assets
    00-089           5/19/2000   TRAILER/ICE CREAM CART                                  Marketing / Promotional Assets
    00-090           3/17/2000   TIRE RACK                                               Machinery & Equipment - Bloomington TC
    00-091           4/24/2000   MIX’N MACHINE                                           Machinery & Equipment - North Aurora DS
    00-093            1/6/2000   REFURBISH & PAINT DOOR FRAMES                           Buildings - North Aurora Dairy Store
    00-094           9/30/2000   NEW STORE LEASEHOLD IMPROVEMENTS                        Leasehold Improvements - Naperville
    00-095           9/30/2000   LANDLORD IMPROVEMENTS TO STORE                          Leasehold Improvements - Naperville
    00-097            7/4/2000   CONSTRUCTION PERMITS                                    Leasehold Improvements - Joliet DS



63817155
                      Case 24-05385        Doc 229   Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                     Document     Page 78 of 231


 Asset Number   Date Acquired    Asset Description 1                                  G/L Asset Account Description
    00-098           4/24/2000   MIX’N MACHINE                                        Machinery & Equipment - Bloomingdale
    00-100           2/23/2000   BLOOMINGTON LOCKERS                                  Machinery & Equipment - Bloomingdale
    00-102            7/4/2000   STORE SOFTWARE & MODEM                               Machinery & Equipment - Joliet DS
    00-104           4/24/2000   MIX’N MACHINES                                       Machinery & Equipment - Western Springs
    00-105            7/1/2000   JSB-L/I ??????                                       Leasehold Improvements - Joliet DS
    00-106            1/4/2000   INSTALLATION FOR UPSTAIRS OFFICE                     Buildings - North Aurora
    00-107           9/18/2000   PREPARE AND PAINT PRODUCTION ROOM                    Buildings - North Aurora
    00-114           2/17/2000   15 LOCKERS                                           Machinery & Equipment - St. Louis TC
    00-123           5/27/2000   CSR CUBES                                            Office Furniture - North Aurora
    00-124           5/18/2000   2 SHELF BOOKCASE                                     Office Furniture - North Aurora
    00-125            1/1/2000   WEST 2ND FLOOR CUBES                                 Office Furniture - North Aurora
    00-126            1/6/2000   WEST 2ND FLOOR CUBES                                 Office Furniture - North Aurora
    00-127           1/12/2000   WEST 2ND CUBES                                       Office Furniture - North Aurora
    00-128           1/26/2000   WEST 2ND FLOOR -CHAIR                                Office Furniture - North Aurora
    00-129           1/26/2000   WEST 2ND FLOOR                                       Office Furniture - North Aurora
    00-130           4/30/2000   EAST 2ND FLOOR CUBES                                 Office Furniture - North Aurora
    00-131            6/8/2000   EAST 2ND FLOOR CUBES                                 Office Furniture - North Aurora
    00-132           1/26/2000   WEST 2ND FLOOR CUBES                                 Office Furniture - North Aurora
    00-166           3/16/2000   PAINT CIP ROOM                                       Buildings - North Aurora
    00-167           3/17/2000   E-Z ACCESS SAFETY DECK                               Buildings - North Aurora
    00-168            3/9/2000   PIE ROOM PLUMBING                                    Buildings - North Aurora
    00-169           3/24/2000   E-Z ACCESS SAFETY DECK                               Buildings - North Aurora
    00-170            4/7/2000   E-Z ACCESS DECK                                      Buildings - North Aurora
    00-172           4/28/2000   CASER REBULD                                         Machinery & Equipment - N.A. Plant
    00-173           4/25/2000   COOLER FLOOR DRAINS                                  Buildings - North Aurora
    00-174           6/23/2000   PREPARE AND PAINT TANK ROOM                          Buildings - North Aurora
    00-175            6/2/2000   BALANCE ON RECEIVING ROOM                            Buildings - North Aurora
    00-176           4/20/2000   REBUILD COMPRESSOR                                   Machinery & Equipment - N.A. Plant
    00-177           8/31/2000   PAINTING OF EXTERIOR WALL                            Buildings - North Aurora
    00-178           1/28/2000   E-Z ACCESS SAFETY DECK                               Buildings - North Aurora
    00-179           3/16/2000   TAMPER EVIDENCE SEAL MACHINE                         Buildings - North Aurora



63817155
                      Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document     Page 79 of 231


 Asset Number   Date Acquired    Asset Description 1                                   G/L Asset Account Description
    00-180            6/9/2000   2 PYLON SIGN                                          Machinery & Equipment - Joliet DS
    00-181            1/1/2000   STORE SOFTWARE AND MODEM-JOLIET                       Machinery & Equipment - Joliet DS
    00-183           1/21/2000   COOLER DOOR-SECURITY PANEL                            Machinery & Equipment - N.A. Plant
    00-191           12/4/2000   SAFE                                                  M/E - Glen Ellyn TBJ
    00-196           9/30/2000   FINAL PAYMENT ON NAPERVILLE STORE                     Leasehold Improvements - Naperville
    00-201           11/6/2000   BOTTLE INSPECTION                                     Machinery & Equipment - N.A. Plant
    00-204           1/27/2000   GLASS DESK TOP                                        Office Furniture - North Aurora
    00-207           10/1/2000   MUZAK EQUIPMENT                                       Machinery & Equipment - Naperville
    00-208           9/18/2000   CASTERS                                               Machinery & Equipment - Naperville
    00-210           9/30/2000   Naperville L/H 39 Year Property                       Leasehold Improvements - Naperville
    00-211           9/30/2000   Naperville L/H 7 Year Property                        Leasehold Improvements - Naperville
    00-212           9/30/2000   Naperville L/H 5 Year Propery                         Leasehold Improvements - Naperville
    00-216            7/4/2000   Joliet L/H 39 Year Property                           Leasehold Improvements - Joliet DS
    00-217            7/4/2000   Joliet L/H 15 Year Property                           Leasehold Improvements - Joliet DS
    00-218            7/4/2000   Joliet L/H 7 Year Property                            Leasehold Improvements - Joliet DS
    00-219            7/4/2000   Joliet L/H 5 Year Property                            Leasehold Improvements - Joliet DS
    01-006            1/1/2001   WATER SOFTENER-JOLIET                                 Machinery & Equipment - Joliet DS
    01-007            1/1/2001   WATER SOFTENER                                        Machinery & Equipment - Naperville
    01-008            1/1/2001   WATER SERVICE PLACEMENT                               Leasehold Improvements - Western Springs
    01-010            1/1/2001   ELGIN TENANT PANELS                                   Leasehold Improvements - Elgin
    01-020            1/1/2001   COMPRESSOR REBUILD                                    Machinery & Equipment - N.A. Plant
    01-021            3/1/2001   COMPRESSOR REBUILD                                    Machinery & Equipment - N.A. Plant
    01-033            8/1/2001   WALL ASSEMBLY FOR WAFFLE CONE TABLE                   Machinery & Equipment - North Aurora DS
    01-046            8/1/2001   2 ALLEN BRADLEY PROGRAMMING BOARDS                    Machinery & Equipment - N.A. Plant
    01-047            8/1/2001   3 PAYMENTS BOTTLE PROJECT                             Machinery & Equipment - N.A. Plant
    01-048            8/1/2001   6 INVOICES FOR WIRING FOR NEW MOTORS                  Machinery & Equipment - N.A. Plant
    01-049            8/1/2001   TANK FILLER HARDWARE ENGINEERING AND CAD SERVICE      Machinery & Equipment - N.A. Plant
    01-051            8/1/2001   BUNDLE CART                                           Machinery & Equipment - N.A. Plant
    01-052            8/1/2001   PALLET RACKING                                        Machinery & Equipment - N.A. Plant
    01-053            6/4/2001   PALLET RACKING                                        Machinery & Equipment - N.A. Plant
    01-054           5/31/2001   BUILD ROOM FOR SMALL BOTTLE PROJECT                   Buildings - North Aurora



63817155
                      Case 24-05385         Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                        Document     Page 80 of 231


 Asset Number   Date Acquired    Asset Description 1                                     G/L Asset Account Description
    01-055            8/1/2001   FIRE SPRINKLER                                          Machinery & Equipment - N.A. Plant
    01-056            8/1/2001   ADDITIONAL WORK-SPRINKLER SYSTEM                        Machinery & Equipment - N.A. Plant
    01-057            8/1/2001   ONE COMPUTER COVER                                      Machinery & Equipment - N.A. Plant
    01-058            8/1/2001   PRINTER,PHOTO CELL AND MISC.                            Machinery & Equipment - N.A. Plant
    01-059            8/1/2001   CHANGE ORDER #1                                         Machinery & Equipment - N.A. Plant
    01-060            8/1/2001   CUT HOLE IN CEMENT WALL FOR CONVEYOR                    Buildings - North Aurora
    01-061            8/1/2001   LEXAN COVER FOR BOTTLE SLEEVER                          Machinery & Equipment - N.A. Plant
    01-062            8/1/2001   CHANGE ORDER #2                                         Machinery & Equipment - N.A. Plant
    01-063            8/1/2001   MISC. PARTS FOR SMALL BOTTLE                            Machinery & Equipment - N.A. Plant
    01-064            8/1/2001   2 PAYOUTS FOR HOOKUP OF DAIRY EQUIP                     Machinery & Equipment - N.A. Plant
    01-065            8/1/2001   GANTRY POLE,BASE                                        Machinery & Equipment - N.A. Plant
    01-066            8/1/2001   8 FT. WHITE CUBE TRUCK                                  Machinery & Equipment - N.A. Plant
    01-067            8/1/2001   MATERIALS FOR SMALL BOTTLE PROJECT                      Machinery & Equipment - N.A. Plant
    01-068            8/1/2001   PROGRAMMING                                             Machinery & Equipment - N.A. Plant
    01-069            8/1/2001   MISC. FOR SMALL BOTTLE                                  Machinery & Equipment - N.A. Plant
    01-071            8/1/2001   INSTALL FANS AND MISC. FILLER PARTS                     Machinery & Equipment - N.A. Plant
    01-072            6/7/2001   LYON SHELVING                                           Office Furniture - North Aurora
    01-073            8/1/2001   WATER SOFTENER                                          Machinery & Equipment - Downers Grove
    01-075           7/30/2001   BUYOUT OF EQUIPMENT-ELMHURST                            Machinery & Equipment - Elmhurst
    01-078           5/16/2001   INSTALL 6”“ STORM PIPE IN FRONT OF STORE                Buildings - North Aurora Dairy Store
    01-079           8/31/2001   SOFFIT INSTALL                                          Buildings - North Aurora Dairy Store
    01-081            5/9/2001   FINAL BILLING FOR ICF PIPING                            Machinery & Equipment - N.A. Plant
    01-082           3/12/2001   30% FREEZER PROJECT                                     Machinery & Equipment - N.A. Plant
    01-083           3/15/2001   FREIGHT CHARGES FOR FREEZER PROJECT                     Machinery & Equipment - N.A. Plant
    01-085            4/9/2001   BLENDER PACKAGE                                         Machinery & Equipment - Arlington Heights
    01-087           3/20/2001   MISC. PARTS FOR IC FREEZER                              Machinery & Equipment - N.A. Plant
    01-088           3/19/2001   PAYMENTS ON I/C FREEZER                                 Machinery & Equipment - N.A. Plant
    01-089           3/20/2001   WIRE NEW ICE CREAM MACHINE                              Machinery & Equipment - N.A. Plant
    01-091           3/25/2001   MISC. PARTS FOR I/C FREEZER                             Machinery & Equipment - N.A. Plant
    01-092           3/22/2001   PARTIAL BILL OF I/C FREEZER                             Machinery & Equipment - N.A. Plant
    01-093           2/22/2001   MISC. PART FOR SEPARATOR                                Machinery & Equipment - N.A. Plant



63817155
                      Case 24-05385        Doc 229   Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                     Document     Page 81 of 231


 Asset Number   Date Acquired    Asset Description 1                                  G/L Asset Account Description
    01-094           2/27/2001   CENT. PUMP AND BACKFLOW PREVENTOR                    Machinery & Equipment - N.A. Plant
    01-095           1/31/2001   #1 BOOSTER                                           Machinery & Equipment - N.A. Plant
    01-099         10/22/2001    VENDING MACHINE-12 OZ BOTTLES (EVANSTON HS)          Machinery & Equipment - Special Events
    01-100         11/26/2001    BUYOUT FURNITURE AND FIXTURES                        Machinery & Equipment - Oswego
    01-101           9/13/2001   DISWASHER                                            Machinery & Equipment - Rolling Meadows
    01-102           10/5/2001   INSTALL 3-COMP.SINK,BOOSTER HEATER                   Machinery & Equipment - Rolling Meadows
    01-103            9/7/2001   FILE SERVER                                          Data Processing Equipment
    01-105            8/1/2001   SMARTEYE FIBEROPTIC                                  Machinery & Equipment - N.A. Plant
    01-106            8/1/2001   MATERIALS AND LABOR ENLARGING MASONARY OPENINGS      Machinery & Equipment - N.A. Plant
    01-107         10/19/2001    MISC SMALL PARTS                                     Machinery & Equipment - N.A. Plant
    01-109            8/1/2001   MISC. PARTS                                          Machinery & Equipment - N.A. Plant
    01-111            8/1/2001   12 OUNCE PET CONTOUR BOTTLE DESIGN                   Machinery & Equipment - N.A. Plant
    01-113           9/19/2001   NEW COMMERCIAL AWNINGS                               Leasehold Improvements - Elgin
    01-114           9/17/2001   BUYOUT LEASE                                         Machinery & Equipment - Park Ridge
    01-115         11/19/2001    FORMER YORKTOWN EQUIP NOW AT ELGIN                   Machinery & Equipment - Elgin
    01-116            8/1/2001   MISC. SUPPLIES FOR BOTTLE PROJECT                    Machinery & Equipment - N.A. Plant
    01-122            1/1/2001   4 INVOICES FOR MISC. MATERIALS                       Machinery & Equipment - N.A. Plant
    01-125           2/28/2001   2 INVOICES LABOR AND VALVES                          Machinery & Equipment - N.A. Plant
    01-126           3/30/2001   CENTRIFUGAL PUMP                                     Machinery & Equipment - N.A. Plant
    01-127            4/2/2001   BRASS VAVES,OIL                                      Machinery & Equipment - N.A. Plant
    01-128            2/1/2001   STAINLESS STEEL TABLE                                Machinery & Equipment - N.A. Plant
    01-129           3/22/2001   RELIEF AND ISOLATION VALVES - 2INV                   Machinery & Equipment - N.A. Plant
    01-131           3/27/2001   PARTS,LABOR,POWER SUPPLY                             Machinery & Equipment - N.A. Plant
    01-136           12/1/2001   NA PIE FREEZER                                       Machinery & Equipment - North Aurora DS
    01-137           12/1/2001   DOWNNERS GROVE MICROS EQUIPMENT                      Machinery & Equipment - Downers Grove
    01-138           12/1/2001   ADE EQUIPMENT                                        Machinery & Equipment - Downers Grove
    01-140           12/1/2001   BOTTLE AND CASE CONVEYOR                             Machinery & Equipment - N.A. Plant
    01-141           12/1/2001   MASTER PAC DECASER                                   Machinery & Equipment - N.A. Plant
    01-142           12/1/2001   BLOOMINGDALE DS ADE STORE EQUIPMENT                  Machinery & Equipment - Bloomingdale
    01-144           12/1/2001   MICROS EQUIPMENT-BLLOMINGDALE                        Machinery & Equipment - Bloomingdale
    01-148           12/1/2001   PIE FREEZER-ROLLING MEADOWS                          Machinery & Equipment - Rolling Meadows



63817155
                      Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document     Page 82 of 231


 Asset Number   Date Acquired    Asset Description 1                                   G/L Asset Account Description
    01-152            3/1/2001   MISC. PARTS                                           Machinery & Equipment - N.A. Plant
    01-153            3/1/2001   FREEZER LABOR                                         Machinery & Equipment - N.A. Plant
    01-154            2/1/2001   MISC                                                  Machinery & Equipment - N.A. Plant
    01-156           2/27/2001   PUMPS                                                 Machinery & Equipment - N.A. Plant
    01-159            2/1/2001   MISC. ELECTRICAL                                      Machinery & Equipment - N.A. Plant
    01-160           3/27/2001   FREIGHT                                               Machinery & Equipment - N.A. Plant
    01-166           12/1/2001   BUYOUT OF LEASE-ARL HTS                               Machinery & Equipment - Arlington Heights
    01-170           12/1/2001   INITIAL EQUIPMENT AND LABOR FOR SOUND SYSTEM          Machinery & Equipment - Bartlett
    01-173         11/21/2001    RESTRREAM OA A/L CLIP/HEAT EXCHANGER                  Machinery & Equipment - N.A. Plant
    02-002           1/30/2002   SPOOL ORGANIZER                                       Data Processing Equipment
    02-004           1/22/2002   RAMS SOFTWARE                                         Data Processing Equipment
    02-005           3/28/2002   NORTELL MERIDIAN SYSTEM                               Communication Equipment
    02-007           2/21/2002   HOT WATER HEATER                                      Machinery & Equipment - Elmhurst
    02-010           3/22/2002   TABLES                                                Machinery & Equipment - Bartlett
    02-011           5/24/2002   BLENDER PACKAGE                                       Machinery & Equipment - Oakville
    02-012           5/24/2002   WAFFLE CONE BAKER                                     Machinery & Equipment - Oakville
    02-014           2/21/2002   BLENDER PACKAGE                                       Machinery & Equipment - Glenview
    02-015            3/5/2002   WAFFLE CONE BAKER                                     Machinery & Equipment - Glenview
    02-016            3/8/2002   FAX MODEM                                             Machinery & Equipment - Glenview
    02-017           3/14/2002   DROP SAFE AND DEAD BOLT                               Machinery & Equipment - Glenview
    02-018           3/25/2002   MUSIC SYSTEM                                          Machinery & Equipment - Glenview
    02-020           3/16/2002   NEW STORAGE CLOSET                                    Buildings - North Aurora
    02-021           3/26/2002   COVERT STORAGE ROOM TO OFFICE                         Buildings - North Aurora
    02-025           5/24/2002   ENGINEERING FEE                                       Leasehold Improvements - Oakville
    02-026           5/24/2002   PERMIT FEE                                            Leasehold Improvements - Oakville
    02-029           3/15/2002   INSTALL FRP AND TRIMS TO EXISTING WALLS               Leasehold Improvements - Western Springs
    02-030           3/22/2002   CERAMIC TILE                                          Leasehold Improvements - Western Springs
    02-031           1/24/2002   LABOR MATERIALS MATERIALS                             Machinery & Equipment - N.A. Plant
    02-032            1/9/2002   EXHAUST SYSTEM                                        Machinery & Equipment - N.A. Plant
    02-033            1/1/2002   RESTREAM HEAT EXCHANGER                               Machinery & Equipment - N.A. Plant
    02-034            1/1/2002   REBUILD MILK CASER STACKER                            Machinery & Equipment - N.A. Plant



63817155
                      Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document     Page 83 of 231


 Asset Number   Date Acquired    Asset Description 1                                   G/L Asset Account Description
    02-035           3/16/2002   INSTALL QUIK FENCE WALLS                              Machinery & Equipment - Truck Maintenance
    02-036           3/29/2002   LAPTOP                                                Machinery & Equipment - Truck Maintenance
    02-037           3/27/2002   PARTS WASHER                                          Machinery & Equipment - Truck Maintenance
    02-038           3/15/2002   DRIVE THRU MACH ANDEQUIP-2 INVOICES                   Machinery & Equipment - North Aurora DS
    02-040            1/1/2002   EARLY PURCHASE-VERIZON                                Machinery & Equipment - Rolling Meadows
    02-042           3/27/2002   ICE CREAM CABINET, WORK COUNTER ETC                   Machinery & Equipment - Western Springs
    02-043           3/26/2002   MISC GASKETS FOR COMPRESSOR REBUILD                   Machinery & Equipment - N.A. Plant
    02-044           2/27/2002   TRAVEL TIME-BLEND TANK                                Machinery & Equipment - N.A. Plant
    02-045           3/12/2002   REPIPE WATER TO TANKER ROOM                           Machinery & Equipment - N.A. Plant
    02-046           3/21/2002   2 INVOICES-MODIFY CONTROLS FOR NEW AGITATOR MOTOR     Machinery & Equipment - N.A. Plant
    02-047           2/25/2002   HARDWARE/ENGINEERING FOR BLEND TANK                   Machinery & Equipment - N.A. Plant
    02-048           2/11/2002   REPIPE STEAM AND WATER TO PRODUCTION ROOM             Machinery & Equipment - N.A. Plant
    02-053           4/22/2002   INSTALL WATER HEATER                                  Machinery & Equipment - North Aurora DS
    02-054            4/3/2002   BOOSTER HEATER,ELECTRIC                               Machinery & Equipment - North Aurora DS
    02-055            4/1/2002   MICROS UPGRADE/2 AMTS. 4632.43+7658.50                Machinery & Equipment - North Aurora DS
    02-056           5/25/2002   ARCHITECTUAL SERVICES -2 INVO;ICES 979.58+758.59      Leasehold Improvements - Oakville
    02-057           5/25/2002   JSB - 4INVOICES-103592.02+102287.24+87082.38+4034.    Leasehold Improvements - Oakville
    02-058           6/26/2002   RIGHTS TO REPRINT AND SINGLE IMAGE BUYOUT             Marketing / Promotional Assets
    02-059            4/1/2002   CERAMIC TILE                                          Leasehold Improvements - Western Springs
    02-060            4/8/2002   REPLACE FRONT COUNTER                                 Leasehold Improvements - Western Springs
    02-061           7/11/2002   DIPPING CABINETS                                      Leasehold Improvements - Lake Zurich
    02-062           7/11/2002   SHAKE MACHINE                                         Leasehold Improvements - Lake Zurich
    02-063           7/11/2002   AWNINGS                                               Leasehold Improvements - Lake Zurich
    02-064           7/11/2002   ORIGINAL CONTRACT                                     Leasehold Improvements - Lake Zurich
    02-065           7/11/2002   UPGRADES/CHANGES INVOICES                             Leasehold Improvements - Lake Zurich
    02-067            4/1/2002   COOLER AMMONIA LINE IMPROVEMENTS                      Machinery & Equipment - N.A. Plant
    02-068            5/6/2002   COOLER DOOR                                           Machinery & Equipment - N.A. Plant
    02-069           5/10/2002   2 MARS AIR DOOR/AIR CURTAINS                          Machinery & Equipment - N.A. Plant
    02-070            5/1/2002   INSTALL JAMESON SLIDING COOLER DOOR                   Machinery & Equipment - N.A. Plant
    02-072            4/3/2002   BOTTLE INFEED SYSTEM2 INV/3936.80+1968.40             Machinery & Equipment - N.A. Plant
    02-073            4/1/2002   3 COOLER DOOR PICTORIALS                              Machinery & Equipment - Glenview



63817155
                      Case 24-05385         Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                        Document     Page 84 of 231


 Asset Number   Date Acquired    Asset Description 1                                     G/L Asset Account Description
    02-074           6/27/2002   ADDITIONAL CHARGES FOR GLENVIEW                         Machinery & Equipment - Glenview
    02-076           5/24/2002   SAFE                                                    Machinery & Equipment - Oakville
    02-077            4/1/2002   CASH REGISTER                                           Machinery & Equipment - Bartlett
    02-078           5/24/2002   5 SHADES                                                Machinery & Equipment - Bartlett
    02-079            4/8/2002   5 ROUND TABLES                                          Machinery & Equipment - Bartlett
    02-082            4/1/2002   MICROS UPGRADE                                          Machinery & Equipment - Rolling Meadows
    02-083            4/1/2002   GTE BUYOUT                                              Machinery & Equipment - Rolling Meadows
    02-084            4/1/2002   MICROS UPGRADE                                          Machinery & Equipment - Western Springs
    02-085            4/1/2002   MICROS UPGRADE                                          Machinery & Equipment - Bolingbrook
    02-087           4/22/2002   EXECUTIVE CHAIR                                         Office Furniture - North Aurora
    02-090            4/1/2002   RAMS SOFTWARE                                           Data Processing Equipment
    02-092            4/1/2002   MICROSOFT XP SOFTWARE LICENSES                          Data Processing Equipment
    02-097           4/10/2002   FLOW METER                                              Machinery & Equipment - N.A. Plant
    02-098           4/26/2002   FLOW METER INSTALL                                      Machinery & Equipment - N.A. Plant
    02-099           5/31/2002   MISC GASKETS FOR COMPRESSOR REBUILD                     Machinery & Equipment - N.A. Plant
    02-102           5/28/2002   ARCHITECTURAL FEE                                       Leasehold Improvements - Oakville
    02-103           7/11/2002   COMPUTER PRINTER & ACCESSORIES                          Machinery & Equipment - Lake Zurich
    02-104           7/17/2002   REPAIR AND PARTS 4 INV.8893=9109=9297=9454              Machinery & Equipment - N.A. Plant
    02-109           7/22/2002   INSTALLATION AND NEW AIR COMPRESSOR                     Machinery & Equipment - N.A. Plant
    02-110           7/31/2002   INSTALL NEW WIRING FOR NEW COMPRESSOR                   Machinery & Equipment - N.A. Plant
    02-111           8/19/2002   INSTALL EXHAUST FAN,COMPRESSOR DUCT WORK                Machinery & Equipment - N.A. Plant
    02-112           7/11/2002   PURCHASE AND INSTALL OF MUZAK 2 INV.572052+1510.81      Machinery & Equipment - Lake Zurich
    02-113           7/11/2002   NEW STORE EQUIPMENT                                     Machinery & Equipment - Lake Zurich
    02-114           7/11/2002   SOFT SERVE FREEZER                                      Machinery & Equipment - Lake Zurich
    02-116         12/12/2002    ENGINEERING FEES                                        Leasehold Improvements - Kirkwood
    02-117           7/12/2002   NEW WIRING FOR COOLER DOOR                              Machinery & Equipment - N.A. Plant
    02-118           9/23/2002   SECURITY CAMERA                                         Machinery & Equipment - N.A. Plant
    02-119           7/31/2002   INSTALL NEW WIRING FOR LOADING DOCK BLOWER              Machinery & Equipment - N.A. Plant
    02-120           6/28/2002   WALK BEHIND LIFT                                        Machinery & Equipment - N.A. Plant
    02-122           6/19/2002   NEW BIG DOG PRINTER                                     Data Processing Equipment
    02-123           7/11/2002   SOFT SERVE FREEZER                                      Machinery & Equipment - Lake Zurich



63817155
                      Case 24-05385          Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                         Document     Page 85 of 231


 Asset Number   Date Acquired    Asset Description 1                                      G/L Asset Account Description
    02-124           7/11/2002   LAKE ZURICH SIGN PACKAGE                                 Machinery & Equipment - Lake Zurich
    02-125            7/1/2002   REVISED CONTRACT                                         Leasehold Improvements - Lake Zurich
    02-126           7/15/2002   COMMERCIAL AWNINGS                                       Leasehold Improvements - Lake Zurich
    02-131            8/9/2002   ICE CREAM DIPPING CABINET                                Machinery & Equipment - Rolling Meadows
    02-132           9/16/2002   3 ONEAC’S FOR BARTLETT STORE                             Machinery & Equipment - Bartlett
    02-133           8/29/2002   RUN POWER TO SIGN                                        Machinery & Equipment - Bartlett
    02-134           8/21/2002   SUPPLY AND INSTALL MONUMENT SIGN                         Machinery & Equipment - Bartlett
    02-142           7/29/2002   INSTALL 4 FT. MAJESTIC FENCE                             Land & Land Improvements
    02-143           8/29/2002   3 INV VISION SYSTEM 45981.00+500.00+3795.00+57476.       Machinery & Equipment - N.A. Plant
    02-144           10/2/2002   PLAN REVIEW FEE                                          Leasehold Improvements - Wheaton
    02-145           10/2/2002   ORINGINAL CONTRACT 2INV. 79369.92+9800.00T               Leasehold Improvements - Wheaton
    02-148         10/15/2002    SILO TANK EXPANSION 4 INVOICES                           Machinery & Equipment - N.A. Plant
    02-150         10/15/2002    PIPING 3 INV. 14250.00+33250.00+6540.58                  Machinery & Equipment - N.A. Plant
    02-151           9/12/2002   #404 1993 UTILITY REEFER                                 Vehicles
    02-153            5/1/2002   INSTALL WIRING FOR NEW CONVEYOR 2INV.                    Machinery & Equipment - N.A. Plant
    02-154            5/2/2002   INSTALL AMONIA SIDEFITTERS                               Machinery & Equipment - N.A. Plant
    02-155           5/24/2002   ENGINEERING FEE                                          Leasehold Improvements - Oakville
    02-157           7/11/2002   NEW CASH REGISTER                                        Machinery & Equipment - Lake Zurich
    02-158           5/24/2002   MUZAK SYSTEM                                             Machinery & Equipment - Oakville
    02-159           5/24/2002   WALK IN SHELF UNIT                                       Machinery & Equipment - Oakville
    02-160            9/5/2002   BLENDER PACKAGE                                          Machinery & Equipment - Joliet DS
    02-161         12/15/2002    ENGINEERING FEES                                         Leasehold Improvements - Kirkwood
    02-162           10/2/2002   ENGINEERING FEE                                          Leasehold Improvements - Wheaton
    02-165           5/24/2002   FREEZERS                                                 Machinery & Equipment - Oakville
    02-166           5/24/2002   STORE EQUIPMENT                                          Machinery & Equipment - Oakville
    02-167           5/24/2002   CASH REGISTERS                                           Machinery & Equipment - Oakville
    02-168           5/24/2002   CABINETS                                                 Machinery & Equipment - Oakville
    02-169           5/24/2002   MUZAK SOUND SYSTEM                                       Machinery & Equipment - Oakville
    02-170            7/1/2002   AWNINGS                                                  Machinery & Equipment - Oakville
    02-171           5/24/2002   SIGNAGE                                                  Machinery & Equipment - Oakville
    02-172           8/19/2002   UPGRADE/CHANGES                                          Leasehold Improvements - Lake Zurich



63817155
                      Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document     Page 86 of 231


 Asset Number   Date Acquired    Asset Description 1                                   G/L Asset Account Description
    02-173           7/11/2002   ENGINEERING FEES - LAKE ZURICH                        Leasehold Improvements - Lake Zurich
    02-174           6/28/2002   STD FORKLIFT                                          Machinery & Equipment - N.A. Plant
    02-175           6/28/2002   SQRIIZE TRUCK                                         Machinery & Equipment - N.A. Plant
    02-176         12/31/2002    FURNITURE AND FIXTURES                                Office Furniture - North Aurora
    02-179         10/10/2002    DUCT WORK                                             Machinery & Equipment - North Aurora DS
    02-180         10/10/2002    REPAIRS AND MATERIALS TO ROOF                         Machinery & Equipment - North Aurora DS
    02-182         11/18/2002    WAFFLE CONE BAKER                                     Machinery & Equipment - Oakville
    02-183         11/15/2002    BLENDER PACKAGE                                       Machinery & Equipment - Oakville
    02-184         10/29/2002    INSTALL ECONIZER DAMPERS                              Machinery & Equipment - Oakville
    02-185           10/4/2002   BARTLETT SIGN PACKAGE                                 Machinery & Equipment - Bartlett
    02-187         12/27/2002    NEW OUTDOOR TWIST LOCK                                Leasehold Improvements - St. Louis TC
    02-188         12/17/2002    INSTALL 200A SERVICE                                  Leasehold Improvements - St. Louis TC
    02-191         12/12/2002    WALL COVERING/GRAPHICS                                Leasehold Improvements - Kirkwood
    02-192         10/23/2002    ORIGINAL CONTRACT/CHANGES/ENG.FEE 3 INV               Leasehold Improvements - Lake Zurich
    02-193            1/5/2002   ORIGINAL CONTRACT                                     Leasehold Improvements - Oakville
    02-194         11/20/2002    COOLER CAMERAS                                        Machinery & Equipment - N.A. Plant
    02-196           10/1/2002   RELOCATION OF VISION SYSTEM                           Machinery & Equipment - N.A. Plant
    02-197         10/31/2002    MATERIAL AND LABOR TO INSTALL WIRING                  Machinery & Equipment - N.A. Plant
    02-198         10/25/2002    FREIGHT CHARGES                                       Machinery & Equipment - N.A. Plant
    02-199         10/29/2002    NEW PUMP/LABOR FOR ROOFTOP AMONIA/4 INV.              Machinery & Equipment - N.A. Plant
    02-200           12/9/2002   BILLING OF MATERIAL/2 INV.                            Machinery & Equipment - N.A. Plant
    02-201         11/18/2002    TEMPERATURE SWITCH                                    Machinery & Equipment - N.A. Plant
    02-202           10/1/2002   MISC. SUPPLIES                                        Machinery & Equipment - N.A. Plant
    02-203           10/3/2002   NEW COMP/INCREASE MEMORY-4 INV.                       Data Processing Equipment
    02-204         12/12/2002    CONTRACT/FEES 3 INV.                                  Leasehold Improvements - Kirkwood
    02-205           10/2/2002   AWNINGS                                               Machinery & Equipment - Wheaton
    02-206           10/2/2002   STORE EQUIPMENT                                       Machinery & Equipment - Wheaton
    02-207           10/2/2002   NEW EQUIPMENT                                         Machinery & Equipment - Wheaton
    02-209           10/2/2002   FREEZERS                                              Machinery & Equipment - Wheaton
    02-210           10/2/2002   SIGNAGE                                               Machinery & Equipment - Wheaton
    02-214         11/30/2002    VEHICLE LIFT SYSTEM                                   Machinery & Equipment - Truck Maintenance



63817155
                      Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document     Page 87 of 231


 Asset Number   Date Acquired    Asset Description 1                                   G/L Asset Account Description
    02-217           12/9/2002   STORE SAFE                                            Machinery & Equipment - Kirkwood
    02-220         12/12/2002    ORIGINAL CONTRACT - LHOLD IMPROVEMENTS                Leasehold Improvements - Kirkwood
    02-222           11/8/2002   ORIGINAL CONTRACT                                     Leasehold Improvements - Wheaton
    02-223           5/24/2002   Oakville L/H 39 Year Property                         Leasehold Improvements - Oakville
    02-224           5/24/2002   Oakville L/H 15 Year Property                         Leasehold Improvements - Oakville
    02-225           5/24/2002   Oakville L/H 7 Year Property                          Leasehold Improvements - Oakville
    02-226           5/24/2002   Oakville L/H 5 Year Property                          Leasehold Improvements - Oakville
    02-227           10/2/2002   Wheaton L/H 39 Year Property                          Leasehold Improvements - Wheaton
    02-228           10/2/2002   Wheaton L/H 7 Year Property                           Leasehold Improvements - Wheaton
    02-229           10/2/2002   Wheaton L/H 5 Year Property                           Leasehold Improvements - Wheaton
    02-230         12/12/2002    Kirkwood L/H 39 Year Property                         Leasehold Improvements - Kirkwood
    02-231         12/12/2002    Kirkwood L/H 7 Year Property                          Leasehold Improvements - Kirkwood
    02-232         12/12/2002    Kirkwood L/H 5 Year Property                          Leasehold Improvements - Kirkwood
    02-233           7/11/2002   Lake Zurich L/H 39 Year Property                      Leasehold Improvements - Lake Zurich
    02-234         10/23/2002    Lake Zurich L/H 39 Year Property                      Leasehold Improvements - Lake Zurich
    02-235           7/11/2002   Lake Zurich L/H 7 Year Property                       Leasehold Improvements - Lake Zurich
    02-236           7/11/2002   Lake Zurich L/H 5 Year Property                       Leasehold Improvements - Lake Zurich
    02-237         10/23/2002    Lake Zurich L/H 5 Year Property                       Leasehold Improvements - Lake Zurich
    03-015           1/13/2003   SONY VAO-PCG NOTEBOOK                                 Data Processing Equipment
    03-016            1/6/2003   MICROS CORP. SERVER                                   Data Processing Equipment
    03-110           4/11/2003   INSTALL ADDITIONAL DISCONNECTS AND TWIST LOCK         Machinery & Equipment - St. Louis IC
    03-112           6/26/2003   DRAINS IN WAREHOUSE SPACE                             Machinery & Equipment - St. Louis IC
    03-113           6/23/2003   CONDENSOR/COIL                                        Machinery & Equipment - St. Louis IC
    03-119            6/3/2003   CASH DRAWER,HELP DESK,SOFTWARE                        Machinery & Equipment - Kirkwood
    03-120            6/3/2003   HELP DESK,SOFTWARE,REGISTER,CASH DRAWER               Machinery & Equipment - Lake Zurich
    03-135           6/12/2003   REACH IN FREEZER                                      Machinery & Equipment - Downers Grove
    03-142            7/9/2003   BLENDER PACKAGE                                       Machinery & Equipment - Gurnee
    03-143           6/30/2003   FIRST PAYMENT ON FREEZER                              Machinery & Equipment - Gurnee
    03-146           7/29/2003   PREPARATION OF PAINTING OF MILK STORAGE TANKS         Machinery & Equipment - N.A. Plant
    03-148           7/22/2003   PROGRESSIVE OF PAYMENTS FOR INSTALLATION              Machinery & Equipment - N.A. Plant
    03-150           8/31/2003   RELIEF VALVE                                          Machinery & Equipment - N.A. Plant



63817155
                      Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document     Page 88 of 231


 Asset Number   Date Acquired    Asset Description 1                                   G/L Asset Account Description
    03-153           8/28/2003   SERVER FOR SYMPOSIUM                                  Data Processing Equipment
    03-155           6/27/2003   74 INCH WIRE SHELF                                    Machinery & Equipment - St. Louis IC
    03-156           6/30/2003   WALK IN FREEZER / COOLER/DOORS                        Machinery & Equipment - St. Louis IC
    03-157           7/16/2003   INSTALL POWER,LIGHTING,DISCONNECTS FOR NEW COOLER     Machinery & Equipment - St. Louis IC
    03-159           8/29/2003   COMBO WALK IN FREEZER/COOLER                          Machinery & Equipment - Indianapolis IC
    03-160           9/25/2003   ELECTRICAL WORK FOR NEW COOLER                        Machinery & Equipment - Indianapolis IC
    03-161           8/25/2003   CHESS TABLES/TOPS                                     Machinery & Equipment - Bloomingdale
    03-166            7/8/2003   PRINTING AND INSTALL OF ROAD SHOW GRAPHICS            Marketing / Promotional Assets
    03-171           8/18/2003   INSTALL WIRING TO NEW 60 AMP BOX                      Machinery & Equipment - N.A. Plant
    03-176           8/12/2003   OFFICE FURNITURE                                      Office Furniture - North Aurora
    03-179            8/1/2003   COOLER,FREEZER AND TRUCK HEATER HOOK UP               Machinery & Equipment - Bloomington IC
    03-180           8/30/2003   WAFFLE CONE BAKER                                     Machinery & Equipment - Gurnee
    03-182           8/30/2003   LIGHTING/RED PENDANTS                                 Machinery & Equipment - Gurnee
    03-184           8/30/2003   SOFT SERVE FREEZER                                    Machinery & Equipment - Rolling Meadows
    03-185            7/8/2003   4 SHEERWEAVE WINDOW SHADES                            Machinery & Equipment - Orland Park
    03-187            7/7/2003   START UP SERVICE FOR CAP SORTER                       Machinery & Equipment - N.A. Plant
    03-189           9/11/2003   PRONTO 474 LABEL PRINTER                              Machinery & Equipment - N.A. Plant
    03-190           9/11/2003   PUMP/MOTOR                                            Machinery & Equipment - N.A. Plant
    03-194           4/30/2003   QUARRY TILE                                           Leasehold Improvements - Bloomingdale
    03-224            4/1/2003   ACQUISITION OF AS400                                  Data Processing Equipment
    03-225           9/24/2003   SECURITY ALAM                                         Machinery & Equipment - Indianapolis TC
    03-226           8/31/2003   PRINTER                                               Machinery & Equipment - St. Louis TC
    03-228           6/23/2003   MICROS UPDATE                                         Machinery & Equipment - Oakville
    03-229           9/19/2003   5 ROUND RED TABLES                                    Machinery & Equipment - Wheaton
    03-237           8/30/2003   SAFE AND KEYS                                         Machinery & Equipment - Gurnee
    03-238           9/16/2003   Restaurant Equipment                                  Machinery & Equipment - Gurnee
    03-239           8/30/2003   RED PICNIC TABLES                                     Machinery & Equipment - Gurnee
    03-242           4/18/2003   DEPOSIT ON ADE EQUIPMENT                              Machinery & Equipment - Orland Park
    03-243           8/13/2003   DEPOSIT ON SIGNAGE                                    Machinery & Equipment - Orland Park
    03-248           8/13/2003   EQUIPMENT PACKAGE                                     Leasehold Improvements - Wheaton
    03-252         11/24/2003    BLUEPRINTING/COPYING/DELIVERY                         Leasehold Improvements - St. Peters



63817155
                      Case 24-05385         Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                       Document     Page 89 of 231


 Asset Number   Date Acquired    Asset Description 1                                    G/L Asset Account Description
    03-254         11/17/2003    PENDENT LIGTING                                        Machinery & Equipment - Ballwin
    03-255         11/17/2003    NEW STORE EQUIPMENT                                    Machinery & Equipment - Ballwin
    03-257         11/24/2003    FREEZER EQUIPMENT                                      Machinery & Equipment - St. Peters
    03-258         11/14/2003    NEW STORE EQUIPMENT                                    Machinery & Equipment - Schaumburg
    03-263           8/23/2003   DOCKSTOCKER LIFT TRUCK                                 Machinery & Equipment - N.A. Plant
    03-264            4/4/2003   40% OF FRUIT FEEDER                                    Machinery & Equipment - N.A. Plant
    03-265           5/13/2003   CAP SORTER                                             Machinery & Equipment - N.A. Plant
    03-266            5/2/2003   ENGINEERING EQUIPMENT                                  Machinery & Equipment - N.A. Plant
    03-267            5/1/2003   FINAL BILLING FOR CIP CONTROL WIRING                   Machinery & Equipment - N.A. Plant
    03-268           5/21/2003   SERVICE HOURS FOR INSTALL OF RECEIVING BAY             Machinery & Equipment - N.A. Plant
    03-269           5/15/2003   CIP PIPING,JUMPERS,ICE CREAM LINES AND GUARD RAILS     Machinery & Equipment - N.A. Plant
    03-270            9/3/2003   MUZAK INSTALLATION                                     Machinery & Equipment - Kirkwood
    03-273           10/8/2003   CONCRETE,EXCAVATION OF PATIO                           Leasehold Improvements - Wheaton
    03-276         11/17/2003    ORIGINAL CONTRACT-2 INVOICES                           Leasehold Improvements - Ballwin
    03-277         11/17/2003    SMOOTHER 5 BLENDER PACKAGE                             Leasehold Improvements - Ballwin
    03-278         11/17/2003    CHANNEL LETTERS                                        Leasehold Improvements - Ballwin
    03-279         11/17/2003    VINYL WALL COVERINGS                                   Leasehold Improvements - Ballwin
    03-280         11/24/2003    WALL COVERINGS                                         Leasehold Improvements - St. Peters
    03-282         11/24/2003    DRAWING 1                                              Leasehold Improvements - St. Peters
    03-283         11/24/2003    SMOOTHER 5 BLENDER PACKAGE                             Leasehold Improvements - St. Peters
    03-285         11/11/2003    SOFTWARE/MODEMS/MONITORS                               Machinery & Equipment - Orland Park
    03-287         11/17/2003    DRUM PENDANT-FLUSH MOUNT                               Machinery & Equipment - Ballwin
    03-288         11/17/2003    WAFFLE CONE BAKER                                      Machinery & Equipment - Ballwin
    03-291         11/17/2003    NEW COMMERCIAL AWNINGS                                 Machinery & Equipment - Ballwin
    03-292         11/17/2003    CASH DRWR,ECLIPSE PIII,PRINTER ETC                     Machinery & Equipment - Ballwin
    03-293         11/17/2003    WALL ASSEMBLY,DISH WASHER,DISH TABLE                   Machinery & Equipment - Ballwin
    03-294         11/17/2003    INSTALL MUZAK                                          Machinery & Equipment - Ballwin
    03-295         11/24/2003    RED GLASS/CUSTOM COW PENDANT                           Machinery & Equipment - St. Peters
    03-296         11/24/2003    WAFFLE CONE BAKER                                      Machinery & Equipment - St. Peters
    03-298         11/24/2003    NEW COMMERCIAL AWNINGS                                 Machinery & Equipment - St. Peters
    03-299         11/24/2003    CHANNEL LETTERS                                        Machinery & Equipment - St. Peters



63817155
                      Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document     Page 90 of 231


 Asset Number   Date Acquired    Asset Description 1                                   G/L Asset Account Description
    03-300         11/24/2003    SOFT SERVE MACHINE                                    Machinery & Equipment - St. Peters
    03-302         11/24/2003    MICROS SYSTEM                                         Machinery & Equipment - St. Peters
    03-303         11/26/2003    INSTALL MUZAK                                         Machinery & Equipment - St. Peters
    03-305           10/2/2003   PLASTIC PALLET                                        Machinery & Equipment - St. Louis TC
    03-306         10/28/2003    ELECTRIC PALLET TRUCK                                 Machinery & Equipment - St. Louis TC
    03-307           10/9/2003   SUPPLY AND INSTALL A/C UNIT                           Office Furniture - North Aurora
    03-308         10/28/2003    LAN LOCKER                                            Office Furniture - North Aurora
    03-310         11/17/2003    SAFE AND KEYS                                         Machinery & Equipment - Ballwin
    03-311         11/24/2003    SAFE AND KEYS                                         Machinery & Equipment - St. Peters
    03-312           8/15/2003   CHANGE ORDERS TO CONTRACT                             Leasehold Improvements - Kirkwood
    03-314         12/15/2003    CHANGE ORDERS                                         Leasehold Improvements - Orland Park
    03-316         11/21/2003    BOLT DOWN SAFE AND CYLINDERS                          Machinery & Equipment - Schaumburg
    03-317         11/24/2003    2ND DRAW-90% COMPLETE                                 Leasehold Improvements - Ballwin
    03-320         10/16/2003    FIREPROOF LETTER DRAWER`                              Office Furniture - North Aurora
    03-321         10/24/2003    SYMPOSIUM CALL SYSTEM                                 Data Processing Equipment
    03-323         10/31/2003    MS OFFICE XP STD                                      Data Processing Equipment
    03-337         11/13/2003    ECLIPSE P111 MSA APPENDUM                             Machinery & Equipment - Schaumburg
    03-338         11/18/2003    WALL SHELF ASSEMBLY-DISHWASHER,TABLE                  Machinery & Equipment - Schaumburg
    03-339         10/16/2003    RED PENDULANT                                         Machinery & Equipment - Schaumburg
    03-340           10/8/2003   BLENDER PACKAGE                                       Machinery & Equipment - Gurnee
    03-341         11/26/2003    HARDWARE,SOFTWARE AND MSA                             Machinery & Equipment - Gurnee
    03-342         11/17/2003    DEPOSIT ON SIGN PACKAGE                               Machinery & Equipment - Ballwin
    03-343         10/20/2003    SIGN PACKAGE                                          Machinery & Equipment - Schaumburg
    03-344         11/24/2003    SIGN PACKAGE                                          Machinery & Equipment - St. Peters
    03-345         12/18/2003    NORTEL MERIDIAN SYSTEM                                Data Processing Equipment
    03-346         10/30/2003    BURSTER                                               Office Furniture - North Aurora
    03-347         11/21/2003    SOFT SERVE FREEZER                                    Machinery & Equipment - Ballwin
    03-348           10/1/2003   ROUND PICNIC TABLES,RECEPTACLES                       Machinery & Equipment - Gurnee
    03-349         11/17/2003    MICROS UPGRADE                                        Machinery & Equipment - Orland Park
    03-355         11/14/2003    JSB ORDERS AND CHANGE ORDERS                          Machinery & Equipment - Schaumburg
    03-357           12/1/2003   8 OZ.IC FILLER VERIZON 29                             Machinery & Equipment - N.A. Plant



63817155
                      Case 24-05385         Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                       Document     Page 91 of 231


 Asset Number   Date Acquired    Asset Description 1                                    G/L Asset Account Description
    03-359           12/1/2003   KTEC BLENDER                                           Machinery & Equipment - Park Ridge
    03-363           12/1/2003   KTEC BLENDERS                                          Machinery & Equipment - North Aurora DS
    03-364         11/20/2003    DRAW 2                                                 Leasehold Improvements - St. Peters
    03-365           12/9/2003   FINAL DRAW                                             Leasehold Improvements - Ballwin
    03-366           8/15/2003   Kirkwood L/H 39 Year Property                          Leasehold Improvements - Kirkwood
    03-373         11/24/2003    St Peters L/H 39 Year Property                         Leasehold Improvements - St. Peters
    03-374         11/24/2003    St Peters L/H 7 Year Property                          Leasehold Improvements - St. Peters
    03-375         11/24/2003    St Peters L/H 5 Year Property                          Leasehold Improvements - St. Peters
    03-376         11/17/2003    Ballwin L/H 39 Year Property                           Leasehold Improvements - Ballwin
    03-377         11/17/2003    Ballwin L/H 39 Year Property                           Leasehold Improvements - Ballwin
    03-378         11/17/2003    Ballwin L/H 15 Year Property                           Leasehold Improvements - Ballwin
    03-379         11/17/2003    Ballwin L/H 7 Year Property                            Leasehold Improvements - Ballwin
    03-380         11/17/2003    Ballwin L/H 5 Year Property                            Leasehold Improvements - Ballwin
    04-001           2/17/2004   860.13-27 FRONT COUNTER SHELVES                        Machinery & Equipment - St. Peters
    04-002           4/15/2004   2 REFRIGERATED ICE CREAM CARTS                         Marketing / Promotional Assets
    04-003           1/29/2004   REPLACE EXISTING RELIEF VALVES                         Machinery & Equipment - N.A. Plant
    04-005           4/23/2004   EMULSION QUALITY ANALYZER KIT                          Machinery & Equipment - Lab
    04-006            1/1/2004   EXCAVATE DIRT/POUR PAD/PIPING FOR SEWER.               Machinery & Equipment - N.A. Plant
    04-007            5/6/2004   HP PROLIANT ML350 HR SERVER                            Data Processing Equipment
    04-012           1/13/2004   MS OFFICE XP                                           Data Processing Equipment
    04-013           3/12/2004   HP CPQ FOR CFO                                         Data Processing Equipment
    04-015           2/29/2004   SOFT WATER PIPE/WATER MAIN REROUTE                     Machinery & Equipment - N.A. Plant
    04-017           1/28/2004   DRAW 4 - CISSELL MUELLER                               Leasehold Improvements - Ballwin
    04-018           1/29/2004   DRAW 4-CISSELL MUELLER                                 Leasehold Improvements - St. Peters
    04-024            1/1/2004   INSTALL CUSTOMER SUPPLIED VFD DRIVE IN CIP RM.         Machinery & Equipment - N.A. Plant
    04-025            1/1/2004   INSTALL WIRING FOR RELOCATED SOFTENER PUMPS            Machinery & Equipment - N.A. Plant
    04-026            1/1/2004   CUSTOM BEADING LIGHTING                                Machinery & Equipment - Gurnee
    04-027            1/1/2004   CUSTOME BEADED LIGHTING                                Machinery & Equipment - Schaumburg
    04-028           1/10/2004   PENDANT LIGHTING FIXTURES                              Machinery & Equipment - Ballwin
    04-029            1/1/2004   PENDENT LIGHTING                                       Machinery & Equipment - Schaumburg
    04-030            6/7/2004   TRUCK GRAPHICS C15,C16,C17                             Marketing / Promotional Assets



63817155
                      Case 24-05385         Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                       Document     Page 92 of 231


 Asset Number   Date Acquired    Asset Description 1                                    G/L Asset Account Description
    04-031           4/28/2004   REWRITABLE CD MEDIA                                    Machinery & Equipment - Rolling Meadows
    04-034           4/28/2004   REWRITABLE CD SYSTEMS                                  Machinery & Equipment - Lake Zurich
    04-035           1/28/2004   REWRITABLE CD                                          Machinery & Equipment - Bloomingdale
    04-039           5/20/2004   MIXN MACHINE                                           Machinery & Equipment - Downers Grove
    04-040           5/31/2004   ADE-TABLE TOP/BASES/SEATING                            Machinery & Equipment - North Aurora DS
    04-042           6/21/2004   FROST BITE MIXER                                       Machinery & Equipment - North Aurora DS
    04-043           2/26/2004   WELDING/FITTINGS                                       Machinery & Equipment - N.A. Plant
    04-048            6/7/2004   APPLE PM DP COMPUTER                                   Data Processing Equipment
    04-049           5/26/2004   IBM TP R40                                             Data Processing Equipment
    04-050           5/13/2004   APC SMART UPS 1500                                     Data Processing Equipment
    04-054           2/13/2004   INSTALL CANOPY LIGHTS                                  Machinery & Equipment - Ballwin
    04-058           5/27/2004   SERVER FOR CARDS/ACCESS                                Data Processing Equipment
    04-063           3/12/2004   INSTALLATION OF 5 TON ROOF UNIT-                       Machinery & Equipment - St. Louis TC
    04-064           2/26/2004   ELECTRIC 4/2000 PRESSURE WASHER                        Machinery & Equipment - St. Louis TC
    04-067            3/8/2004   CONTRACT AMOUNT FOR ORLAND PARK                        Leasehold Improvements - Orland Park
    04-070            3/8/2004   ADJUSTED CONTRACT AMT. FOR SCHAUMBURG                  Leasehold Improvements - Schaumburg
    04-073           3/26/2004   TWIN TWIST SOFT SERVE                                  Machinery & Equipment - Schaumburg
    04-074           4/15/2004   REGRAPHIC PROJECT-RIGHTS TO PHOTOGRAPH TRUCKS          Marketing / Promotional Assets
    04-076            5/7/2004   LEASE BUYOUT                                           Machinery & Equipment - Elgin
    04-078           1/20/2004   BUYOUT ON 11/40,000 GAL SILO STORAGE TANK              Machinery & Equipment - N.A. Plant
    04-082           3/23/2004   FURNISH AND INSTALL 5 SHEERWEAVE WINDOW SHADES         Machinery & Equipment - Schaumburg
    04-084           4/27/2004   NEW EXHAUST FAN IN CHEMICAL ROOM                       Machinery & Equipment - N.A. Plant
    04-087           9/14/2004   CONE DISPLAY/7 WHITE SHELVES                           Machinery & Equipment - North Aurora DS
    04-088           8/19/2004   197940.60+31493.40-76350 CONTRUCTION SCHEREVILLE       Leasehold Improvements - Schereville
    04-093           4/21/2004   HEADSET UPGRADE/BATTERY/TRAINING                       Machinery & Equipment - Rolling Meadows
    04-094           4/21/2004   HEADSET UPGRADE/BATTERY/TRAINING                       Machinery & Equipment - Orland Park
    04-095           4/21/2004   HEADSET UPGRADE,BATTERY,TRAINING                       Machinery & Equipment - Lake Zurich
    04-097           4/21/2004   HEADSET UPGRADE,BATTERY,TRAINING                       Machinery & Equipment - Bloomingdale
    04-099           4/21/2004   HEADSET UPGRADE,BATTERY,TRAINING                       Machinery & Equipment - Bartlett
    04-101           2/26/2004   POWER EDGE SERVER                                      Data Processing Equipment
    04-102           5/17/2004   REPLACEMENT DISK DRIVES FOR AS400                      Data Processing Equipment



63817155
                      Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document     Page 93 of 231


 Asset Number   Date Acquired    Asset Description 1                                   G/L Asset Account Description
    04-104           3/31/2004   CHANGES-GAS PIPING-SPRINKLER-SOFFIT-DRYWALL-ELEC      Buildings - North Aurora Dairy Store
    04-105           5/11/2004   REMOVAL OF OLD LOGOS/INSTALL NEW LOGOS ON 5 STEP V    Marketing / Promotional Assets
    04-107            1/1/2004   ILLUMINATED POLE SIGN                                 Machinery & Equipment - Ballwin
    04-110           8/19/2004   7900.00+7900.00 RETAINER FEE/FINAL PAYMENT            Leasehold Improvements - Schereville
    04-111            1/5/2004   E MACHINE                                             Machinery & Equipment - Park Ridge
    04-112            1/5/2004   E MACHINE/COMPUTER                                    Machinery & Equipment - Downers Grove
    04-115            1/7/2004   CUSTOM MENU BOARDS                                    Machinery & Equipment - St. Peters
    04-116            1/7/2004   CUSTOM MENU BOARDS                                    Machinery & Equipment - Ballwin
    04-119           3/25/2004   5 6’ OVAL PICNIC TABLE                                Machinery & Equipment - Kirkwood
    04-120            4/8/2004   2 6’ PICNIC TABLES                                    Machinery & Equipment - Ballwin
    04-121           4/22/2004   2-32 GALLON RECEPTACLE                                Machinery & Equipment - Bloomingdale
    04-122           4/22/2004   608.30+304.15 4-32 GALLON RECEPTACLES                 Machinery & Equipment - North Aurora DS
    04-124            5/5/2004   2 ICE CREAM CARTS                                     Marketing / Promotional Assets
    04-125           8/19/2004   2 WAFFLE CONE BAKERS                                  Machinery & Equipment - Schereville
    04-126            8/1/2004   PATIO RAIL                                            Machinery & Equipment - Kirkwood
    04-127           8/11/2004   ROOF HATCH                                            Machinery & Equipment - Wheaton
    04-129           7/21/2004   3 RED BACKLIT FACES                                   Machinery & Equipment - Schaumburg
    04-130           7/27/2004   XTRA CD ROM FOR BACKUP                                Machinery & Equipment - Oakville
    04-134           6/30/2004   POWER LINE CONDITIONER                                Machinery & Equipment - Rolling Meadows
    04-135           6/30/2004   POWER LINE CONDITIONER                                Machinery & Equipment - Schaumburg
    04-136           6/30/2004   POWER LINE CONDITIONER                                Machinery & Equipment - Bloomingdale
    04-140           6/30/2004   POWER LINE CONDTIONER                                 Machinery & Equipment - North Aurora DS
    04-141           6/30/2004   POWER LINE CONDITIONER                                Machinery & Equipment - Lake Zurich
    04-142           7/26/2004   MS MAPPOINT 2004                                      Data Processing Equipment
    04-143           7/26/2004   WWF MAPPOINT 2004 MEDIA                               Data Processing Equipment
    04-144           7/29/2004   3 LASER PRINTERS/1 DELL MONITOR                       Data Processing Equipment
    04-145           7/28/2004   KINGSTON 1GB PROLIANT ML350                           Data Processing Equipment
    04-146           8/19/2004   FREEZER EQUIPMENT FOR SCHERERVILLE                    Machinery & Equipment - Schereville
    04-147           8/19/2004   PAY REQUEST 1 FOR CONTRACTORS                         Leasehold Improvements - Schereville
    04-148           7/20/2004   BACKUP DRIVE FOR SERVER                               Data Processing Equipment
    04-149           7/21/2004   ARIAL EMAIL MARKETING SOFTWARE                        Data Processing Equipment



63817155
                      Case 24-05385         Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                       Document     Page 94 of 231


 Asset Number   Date Acquired    Asset Description 1                                    G/L Asset Account Description
    04-151           8/19/2004   3 SMOOTHER BLENDER PACKAGES                            Machinery & Equipment - Schereville
    04-154           7/23/2004   FURNISH AND INSTALL CLEAR ANNEALED UNITS OF GLASS      Machinery & Equipment - Ballwin
    04-156           8/19/2004   16751.50+16751.98 SIGNAGE FOR SCHERERVILLE             Machinery & Equipment - Schereville
    04-157           7/26/2004   EPS STYLUS PHOTO 2200 PRINTER 6269+70469               Data Processing Equipment
    04-159            7/8/2004   BACK UP DRIVE FOR MICRODEM SERVER                      Data Processing Equipment
    04-163           8/24/2004   5637.82+148808 INSTALLATION OF MUZAK EQUIPMENT         Machinery & Equipment - Schereville
    04-164           8/31/2004   WALL GRAPHICS                                          Machinery & Equipment - Schereville
    04-169           7/27/2004   495.90-50.18 CABLE AND PRINTER                         Machinery & Equipment - Bloomingdale
    04-173           8/19/2004   INSTALLATION OF HARDWARE/SAFE                          Machinery & Equipment - Schereville
    04-174           8/19/2004   COMMERCIAL AWNINGS                                     Machinery & Equipment - Schereville
    04-175           8/19/2004   TWIN TWIST SOFT SERVE FREEZER                          Machinery & Equipment - Schereville
    04-176           8/19/2004   2 INVOICES/INSTALLATION OF ALARM SYSTEM-287500+350     Machinery & Equipment - Schereville
    04-177           7/23/2004   2 INVOICES FOR HR PERSPECTIVE 4002.73+4000.00          Data Processing Equipment
    04-178           7/31/2004   MENU BOARD LIGHTS                                      Machinery & Equipment - North Aurora DS
    04-179           8/18/2004   COOLER FOR JEWEL STORE IN DOWNERS GROVE                Machinery & Equipment - Wholesale
    04-180           8/11/2004   3 INVOICES ON BOILER PROCESS 195551+679.51+11304.4     Machinery & Equipment - N.A. Plant
    04-181           8/17/2004   INSTALL 480 VOLT NEMA 35 A100 AMP                      Machinery & Equipment - N.A. Plant
    04-182           6/24/2004   LINE CONDITIONER FOR WORKSTATIONS                      Machinery & Equipment - Ballwin
    04-183           6/24/2004   LINE CONDITIONER FOR WORK STATION                      Machinery & Equipment - Oakville
    04-184           6/24/2004   LINE CONDITIONER FOR WORK STATION                      Machinery & Equipment - St. Peters
    04-185           6/24/2004   LINE CONDITIONER FOR WORK STATION                      Machinery & Equipment - Kirkwood
    04-187           2/20/2004   ECLIPSE PIII/PROGRAMMING                               Machinery & Equipment - Elmhurst
    04-189           2/25/2004   ECLIPSE PIII/PROGRAMMING                               Machinery & Equipment - Arlington Heights
    04-194           3/24/2004   ECLIPSE PIII/PROGRAMMING                               Machinery & Equipment - Wheaton
    04-199           4/20/2004   CREDIT CARD PAYMENT DRIVER,ECLIPSE III                 Machinery & Equipment - Joliet DS
    04-206           4/28/2004   ECLIPSEIII,TRAINING,SOFTWARE                           Machinery & Equipment - Bartlett
    04-209           4/30/2004   INSTALLATION OF NEW HARD DRIVE                         Machinery & Equipment - Joliet DS
    04-210           5/11/2004   ECLIPSE III,TRAINING,SOFTWARE                          Machinery & Equipment - Bolingbrook
    04-212           5/28/2004   NEW SYSTEM BOARD                                       Machinery & Equipment - Wheaton
    04-218           4/30/2004   WIRING SERVICES/LABOR/MILEAGE                          Machinery & Equipment - Elmhurst
    04-219           4/30/2004   WIRING SERVICES                                        Machinery & Equipment - Oswego



63817155
                      Case 24-05385         Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                        Document     Page 95 of 231


 Asset Number   Date Acquired    Asset Description 1                                     G/L Asset Account Description
    04-222           4/30/2004   WIRING SERVICES/MILEAGE/LABOR                           Machinery & Equipment - Arlington Heights
    04-223           4/30/2004   WIRING SERVICES/LABOR/MILEAGE                           Machinery & Equipment - Glenview
    04-226           4/30/2004   GIFT CARD INTERFACE/SOFTWARE/MANUAL                     Machinery & Equipment - North Aurora DS
    04-230           4/19/2004   HELP DESK                                               Machinery & Equipment - Bloomingdale
    04-232           4/19/2004   HELP DESK                                               Machinery & Equipment - Kirkwood
    04-233           4/19/2004   HELP DESK                                               Machinery & Equipment - Oakville
    04-239           2/23/2004   HELP DESK                                               Machinery & Equipment - Elmhurst
    04-241            1/4/2004   HELP DESK                                               Machinery & Equipment - Downers Grove
    04-242           2/16/2004   HELP DESK                                               Machinery & Equipment - Arlington Heights
    04-243           3/22/2004   HELP DESK                                               Machinery & Equipment - Glenview
    04-244           3/31/2004   HELP DESK,CREDIT CARD PAYMENT DRIVER/SOFTWARE           Machinery & Equipment - Lake Zurich
    04-246           2/25/2004   FENCE/RAILING,PERMIT FEES/2 INVOICES10500.00+1047.      Machinery & Equipment - Kirkwood
    04-248           4/20/2004   PERMIT,BID DRAWINGS,REVISED DRAWINGS                    Buildings - North Aurora Dairy Store
    04-249           3/17/2004   DISCONNECT FURNACE,RUN CONDUIT,PULL WIRES               Machinery & Equipment - St. Louis TC
    04-250           2/13/2004   2 E-MACHINE                                             Machinery & Equipment - Naperville
    04-251           2/13/2004   E-MACHINE                                               Machinery & Equipment - Western Springs
    04-255           2/13/2004   E-MACHINE                                               Machinery & Equipment - Oswego
    04-258           2/13/2004   E-MACHINE                                               Machinery & Equipment - Glenview
    04-259           2/13/2004   E-MACHINE                                               Machinery & Equipment - Wheaton
    04-265           3/18/2004   ECLIPSE III,TRAINING,GIFT CARD INTERFACE                Machinery & Equipment - Glenview
    04-268           5/12/2004   1 PATIO UMBRELLA                                        Machinery & Equipment - Kirkwood
    04-269           5/12/2004   1 PATIO UMBRELLA                                        Machinery & Equipment - Gurnee
    04-271           5/25/2004   2 DRIVE KIT EXT FIREWIRE                                Data Processing Equipment
    04-273            2/1/2004   WEBSITE INTERFACE6063.75+1678.75                        Data Processing Equipment
    04-274            2/1/2004   ROUTE OPTIMIZATION SOFTWARE 5000+5000                   Data Processing Equipment
    04-275            2/1/2004   BUYOUT OF ADE EQUIPMENT                                 Machinery & Equipment - Joliet DS
    04-276            2/1/2004   DIPPING CABINETS                                        Machinery & Equipment - Joliet DS
    04-277            2/1/2004   REGISTER/TRAINING                                       Machinery & Equipment - Joliet DS
    04-278            2/1/2004   COMMERCIAL AWNINGS                                      Machinery & Equipment - Joliet DS
    04-279            2/1/2004   SOFT SERVE MACHINE                                      Machinery & Equipment - Joliet DS
    04-280            2/1/2004   SIGNAGE                                                 Machinery & Equipment - Joliet DS



63817155
                      Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document     Page 96 of 231


 Asset Number   Date Acquired    Asset Description 1                                   G/L Asset Account Description
    04-281            6/7/2004   RETAINAGE FROM BASE CONTRACT                          Leasehold Improvements - Orland Park
    04-284           1/12/2004   REGISTER/TRAINING/PROGRAMMING                         Machinery & Equipment - Park Ridge
    04-285           2/13/2004   EMACHINE                                              Machinery & Equipment - Park Ridge
    04-286           1/20/2004   HELP DESK                                             Machinery & Equipment - Park Ridge
    04-292            5/1/2004   ECLIPSE III,PROGRAM,TRAINING                          Machinery & Equipment - St. Peters
    04-293            2/2/2004   HELP DESK,ECLIPSEIII,TRAINING,SOFTWARE                Machinery & Equipment - Western Springs
    04-295           5/21/2004   FLAT PANEL APPLE/SCANNER/SUITCASE                     Data Processing Equipment
    04-298           5/21/2004   APPLE CINEMA 23 INCH FLAT PANEL                       Marketing / Promotional Assets
    04-299            4/1/2004   BUYOUT OF 40 GAL STORAGE TANK                         Machinery & Equipment - N.A. Plant
    04-300            2/4/2004   REGISTER/PROGRAMMING/TRAINING/HELP DESK               Machinery & Equipment - Naperville
    04-301           6/30/2004   BUYOUT OF FREEZER EQUIPMENT                           Machinery & Equipment - Naperville
    04-303           1/26/2004   HELP DESK                                             Machinery & Equipment - Joliet DS
    04-305           4/29/2004   GATES WITH STEEL FRAME                                Machinery & Equipment - Bartlett
    04-307           4/21/2004   CREDIT CARD PAYMENT DRIVER                            Machinery & Equipment - Orland Park
    04-309           2/26/2004   TWIN TWIST SOFT SERVE FREEZER                         Machinery & Equipment - Schaumburg
    04-312            1/1/2004   HELP DESK/ECLIPSE III                                 Machinery & Equipment - Ballwin
    04-313           2/23/2004   LOT OF SHELVES/FROST BITE MIXER                       Machinery & Equipment - Ballwin
    04-324            3/8/2004   TOP MOUNT FREEZER,WORKTABLE,DIP CA                    Machinery & Equipment - North Aurora DS
    04-325           3/26/2004   3 BLADE WALL SIGNS/CIRCLE LOGO                        Machinery & Equipment - North Aurora DS
    04-326            1/1/2004   REPLACEMENT OF EXISTING WALK IN FREEZER               Machinery & Equipment - North Aurora DS
    04-328            1/1/2004   HELP DESK/SOFTWARE RECOVERY                           Machinery & Equipment - St. Peters
    04-329            1/1/2004   3 CUSTOM COW LIGHTING                                 Machinery & Equipment - St. Peters
    04-330           8/19/2004   PYLON SIGN                                            Machinery & Equipment - Schereville
    04-337           6/30/2004   SPOT PAK PAD SIZE 1                                   Machinery & Equipment - N.A. Plant
    04-338            1/1/2004   PUMP OUT CREAM TANKS/INSTALL 3WAY VALVES              Machinery & Equipment - N.A. Plant
    04-339            1/1/2004   MODIFICATIONS TO PASTEURIZING UNIT                    Machinery & Equipment - N.A. Plant
    04-340           4/27/2004   INSTALL WIRING FOR EXHAUST FAN                        Machinery & Equipment - N.A. Plant
    04-341           4/30/2004   REMOVAL OF OLD AND INSTALL NEW GRAPHICS ON 4VANS      Marketing / Promotional Assets
    04-343           2/13/2004   E-MACHINE                                             Machinery & Equipment - Bartlett
    04-344           2/13/2004   E MACHINE                                             Machinery & Equipment - Bloomingdale
    04-345           2/13/2004   EMACHINE                                              Machinery & Equipment - Bolingbrook



63817155
                      Case 24-05385        Doc 229   Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                     Document     Page 97 of 231


 Asset Number   Date Acquired    Asset Description 1                                  G/L Asset Account Description
    04-347           2/13/2004   E MACHINE                                            Machinery & Equipment - Lake Zurich
    04-349           2/13/2004   E MACHINE                                            Machinery & Equipment - North Aurora DS
    04-350           2/13/2004   E MACHINE                                            Machinery & Equipment - Orland Park
    04-351           2/13/2004   E MACHINE                                            Machinery & Equipment - Rolling Meadows
    04-352           2/13/2004   E MACHINE                                            Machinery & Equipment - Schaumburg
    04-353            4/8/2004   SMART LEASE/1 CODING/SET UP/TRAINING                 Machinery & Equipment - N.A. Plant
    04-354           8/27/2004   TRACON FIBERGLASS BLDG.                              Machinery & Equipment - N.A. Plant
    04-355            1/1/2004   INSTALL UNDERGROUND FEED TO NEW SAMPLING EQUIP       Machinery & Equipment - N.A. Plant
    04-356            1/1/2004   SAMPLING MANHOLE DESIGN                              Machinery & Equipment - N.A. Plant
    04-357           9/19/2004   PROGRAMMING/TRAINING/ECLIPSE                         Machinery & Equipment - Schereville
    04-358           8/13/2004   SECURITY SYSTEMS                                     Data Processing Equipment
    04-359            9/7/2004   HELP DESK - SCHEREVILLE                              Machinery & Equipment - Schereville
    04-361           9/22/2004   IRON FENCE AT ORLAND PARK                            Machinery & Equipment - Orland Park
    04-362           9/30/2004   HYPERION SOFTWARE                                    Data Processing Equipment
    04-363           10/1/2004   LIFT TRUCK                                           Machinery & Equipment - N.A. Plant
    04-364           10/1/2004   FORK LIFT TRUCK                                      Machinery & Equipment - N.A. Plant
    04-365           11/4/2004   COMPUTER EQUIPEMENT FOR HANDHELD FOR BLOOMINGTON     Machinery & Equipment - Bloomington TC
    04-368           12/6/2004   TRUCK BASIN                                          Machinery & Equipment - Truck Maintenance
    04-370         12/14/2004    MS OFFICE 2005 PRO FOR NEW COMPUTER                  Data Processing Equipment
    04-371         12/18/2004    COMPUTER FOR REFRIGERATION SYSTEM                    Data Processing Equipment
    04-374         11/15/2004    MIX TANK                                             Machinery & Equipment - N.A. Plant
    04-375         11/10/2004    TANK REPLACEMENT                                     Machinery & Equipment - N.A. Plant
    04-376           11/9/2004   INSULATE RAW MILK AND B5 CIP LINES                   Machinery & Equipment - N.A. Plant
    04-377            8/3/2004   HIGH VOLTAGE TEST EQUIPMENT                          Machinery & Equipment - N.A. Plant
    04-378         11/15/2004    REPLACE 75 FT BROKEN PIPING                          Leasehold Improvements - Truck Barn
    04-382           6/17/2004   EM CLIENT                                            Data Processing Equipment
    04-383         11/24/2004    SECURITY MONITORING SYSTEM                           Machinery & Equipment - Orland Park
    04-386           8/17/2004   ROUTE MANIFEST SYSTEM                                Data Processing Equipment
    04-387            7/9/2004   PLANTS, SOIL, AND GRADE CLAY                         Leasehold Improvements - Schaumburg
    04-388         12/23/2004    NORTEL MERIDAN SYSTEM                                Data Processing Equipment
    04-389           7/27/2004   HEAT EXCHANGER TEST                                  Machinery & Equipment - N.A. Plant



63817155
                      Case 24-05385          Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                          Document     Page 98 of 231


 Asset Number   Date Acquired    Asset Description 1                                       G/L Asset Account Description
    04-390           3/15/2004   COMPRESSOR REBUILD                                        Machinery & Equipment - N.A. Plant
    04-391           1/29/2004   FLOOR SCRUBBER                                            Machinery & Equipment - N.A. Plant
    04-392           9/15/2004   STAINLESS CONVEYOR                                        Machinery & Equipment - N.A. Plant
    04-393           10/5/2004   BLEND TANK PIPING                                         Machinery & Equipment - N.A. Plant
    04-394         12/20/2004    BLEND TANK                                                Machinery & Equipment - N.A. Plant
    04-396            1/1/2004   BACK UP PLC EQUIPMENT                                     Machinery & Equipment - N.A. Plant
    04-397            1/1/2004   DRAINS IN WAREHOUSE SPACE AT ST. LOUIS TC                 Machinery & Equipment - St. Louis TC
    04-398            1/1/2004   CONTINUOUS WASTEWATER MONITOR                             Machinery & Equipment - N.A. Plant
    04-400         12/31/2004    ADHESIVE SYSTEM                                           Machinery & Equipment - N.A. Plant
    04-411           8/19/2004   Schererville L/H 39 Year Property                         Leasehold Improvements - Schereville
    04-412           8/19/2004   Schererville IN L/H 7 Year Property                       Leasehold Improvements - Schereville
    04-413           8/19/2004   Schererville IN L/H 5 Year Property                       Leasehold Improvements - Schereville
    04-415           1/28/2004   Ballwin L/H 39 Year Property                              Leasehold Improvements - Ballwin
    04-416           1/29/2004   St Peters L/H 39 Year Property                            Leasehold Improvements - St. Peters
    05-001            1/1/2005   Unilock Pavers & Mulch                                    Leasehold Improvements - Schaumburg
    05-004            1/7/2005   Glass bottle Filling Line                                 Machinery & Equipment - N.A. Plant
    05-007            1/1/2005   Ice Maker                                                 Machinery & Equipment - North Aurora DS
    05-008           1/27/2005   Trend Client                                              Data Processing Equipment
    05-009           1/12/2005   Computer for Human Resources (Silvia)                     Data Processing Equipment
    05-011           1/24/2005   Sprindles from Steer Axle                                 Vehicles
    05-014           1/28/2005   Refrigeration Unit CB-20 Max Thermo                       Vehicles
    05-017            2/1/2005   Micros owervar Model #ABCEG500-11                         Machinery & Equipment - Orland Park
    05-018            2/1/2005   Pole sign                                                 Machinery & Equipment - Ballwin
    05-019            2/8/2005   Nortel Baystack, Nortel SFP GETH                          Data Processing Equipment
    05-020            2/1/2005   Watchguard Firebox                                        Data Processing Equipment
    05-021           1/18/2005   Truck Graphics #5 Step Van Kit                            Marketing / Promotional Assets
    05-022           3/19/2005   General Construction of Naperville North Store            Leasehold Improvements - Naperville North
    05-023           3/19/2005   Architectural & MEP for Naperville North Store            Machinery & Equipment - Naperville North
    05-024           3/19/2005   Awning                                                    Machinery & Equipment - Naperville North
    05-025           3/13/2005   Cap Chute & Pickup Support                                Machinery & Equipment - N.A. Plant
    05-028           3/19/2005   Cow Pendant Fixtures                                      Machinery & Equipment - Naperville North



63817155
                      Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                            Document     Page 99 of 231


 Asset Number   Date Acquired    Asset Description 1                                         G/L Asset Account Description
    05-029           3/19/2005   Data Cables and Jacks                                       Machinery & Equipment - Naperville North
    05-030           3/19/2005   Equipment for Food Service                                  Machinery & Equipment - Naperville North
    05-031           3/19/2005   Lock Hardware & Safe Adjustments                            Machinery & Equipment - Naperville North
    05-032           3/14/2005   Pressure Washer                                             Machinery & Equipment - Truck Maintenance
    05-033           2/11/2005   Nortel Baystac 5510                                         Data Processing Equipment
    05-034           2/21/2005   MS MBl Office pro Ent 2003                                  Data Processing Equipment
    05-035           2/23/2005   Borther JL5170DN Printer                                    Data Processing Equipment
    05-036            3/1/2005   Dell Handhelds                                              Data Processing Equipment
    05-040           3/28/2005   Electrical Wiring for Sign                                  Machinery & Equipment - Schereville
    05-041           4/26/2005   Satelite                                                    Machinery & Equipment - Joliet DS
    05-042           3/18/2005   Design Drawings for Renovation to Park Ridge Store          Machinery & Equipment - Park Ridge
    05-043            3/3/2005   Shelving                                                    Machinery & Equipment - Bloomingdale
    05-044           4/13/2005   Shelving                                                    Machinery & Equipment - Elgin
    05-045            4/1/2005   Installation of Equipment                                   Machinery & Equipment - Naperville North
    05-046           3/19/2005   Sign Package                                                Machinery & Equipment - Naperville North
    05-047            4/1/2005   Sample Station                                              Machinery & Equipment - North Aurora DS
    05-048            4/1/2005   Removal of Ramp and Cantilevers, Dockleveler, Bump          Machinery & Equipment - St. Louis TC
    05-049            4/1/2005   Design Shetches                                             Leasehold Improvements - Bolingbrook
    05-051            4/1/2005   #452 Tractor                                                Vehicles
    05-054            7/1/2005   Trailer Graphics                                            Marketing / Promotional Assets
    05-056            4/8/2005   Dell Flat Screen Route Sales and Supply Chain               Data Processing Equipment
    05-057           4/13/2005   Training Route Equipment                                    Data Processing Equipment
    05-058            4/1/2005   Micros Equipment                                            Machinery & Equipment - Downers Grove
    05-060            4/1/2005   Micros Equipment                                            Machinery & Equipment - Rolling Meadows
    05-061            4/1/2005   Micros Equpment                                             Machinery & Equipment - North Aurora DS
    05-062            4/1/2005   Micros Equpment                                             Machinery & Equipment - Wheaton
    05-063            4/1/2005   Micros Equipment                                            Machinery & Equipment - Bloomingdale
    05-064            4/1/2005   Micros Equipment                                            Machinery & Equipment - Naperville North
    05-066           4/15/2005   #6 Graphics for St. Louis Truck                             Vehicles
    05-067           3/22/2005   Bar Code Label Printer                                      Machinery & Equipment - N.A. Plant
    05-068           3/31/2005   Wire Decks, Beams, Uprights                                 Machinery & Equipment - St. Louis TC



63817155
                      Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                           Document      Page 100 of 231


 Asset Number   Date Acquired    Asset Description 1                                         G/L Asset Account Description
    05-069           3/31/2005   Mounts for Trucks                                           Data Processing Equipment
    05-077            5/1/2005   #134 Truck Vin # 302335                                     Vehicles
    05-079           4/29/2005   Step Van                                                    Marketing / Promotional Assets
    05-082           4/28/2005   Pallet Rack Frame Guard                                     Machinery & Equipment - St. Louis TC
    05-083           4/25/2005   Sheerweave Roller Shades                                    Machinery & Equipment - Naperville North
    05-085           6/28/2005   Demo,Millwrk,Drywl,Ceiling,Tile,Paint,Plu,Ele               Leasehold Improvements - Bolingbrook
    05-086           5/18/2005   Graphic Panels                                              Machinery & Equipment - Bolingbrook
    05-091           5/19/2005   Aluminum Pan Panels                                         Machinery & Equipment - Naperville North
    05-092            5/8/2005   Flat monitors and Computers for Customer Service            Data Processing Equipment
    05-093           5/11/2005   Notebook-Wholesale Mgmt, Thinkpad-RT Sales Mgmt             Data Processing Equipment
    05-094           5/23/2005   Office Pro (2), Frontpage (2) Software CS&Mrkt              Data Processing Equipment
    05-095           5/11/2005   MS Office for Wholesale Mgmt                                Data Processing Equipment
    05-096            5/1/2005   MS Office Pro Ent for Human Resources                       Data Processing Equipment
    05-097           5/13/2005   Bowl Rebuild                                                Machinery & Equipment - N.A. Plant
    05-098           5/17/2005   Freezer Pallet Racking                                      Machinery & Equipment - N.A. Plant
    05-099           5/17/2005   Freezer Pallet Racking                                      Machinery & Equipment - N.A. Plant
    05-100           5/13/2005   Bowl Rebuild                                                Machinery & Equipment - N.A. Plant
    05-104           6/16/2005   Truck Logos                                                 Marketing / Promotional Assets
    05-105           6/13/2005   Bottle Vision Inspection System                             Machinery & Equipment - N.A. Plant
    05-107            6/9/2005   Smoother and Mixer Parts                                    Machinery & Equipment - Orland Park
    05-108           3/18/2005   Computers and handheld Stylus for Route Sales & CS          Data Processing Equipment
    05-109           6/13/2005   Shelves, and Stainless Steel Top                            Machinery & Equipment - Naperville North
    05-110            6/1/2005   Wallpaper Graphics                                          Machinery & Equipment - Naperville North
    05-111           3/18/2005   Computer St. Louis Manager                                  Data Processing Equipment
    05-112           6/27/2005   Exhaust Faln, Electrical, Wiring, Roof Curbs                Machinery & Equipment - St. Louis TC
    05-113           6/20/2005   2 Laser Printers                                            Machinery & Equipment - St. Louis TC
    05-114           6/22/2005   Waffle Cone Baker                                           Machinery & Equipment - Rolling Meadows
    05-116            6/3/2005   Window Servie 2003 Std                                      Data Processing Equipment
    05-118           6/21/2005   Mechanical Changes of Conveyor                              Machinery & Equipment - N.A. Plant
    05-119           6/21/2005   Laser scan                                                  Machinery & Equipment - N.A. Plant
    05-120            6/6/2005   Frost Bit Mixer                                             Machinery & Equipment - Joliet DS



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                            Document      Page 101 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    05-121            7/1/2005   HTST Plate Testing                                           Machinery & Equipment - N.A. Plant
    05-122            7/1/2005   Waterproofing Ledger below windows                           Leasehold Improvements - Naperville North
    05-123            7/1/2005   Access Point, Loader, Programming, Printer -                 Machinery & Equipment - Orland Park
    05-125            7/1/2005   Pallet Jack                                                  Machinery & Equipment - St. Louis TC
    05-132            7/1/2005   Shelving                                                     Machinery & Equipment - Arlington Heights
    05-134            7/1/2005   Freezer Shelving                                             Machinery & Equipment - Rolling Meadows
    05-135            7/1/2005   Freezer Shelving                                             Machinery & Equipment - Oswego
    05-136            7/1/2005   Freezer Shelving                                             Machinery & Equipment - Elmhurst
    05-137            7/1/2005   Freezer Shelving                                             Machinery & Equipment - Downers Grove
    05-139         12/31/2005    Watchguard Firebox                                           Data Processing Equipment
    05-141           7/18/2005   Cisco 1841 Router                                            Data Processing Equipment
    05-144            7/1/2005   Web Server ram, software                                     Data Processing Equipment
    05-145           7/11/2005   Network Equipment                                            Data Processing Equipment
    05-146            7/1/2005   Parking lot sealcoating and patch replacement                Buildings - North Aurora
    05-147            8/1/2005   Update 2nd floor offices & washrooms                         Buildings - North Aurora
    05-148            8/1/2005   Remodel Training Center                                      Buildings - North Aurora
    05-149           8/15/2005   Graphic for Entrance                                         Buildings - North Aurora
    05-156            8/1/2005   Table, Lectern                                               Office Furniture - North Aurora
    05-157           8/17/2005   Office Remodeling                                            Office Furniture - North Aurora
    05-159           8/26/2005   Wallcovering                                                 Buildings - North Aurora
    05-160           8/16/2005   Electrical                                                   Buildings - North Aurora
    05-161           8/30/2005   Evergreen Park Dairy Store Build                             Leasehold Improvements - Evergreen Park
    05-162           8/30/2005   Engineering Services                                         Leasehold Improvements - Evergreen Park
    05-163           8/30/2005   Architectural Drawing                                        Leasehold Improvements - Evergreen Park
    05-164           8/12/2005   Sink and mounting                                            Machinery & Equipment - Naperville
    05-167            8/1/2005   Utility Table                                                Office Furniture - North Aurora
    05-168            8/1/2005   Acrylics Sign Panels                                         Office Furniture - North Aurora
    05-169            8/1/2005   Furniture and Fixtures                                       Office Furniture - North Aurora
    05-170            8/1/2005   OAM Computer & Phone Equipment                               Data Processing Equipment
    05-171            8/2/2005   Network Wiring Equipment                                     Data Processing Equipment
    05-172           8/15/2005   Invoice Printer Equipment                                    Data Processing Equipment



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                            Document      Page 102 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    05-173           8/24/2005   #406 Trailer sandblast & undercoat trailer                   Vehicles
    05-174           8/17/2005   Unit # 114 Graphics                                          Marketing / Promotional Assets
    05-179            9/1/2005   Plant rewire                                                 Machinery & Equipment - N.A. Plant
    05-180            9/6/2005   Fence                                                        Machinery & Equipment - Oakville
    05-185           9/12/2005   Recover 2 Awnings                                            Machinery & Equipment - North Aurora DS
    05-189            9/1/2005   2 OptiPlex Pentium Computers, Flat Panel Display             Data Processing Equipment
    05-190            9/1/2005   Office 2003                                                  Data Processing Equipment
    05-194           6/29/2005   Chest Freezers                                               Marketing / Promotional Assets
    05-196            1/1/2005   ADJ to St. Peters Equipment Value                            Machinery & Equipment - St. Peters
    05-197            9/1/2005   New glass pick & place caser                                 Machinery & Equipment - N.A. Plant
    05-198            9/1/2005   Conveyor                                                     Machinery & Equipment - N.A. Plant
    05-199            9/1/2005   Ammonia Compressor Rebuild                                   Machinery & Equipment - N.A. Plant
    05-200            9/1/2005   RO System for Boiler                                         Machinery & Equipment - N.A. Plant
    05-201            9/1/2005   Case Packer                                                  Machinery & Equipment - N.A. Plant
    05-203            9/1/2005   Permit                                                       Leasehold Improvements - Evergreen Park
    05-205            9/1/2005   U-joints                                                     Vehicles
    05-207            9/1/2005   Aluminum Protector                                           Vehicles
    05-210           9/14/2005   Jukebox Touch Tunes                                          Machinery & Equipment - Evergreen Park
    05-211            9/1/2005   Menu Boards                                                  Machinery & Equipment - Park Ridge
    05-212            9/1/2005   Menu Boards                                                  Machinery & Equipment - Arlington Heights
    05-213            9/1/2005   Menu Boards                                                  Machinery & Equipment - Downers Grove
    05-214            9/1/2005   Menu Boards                                                  Machinery & Equipment - Bloomingdale
    05-216            9/1/2005   Menu Boards                                                  Machinery & Equipment - Naperville
    05-217            9/1/2005   Menu Boards                                                  Machinery & Equipment - Elgin
    05-219            9/1/2005   Menu Boards                                                  Machinery & Equipment - Joliet DS
    05-221            9/1/2005   Menu Boards                                                  Machinery & Equipment - Bartlett
    05-223            9/1/2005   Menu Board                                                   Machinery & Equipment - Glenview
    05-224            9/1/2005   Menu Boards                                                  Machinery & Equipment - Oakville
    05-225            9/1/2005   Menu Boards                                                  Machinery & Equipment - Orland Park
    05-226            9/1/2005   Menu Boards                                                  Machinery & Equipment - Lake Zurich
    05-227            9/1/2005   Menu Boards                                                  Machinery & Equipment - Kirkwood



63817155
                      Case 24-05385           Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                        Document      Page 103 of 231


 Asset Number   Date Acquired    Asset Description 1                                      G/L Asset Account Description
    05-228            9/1/2005   Menu Boards                                              Machinery & Equipment - Wheaton
    05-231            9/1/2005   Menu Boards                                              Machinery & Equipment - Schaumburg
    05-232            9/1/2005   Menu Boards                                              Machinery & Equipment - Gurnee
    05-234            9/1/2005   Menu Boards                                              Machinery & Equipment - Ballwin
    05-236            9/1/2005   Menu Boards                                              Machinery & Equipment - Schereville
    05-237            9/1/2005   Menu Boards                                              Machinery & Equipment - Naperville North
    05-238            9/1/2005   Menu Boards                                              Machinery & Equipment - North Aurora DS
    05-239            9/1/2005   Menu Boards                                              Machinery & Equipment - Oswego
    05-240            9/1/2005   Menu Boards                                              Machinery & Equipment - St. Peters
    05-242            9/1/2005   Menu Boards                                              Machinery & Equipment - Rolling Meadows
    05-243            9/1/2005   Menu Boards                                              Machinery & Equipment - Western Springs
    05-244            9/1/2005   Menu Boards                                              Machinery & Equipment - Bolingbrook
    05-245            9/1/2005   Menu Boards                                              Machinery & Equipment - Evergreen Park
    05-246            9/1/2005   Menu Boards                                              Machinery & Equipment - Elmhurst
    05-247            9/1/2005   Display                                                  Machinery & Equipment - Park Ridge
    05-248            9/1/2005   Display                                                  Machinery & Equipment - Arlington Heights
    05-249            9/1/2005   Display                                                  Machinery & Equipment - Downers Grove
    05-250            9/1/2005   Display                                                  Machinery & Equipment - Bloomingdale
    05-252            9/1/2005   Display                                                  Machinery & Equipment - Naperville
    05-253            9/1/2005   Display                                                  Machinery & Equipment - Elgin
    05-255            9/1/2005   Display                                                  Machinery & Equipment - Joliet DS
    05-257            9/1/2005   Display                                                  Machinery & Equipment - Bartlett
    05-259            9/1/2005   Display                                                  Machinery & Equipment - Glenview
    05-260            9/1/2005   Display                                                  Machinery & Equipment - Oakville
    05-261            9/1/2005   Display                                                  Machinery & Equipment - Orland Park
    05-262            9/1/2005   Display                                                  Machinery & Equipment - Lake Zurich
    05-263            9/1/2005   Display                                                  Machinery & Equipment - Kirkwood
    05-264            9/1/2005   Display                                                  Machinery & Equipment - Wheaton
    05-267            9/1/2005   Display                                                  Machinery & Equipment - Schaumburg
    05-268            9/1/2005   Display                                                  Machinery & Equipment - Gurnee
    05-270            9/1/2005   Display                                                  Machinery & Equipment - Ballwin



63817155
                      Case 24-05385          Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                        Document      Page 104 of 231


 Asset Number   Date Acquired    Asset Description 1                                      G/L Asset Account Description
    05-272            9/1/2005   Display                                                  Machinery & Equipment - Schereville
    05-273            9/1/2005   Display                                                  Machinery & Equipment - Naperville North
    05-274            9/1/2005   Display                                                  Machinery & Equipment - North Aurora DS
    05-275            9/1/2005   Display                                                  Machinery & Equipment - Oswego
    05-276            9/1/2005   Display                                                  Machinery & Equipment - St. Peters
    05-278            9/1/2005   Display                                                  Machinery & Equipment - Rolling Meadows
    05-279            9/1/2005   Display                                                  Machinery & Equipment - Western Springs
    05-280            9/1/2005   Display                                                  Machinery & Equipment - Bolingbrook
    05-281            9/1/2005   Display                                                  Machinery & Equipment - Evergreen Park
    05-282            9/1/2005   Display                                                  Machinery & Equipment - Elmhurst
    05-284           10/1/2005   3700 POS Mobile Microse HHT Client                       Machinery & Equipment - Bartlett
    05-285           10/1/2005   3700 POS Mobile Micros HHT Client                        Machinery & Equipment - Lake Zurich
    05-288           10/1/2005   Roller Shades                                            Machinery & Equipment - Evergreen Park
    05-289         10/20/2005    Shake Blenders, Shelving, Table                          Machinery & Equipment - Evergreen Park
    05-290         10/18/2005    Workstation 4 Micros (Spare)                             Data Processing Equipment
    05-293           10/5/2005   Recover Awning                                           Machinery & Equipment - North Aurora DS
    05-295           10/1/2005   #406 Trailer Graphics, installation                      Vehicles
    05-297           11/1/2005   General Construction                                     Leasehold Improvements - Evergreen Park
    05-299           11/4/2005   Crowd Control Barrier, Wire Shelving                     Machinery & Equipment - Evergreen Park
    05-300         11/30/2005    Seating, Side Splash                                     Machinery & Equipment - Evergreen Park
    05-301           11/1/2005   Graphics for Tenant Panels                               Machinery & Equipment - Evergreen Park
    05-302           11/1/2005   Computer Equipment-UWS-4, 32MB Doc 128MB                 Data Processing Equipment
    05-303           11/1/2005   Old Freezer                                              Buildings - North Aurora
    05-304           11/1/2005   Roll Off for Old Freezer                                 Buildings - North Aurora
    05-305           11/1/2005   Ultima 3103 Linz                                         Machinery & Equipment - N.A. Plant
    05-311           11/9/2005   Graphics                                                 Vehicles
    05-315           11/1/2005   #19 Graphics                                             Vehicles
    05-318            6/1/2005   Contruction of Freezer                                   Buildings - North Aurora
    05-319            6/1/2005   Engineer for Freezer                                     Buildings - North Aurora
    05-320            6/1/2005   PSM & RMP Program                                        Buildings - North Aurora
    05-321            6/1/2005   Constuction for Freezer Expansion                        Buildings - North Aurora



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                            Document      Page 105 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    05-322            6/1/2005   Permit for Freezer Expansion                                 Buildings - North Aurora
    05-323            6/1/2005   Relocate Transformer                                         Buildings - North Aurora
    05-324            6/1/2005   Progress billing, cost segregation analysis, draft           Buildings - North Aurora
    05-325            6/1/2005   Temperature, Fire, Burglar, Mag Stripe Reader                Buildings - North Aurora
    05-326            6/1/2005   Water Softener System                                        Buildings - North Aurora
    05-327            6/1/2005   Alta Survey                                                  Buildings - North Aurora
    05-328            6/1/2005   Permit for Freezer Expansion                                 Buildings - North Aurora
    05-329            6/1/2005   Transformer Pad, Security Raceway                            Buildings - North Aurora
    05-330            6/1/2005   Construction Escrow Fee                                      Buildings - North Aurora
    05-331            6/1/2005   Roller Conveyors / Processing to Hardening freezer           Buildings - North Aurora
    05-332            6/1/2005   Electrical, Mechanical and Plumbing Review                   Buildings - North Aurora
    05-333            6/1/2005   Permit for Freezer Expansion                                 Buildings - North Aurora
    05-334            6/1/2005   Construciton Documents Review and Cost Analysis              Buildings - North Aurora
    05-335            6/1/2005   Review of Specifications to Concrete Floor                   Buildings - North Aurora
    05-336            6/1/2005   Lanscaping                                                   Buildings - North Aurora
    05-337            6/1/2005   Wiring for Computers                                         Buildings - North Aurora
    05-338            6/1/2005   Phone relocation and installation                            Buildings - North Aurora
    05-339            6/1/2005   Door                                                         Buildings - North Aurora
    05-344           12/1/2005   OptiPlex Pentium Computer, Flat Panel Display                Data Processing Equipment
    05-347           12/9/2005   DC5000 Span Micros                                           Machinery & Equipment - D.S. Equipment Inv
    05-349           3/19/2005   Naperville North L/H 39 Year Property                        Leasehold Improvements - Naperville North
    05-350           3/19/2005   Naperville North L/H 5 Year Property                         Leasehold Improvements - Naperville North
    05-351           11/1/2005   Evergreen Park L/H 39 Year Property                          Leasehold Improvements - Evergreen Park
    05-352           11/1/2005   Evergree Park L/H 5 Year Property                            Leasehold Improvements - Evergreen Park
    05-353            6/1/2005   Plant Expansion 39-Year Property                             Buildings - North Aurora
    05-354            6/1/2005   Plant Expansion 15-Year Property                             Buildings - North Aurora
    05-355            6/1/2005   Plant Expansion 7-Year Property                              Buildings - North Aurora
    05-356            6/1/2005   Plant Expansion 7-Year Property                              Buildings - North Aurora
    06-001           1/22/2006   Dell Computer                                                Data Processing Equipment
    06-002            1/1/2006   Hardware for hand helds                                      Data Processing Equipment
    06-005            2/1/2006   Audio Wave Kit                                               Machinery & Equipment - North Aurora DS



63817155
                      Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                           Document      Page 106 of 231


 Asset Number   Date Acquired    Asset Description 1                                         G/L Asset Account Description
    06-006            2/1/2006   Eclipse, Workstation, Printer                               Data Processing Equipment
    06-013            3/1/2006   Crown Lift Truck                                            Machinery & Equipment - N.A. Plant
    06-023           3/15/2006   Case Packer                                                 Machinery & Equipment - N.A. Plant
    06-027            4/1/2006   Sound System                                                Machinery & Equipment - Evergreen Park
    06-028            4/1/2006   Sound System                                                Machinery & Equipment - North Aurora DS
    06-030           4/17/2006   Ice Cream Quart Packer                                      Machinery & Equipment - N.A. Plant
    06-031           4/17/2006   Icre Cram Quart Packer                                      Machinery & Equipment - N.A. Plant
    06-032           4/17/2006   Icre Cream Quart Packer                                     Machinery & Equipment - N.A. Plant
    06-033           5/10/2006   Outdoor Tables & Umbrellas, Receptacle                      Machinery & Equipment - Evergreen Park
    06-034           5/30/2006   Web Server                                                  Data Processing Equipment
    06-040           3/24/2006   Sound System                                                Machinery & Equipment - Evergreen Park
    06-041           6/16/2006   Floor Service Jack                                          Machinery & Equipment - Truck Maintenance
    06-042           6/20/2006   Ice Cream Dipping Cabinet                                   Machinery & Equipment - Rolling Meadows
    06-043            6/6/2006   Server                                                      Data Processing Equipment
    06-045            6/1/2006   Large Tag Sign                                              Machinery & Equipment - Kirkwood
    06-046            8/2/2006   Cow Graphic                                                 Machinery & Equipment - Mokena
    06-047           6/27/2006   Waffle Cone Baker                                           Machinery & Equipment - Naperville
    06-048           6/30/2006   Headset                                                     Machinery & Equipment - North Aurora DS
    06-050            8/9/2006   Phone Connections                                           Machinery & Equipment - Mokena
    06-051            8/2/2006   Workstation, Printer, Cash Drwr                             Machinery & Equipment - Mokena
    06-053            8/2/2006   Building Contractors                                        Leasehold Improvements - Mokena
    06-054           8/14/2006   Storage Shelving                                            Machinery & Equipment - Park Ridge
    06-055           8/10/2006   Table, Receptacle                                           Machinery & Equipment - Mokena
    06-056            8/2/2006   Restaurant Equipment                                        Machinery & Equipment - Mokena
    06-057            7/5/2006   Headset                                                     Machinery & Equipment - Schereville
    06-058            8/2/2006   Music Equipment                                             Machinery & Equipment - Mokena
    06-059            8/2/2006   Sign Package                                                Machinery & Equipment - Mokena
    06-061           6/27/2006   Display Trays                                               Machinery & Equipment - Schaumburg
    06-063           6/27/2006   Display Trays                                               Machinery & Equipment - Gurnee
    06-064           6/27/2006   Display Trays                                               Machinery & Equipment - North Aurora DS
    06-068            7/1/2006   Sneezeguard, Laminated Glass                                Machinery & Equipment - Schaumburg



63817155
                      Case 24-05385            Doc 229        Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                             Document      Page 107 of 231


 Asset Number   Date Acquired    Asset Description 1                                           G/L Asset Account Description
    06-069            7/1/2006   Sneezeguard, Laminated Glass                                  Machinery & Equipment - Gurnee
    06-070            7/1/2006   Sneezegaurd, Laminated Glass                                  Machinery & Equipment - North Aurora DS
    06-073           6/30/2006   Bakery Signs                                                  Machinery & Equipment - Schaumburg
    06-076           6/30/2006   Bakery Signs                                                  Machinery & Equipment - North Aurora DS
    06-078         10/10/2006    Drive thu Window                                              Leasehold Improvements - Mokena
    06-079         10/31/2006    Water Line Construction                                       Leasehold Improvements - Milwaukee TC
    06-080         10/24/2006    Computer                                                      Machinery & Equipment - Bartlett
    06-081         10/20/2006    Pendent Light Fixtures                                        Machinery & Equipment - Mokena
    06-082           10/1/2006   Tables, Seating, Barrier                                      Machinery & Equipment - Mokena
    06-083           9/19/2006   Custom Wall Covering                                          Machinery & Equipment - Mokena
    06-084            9/7/2006   Awning                                                        Machinery & Equipment - Mokena
    06-085            8/1/2006   Ross Route Application                                        Data Processing Equipment
    06-087         10/17/2006    Headset System                                                M/E - Glen Ellyn TBJ
    06-088           11/3/2006   Computer                                                      Machinery & Equipment - Gurnee
    06-089         10/30/2006    Sign                                                          Machinery & Equipment - Mokena
    06-092            9/7/2006   Printronix P5005                                              Machinery & Equipment - Wholesale
    06-093         11/16/2006    Hardware for the vision lighting upgrade                      Machinery & Equipment - N.A. Plant
    06-095         12/10/2006    Walkin Freezer Equipment                                      Machinery & Equipment - St. Louis TC
    06-096         12/13/2006    Fuel Pump                                                     Machinery & Equipment - St. Louis TC
    06-098         12/27/2006    Covenction Oven, Countertop                                   Machinery & Equipment - Western Springs
    06-100           12/1/2006   Anti-Spam Device                                              Data Processing Equipment
    06-103            8/2/2006   Mokena L/H 39 Year Property                                   Leasehold Improvements - Mokena
    06-104            8/2/2006   Mokena L/H 7 Year Property                                    Leasehold Improvements - Mokena
    06-105            8/2/2006   Mokena L/H 5 Year Property                                    Leasehold Improvements - Mokena
    07-001           1/18/2007   Galv. ladder & cage in bottle wash area                       Machinery & Equipment - N.A. Plant
    07-002           1/22/2007   Hoyer Freezer                                                 Machinery & Equipment - N.A. Plant
    07-003           1/15/2007   Computer - Bob Renaut                                         Data Processing Equipment
    07-007            2/6/2007   Store Fixtures & Equipment                                    Machinery & Equipment - Bartlett
    07-008            2/1/2007   Ceiling, soffit, paint repair, hang sign                      Machinery & Equipment - Oakville
    07-009            2/9/2007   Installing Outlets for Trucks                                 Machinery & Equipment - Milwaukee TC
    07-010           2/25/2007   Computer - Steve Koszola                                      Data Processing Equipment



63817155
                      Case 24-05385             Doc 229         Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                               Document      Page 108 of 231


 Asset Number   Date Acquired    Asset Description 1                                             G/L Asset Account Description
    07-012            3/5/2007   Store Fixtures and Equipment                                    Machinery & Equipment - Glenview
    07-013           3/16/2007   Cooler/Freezer, refrig, sliding door & strip curta              Machinery & Equipment - Milwaukee TC
    07-014            3/5/2007   Computer                                                        Machinery & Equipment - Wheaton
    07-015           3/30/2007   Electric Fork Lift                                              Machinery & Equipment - N.A. Plant
    07-016            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Park Ridge
    07-017            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Arlington Heights
    07-018            3/1/2007   Coffee Machines                                                 Machinery & Equipment - Downers Grove
    07-019            3/1/2007   Coffee Machines                                                 Machinery & Equipment - Bloomingdale
    07-021            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Naperville
    07-022            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Elgin
    07-024            3/1/2007   Coffee Machines                                                 Machinery & Equipment - Joliet DS
    07-026            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Bartlett
    07-028            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Glenview
    07-029            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Oakville
    07-030            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Orland Park
    07-031            3/1/2007   Coffee Machines                                                 Machinery & Equipment - Lake Zurich
    07-032            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Kirkwood
    07-033            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Wheaton
    07-036            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Schaumburg
    07-037            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Gurnee
    07-039            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Ballwin
    07-041            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Schereville
    07-042            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Evergreen Park
    07-043            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Naperville North
    07-044            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Mokena
    07-045            3/1/2007   Coffee Machine                                                  Machinery & Equipment - North Aurora DS
    07-046            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Oswego
    07-047            3/1/2007   Coffee Machine                                                  Machinery & Equipment - St. Peters
    07-048            3/1/2007   Coffee Machine                                                  M/E - Glen Ellyn TBJ
    07-049            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Rolling Meadows
    07-050            3/1/2007   Coffee Machine                                                  Machinery & Equipment - Western Springs



63817155
                      Case 24-05385           Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                          Document      Page 109 of 231


 Asset Number   Date Acquired    Asset Description 1                                        G/L Asset Account Description
    07-051            3/1/2007   Coffee Machine                                             Machinery & Equipment - Bolingbrook
    07-052            3/1/2007   Coffee Machine                                             Machinery & Equipment - Elmhurst
    07-053           2/14/2007   Computer                                                   Machinery & Equipment - Bloomingdale
    07-055            2/7/2007   Computer                                                   Machinery & Equipment - Oakville
    07-057            2/1/2007   Computer                                                   Machinery & Equipment - North Aurora DS
    07-058            1/1/2007   Phone installation Work                                    Machinery & Equipment - Milwaukee TC
    07-059           3/28/2007   Electrical work for freezer                                Machinery & Equipment - Milwaukee TC
    07-060           3/29/2007   Condensing unit on roof, blower coil, piping drain         Machinery & Equipment - Milwaukee TC
    07-061           3/31/2007   Vilter Compressor overhal                                  Machinery & Equipment - N.A. Plant
    07-062           3/28/2007   Sprinkler System                                           Machinery & Equipment - Milwaukee TC
    07-063            3/5/2007   Computer                                                   Machinery & Equipment - Naperville
    07-064           5/21/2007   Twist Ice Cream Machine SS208-230/3/60WC                   Machinery & Equipment - Park Ridge
    07-065            5/8/2007   Fabricated new curbs and flashed roof                      Machinery & Equipment - Milwaukee TC
    07-066           5/22/2007   Window Server 2003 licenses / Document management          Data Processing Equipment
    07-067           5/21/2007   3 Servers                                                  Data Processing Equipment
    07-068           6/20/2007   Waffle Cone Baker                                          Machinery & Equipment - Arlington Heights
    07-069            6/1/2007   Computer                                                   Machinery & Equipment - Lake Zurich
    07-070            6/7/2007   Refrigerated Merchandiser                                  Machinery & Equipment - Wholesale
    07-071           6/15/2007   Notebook Computer w/ Adobe Acrobat                         Data Processing Equipment
    07-076           6/15/2007   Permit Fee for Park Ridge Buildout                         Leasehold Improvements - Park Ridge
    07-077           6/15/2007   Sign                                                       Machinery & Equipment - Park Ridge
    07-078           6/21/2007   Graphics                                                   Leasehold Improvements - Park Ridge
    07-079           6/15/2007   Architectural Services                                     Leasehold Improvements - Park Ridge
    07-080           6/15/2007   Demolotion, Millwork, Drywall Tile, Plumbing, Elec         Leasehold Improvements - Park Ridge
    07-081           6/29/2007   46” Round Table                                            Machinery & Equipment - Mokena
    07-082           7/30/2007   Conveyor                                                   Machinery & Equipment - N.A. Plant
    07-083           7/17/2007   Chess table tops                                           Machinery & Equipment - Oswego
    07-084           7/19/2007   Computer                                                   Data Processing Equipment
    07-085           7/23/2007   New Servers and hard drives                                Data Processing Equipment
    07-086           7/28/2007   Laptop label printer                                       Data Processing Equipment
    07-087           7/31/2007   Web Site Enhancements                                      Data Processing Equipment



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19       Desc Main
                                                            Document      Page 110 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    07-088           6/30/2007   Counter, faucets, sink, table, sheating, shelving            Machinery & Equipment - Park Ridge
    07-090           6/22/2007   Service on a air handling unit fan                           Machinery & Equipment - N.A. Plant
    07-091           8/30/2007   Restaurant equipment                                         Machinery & Equipment - Bartlett
    07-092           7/24/2007   Parking lot sealcoating, striping, repair                    Leasehold Improvements - Bloomingdale
    07-093           6/26/2007   Landscape enhancements                                       Leasehold Improvements - Orland Park
    07-098           8/13/2007   Pressure Washer                                              Machinery & Equipment - Milwaukee TC
    07-099           8/30/2007   Restaurant Equipment                                         Machinery & Equipment - Rolling Meadows
    07-100            8/1/2007   Computer                                                     Machinery & Equipment - Park Ridge
    07-101            8/1/2007   Computer                                                     Machinery & Equipment - Glenview
    07-102            8/1/2007   Computer                                                     Machinery & Equipment - Oswego
    07-103            8/1/2007   Computer                                                     Machinery & Equipment - Schaumburg
    07-104           8/16/2007   Asphalt Sealcoating and Repair                               Leasehold Improvements - Arlington Heights
    07-105            8/8/2007   Bender & Pitcher                                             Machinery & Equipment - North Aurora DS
    07-106            8/8/2007   Blender & Pitcher                                            Machinery & Equipment - Orland Park
    07-107            8/8/2007   Blender & Pitcher                                            Machinery & Equipment - Evergreen Park
    07-108            8/8/2007   Bender & Pitcher                                             Machinery & Equipment - Bloomingdale
    07-109            8/8/2007   Bender & Pitcher                                             Machinery & Equipment - Park Ridge
    07-110            8/8/2007   Blender & Pitcher                                            M/E - Glen Ellyn TBJ
    07-111            8/8/2007   Blender & Pitcher                                            Machinery & Equipment - Downers Grove
    07-112            8/8/2007   Blender & Pitcher                                            Machinery & Equipment - Bartlett
    07-113            8/8/2007   Blender & Pitcher                                            Machinery & Equipment - Oswego
    07-115            8/8/2007   Blender & Pitcher                                            Machinery & Equipment - Joliet DS
    07-116            8/8/2007   Blender & Pitcher                                            Machinery & Equipment - Bolingbrook
    07-117           9/12/2007   Power Steering Analyser, King Pin Press,Coolant              Machinery & Equipment - Truck Maintenance
    07-118           9/17/2007   Cooler Door and Treadplate                                   Machinery & Equipment - North Aurora DS
    07-119            9/1/2007   Micros Upgrade                                               Machinery & Equipment - St. Peters
    07-120           9/19/2007   Computer OptiPlex 745 Minitower Smart Core Duo               Machinery & Equipment - Detroit Transfer Center
    07-121            9/1/2007   Server Software                                              Data Processing Equipment
    07-122           9/12/2007   New Server for WebSense - Brand Mandell                      Data Processing Equipment
    07-123           9/22/2007   Remote Admin 3.0 Software X 100                              Data Processing Equipment
    07-124            9/1/2007   Firewall & Service                                           Data Processing Equipment



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19       Desc Main
                                                            Document      Page 111 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    07-127           9/14/2007   #503 1994 Utitliy Reefer Trailer Vin 962005                  Vehicles
    07-128         10/31/2007    Gelato/Ice Cream Dipperwell                                  Machinery & Equipment - Wholesale
    07-129           10/1/2007   6 Lamps - multi, Voltage fixture                             Machinery & Equipment - Truck Maintenance
    07-133           10/1/2007   Software, Programming, Training                              Machinery & Equipment - St. Peters
    07-134         10/19/2007    Noteboork for route Sales mgmt                               Data Processing Equipment
    07-139         11/27/2007    Silo/Evap Piping                                             Machinery & Equipment - N.A. Plant
    07-140         11/22/2007    Pasteurized Tank Cooling Program and Instal                  Machinery & Equipment - N.A. Plant
    07-141         11/29/2007    Tempering Cabinet                                            Machinery & Equipment - Elmhurst
    07-142         11/29/2007    Plan Review Fee Dupage County Health Dept                    Leasehold Improvements - Elmhurst
    07-143         11/29/2007    Architectural Service for Remodel, Permit sets               Leasehold Improvements - Elmhurst
    07-144         11/19/2007    Plan Review Food Lake county Health Dept                     Leasehold Improvements - Gurnee
    07-145         11/19/2007    Building, Permit                                             Leasehold Improvements - Gurnee
    07-146         11/19/2007    Architecturals Services                                      Leasehold Improvements - Gurnee
    07-147         11/19/2007    Awning w/aluminum staple-in frame fabric                     Machinery & Equipment - Gurnee
    07-148         11/19/2007    Computer                                                     Machinery & Equipment - Gurnee
    07-149         11/19/2007    Sign Package                                                 Machinery & Equipment - Gurnee
    07-151           11/2/2007   Raymond model serial 7578, pallet jack 4431856               Machinery & Equipment - Detroit Transfer Center
    07-154           11/1/2007   Graphics                                                     Vehicles
    07-155         11/30/2007    Wiring for silo # 6 refrigeration                            Machinery & Equipment - N.A. Plant
    07-156         11/13/2007    Fabricate and deliver casework                               Leasehold Improvements - Gurnee
    07-157           12/1/2007   Awning                                                       Leasehold Improvements - Gurnee
    07-158           12/1/2007   Mag reader, cash drwr, eclipse                               Machinery & Equipment - Gurnee
    07-159         12/26/2007    Restaurant equpment                                          Machinery & Equipment - Gurnee
    07-160         12/18/2007    1500 gal mix Tank Winchell                                   Machinery & Equipment - N.A. Plant
    07-162         11/20/2007    Drive thru equipment                                         Machinery & Equipment - Gurnee
    07-163           12/1/2007   Soft Serve Machine                                           Machinery & Equipment - Gurnee
    07-164           12/1/2007   Yogurt Machine                                               Machinery & Equipment - Gurnee
    07-167         12/31/2007    Building                                                     Leasehold Improvements - Gurnee
    08-003           3/21/2008   Computer - From Minny xfer center 12/11 to Boston            Machinery & Equipment - St. Louis TC
    08-004           3/21/2008   Computer - Shane IT                                          Data Processing Equipment
    08-005           1/31/2008   2 Printers and Stands for Kansas TC & Minn TC                Data Processing Equipment



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19       Desc Main
                                                            Document      Page 112 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    08-008           4/14/2008   #134 Rebuild Truck 2000 IHC 3800 Vin 302335                  Vehicles
    08-010            5/1/2008   1500 Gallon Processor                                        Machinery & Equipment - N.A. Plant
    08-015           5/20/2008   Microwave                                                    Machinery & Equipment - Park Ridge
    08-057            6/1/2008   Restaurant Equipment                                         Machinery & Equipment - D.S. Equipment Inv
    08-061            7/9/2008   Drink Mixer                                                  Machinery & Equipment - Evergreen Park
    08-062           7/29/2008   Chest Freezers, jars, pumps, covers, dispensers              Machinery & Equipment - Catering for Dairy Stores
    08-068            7/1/2008   Elhurst Rebuild Soft Serve machines, wallpaper               Machinery & Equipment - Elmhurst
    08-069           7/15/2008   Elmhust Rebuild                                              Leasehold Improvements - Elmhurst
    08-070            7/1/2008   Micros Workstation                                           Machinery & Equipment - North Aurora DS
    08-072           7/21/2008   Steel Frame Gate                                             Machinery & Equipment - North Aurora DS
    08-075            8/5/2008   2 Chest Freezers                                             Machinery & Equipment - Catering for Dairy Stores
    08-079           8/19/2008   2 Computers                                                  Machinery & Equipment - Troy
    08-085           8/16/2008   Awnings, Door and Lock, Asbestos check                       Leashold Improvements - Lincolnwood
    08-087           8/19/2008   Micros                                                       Machinery & Equipment - Troy
    08-088           8/19/2008   2 Soft Serve Machines                                        Machinery & Equipment - Troy
    08-089           8/19/2008   Safe, Door exit alarm, door peep sight                       Machinery & Equipment - Troy
    08-090           8/19/2008   Restaurant Equipment                                         Machinery & Equipment - Troy
    08-091           8/19/2008   Signs                                                        Machinery & Equipment - Troy
    08-092           8/19/2008   Awnings                                                      Machinery & Equipment - Troy
    08-093           8/19/2008   Building Construction for Troy                               Leashold Improvements - Troy
    08-095            8/1/2008   Illuminated light box w/vinyl                                Machinery & Equipment - Naperville North
    08-096           9/10/2008   Round table (2), Umbrella stands (3)                         Machinery & Equipment - Troy
    08-097           9/12/2008   Pump 1851 series 39”, TEFC (IP55)                            Machinery & Equipment - N.A. Plant
    08-098           9/22/2008   Dasher, bush, hub, scraper, slide, shaft, cover              Machinery & Equipment - N.A. Plant
    08-099           9/21/2008   Computers(3) tags FQ2YGH1,3R2YGH1,1R2YGH1                    Machinery & Equipment - New Cust. Acq.
    08-100            9/7/2008   Ethernet Printer for Treat Delivery                          Machinery & Equipment - Oakville
    08-101            9/7/2008   Ethernet Printers for Treat Delivery                         Machinery & Equipment - St. Peters
    08-102            9/7/2008   Ethernet Printer for Treat Delivery                          Machinery & Equipment - Ballwin
    08-105            9/7/2008   Ethernet Printer for Treat Delivery                          Machinery & Equipment - Kirkwood
    08-106           9/22/2008   Exhaust hood, fountain rail, jars, covers, adaptor           Machinery & Equipment - Troy
    08-107            9/1/2008   Storage container for shipping ice cream to wholes           Machinery & Equipment - Wholesale



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                            Document      Page 113 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    08-108            9/4/2008   Notebook for Mike McCarthy tag 3ZM3DH1                       Data Processing Equipment
    08-109            9/1/2008   Micros workstations                                          Machinery & Equipment - Oakville
    08-112            9/1/2008   Micros Workstation                                           Machinery & Equipment - Schaumburg
    08-113            9/1/2008   Micros Workstation                                           Machinery & Equipment - Evergreen Park
    08-114            9/1/2008   Micros Workstations                                          Machinery & Equipment - Elgin
    08-116            9/1/2008   Micros Workstation                                           Data Processing Equipment
    08-117           9/10/2008   Micros Workstations                                          Machinery & Equipment - Schaumburg
    08-118            9/1/2008   compaq Tower                                                 Machinery & Equipment - North Aurora DS
    08-119            9/1/2008   Compaq tower                                                 Data Processing Equipment
    08-120           9/15/2008   Ice Cream Dipping Cabinet                                    Machinery & Equipment - Bartlett
    08-122           10/7/2008   Archituctural Service                                        Leashold Improvements - Troy
    08-123         10/24/2008    Archituectural Services                                      Leashold Improvements - Lincolnwood
    08-124         10/31/2008    Feed Tank for boiler                                         Machinery & Equipment - N.A. Plant
    08-125           10/1/2008   Restaurant Equipment                                         Machinery & Equipment - Elmhurst
    08-126           10/1/2008   Web Enhancements                                             Data Processing Equipment
    08-129           10/1/2008   Restaurant Equipment                                         Machinery & Equipment - Lincolnwood
    08-130           10/1/2008   Veriphone                                                    Machinery & Equipment - D.S. Equipment Inv
    08-131           10/1/2008   Veriphone                                                    Machinery & Equipment - North Aurora DS
    08-132         10/15/2008    Thermo Shutter & Dehumidification System                     Machinery & Equipment - N.A. Plant
    08-134           11/1/2008   Computers Tag 54V4JH1 7 34V4JH1                              Machinery & Equipment - New Cust. Acq.
    08-135           11/1/2008   Sheer Weave Roller Shades (5) on store front                 Machinery & Equipment - Lincolnwood
    08-136           11/4/2008   Micros Workstation                                           Machinery & Equipment - Lake Zurich
    08-138           11/3/2008   Computer tag 9X5PNH1                                         Data Processing Equipment
    08-141           12/1/2008   Desktop computer serial # MXM7310PQ                          Machinery & Equipment - Elmhurst
    08-156           12/1/2008   Coffee Machine Evolution 2 Step                              Machinery & Equipment - Troy
    08-157           12/3/2008   Computer Equipment (5)                                       Data Processing Equipment
    08-158         12/15/2008    Restaurant Equipment                                         Machinery & Equipment - D.S. Equipment Inv
    08-159            8/1/2008   Bulk Can Converyor                                           Machinery & Equipment - N.A. Plant
    09-001            1/1/2009   Graphics                                                     Vehicles
    09-002            1/1/2009   Architect                                                    Leashold Improvements - Lincolnwood
    09-005            1/6/2009   Micros Workstations                                          Machinery & Equipment - Rolling Meadows



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19       Desc Main
                                                            Document      Page 114 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    09-006            1/6/2009   Micros Workstations                                          Machinery & Equipment - Rolling Meadows
    09-008            1/6/2009   Micros Workstation                                           M/E - Glen Ellyn TBJ
    09-009           1/14/2009   Sprinter Van Graphics                                        Vehicles
    09-012           1/28/2009   Micros Computer                                              Machinery & Equipment - Rolling Meadows
    09-014            2/6/2009   Register and Stand                                           Machinery & Equipment - Elmhurst
    09-018           4/10/2009   Ice Cream Dipping Cabinet                                    Machinery & Equipment - St. Peters
    09-019            4/1/2009   Walk in Cooler                                               Machinery & Equipment - Detroit Transfer Center
    09-024            4/1/2009   1990 Intl Vin 249752                                         Vehicles
    09-029            1/8/2009   Computer                                                     Machinery & Equipment - Wholesale
    09-034           6/15/2009   Arbor Press                                                  Machinery & Equipment - N.A. Plant
    09-035            5/1/2009   Blenders                                                     Machinery & Equipment - D.S. Equipment Inv
    09-037           5/22/2009   Waffle Cone Baker SN L12344SSE                               Machinery & Equipment - Western Springs
    09-038            6/1/2009   Front door, Back door, bathroom door                         Leasehold Improvements - Western Springs
    09-040            6/1/2009   Chest Freezer                                                Machinery & Equipment - Catering for Dairy Stores
    09-041            6/1/2009   Chest Freezer                                                Machinery & Equipment - Catering for Dairy Stores
    09-042            6/1/2009   Chest Freezer                                                Machinery & Equipment - Catering for Dairy Stores
    09-043            6/1/2009   Crowd Control Stanchion                                      Machinery & Equipment - North Aurora DS
    09-044            6/1/2009   Crowd Control Stanchion                                      Machinery & Equipment - Bloomingdale
    09-045            6/1/2009   Crowd Control Stanchion                                      M/E - Glen Ellyn TBJ
    09-046            6/1/2009   Crowd control Stanchion                                      Machinery & Equipment - Oakville
    09-047            6/1/2009   Crowd control Stanchion                                      Machinery & Equipment - Downers Grove
    09-048            6/1/2009   Crowd Control Stanchion                                      Machinery & Equipment - Orland Park
    09-050            6/1/2009   Crowd Control Stanchion                                      Machinery & Equipment - Elmhurst
    09-051            6/1/2009   Crowd Control Stanchion                                      Machinery & Equipment - Lincolnwood
    09-052            6/1/2009   Crowd Control Stanchion                                      Machinery & Equipment - Park Ridge
    09-063            6/1/2009   New Register                                                 Machinery & Equipment - Lake Zurich
    09-066            6/1/2009   Micros Work Station                                          Data Processing Equipment
    09-067           7/17/2009   Battery backup unit                                          Data Processing Equipment
    09-068           7/17/2009   Crowd Control Stanchions                                     Machinery & Equipment - Western Springs
    09-084            7/1/2009   Crowd control stanchions                                     Machinery & Equipment - Bloomingdale
    09-085            7/1/2009   Crowd contol stanchions                                      Machinery & Equipment - Oswego



63817155
                      Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19       Desc Main
                                                           Document      Page 115 of 231


 Asset Number   Date Acquired    Asset Description 1                                         G/L Asset Account Description
    09-086            7/1/2009   Crowd contol stanchions                                     Machinery & Equipment - North Aurora DS
    09-087           7/21/2009   Chest Freezer                                               Machinery & Equipment - Wholesale
    09-088           7/20/2009   Table base & tops (3)                                       Machinery & Equipment - Catering for Dairy Stores
    09-090            7/1/2009   Waffle cone baker                                           Machinery & Equipment - Bartlett
    09-091            7/1/2009   Waffle cone baker                                           Machinery & Equipment - Elgin
    09-092           7/31/2009   Wire shelving                                               Machinery & Equipment - Park Ridge
    09-093           7/17/2009   Bottling line conveyors                                     Machinery & Equipment - N.A. Plant
    09-097            8/1/2009   Graphics                                                    Vehicles
    09-102            8/5/2009   46” Round Tables (4)                                        Machinery & Equipment - North Aurora DS
    09-103           8/10/2009   Forklight Telescoping Jib boom Crane Economast              Machinery & Equipment - Truck Maintenance
    09-104            8/1/2009   Hose Reel, Shelf w/bins                                     Machinery & Equipment - Truck Maintenance
    09-105           8/10/2009   All Steel Reel Spring Rewind w/ 1/2”                        Machinery & Equipment - Truck Maintenance
    09-106            8/1/2009   Chest Freezer                                               Machinery & Equipment - Catering for Dairy Stores
    09-107           8/12/2009   Milk bottle Return Panels                                   Machinery & Equipment - Lincolnwood
    09-110           8/14/2009   Roofing                                                     Leasehold Improvements - Arlington Heights
    09-113           9/18/2009   #18 Chev silverado 1500 - Milk Procurement                  Vehicles
    09-114           9/23/2009   Chairs                                                      Machinery & Equipment - Orland Park
    09-115           8/19/2009   WS4 Unit workstation register                               Machinery & Equipment - Glenview
    09-116            9/1/2009   Altro Weld Rod, Sealant, Misc supplies                      Leasehold Improvements - Western Springs
    09-117         11/24/2009    Wainscot & Chair Rail                                       Leasehold Improvements - Orland Park
    09-118           9/16/2009   Nortel Baystack 5510 Network Switch                         Data Processing Equipment
    09-119            9/1/2009   Computer                                                    Data Processing Equipment
    09-120           9/29/2009   Patio Fence by Drive Thru                                   Buildings - North Aurora Dairy Store
    09-122           10/7/2009   Awnings with eradalit fabric                                Leasehold Improvements - Park Ridge
    09-123           10/1/2009   Notebook tag # 8BFPTK1                                      Data Processing Equipment
    09-125         10/29/2009    APC Smart UPS 1500va USB/SER RM 2U                          Data Processing Equipment
    09-126         10/21/2009    Electrical Wiring to Walk in cooler, condensor              Machinery & Equipment - Detroit Transfer Center
    09-127           10/1/2009   Server JP rp5700                                            Machinery & Equipment - Oswego
    09-128         10/31/2009    Hyperion Server                                             Data Processing Equipment
    09-137           10/1/2009   Upgrade of Signage                                          Machinery & Equipment - Glenview
    09-138           10/1/2009   Handicap signs                                              Leasehold Improvements - Bloomingdale



63817155
                      Case 24-05385            Doc 229        Filed 06/07/24 Entered 06/07/24 11:41:19       Desc Main
                                                             Document      Page 116 of 231


 Asset Number   Date Acquired    Asset Description 1                                           G/L Asset Account Description
    09-139           10/1/2009   Parking lot signage                                           Leasehold Improvements - Bartlett
    09-140           11/6/2009   Tetra Pak Spiraflo CIP Heater                                 Machinery & Equipment - N.A. Plant
    09-141           10/1/2009   CIP Return Line                                               Machinery & Equipment - N.A. Plant
    09-142           10/1/2009   Milk Receiving Sampler                                        Machinery & Equipment - N.A. Plant
    09-143           10/1/2009   Concrete pad, asphalt                                         Buildings - North Aurora
    09-144           10/1/2009   Evcavation, stone, paving of lot                              Leasehold Improvements - Truck Barn
    09-145         11/30/2009    Graphics and installation of step van                         Vehicles
    09-146         11/24/2009    Tiger Server and installation for SAS                         Marketing / Promotional Assets
    09-151           10/1/2009   Graphics                                                      Vehicles
    09-152           11/6/2009   OKI Microline 321 Turbo/ N Impact Pri                         Machinery & Equipment - St. Louis TC
    09-153           11/1/2009   4 Equip rail supports, 2 Pitch pans, walkway pads             Leasehold Improvements - Detroit TF
    09-154           11/1/2009   Cooler Floor                                                  Leasehold Improvements - Bloomingdale
    09-155           11/1/2009   Pipe steam & condensate for pressure booster                  Buildings - North Aurora
    09-156         11/17/2009    Control wiring to pump in raw milk area                       Buildings - North Aurora
    09-157           12/8/2009   Paint old Yoder Truck                                         Vehicles
    09-158           12/1/2009   Office Chairs                                                 Office Furniture - North Aurora
    09-159           12/1/2009   Quantum Data Cartridge LTO Ultrium 4                          Data Processing Equipment
    09-160           12/1/2009   Back up Unit Quantum SCSI Bundle                              Data Processing Equipment
    09-161         12/28/2009    Laptop Computer (Shane IT) tag 40JCTL1                        Data Processing Equipment
    09-164            1/1/2009   Arbor Press                                                   Machinery & Equipment - St. Louis TC
    09-165            1/1/2009   Arbor Press                                                   Machinery & Equipment - Detroit Transfer Center
    09-166            1/1/2009   Arbor Press                                                   Machinery & Equipment - Milwaukee TC
    09-167            1/1/2009   Arbor Press                                                   Machinery & Equipment - Indianapolis TC
    09-168            1/1/2009   Arbor Press                                                   Machinery & Equipment - Bloomington TC
    09-171            1/1/2009   Arbor Press                                                   Machinery & Equipment - N.A. Plant
    09-173           12/1/2009   Arlington Heights Remodel                                     Leasehold Improvements - Arlington Heights
    09-174           12/1/2009   Focus Foodservice Model No FCCAST5                            Machinery & Equipment - Arlington Heights
    09-184         12/21/2009    Florida Floor Tile                                            Leasehold Improvements - Bloomingdale
    09-185           12/2/2009   Awnings, south side                                           Leasehold Improvements - Schaumburg
    09-186         12/29/2009    Ice Cream Dipping Cabinet                                     Machinery & Equipment - Naperville
    10-001           1/27/2010   Ice Cream Dipping Cabinet                                     Machinery & Equipment - Western Springs



63817155
                      Case 24-05385             Doc 229         Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                               Document      Page 117 of 231


 Asset Number   Date Acquired    Asset Description 1                                             G/L Asset Account Description
    10-002           3/11/2010   Dell Latitude E5500 Notebook tag JRXKYJ1                        Data Processing Equipment
    10-003           3/15/2010   Computer service tag JC5R4M1                                    Data Processing Equipment
    10-004            3/1/2010   Music system                                                    Machinery & Equipment Royal Oak Woodward
    10-005            3/1/2010   Restaurant Equipment                                            Machinery & Equipment Royal Oak Woodward
    10-006           3/12/2010   Seating                                                         Machinery & Equipment - Orland Park
    10-007            3/1/2010   HP Monitor                                                      Machinery & Equipment Royal Oak Woodward
    10-008            3/1/2010   HP Micros server and Dairy Computer                             Machinery & Equipment Royal Oak Woodward
    10-009            1/1/2010   Vehicle Graphics                                                Vehicles
    10-010           2/14/2010   Software customization SAS                                      Marketing / Promotional Assets
    10-011            2/1/2010   Step Van Kit                                                    Vehicles
    10-012            3/1/2010   Waffle Cone Baker                                               Machinery & Equipment Royal Oak Woodward
    10-013            3/1/2010   Soft serve machine                                              Machinery & Equipment Royal Oak Woodward
    10-014            3/1/2010   Soft Serve Machine                                              Machinery & Equipment Royal Oak Woodward
    10-015            3/1/2010   Funiture End, cocktail & dining table, side chair               Machinery & Equipment Royal Oak Woodward
    10-016            3/1/2010   Micros workstation, cash drawyer, display                       Machinery & Equipment Royal Oak Woodward
    10-017           3/18/2010   Ice Cream Cabinet                                               Machinery & Equipment - Lake Zurich
    10-018            3/5/2010   Florida Tile Progetto Casa Tobacco                              Leasehold Improvements - Bloomingdale
    10-019            3/1/2010   Espresso Machine                                                Machinery & Equipment Royal Oak Woodward
    10-021            1/1/2010   Proposal P1480                                                  Leasehold Improvements - Bloomingdale
    10-022            3/1/2010   Signs for Royal Oak Woodward                                    Machinery & Equipment Royal Oak Woodward
    10-023            3/1/2010   Architect plans and services Michael Aragona                    Leasehold Improvements Woodward
    10-024            3/1/2010   Construction                                                    Leasehold Improvements Woodward
    10-025            3/1/2010   Resturant Equpment                                              Machinery & Equipment Royal Oak Woodward
    10-026            3/1/2010   Awnings                                                         Leasehold Improvements Woodward
    10-027           4/20/2010   Computer tag H1NTBM1                                            Machinery & Equipment - N.A. Plant
    10-029            4/1/2010   Micros Lab                                                      Data Processing Equipment
    10-030            4/1/2010   HP Laptop                                                       Data Processing Equipment
    10-031           4/12/2010   Ram TC servers                                                  Data Processing Equipment
    10-032           4/12/2010   APC Battery Backup Unit                                         Data Processing Equipment
    10-033            4/1/2010   Ice Cream Cabinet                                               Machinery & Equipment - D.S. Equipment Inv
    10-034            4/5/2010   Construction final draw                                         Leasehold Improvements Woodward



63817155
                      Case 24-05385            Doc 229        Filed 06/07/24 Entered 06/07/24 11:41:19     Desc Main
                                                             Document      Page 118 of 231


 Asset Number   Date Acquired    Asset Description 1                                           G/L Asset Account Description
    10-035           4/14/2010   Fiber Optic Sensor                                            Machinery & Equipment - N.A. Plant
    10-041            4/1/2010   Computer                                                      Data Processing Equipment
    10-042           5/20/2010   New light for rear door awning                                Leasehold Improvements Woodward
    10-044           5/13/2010   12”X18” Aluminum No Parking Signs                             Leasehold Improvements - Gurnee
    10-045           5/26/2010   Water Softener                                                Machinery & Equipment - Bartlett
    10-046           5/26/2010   Water Softener                                                Machinery & Equipment - Naperville North
    10-047           5/31/2010   Ice Bin                                                       M/E - Glen Ellyn TBJ
    10-048            5/1/2010   3 Umbrellas                                                   Office Furniture - North Aurora
    10-049            5/1/2010   4 Umbrellas                                                   Machinery & Equipment - Orland Park
    10-050            5/1/2010   4 Umbrellas                                                   Machinery & Equipment - Mokena
    10-051            5/1/2010   3 Umbrellas                                                   Machinery & Equipment - Troy
    10-052            5/1/2010   3 Umbrellas                                                   Machinery & Equipment - Bartlett
    10-053            5/1/2010   6 Umbrellas                                                   Machinery & Equipment - North Aurora DS
    10-054            5/1/2010   4 Umbrellas                                                   Machinery & Equipment - Lincolnwood
    10-056            5/1/2010   3 Umbrellas                                                   Machinery & Equipment - Rolling Meadows
    10-057            5/1/2010   Mac Pro Software                                              Data Processing Equipment
    10-058           5/21/2010   Drive Enclosure                                               Data Processing Equipment
    10-059            6/7/2010   Stool Columns                                                 Machinery & Equipment Royal Oak Woodward
    10-060           6/30/2010   Ice Cream Cabinet                                             Machinery & Equipment - Downers Grove
    10-062            6/1/2010   Ice Cream Cabinet                                             Machinery & Equipment - Joliet DS
    10-063            6/1/2010   Ice Cream Cabinet                                             Machinery & Equipment - Joliet DS
    10-064           6/22/2010   Ice Cream Cabinet                                             Machinery & Equipment - Orland Park
    10-065            6/7/2010   Ice Cream Cabinet                                             Machinery & Equipment - Lake Zurich
    10-066            6/1/2010   Ice Cream Cabinet                                             Machinery & Equipment - Wheaton
    10-067           6/30/2010   Water Softener                                                Machinery & Equipment - Evergreen Park
    10-068            6/1/2010   Ice Cream Cabinet                                             Machinery & Equipment - Naperville North
    10-069            6/1/2010   Ice Cream Cabinet                                             Machinery & Equipment - Naperville North
    10-070           6/30/2010   Ice Cream Cabinet                                             Machinery & Equipment - Bolingbrook
    10-071           6/16/2010   Waffle Cone Baker                                             Machinery & Equipment - Elmhurst
    10-072            6/1/2010   Billing Printer IBM 6400-I24 Model w/ ethernet                Data Processing Equipment
    10-073           6/11/2010   Night Owl Scorpion DVR                                        Marketing / Promotional Assets



63817155
                      Case 24-05385            Doc 229        Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                             Document      Page 119 of 231


 Asset Number   Date Acquired    Asset Description 1                                           G/L Asset Account Description
    10-074            7/3/2010   Battery                                                       Data Processing Equipment
    10-075            7/3/2010   Battery                                                       Data Processing Equipment
    10-076            7/3/2010   Battery                                                       Data Processing Equipment
    10-077            7/3/2010   Battery                                                       Data Processing Equipment
    10-078           7/26/2010   Ice Cream Cabinet                                             Machinery & Equipment - Bartlett
    10-079           7/15/2010   Draeger Sensor(Ammonia), Polytron, calibration kit            Machinery & Equipment - N.A. Plant
    10-081           6/16/2010   Blender                                                       Machinery & Equipment - Gurnee
    10-082           6/16/2010   Blender                                                       Machinery & Equipment - Gurnee
    10-083           6/16/2010   Blender                                                       Machinery & Equipment - Gurnee
    10-084           6/16/2010   Blender                                                       Machinery & Equipment - Glenview
    10-085           6/16/2010   Blender                                                       Machinery & Equipment - Elgin
    10-086           6/16/2010   Blender                                                       Machinery & Equipment - Lake Zurich
    10-087           6/16/2010   Blender                                                       Machinery & Equipment - Wheaton
    10-088           6/17/2010   Blender                                                       Machinery & Equipment - Elmhurst
    10-089           6/17/2010   Blender                                                       Machinery & Equipment - Elmhurst
    10-090           6/16/2010   Blender                                                       Machinery & Equipment - Mokena
    10-091           6/16/2010   Blender                                                       Machinery & Equipment - Mokena
    10-092           6/16/2010   Blender                                                       Machinery & Equipment - Western Springs
    10-093           6/16/2010   Blender                                                       Machinery & Equipment - Western Springs
    10-095           6/16/2010   Blender                                                       Machinery & Equipment - Western Springs
    10-102           6/16/2010   Blender Vita-mix                                              Machinery & Equipment - Kirkwood
    10-103           6/16/2010   Blender Vita-mix                                              Machinery & Equipment - Kirkwood
    10-104           6/16/2010   Blender Vita-mix                                              Machinery & Equipment - Kirkwood
    10-105           6/16/2010   Blender Vita-mix                                              Machinery & Equipment - Oakville
    10-106           6/16/2010   Blender Vita-mix                                              Machinery & Equipment - Oakville
    10-107            6/6/2010   Blender Vita-mix                                              Machinery & Equipment - Oakville
    10-108           6/16/2010   Blender Vita-mix                                              Machinery & Equipment - Schereville
    10-109           6/16/2010   Blender Vita-mix                                              Machinery & Equipment - Schereville
    10-111           8/20/2010   Solo4 Disk Coppier                                            Data Processing Equipment
    10-112           8/10/2010   Ice Maker                                                     Machinery & Equipment - Western Springs
    10-113           8/12/2010   Compressor                                                    Machinery & Equipment - Western Springs



63817155
                      Case 24-05385           Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                          Document      Page 120 of 231


 Asset Number   Date Acquired    Asset Description 1                                        G/L Asset Account Description
    10-114            8/1/2010   Floor Display Merchandiser                                 Machinery & Equipment - D.S. Equipment Inv
    10-115            8/1/2010   PacIII Gas Monitor, TWA alarm, electrochemical sen         Machinery & Equipment - N.A. Plant
    10-117           9/13/2010   Laptop - Koenig                                            Data Processing Equipment
    10-118           9/13/2010   Laptop - McMillian                                         Data Processing Equipment
    10-119           9/13/2010   Laptop - Newport                                           Data Processing Equipment
    10-120           9/13/2010   Laptop - Schaefer                                          Data Processing Equipment
    10-121           9/13/2010   Laptop - Dodge                                             Data Processing Equipment
    10-122           9/13/2010   Laptop - Storey                                            Data Processing Equipment
    10-123           6/13/2010   Laptop - Eberhardt                                         Data Processing Equipment
    10-124            9/1/2010   Conquest Line, New design on small bottle line             Machinery & Equipment - N.A. Plant
    10-125            9/1/2010   Tables, 2 chess, 5 30x30, 4 24x24                          Machinery & Equipment - Bartlett
    10-127           10/1/2010   Notebook - Elizabeth Craig                                 Data Processing Equipment
    10-128           10/1/2010   Chairs for Accounting Department (7)                       Office Furniture - North Aurora
    10-129         10/28/2010    Blenders, housing, whippers                                Machinery & Equipment - North Aurora DS
    10-130         10/28/2010    Bender housings                                            Machinery & Equipment - Bloomingdale
    10-131           10/1/2010   Desktop - Jim Oberweis                                     Data Processing Equipment
    10-133         10/25/2010    New Bottle Washer & Conveyer                               Machinery & Equipment - N.A. Plant
    10-134           11/5/2010   Servers for Ipad App                                       Data Processing Equipment
    10-135           11/5/2010   Hard Drivers for Servers                                   Data Processing Equipment
    10-136           11/4/2010   Computer - Jim O. tag 8XR0NN1                              Data Processing Equipment
    10-144         11/18/2010    Bottle Washer Project                                      Machinery & Equipment - N.A. Plant
    10-145           12/9/2010   Alarm - Hilltop Alarm                                      Machinery & Equipment - Evergreen Park
    10-146           12/9/2010   Awnings - Awnings Plus                                     Machinery & Equipment - Evergreen Park
    10-147           12/9/2010   Restaurant Equipment - ADE                                 Machinery & Equipment - Evergreen Park
    10-148           12/9/2010   Signage - Speedi Sign                                      Machinery & Equipment - Evergreen Park
    10-149           12/9/2010   Micros, Touchtunes, CDW Computer                           Machinery & Equipment - Evergreen Park
    10-150           12/9/2010   Wall covering, Glass - Thybony & Midwest                   Machinery & Equipment - Evergreen Park
    10-151           12/9/2010   Plant Milk Case Packer - We Pack It, Inc.                  Machinery & Equipment - N.A. Plant
    10-152           12/9/2010   Computer Equipment - CDW                                   Data Processing Equipment
    10-153           12/9/2010   Computer Equipment - Dell                                  Data Processing Equipment
    10-154           12/9/2010   Raymond Walkie Model 102XM - AHeubel Material Hand         Machinery & Equipment - St. Louis TC



63817155
                      Case 24-05385           Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                          Document      Page 121 of 231


 Asset Number   Date Acquired    Asset Description 1                                        G/L Asset Account Description
    10-155           12/9/2010   Raymond Walkie Model 102XM - Heubel Material Hand.         Machinery & Equipment - Indianapolis TC
    10-156           12/9/2010   Office Interiors - Hendricksen Office Interiors            Office Furniture - North Aurora
    10-157           12/9/2010   Pressure Washer - Hotsy Unlimited                          Machinery & Equipment - Indianapolis TC
    10-158           12/9/2010   Pressure Washer - Hotsy Unlimited                          Machinery & Equipment - Bloomington TC
    10-159           12/9/2010   Pressure Washer - Hotsy Unlimited                          Machinery & Equipment - Norfolk TC
    10-162           12/9/2010   Refrigeration Pump - AMS Mechanical Sys                    Machinery & Equipment - N.A. Plant
    10-163           12/9/2010   Raschol bug Blocker Overhead Door -Industrial Door         Machinery & Equipment - N.A. Plant
    10-164           12/9/2010   Freezer Racking System - Convey or Store it, inc.          Machinery & Equipment - N.A. Plant
    10-165           12/9/2010   Restaurant Equipment - ADE                                 Machinery & Equipment - Bolingbrook
    10-166           12/9/2010   Signage - Speedi Sign                                      Machinery & Equipment - Bolingbrook
    10-167         12/21/2010    Blender, Motor, Parts, Collars                             Machinery & Equipment - Oswego
    10-168         12/13/2010    Blending Station                                           Machinery & Equipment - North Aurora DS
    10-169           12/6/2010   Homogenizer Pump                                           Machinery & Equipment - N.A. Plant
    10-170         12/27/2010    Thermo King Engine Replacement                             Vehicles
    10-176         12/30/2010    DisplayAD20-HIM-A3 PF Arch Class HIM, LCD                  Machinery & Equipment - N.A. Plant
    11-003            1/1/2011   Computer                                                   Data Processing Equipment
    11-005           1/14/2011   Stell Platform Ladder with Serrated Steps                  Machinery & Equipment - N.A. Plant
    11-006           1/14/2011   Steel Platform Ladder with Serrated Steps                  Machinery & Equipment - N.A. Plant
    11-008            3/4/2011   Roof replacement, flashing, bitumen                        Leasehold Improvements - Arlington Heights
    11-013           3/18/2011   AS400 Hardware and Software                                Data Processing Equipment
    11-017           3/15/2011   Motors                                                     Machinery & Equipment - Downers Grove
    11-020           3/31/2011   Customer Architectural Sign 83”X144”                       Machinery & Equipment - North Aurora DS
    11-023           3/28/2011   Register                                                   Machinery & Equipment - Gurnee
    11-024           3/28/2011   Register                                                   M/E - Glen Ellyn TBJ
    11-025           3/31/2011   Reconfigure plumbing on pressure pumps                     Machinery & Equipment - N.A. Plant
    11-026           3/15/2011   Door to Door Software Program                              Machinery & Equipment - New Cust. Acq.
    11-029            3/1/2011   Computer                                                   Machinery & Equipment - Downers Grove
    11-032            4/1/2011   Engine Rebuild                                             Vehicles
    11-034            5/9/2011   Engine Rebuild                                             Vehicles
    11-035            5/1/2011   Control Station for Phone System                           Data Processing Equipment
    11-036           5/12/2011   Hot Water Tank                                             Machinery & Equipment - Elmhurst



63817155
                      Case 24-05385            Doc 229          Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                               Document      Page 122 of 231


 Asset Number   Date Acquired    Asset Description 1                                             G/L Asset Account Description
    11-039            5/3/2011   Constructed Wall for Closet                                     Leasehold Imp - Rolling Meadows
    11-043            6/1/2011   Grease Trap                                                     Leasehold Improvements - Elgin
    11-045           6/16/2011   Condensing Unit                                                 Machinery & Equipment - Orland Park
    11-046           6/16/2011   Condensing Unit                                                 Machinery & Equipment - Joliet DS
    11-051            6/1/2011   Hot Water Heater                                                Leasehold Improvements - Naperville North
    11-064            7/1/2011   Freezer Floor Project                                           Leasehold Improvements - St. Louis TC
    11-070           11/1/2011   Watchguard                                                      Machinery & Equipment - Wheaton
    11-071           11/1/2011   Watchguard                                                      Machinery & Equipment - Western Springs
    11-072           11/1/2011   Watchguard                                                      Machinery & Equipment - Elgin
    11-074           11/1/2011   Watchguard                                                      Machinery & Equipment - Lake Zurich
    11-075           11/1/2011   Watchguard                                                      Machinery & Equipment - Ballwin
    11-078           11/1/2011   Watchguard                                                      Machinery & Equipment - Kirkwood
    11-080           11/1/2011   Watchguard                                                      Machinery & Equipment - St. Peters
    11-081           11/1/2011   Watchguard                                                      Machinery & Equipment - Arlington Heights
    11-082           11/1/2011   Watchguard                                                      Machinery & Equipment - Bartlett
    11-083           11/1/2011   Watchguard                                                      Machinery & Equipment - Bloomingdale
    11-084           11/1/2011   Watchguard                                                      Machinery & Equipment - Bolingbrook
    11-085           11/1/2011   Watchguard                                                      Machinery & Equipment - North Aurora DS
    11-086           11/1/2011   Watchguard                                                      Machinery & Equipment - Elmhurst
    11-087           11/1/2011   Watchguard                                                      Machinery & Equipment - Evergreen Park
    11-088           11/1/2011   Watchguard                                                      M/E - Glen Ellyn TBJ
    11-089           11/1/2011   Watchguard                                                      Machinery & Equipment - Gurnee
    11-090           11/1/2011   Watchguard                                                      Machinery & Equipment - Rolling Meadows
    11-092           11/1/2011   Watchguard                                                      Machinery & Equipment - Naperville
    11-093           11/1/2011   Watchguard                                                      Machinery & Equipment - Naperville North
    11-094           11/1/2011   Watchguard                                                      Machinery & Equipment - Schaumburg
    11-095           11/1/2011   Watchguard                                                      Machinery & Equipment - Joliet DS
    11-097           11/1/2011   Watchguard                                                      Machinery & Equipment - Lincolnwood
    11-098           11/1/2011   Watchguard                                                      Machinery & Equipment - Mokena
    11-101           11/1/2011   Watchguard                                                      Machinery & Equipment - Orland Park
    11-103           11/1/2011   Watchguard                                                      Machinery & Equipment - Park Ridge



63817155
                      Case 24-05385            Doc 229        Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                             Document      Page 123 of 231


 Asset Number   Date Acquired    Asset Description 1                                           G/L Asset Account Description
    11-104           11/1/2011   Watchguard                                                    Machinery & Equipment - D.S. Equipment Inv
    11-105           11/1/2011   Watchguard                                                    Machinery & Equipment - Schereville
    11-106           11/1/2011   Watchguard                                                    Machinery & Equipment Royal Oak Woodward
    11-107           11/1/2011   Watchguard                                                    Machinery & Equipment - Troy
    11-108           11/1/2011   Watchguard                                                    Machinery & Equipment - Glenview
    11-109           11/1/2011   Watchguard                                                    Machinery & Equipment - Lab
    11-111           11/1/2011   Watchguard                                                    Machinery & Equipment - Oswego
    11-113           11/1/2011   Watchguard                                                    Machinery & Equipment - Downers Grove
    11-119            8/1/2011   Storage Closet                                                Leasehold Imp - Rolling Meadows
    11-120            8/1/2011   Hot Water Heater                                              Machinery & Equipment - Evergreen Park
    11-121           8/31/2011   Vilter Com JX & Fitting for Heat Exchanger                    Machinery & Equipment - N.A. Plant
    11-123            9/1/2011   Tile Under Freezers                                           Leasehold Improvements - Arlington Heights
    11-124           9/19/2011   Ice Cream Cabinet                                             Machinery & Equipment - Naperville
    11-125            9/1/2011   #243 Transmission, Clutch Overhaul                            Vehicles
    11-127            9/1/2011   Door to Door Software Update #1                               Machinery & Equipment - New Cust. Acq.
    11-128           10/1/2011   Laptop Computer (Bob IT)                                      Data Processing Equipment
    11-131         10/10/2011    Ice Cream Cabinert                                            M/E - Glen Ellyn TBJ
    11-132           11/1/2011   Watchguard                                                    Machinery & Equipment - Oakville
    11-133           11/1/2011   WS5 Unit                                                      Machinery & Equipment - Rolling Meadows
    11-134           11/1/2011   WS5 Unit                                                      Machinery & Equipment - Rolling Meadows
    11-135           11/1/2011   WS5 Unit                                                      Machinery & Equipment - Gurnee
    11-136           11/1/2011   ShoreTel Phone System                                         Data Processing Equipment
    11-137         11/28/2011    Graphic                                                       Vehicles
    11-138         11/17/2011    Transmission                                                  Vehicles
    11-140           11/1/2011   Rebuild vin 192026                                            Vehicles
    11-142           11/1/2011   Watchguard security appliance                                 Data Processing Equipment
    11-143           12/5/2011   Lab Computer - HP rp5800 POS                                  Data Processing Equipment
    11-144           12/5/2011   Lab Computer - HP rp5800 POS #2                               Data Processing Equipment
    11-146            3/1/2011   iPad ODI-0004 Ser#HCTA90                                      Machinery & Equipment - New Cust. Acq.
    11-147            3/1/2011   iPad ODI-0005 Ser#LLZA90                                      Machinery & Equipment - New Cust. Acq.
    11-148            3/1/2011   iPad ODI-0006 Ser#HJXA90                                      Machinery & Equipment - New Cust. Acq.



63817155
                      Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                           Document      Page 124 of 231


 Asset Number   Date Acquired    Asset Description 1                                         G/L Asset Account Description
    11-149            3/1/2011   iPad ODI-0008 Ser#JXDA90                                    Machinery & Equipment - New Cust. Acq.
    11-150            3/1/2011   iPad ODI-0009 Ser#JL3A90                                    Machinery & Equipment - New Cust. Acq.
    11-151            3/1/2011   iPad ODI-0011 Ser#KJCA90                                    Machinery & Equipment - New Cust. Acq.
    11-152            3/1/2011   iPad ODI-0012 Ser#JY5A90                                    Machinery & Equipment - New Cust. Acq.
    11-153            3/1/2011   iPad ODI-0013 Ser#KEKA90                                    Machinery & Equipment - New Cust. Acq.
    11-154            3/1/2011   iPad ODI-0014 Ser#K1CA90                                    Machinery & Equipment - New Cust. Acq.
    11-156            3/1/2011   iPad ODI-0016 Ser#JXTA90                                    Machinery & Equipment - New Cust. Acq.
    11-158            3/1/2011   iPad ODI-0019 Ser#JXRA90                                    Machinery & Equipment - New Cust. Acq.
    11-159            3/1/2011   iPad ODI-0020 Ser#JWWA90                                    Machinery & Equipment - New Cust. Acq.
    11-160            3/1/2011   iPad ODI-0021 Ser#JF8A90                                    Machinery & Equipment - New Cust. Acq.
    11-161            3/1/2011   iPad ODI-0022 Ser#KZRA90                                    Machinery & Equipment - New Cust. Acq.
    11-162            3/1/2011   iPad ODI-0023 Ser#OE7A90                                    Machinery & Equipment - New Cust. Acq.
    11-163            3/1/2011   iPad ODI-0024 Ser#K5DA90                                    Machinery & Equipment - New Cust. Acq.
    11-164            3/1/2011   iPad ODI-0025 Ser#JVKA90                                    Machinery & Equipment - New Cust. Acq.
    11-165            3/1/2011   iPad ODI-0026 Ser#04BA90                                    Machinery & Equipment - New Cust. Acq.
    11-166            3/1/2011   iPad ODI-0028 Ser#MLAA90                                    Machinery & Equipment - New Cust. Acq.
    11-167            3/1/2011   iPad ODI-0029 Ser#PODJHF                                    Machinery & Equipment - New Cust. Acq.
    11-168            3/1/2011   iPad ODI-0030 Ser#KTHA90                                    Machinery & Equipment - New Cust. Acq.
    11-169            3/1/2011   iPad ODI-0031 Ser#JZDA90                                    Machinery & Equipment - New Cust. Acq.
    11-170            6/1/2011   iPad ODI-0034 Ser#8TDJHF                                    Machinery & Equipment - New Cust. Acq.
    12-001           1/31/2012   Ammonia pipe insulation, other piping changes               Machinery & Equipment - N.A. Plant
    12-002           1/30/2012   Register HP rp5800 POS                                      Machinery & Equipment - D.S. Equipment Inv
    12-003           1/31/2012   Ice Cream Cabinet (8) Ser#1135503                           Machinery & Equipment - Schereville
    12-004           1/10/2012   Disk enclosure (4) HP M5314 (14x300GB)                      Data Processing Equipment
    12-005            1/4/2012   Nortel 5520-48T-PWR Switch AL1001A05                        Data Processing Equipment
    12-006            1/4/2012   Nortel 5520-48T-PWR Switch AL1001A05, wCable                Data Processing Equipment
    12-007            3/1/2012   Homogenization Device HD 100 (upgrade)                      Machinery & Equipment - N.A. Plant
    12-008           3/28/2012   Homogenizer/Seperator rebuild - TetraPak 03-12              Machinery & Equipment - N.A. Plant
    12-009            5/9/2012   Micros WS5 Ser#8319032480                                   Machinery & Equipment - Lakeview
    12-010         10/22/2012    Micros WS5 Ser#166084167                                    Machinery & Equipment - Skokie
    12-011         10/22/2012    Micros WS5 Ser#8319032494                                   Machinery & Equipment - Skokie



63817155
                      Case 24-05385         Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                       Document      Page 125 of 231


 Asset Number   Date Acquired    Asset Description 1                                     G/L Asset Account Description
    12-012            5/9/2012   Micros WS5 Ser#8079017013                               Machinery & Equipment - Lakeview
    12-013         10/22/2012    Micros WS5 Ser#28071013                                 Machinery & Equipment - Skokie
    12-014            3/1/2012   Micros WS5 Ser#165084056                                Machinery & Equipment - Rolling Meadows
    12-015         10/22/2012    Micros WS5 Ser#9042038537                               Machinery & Equipment - Skokie
    12-016         10/22/2012    Micros WS5 Ser#8026012230                               Machinery & Equipment - Skokie
    12-017            3/1/2012   Micros WS5 Ser#9082040893                               Machinery & Equipment - Rolling Meadows
    12-018           2/17/2012   Handheld MC9596 KCAEAD00100, Ser# 03292                 Machinery & Equipment - Bloomington TC
    12-019           3/23/2012   Handheld MC9596 KCAEAD00100, Ser# 00003                 Machinery & Equipment - N.A. Plant
    12-020           3/23/2012   Handheld MC9596 KCAEAD00100, Ser# 00019                 Machinery & Equipment - St. Louis TC
    12-021           3/23/2012   Handheld MC9596 KCAEAD00100, Ser# 00745                 Machinery & Equipment - St. Louis TC
    12-022           3/23/2012   Handheld MC9596 KCAEAD00100, Ser# 00746                 Machinery & Equipment - Norfolk TC
    12-025           3/23/2012   Handheld MC9596 KCAEAD00100, Ser# 00007                 Machinery & Equipment - N.A. Plant
    12-026           3/23/2012   Handheld MC9596 KCAEAD00100, Ser# 00017                 Machinery & Equipment - Norfolk TC
    12-027           3/23/2012   Handheld MC9596 KCAEAD00100, Ser# 00022                 Machinery & Equipment - Norfolk TC
    12-028           3/23/2012   Handheld MC9596 KCAEAD00100, Ser# 00023                 Machinery & Equipment - Norfolk TC
    12-029           3/23/2012   Handheld MC9596 KCAEAD00100, Ser# 00024                 Machinery & Equipment - St. Louis TC
    12-030           3/23/2012   Handheld MC9596 KCAEAD00100, Ser# 03245                 Machinery & Equipment - Norfolk TC
    12-031           1/24/2012   Carrier HVAC Rooftop unit Model# 48TFCD16               Leasehold Improvements - Park Ridge
    12-032           1/25/2012   Camera surveillance system FDS-1640H                    Data Processing Equipment
    12-033           2/14/2012   HP Compaq LA2205wg, cables                              Data Processing Equipment
    12-034           2/27/2012   HP - CTO RP5800 BASE SYS, LCD screens                   Data Processing Equipment
    12-035            3/9/2012   AVL Design Prem CS5.5 UPG L1 (Marketing)                Data Processing Equipment
    12-036           3/21/2012   Ice Cream Cabinet (6) Ser#1203303                       Machinery & Equipment - Arlington Heights
    12-037           3/21/2012   Ice Cream Cabinet (6) Ser#1203301                       Machinery & Equipment - Arlington Heights
    12-038           3/15/2012   Conveyor rebuild plant floor - Cannon                   Machinery & Equipment - N.A. Plant
    12-039           3/12/2012   Apple MP Desktop Ser#6160EUF                            Data Processing Equipment
    12-040           3/23/2012   Grease trap - R.J. O’Neil NA STORE                      Buildings - North Aurora Dairy Store
    12-041           1/20/2012   Apple Mac Mini MC936LL/A w/Lion Server                  Data Processing Equipment
    12-042           4/19/2012   Ice Cream Cabinet (6) Ser 1208706                       Machinery & Equipment - Bloomingdale
    12-043           4/19/2012   Ice Cream Cabinet (6) Ser #1208709                      Machinery & Equipment - Bloomingdale
    12-044           3/16/2012   LCD Screens HP Compaq LA2405wg SN CN420020SV2, SV0      Data Processing Equipment



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                            Document      Page 126 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    12-045            4/6/2012   Grease Trap - floor changes                                  Buildings - North Aurora Dairy Store
    12-047           5/30/2012   New Blast freezer door                                       Machinery & Equipment - N.A. Plant
    12-048            5/3/2012   Culinary Software Chef Tec Plus                              Machinery & Equipment - D.S. Equipment Inv
    12-049           4/11/2012   HP rp5700 POS Register                                       Machinery & Equipment - Ballwin
                                 HP rp5700 POS Register
                                 HP rp5700 POS Register
     12-050         4/11/2012    HP                                                           Machinery & Equipment - D.S. Equipment Inv
                                 HP rp5700 POS Register
     12-052         4/11/2012    HP rp5700 POS Register                                       Machinery & Equipment - Kirkwood
     12-053         4/11/2012    HP rp5700 POS Register                                       Machinery & Equipment - Oakville
     12-054         4/11/2012    HP rp5700 POS Register                                       Machinery & Equipment - St. Peters
     12-055          4/4/2012    Sony security camera- 1/4’ indoor/outdoor                    Machinery & Equipment - Truck Maintenance
     12-056         5/11/2012    Soft licenses = MS, MB Office Pro Visio (Trey)               Data Processing Equipment
     12-059          5/9/2012    Handheld MC9596 KCAEAD00100, Ser# 00018                      Machinery & Equipment - N.A. Plant
     12-060          5/9/2012    Handheld MC9596 KCAEAD00100, Ser# 00021                      Machinery & Equipment - N.A. Plant
     12-061          5/9/2012    Handheld MC9596 KCAEAD00100, Ser# 00744                      Machinery & Equipment - N.A. Plant
     12-065          5/9/2012    Handheld MC9596 KCAEAD00100, Ser# 00191                      Machinery & Equipment - N.A. Plant
     12-066          5/9/2012    Handheld MC9596 KCAEAD00100, Ser# 00193                      Machinery & Equipment - N.A. Plant
     12-067          5/9/2012    Handheld MC9596 KCAEAD00100, Ser# 00198                      Machinery & Equipment - N.A. Plant
     12-068          5/9/2012    Handheld MC9596 KCAEAD00100, Ser# 00200                      Data Processing Equipment
     12-069          5/9/2012    Handheld MC9596 KCAEAD00100, Ser# 00202                      Machinery & Equipment - N.A. Plant
     12-071          5/9/2012    Handheld MC9596 KCAEAD00100, Ser# 00209                      Machinery & Equipment - N.A. Plant
     12-077         4/24/2012    Camera surveillance system FDS-1640H - pLANT                 Data Processing Equipment
     12-078          6/5/2012    LED Monitor 25” - 1920 x1080 Full HD - Dan Rosier            Data Processing Equipment
     12-079         4/30/2012    Sony security camera- 1/4’ indoor/outdoor- Office            Data Processing Equipment
     12-080          6/9/2012    Landscaping Drive Thru - NA Store                            Buildings - North Aurora Dairy Store
                                 Handheld MC9596 KCAEAD00100, Ser# 00176
     12-083          6/6/2012    Handheld                                                     Machinery & Equipment - Indianapolis TC
     12-084          6/6/2012    Handheld MC9596 KCAEAD00100, Ser# 00195                      Machinery & Equipment - Indianapolis TC
     12-085          6/6/2012    Handheld MC9596 KCAEAD00100, Ser# 00197                      Machinery & Equipment - Milwaukee TC
     12-086          6/6/2012    Handheld MC9596 KCAEAD00100, Ser# 00201                      Machinery & Equipment - Indianapolis TC



63817155
                      Case 24-05385          Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19       Desc Main
                                                         Document      Page 127 of 231


 Asset Number   Date Acquired    Asset Description 1                                       G/L Asset Account Description
    12-087            6/6/2012   Handheld MC9596 KCAEAD00100, Ser# 00204                   Machinery & Equipment - Milwaukee TC
    12-088            6/6/2012   Handheld MC9596 KCAEAD00100, Ser# 00212                   Machinery & Equipment - Indianapolis TC
    12-089            6/6/2012   Handheld MC9596 KCAEAD00100, Ser# 00217                   Machinery & Equipment - Indianapolis TC
    12-090            6/6/2012   Handheld MC9596 KCAEAD00100, Ser# 00221                   Machinery & Equipment - Norfolk TC
    12-091            6/6/2012   Handheld MC9596 KCAEAD00100, Ser# 00223                   Machinery & Equipment - Detroit Transfer Center
    12-092            6/6/2012   Handheld MC9596 KCAEAD00100, Ser# 00226                   Machinery & Equipment - Detroit Transfer Center
    12-093            6/6/2012   Handheld MC9596 KCAEAD00100, Ser# 00227                   Machinery & Equipment - Detroit Transfer Center
    12-094            6/6/2012   Handheld MC9596 KCAEAD00100, Ser# 00229                   Machinery & Equipment - Indianapolis TC
    12-095            6/6/2012   Handheld MC9596 KCAEAD00100, Ser# 00232                   Machinery & Equipment - N.A. Plant
    12-096           7/13/2012   Ice Cream Cabinet Ser#1217306                             Machinery & Equipment - Wheaton
    12-097            6/6/2012   Ice Cream Cabinet Ser#1202501                             Machinery & Equipment - Orland Park
    12-098           3/22/2012   Oberweis Sprinter Van Full Wrap Installation              Vehicles
    12-100           7/25/2012   Awning - frame and vinyl                                  Machinery & Equipment - Oakville
    12-101            8/7/2012   Steel fence - 135’ x 4’                                   Machinery & Equipment - Rolling Meadows
    12-102           6/27/2012   Lenovo ThinkPad T530 102 Adam Kraber SN-R9RBFN6           Data Processing Equipment
    12-103           6/27/2012   Lenovo ThinkPad T530 Sam Hall SN-R9RBFN7                  Data Processing Equipment
    12-104           7/13/2012   Microscope - 1400 Binocular Brtfld #9WCM6                 Machinery & Equipment - Lab
    12-105           8/15/2012   Photography files - TBJ menu items                        Marketing / Promotional Assets
    12-106           8/28/2012   Ice Cream Cabinet Ser#1220107                             Machinery & Equipment - Bartlett
    12-107            8/1/2012   Scale Benchmark Platform Ser#162800084                    Machinery & Equipment - N.A. Plant
    12-108            8/1/2012   Epoxy floor - break room, stairs, driver room             Buildings - North Aurora
    12-109           8/24/2012   Chairs (60) - X-55 Parlor Fanback, Black                  Machinery & Equipment - Arlington Heights
    12-110           8/24/2012   Chairs (43)- X-55 Parlor Fanback, Black                   Machinery & Equipment - Naperville
    12-111           8/24/2012   Chairs (53)- X-55 Parlor Fanback, Black                   Machinery & Equipment - Oswego
    12-112            9/1/2012   GE Refrigerator/Freezer (Ser#: RZ749073)                  Office Furniture - North Aurora
    12-113            9/1/2012   GE Refrigerator/Freezer (Ser#: RZ749068)                  Office Furniture - North Aurora
    12-114            9/1/2012   GE Electric Range 30” - Black (Serial #RZ211104Q)         Office Furniture - North Aurora
    12-115            9/1/2012   GE Dishwasher 24” - Black (Serial #MZ714516B)             Office Furniture - North Aurora
    12-116           8/10/2012   Cabinets - Break room                                     Office Furniture - North Aurora
    12-117            8/5/2012   Generator - Rigid 6800W ES (emergency generator)          Data Processing Equipment
    12-118           7/23/2012   ThinkPad T530 Laptop (Ser#R9PYA85) Mmcarthy               Data Processing Equipment



63817155
                      Case 24-05385            Doc 229        Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                             Document      Page 128 of 231


 Asset Number   Date Acquired    Asset Description 1                                           G/L Asset Account Description
    12-119           7/23/2012   ThinkPad T530 Laptop (Ser#R9PYA84) Lcarillo                   Data Processing Equipment
    12-120            9/6/2012   Architectural Services                                        Leasehold Improvements - Lakeview
    12-121            9/6/2012   Building Permit                                               Leasehold Improvements - Lakeview
    12-122            9/6/2012   Restaurant equipment - ADE                                    Machinery & Equipment - Lakeview
    12-123            9/6/2012   Cabinets                                                      Leasehold Improvements - Lakeview
    12-124            9/6/2012   Sign for Sheffield Store                                      Machinery & Equipment - Lakeview
    12-125            9/6/2012   Micros System Install, Cabling                                Machinery & Equipment - Lakeview
    12-126            9/6/2012   Sound system - Encompass MV Receiver                          Machinery & Equipment - Lakeview
    12-127            9/6/2012   Construction build-out                                        Leasehold Improvements - Lakeview
    12-128            9/6/2012   Wallpaper                                                     Leasehold Improvements - Lakeview
    12-129           9/30/2012   Security system                                               Machinery & Equipment - Lakeview
    12-130            9/6/2012   Safe - High Security                                          Machinery & Equipment - Lakeview
    12-131            9/6/2012   Awnings (2 at location)                                       Leasehold Improvements - Lakeview
    12-132            9/6/2012   Verifone credit card terminal                                 Machinery & Equipment - Lakeview
    12-133            9/6/2012   Soft serve machine (single) Ser#H2R-3391                      Machinery & Equipment - Lakeview
    12-134            9/6/2012   Soft serve machine (twist) Ser#H2R-3348                       Machinery & Equipment - Lakeview
    12-135           9/19/2012   Vent tee and trap, floor drain - ingred room hall             Buildings - North Aurora
    12-136           8/26/2012   2 American Standard 5 ton HVAC units (Acctg, CS)              Buildings - North Aurora
    12-137         10/25/2012    Industrial racking - Aisstorage                               Machinery & Equipment - N.A. Plant
    12-138         10/17/2012    Shut-off tank valves - horizontal tanks                       Machinery & Equipment - N.A. Plant
    12-139           9/24/2012   Hot water heater                                              Machinery & Equipment - Downers Grove
    12-140         10/11/2012    Ice Cream Cabinet (8) Ser#1222804                             Machinery & Equipment - D.S. Equipment Inv
    12-141           10/1/2012   3 Sided Display                                               Machinery & Equipment - Lakeview
    12-142           10/1/2012   6 Menu boards                                                 Machinery & Equipment - Lakeview
    12-143           10/2/2012   Baby changing table                                           Machinery & Equipment - Lakeview
    12-144            7/3/2012   Exterior sign 2’ x 9’ vertical                                Machinery & Equipment - Lakeview
    12-147           9/19/2012   Awning - vinyl                                                Machinery & Equipment - Glenview
    12-148         10/25/2012    Break room tables                                             Office Furniture - North Aurora
    12-149         10/12/2012    TBJ Banner - Open Soon (4’x17’)                               Marketing / Promotional Assets
    12-150         10/15/2012    Wave banners w/ poles, ground stake (#N47)                    Marketing / Promotional Assets
    12-153         10/22/2012    Electrical service connection - relocation of pole            Buildings - Skokie



63817155
                     Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                          Document      Page 129 of 231


 Asset Number   Date Acquired   Asset Description 1                                         G/L Asset Account Description
    12-154         10/22/2012   Electrical service connection - ComEd                       Buildings - Skokie
    12-155         10/22/2012   Legal fees - purchase agreement                             Buildings - Skokie
    12-156         10/22/2012   Relocation of cables to new pole                            Buildings - Skokie
    12-157         10/22/2012   Closing fees, title fees                                    Buildings - Skokie
    12-158         10/22/2012   Moving lines / poles - AT&T                                 Buildings - Skokie
    12-159         10/22/2012   Alta survey - final                                         Buildings - Skokie
    12-160         10/22/2012   Architectural services - survey                             Leasehold Improvements - Skokie
    12-161         10/22/2012   Architectural services - TBJ Development                    Leasehold Improvements - Skokie
    12-162         10/22/2012   Architectural services - other                              Leasehold Improvements - Skokie
    12-163         10/22/2012   Cabinets                                                    Leasehold Improvements - Skokie
    12-164         10/22/2012   Building permit fee                                         Leasehold Improvements - Skokie
    12-165         10/22/2012   Plan review fee - construction                              Leasehold Improvements - Skokie
    12-166         10/22/2012   Special use permit - alley                                  Leasehold Improvements - Skokie
    12-167         10/22/2012   Storm sewer system permit                                   Leasehold Improvements - Skokie
    12-168         10/22/2012   Sewer system permit                                         Leasehold Improvements - Skokie
    12-169         10/22/2012   Firewall - Watchguard XTM 2 Series                          Machinery & Equipment - Skokie
    12-170         10/22/2012   Restaurant Equipment                                        Machinery & Equipment - Skokie
    12-171         10/22/2012   Sign - LED illuminated, channel letters                     Machinery & Equipment - Skokie
    12-172         10/22/2012   Table tops - TBJ rustic                                     Machinery & Equipment - Skokie
    12-173         10/22/2012   Benches                                                     Machinery & Equipment - Skokie
    12-174         10/22/2012   TV Monitors - LG 42CS560, Peerless SF640                    Machinery & Equipment - Skokie
    12-175         10/22/2012   2 - TV Monitors - LG 42CS560, Peerless SF640                Machinery & Equipment - Skokie
    12-176         10/22/2012   Security camera - DVR                                       Machinery & Equipment - Skokie
    12-177         10/22/2012   Phone - Motorola handset L500                               Machinery & Equipment - Skokie
    12-178         10/22/2012   Monitor - HPLA2205wg 22” LCD                                Machinery & Equipment - Skokie
    12-179         10/22/2012   Printer - Brother DCP7065DN Laser                           Machinery & Equipment - Skokie
    12-180         10/22/2012   APC Smart-UPS SMT1000 120V                                  Machinery & Equipment - Skokie
    12-181         10/22/2012   Hard drive - Western Digital 2 TB Green                     Machinery & Equipment - Skokie
    12-182         10/22/2012   Sign - wall lettering                                       Machinery & Equipment - Skokie
    12-183         10/22/2012   Awnings - 3                                                 Machinery & Equipment - Skokie
    12-184         10/22/2012   Retail supplies - Menus, displays                           Machinery & Equipment - Skokie



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                            Document      Page 130 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    12-185         10/22/2012    JukeBox Virtual (700259-002)                                 Machinery & Equipment - Skokie
    12-186         10/22/2012    Exterior/Interior signage - illuminated                      Machinery & Equipment - Skokie
    12-187         10/22/2012    Cabling for cameras, computers                               Machinery & Equipment - Skokie
    12-188         10/22/2012    Micros - 3700 Foundation 2, 5 to 9 Workstation (37           Machinery & Equipment - Skokie
    12-189         10/22/2012    Display system - appliance, software                         Machinery & Equipment - Skokie
    12-190         10/22/2012    Sound system                                                 Machinery & Equipment - Skokie
    12-191         10/22/2012    Drive thru equipment                                         Machinery & Equipment - Skokie
    12-192         10/22/2012    Microphones and Amp                                          Machinery & Equipment - Skokie
    12-193         10/22/2012    Headset ser# 1HUC087789, 1HUC089793                          Machinery & Equipment - Skokie
    12-194         10/22/2012    VeriFone terminals (3)                                       Machinery & Equipment - Skokie
    12-195         10/22/2012    Electrofreeze - Single SS machine                            Machinery & Equipment - Skokie
    12-196         10/22/2012    Electrofreeze -Twist SS machine                              Machinery & Equipment - Skokie
    12-197         10/16/2012    New grease trap                                              Leasehold Improvements - Elmhurst
    12-198         10/31/2012    New p-trap with floor sink                                   Leasehold Improvements - Bloomingdale
    12-199         10/18/2012    Break room table tops                                        Office Furniture - North Aurora
    12-200           9/17/2012   Laptop Lenovo - B. Hammond Ser# R9TA2R5                      Data Processing Equipment
    12-203           9/12/2012   Insulated container 11 cf - Bloom                            Machinery & Equipment - Bloomington TC
    12-205           9/12/2012   Dairy Carts (3) OTR                                          Vehicles - Intracompany
    12-206           9/12/2012   Insulated container 11 cf - OTR                              Vehicles - Intracompany
    12-207           9/12/2012   Dairy Carts (3) WHL                                          Machinery & Equipment - Wholesale
    12-208           9/12/2012   Insulated container 11 cf - Indy                             Machinery & Equipment - Indianapolis TC
    12-210         10/18/2012    Bucket mixer - Speed Demon 5 gal - #5025-00-PRF              Machinery & Equipment - N.A. Plant
    12-211           11/8/2012   Micros WS5 - Unit Ser# 9083041044                            Machinery & Equipment - Gurnee
    12-212           11/8/2012   Micros WS5 - Unit Ser# 9082040930                            M/E - Glen Ellyn TBJ
    12-213         11/22/2012    Sony Security cameras (8)                                    Machinery & Equipment - Skokie
    12-214         11/22/2012    Sony Security cameras (8), coaxial compression con           Machinery & Equipment - Skokie
    12-215         10/30/2012    Restaurant equipment - ADE                                   Machinery & Equipment - Lakeview
    12-216           12/6/2012   Conveyor chain                                               Machinery & Equipment - N.A. Plant
    12-218         11/23/2012    iPad ODI-tbd Ser#AYF18P                                      Machinery & Equipment - New Cust. Acq.
    12-219         11/23/2012    iPad ODI-tbd Ser#XXF18P                                      Machinery & Equipment - New Cust. Acq.
    12-220         11/23/2012    iPad ODI-tbd Ser#H3F18P                                      Machinery & Equipment - New Cust. Acq.



63817155
                      Case 24-05385           Doc 229        Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                            Document      Page 131 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    12-223         11/30/2012    Restaurant equipment, Expresso/Cap Mach - ADE                Machinery & Equipment - Skokie
    12-224         11/27/2012    Awning - vinyl                                               Leasehold Improvements - Schaumburg
    12-225         12/24/2012    Watchguard XTM 8 Series 910                                  Data Processing Equipment
    12-226         11/27/2012    Verifone Credit card terminal                                Machinery & Equipment - Skokie
    12-227         12/19/2012    Construction build out (final pmt)                           Leasehold Improvements - Lakeview
    12-228           12/1/2012   Handheld MC7596, Ser# 01248                                  Data Processing Equipment
    12-229           12/1/2012   Handheld MC7596, Ser# 01352                                  Data Processing Equipment
    12-230           12/1/2012   Handheld MC7596, Ser# 01532                                  Data Processing Equipment
    12-231           12/1/2012   Handheld MC9090 Ser# 00893                                   Data Processing Equipment
    12-232           12/1/2012   Handheld MC9090 Ser# 00904                                   Data Processing Equipment
    12-233           12/1/2012   Handheld MC9090 Ser# 00910                                   Data Processing Equipment
    12-234           12/7/2012   Safe - High Security                                         Machinery & Equipment - Park Ridge
    12-235         12/13/2012    Winsmith Red Gearbox (SN#X000KZ) - Bottlewasher              Machinery & Equipment - N.A. Plant
    12-236            8/7/2012   Compressor-walk in freezer                                   Machinery & Equipment - Mokena
    13-001           1/31/2013   Skokie Draw #5 - Final pmt                                   Buildings - Skokie
    13-002           1/21/2013   Ice Cream Cabinet (8) Ser#1222803                            Machinery & Equipment - D.S. Equipment Inv
    13-003           1/22/2013   Surveillance system, install (plant and corporate)           Data Processing Equipment
    13-004           1/24/2013   Vita-Mix Blender, model #36037                               Machinery & Equipment - Naperville North
    13-005           2/14/2013   AS-400 Spare Drive (IBM 283 GB 8202-E4B-1911)                Data Processing Equipment
    13-006           2/27/2013   New Cooler Floor (completed 2/10/13)                         Machinery & Equipment - Park Ridge
    13-007           3/29/2013   Toaster Roundup Model VCT-2000                               Machinery & Equipment - Skokie
    13-008           3/29/2013   Steamer Roundup Model DFW-150                                Machinery & Equipment - Skokie
    13-009           1/17/2013   Surveillance system, install (plant and corporate)           Data Processing Equipment
    13-010            2/4/2013   Surveillance system, install (plant and corporate)           Data Processing Equipment
    13-011            2/4/2013   Varigator Head                                               Machinery & Equipment - N.A. Plant
    13-012           3/22/2013   Benches                                                      Machinery & Equipment - Skokie
    13-013           4/10/2013   (2) Motorola MC9596 Handheld                                 Data Processing Equipment
    13-014           3/28/2013   Surveillance system cameras                                  Data Processing Equipment
    13-015           2/27/2013   ThinkStation E31 Serial # MJ9662N                            Data Processing Equipment
    13-016           2/27/2013   ThinkStation E31 Serial # MJ9662R                            Data Processing Equipment
    13-017           2/27/2013   ThinkStation E31 Serial # MJ9662P                            Data Processing Equipment



63817155
                      Case 24-05385          Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                          Document      Page 132 of 231


 Asset Number   Date Acquired    Asset Description 1                                        G/L Asset Account Description
    13-021           2/22/2013   LED 24# Monitor Serial # CN42520Q6H                        Data Processing Equipment
    13-022           2/22/2013   LED 24# Monitor Serial # CN42520QC7                        Data Processing Equipment
    13-023           2/22/2013   LED 24# Monitor Serial # CN42520QCJ                        Data Processing Equipment
    13-024           2/22/2013   LED 24# Monitor Serial # CN42520QCR                        Data Processing Equipment
    13-025           2/22/2013   LED 24# Monitor Serial # CN42520QCT                        Data Processing Equipment
    13-026           1/29/2013   LED 23” Monitor Serial # CNC249RCDC                        Data Processing Equipment
    13-027           1/29/2013   LED 23” Monitor Serial # CNC249RCG0                        Data Processing Equipment
    13-028           1/28/2013   HP RP5800 Serial # 2UA30707Q5                              Machinery & Equipment - Park Ridge
    13-032            3/7/2013   4 French Gray Planters                                     Machinery & Equipment - Skokie
    13-033           2/25/2013   State electric hot water heater                            Machinery & Equipment - Rolling Meadows
    13-034           4/25/2013   4 Patio Bases                                              Leasehold Improvements - Skokie
    13-035           4/10/2013   Ice Cream Cabinet Serial # 1222009                         Machinery & Equipment - Oakville
    13-036            5/8/2013   (3) 6 ft Benches with Backs                                Machinery & Equipment - Park Ridge
    13-037           3/13/2013   ThinkPad T530 Serial # R9XGW8G                             Data Processing Equipment
    13-038           3/13/2013   ThinkPad T530 Serial # R9XGW8E                             Data Processing Equipment
    13-039           3/13/2013   ThinkPad T530 Serial # R9XGW8F                             Data Processing Equipment
    13-043           4/26/2013   Soft Serve Machine Rebuild                                 Machinery & Equipment - Evergreen Park
    13-044           4/17/2013   6 Stainless Steel Bottle Pusher Arms                       Machinery & Equipment - N.A. Plant
    13-045            4/4/2013   Watchguard XTM 2 Series 25-W Serial # 70A705EBE288         Data Processing Equipment
    13-046            4/5/2013   HP Compaq LA2405x LED Monitor 24” Serial # CN43080         Data Processing Equipment
    13-047            4/5/2013   HP Compaq LA2405x LED Monitor 24” Serial # CN43080         Data Processing Equipment
    13-048           4/15/2013   ThinkPad T530 Serial # R9YC8WN                             Data Processing Equipment
    13-049           4/15/2013   ThinkPad MiniDockPlus S3 Serial # M2R75T1                  Data Processing Equipment
    13-050            5/9/2013   8 Facing Ice Cream Cabinet Serial # 1309810                Machinery & Equipment - Gurnee
    13-051            5/9/2013   4 Facing Ice Cream Cabinet Serial # 1309303                Machinery & Equipment - Ballwin
    13-052           5/20/2013   (2) 46” Round Tables                                       Machinery & Equipment - North Aurora DS
    13-053           5/24/2013   (2) 46” Round Tables                                       Machinery & Equipment - Orland Park
    13-054           7/12/2013   Spatula door handle                                        M/E - Glen Ellyn TBJ
    13-055           4/26/2013   Brocade Network Switch Upgrade                             Data Processing Equipment
    13-056           4/25/2013   Brocade Network Switch Equipment Upgrade                   Data Processing Equipment
    13-057            5/2/2013   San Extension Storage Upgrade - Drive Array                Data Processing Equipment



63817155
                      Case 24-05385          Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                          Document      Page 133 of 231


 Asset Number   Date Acquired    Asset Description 1                                        G/L Asset Account Description
    13-058            5/9/2013   Microsoft Exchange Software Upgrade                        Data Processing Equipment
    13-059           5/23/2013   Factory Cat Model 253 Walk Behind Scrubber                 Machinery & Equipment - N.A. Plant
    13-060            6/7/2013   Deposit for Handheld MC95 HH                               Data Processing Equipment
    13-061           5/31/2013   Walkie - Rider Battery Serial # RLB763583                  Machinery & Equipment - Indianapolis TC
    13-062           5/14/2013   Walkie-Rider Ser#841-12-12145/Bat Ser #MKF11098381         Machinery & Equipment - N.A. Plant
    13-063           6/19/2013   (7) Motorola MC9696 Handhelds                              Data Processing Equipment
    13-064           6/28/2013   Music System - TouchTunes                                  Machinery & Equipment - Skokie
    13-065           6/11/2013   New Cooler Floor (completed 5/30/13)                       Machinery & Equipment - North Aurora DS
    13-066           6/17/2013   Leibinger NEO Printer Serial # LJ-400968                   Data Processing Equipment
    13-067           6/17/2013   Leibinger NEO Printer Serial # LJ-400310                   Data Processing Equipment
    13-068           6/14/2013   (2) Air Conditioning Units and Installation                Machinery & Equipment - Oswego
    13-069           6/25/2013   8 Facing Ice Cream Cabinet Serial # 1316803                Machinery & Equipment - Bartlett
    13-070           7/15/2013   Asphalt, Remove and Replace                                Leasehold Improvements - Arlington Heights
    13-071            7/8/2013   4 Facing Ice Cream Cabinet Serial # 1316812                Machinery & Equipment - Elgin
    13-072            7/8/2013   4 Facing Ice Cream Cabinet Serial # 1316815                Machinery & Equipment - Elgin
    13-074            7/8/2013   6 Facing Ice Cream Cabinet Serial # 1305906                Machinery & Equipment - Oswego
    13-075            7/8/2013   6 Facing Ice Cream Cabinet Serial # 1315509                Machinery & Equipment - Oswego
    13-076            7/8/2013   4 Facing Ice Cream Cabinet Serial # 1316814                Machinery & Equipment - North Aurora DS
    13-077            7/8/2013   8 Facing Ice Cream Cabinet Serial # 1316602                Machinery & Equipment - North Aurora DS
    13-078            7/8/2013   6 Facing Ice Cream Cabinet Serial # 1221502                Machinery & Equipment - Bloomingdale
    13-079            7/8/2013   6 Facing Ice Cream Cabinet Serial # 1221407                Machinery & Equipment - Bloomingdale
    13-080            7/8/2013   4 Facing Ice Cream Cabinet Serial # 1316811                Machinery & Equipment - Wheaton
    13-081            7/8/2013   4 Facing Ice Cream Cabinet Serial # 1316903                Machinery & Equipment - Wheaton
    13-082           6/10/2013   Vita-Mix Blender, model #36037                             Machinery & Equipment - Schereville
    13-083           6/10/2013   Vita-Mix Blender, model #36037                             Machinery & Equipment - Elmhurst
    13-084           6/10/2013   Vita-Mix Blender, model #36037                             Machinery & Equipment - Mokena
    13-085           7/19/2013   Reach-In Freezer, True Food Service Model T-35F            Machinery & Equipment - Oswego
    13-087           6/18/2013   Poly Grease Trap, 75 gallon - Remove and Install           Machinery & Equipment - Downers Grove
    13-088           5/15/2013   (2) HP LA2405X 24-in LED Monitors                          Data Processing Equipment
    13-089            6/6/2013   Signage - Replace transformers and wiring with LED         Machinery & Equipment - Bartlett
    13-090           7/17/2013   Asphalt, Remove and Replace                                Leasehold Improvements - Bloomingdale



63817155
                      Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                           Document      Page 134 of 231


 Asset Number   Date Acquired    Asset Description 1                                         G/L Asset Account Description
    13-091            7/3/2013   Condensing Unit for Walk-In Freezer, Remove & Repl          Machinery & Equipment - Rolling Meadows
    13-092           7/16/2013   Walk Ramp                                                   Machinery & Equipment - Indianapolis TC
    13-095           7/12/2013   Architectural Services                                      L/I - Glen Ellyn TBJ
    13-096           7/12/2013   Building Permit Fees                                        L/I - Glen Ellyn TBJ
    13-097           7/12/2013   Engineering Services                                        L/I - Glen Ellyn TBJ
    13-098           7/12/2013   Architectural Services                                      L/I - Glen Ellyn TBJ
    13-099           7/12/2013   Building Permit Fees                                        L/I - Glen Ellyn TBJ
    13-103           7/12/2013   Aluminum Panel Sign                                         M/E - Glen Ellyn TBJ
    13-104           7/12/2013   Plan Review Fee                                             L/I - Glen Ellyn TBJ
    13-105           7/12/2013   Building Permit Fees                                        L/I - Glen Ellyn TBJ
    13-106           7/12/2013   Building Permit Fees - Engineering                          L/I - Glen Ellyn TBJ
    13-108           7/12/2013   Engineering Services                                        L/I - Glen Ellyn TBJ
    13-109           7/12/2013   Engineering Services                                        L/I - Glen Ellyn TBJ
    13-110           7/12/2013   Project Management Services                                 L/I - Glen Ellyn TBJ
    13-111           7/12/2013   Architectural Services                                      L/I - Glen Ellyn TBJ
    13-112           7/12/2013   Traffic Study                                               L/I - Glen Ellyn TBJ
    13-113           7/12/2013   Architectural Services                                      L/I - Glen Ellyn TBJ
    13-114           7/12/2013   Plan Review Fee                                             L/I - Glen Ellyn TBJ
    13-115           7/12/2013   Environmental Report                                        L/I - Glen Ellyn TBJ
    13-117           7/12/2013   Cabinets - Fabrication and Installation                     L/I - Glen Ellyn TBJ
    13-118           7/12/2013   LED TV 42” - LG Electronics 301RMDZ70954                    M/E - Glen Ellyn TBJ
    13-119           7/12/2013   LED TV 42” - LG Electronics 301RMLM70952                    M/E - Glen Ellyn TBJ
    13-120           7/12/2013   LED TV 42” - LG Electronics 9039530170964USWLJR             M/E - Glen Ellyn TBJ
    13-121           7/12/2013   (10) Rustic Table Tops                                      M/E - Glen Ellyn TBJ
    13-122           7/12/2013   Exterior LED Signage                                        M/E - Glen Ellyn TBJ
    13-123           7/12/2013   Restaurant Equipment                                        M/E - Glen Ellyn TBJ
    13-124           7/12/2013   Demolition Permit                                           L/I - Glen Ellyn TBJ
    13-125           7/12/2013   TV Mounts for Marketing Boards                              M/E - Glen Ellyn TBJ
    13-126           7/12/2013   Permit Fees for Signage                                     L/I - Glen Ellyn TBJ
    13-127           7/12/2013   (2) WS5 Units                                               M/E - Glen Ellyn TBJ
    13-128           7/12/2013   Awnings - Construction and Installation                     M/E - Glen Ellyn TBJ



63817155
                      Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                           Document      Page 135 of 231


 Asset Number   Date Acquired    Asset Description 1                                         G/L Asset Account Description
    13-129           7/13/2013   DT Research Multi Screen Appliance                          M/E - Glen Ellyn TBJ
    13-130           7/12/2013   Exterior Tables and Garbage Recepticles                     M/E - Glen Ellyn TBJ
    13-131           7/12/2013   HP RP5800 Serial # 2UA30707Q3                               M/E - Glen Ellyn TBJ
    13-132           7/12/2013   HP RP5800 Serial # 2UA30707Q4                               M/E - Glen Ellyn TBJ
    13-133           7/12/2013   Shart CCD CCTV Security Cameras                             M/E - Glen Ellyn TBJ
    13-135           7/12/2013   Project Management Services                                 L/I - Glen Ellyn TBJ
    13-136           7/12/2013   Architectural Services                                      L/I - Glen Ellyn TBJ
    13-137           7/12/2013   Architectural Services                                      L/I - Glen Ellyn TBJ
    13-138           7/12/2013   Architectural Services                                      L/I - Glen Ellyn TBJ
    13-139           7/12/2013   Printing and Reproduction                                   L/I - Glen Ellyn TBJ
    13-140           7/12/2013   Surveillance System - Equipment and Installation            M/E - Glen Ellyn TBJ
    13-143           7/12/2013   Sign Foundation Installation                                M/E - Glen Ellyn TBJ
    13-144           7/12/2013   Exterior Menu Board                                         M/E - Glen Ellyn TBJ
    13-145           7/12/2013   Exterior and Interior Signage                               M/E - Glen Ellyn TBJ
    13-146           7/12/2013   8-Port Gigabit Ethernet Desktop Switch                      M/E - Glen Ellyn TBJ
    13-147           7/12/2013   Hardware H-264 Compression, Realtime Recording              M/E - Glen Ellyn TBJ
    13-148           7/12/2013   Brother Printer DCP7065DN Monochrome Laser                  M/E - Glen Ellyn TBJ
    13-149           7/12/2013   HP RP 5800 Serial # 2UZ32201M7                              M/E - Glen Ellyn TBJ
    13-150           7/12/2013   Juke Box Installation                                       M/E - Glen Ellyn TBJ
    13-151           7/12/2013   Brick Wall Lettering “US BEEF” Stamp                        M/E - Glen Ellyn TBJ
    13-152           7/12/2013   Drive-Thru Equipment                                        M/E - Glen Ellyn TBJ
    13-153           7/12/2013   Patio Furniture Installation                                M/E - Glen Ellyn TBJ
    13-154           7/12/2013   Music Services Installation                                 M/E - Glen Ellyn TBJ
    13-155           7/12/2013   (2) Zoeller Ejector Pumps - Remove and Replace              L/I - Glen Ellyn TBJ
    13-156           7/12/2013   Waste Fryer Oil Storage System and Installation             M/E - Glen Ellyn TBJ
    13-158           6/19/2013   HP Compaq LA2405x Serial # CN431310ZZ                       Data Processing Equipment
    13-159           6/19/2013   HP Compaq LA2405x Serial # CN431311B3                       Data Processing Equipment
    13-160           6/19/2013   HP Compaq LA2405x Serial # CN4313110M                       Data Processing Equipment
    13-161           6/19/2013   HP Compaq LA2405x Serial # CN43131106                       Data Processing Equipment
    13-162            2/7/2013   Exterior Tables and Garbage Recepticles                     Machinery & Equipment - Skokie
    13-163           7/12/2013   3700 Software Upgrade                                       M/E - Glen Ellyn TBJ



63817155
                      Case 24-05385          Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                         Document      Page 136 of 231


 Asset Number   Date Acquired    Asset Description 1                                       G/L Asset Account Description
    13-164           6/11/2013   HP Compaq LA2405x Monitor Serial # CN43131T3T             Data Processing Equipment
    13-165           6/11/2013   Watchguard XTM 2 Series 25-W Serial #70A7073F4B0C         Data Processing Equipment
    13-166           6/11/2013   Watchguard XTM 2 Series 25-W Serial #70A7073A35CEA        Data Processing Equipment
    13-167           6/11/2013   Watchguard XTM 2 Series 25-W Serial #70A7073CA196B        Data Processing Equipment
    13-168           6/11/2013   Watchguard XTM 2 Series 25-W Serial #70A073CCD8EA         Data Processing Equipment
    13-169           6/11/2013   Watchguard XTM 2 Series 25-W Serial #70A7073CEDA6A        Data Processing Equipment
    13-170           6/11/2013   Watchguard XTM 2 Series 25-W Serial #70A7073D2CC28        Data Processing Equipment
    13-171           6/11/2013   Watchguard XTM 2 Series 25-W Serial #70A7073D30CE9        Data Processing Equipment
    13-172           7/18/2013   8 Facing Ice Cream Cabinet Serial # 1319210               M/E - Glen Ellyn TBJ
    13-173            7/4/2013   Asphalt, Repair                                           Leasehold Improvements - Truck Barn
    13-174           7/24/2013   Restaurant Equipment                                      M/E - Glen Ellyn TBJ
    13-175           7/12/2013   #26 2013 GMC G3500 Van VIN 1GTZ7TCG5D1125797              Vehicles
    13-176           7/12/2013   Double Lids for Freezer                                   M/E - Glen Ellyn TBJ
    13-177            8/7/2013   Awning - Recover                                          Machinery & Equipment - Oswego
    13-178           7/16/2013   Poly Grease Trap, 75 gallon - Remove and Install          Machinery & Equipment - Naperville
    13-179           7/17/2013   Amsec Safe BWB2020                                        M/E - Glen Ellyn TBJ
    13-181           7/23/2013   Headsets for Drive-Thru                                   M/E - Glen Ellyn TBJ
    13-182           5/17/2013   (3) WS5 Units                                             Machinery & Equipment - D.S. Equipment Inv
    13-183           8/21/2013   Awning - Recover                                          Machinery & Equipment - Naperville
    13-184           7/31/2013   Inline Empty Bottle Inspector                             Machinery & Equipment - N.A. Plant
    13-185           7/31/2013   Conveyors for Vision System                               Machinery & Equipment - N.A. Plant
    13-186           7/31/2013   Acme DTHB-7-2S Transformer                                Machinery & Equipment - N.A. Plant
    13-187           7/31/2013   Interior Floor Work                                       Machinery & Equipment - N.A. Plant
    13-188            8/5/2013   Asphalt, Remove and Replace                               Leasehold Imp - Rolling Meadows
    13-189           8/21/2013   Awning - Recover                                          Machinery & Equipment - Wheaton
    13-190           7/31/2013   Spare Parts for Vision System                             Machinery & Equipment - N.A. Plant
    13-191           8/14/2013   Spare Parts for Vision System                             Machinery & Equipment - N.A. Plant
    13-192           7/31/2013   Conveyor Motor for Vision System                          Machinery & Equipment - N.A. Plant
    13-193           8/27/2013   Asphalt, Repair                                           Leasehold Improvements - Bloomingdale
    13-194           8/27/2013   Asphalt, Repair                                           Leasehold Imp - Rolling Meadows
    13-195           7/31/2013   Construction Draw #6, GE TBJ                              L/I - Glen Ellyn TBJ



63817155
                      Case 24-05385           Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                          Document      Page 137 of 231


 Asset Number   Date Acquired    Asset Description 1                                        G/L Asset Account Description
    13-196           8/31/2013   Ammonia Compressor #1 Rebuild Parts                        Machinery & Equipment - N.A. Plant
    13-197           8/31/2013   Compressor #3 Rebuild                                      Machinery & Equipment - N.A. Plant
    13-198           8/28/2013   Ice Maker, Hoshizaki Model No. KM-320MAH                   Machinery & Equipment - Orland Park
    13-199            9/2/2013   Civil Engineering Services                                 L/I - Glen Ellyn TBJ
    13-200            9/3/2013   Architectural Serivces                                     L/I - Glen Ellyn TBJ
    13-201            9/3/2013   Project Management Services                                L/I - Glen Ellyn TBJ
    13-203            9/6/2013   Shoregear 220T1A Voice Switch and Rack Mount Tray          Data Processing Equipment
    13-204           7/18/2013   Connection Plate for HTST Press                            Machinery & Equipment - N.A. Plant
    13-205           8/28/2013   High Output Upblast Direct-Drive Exhaust Fan               Machinery & Equipment - N.A. Plant
    13-206           8/22/2013   Window Film - Furnish and Install                          L/I - Glen Ellyn TBJ
    13-207           8/23/2013   Glass Filler Rebuild                                       Machinery & Equipment - N.A. Plant
    13-208           6/28/2013   IT Generator - Generac Natural Gas QTO4524KNSX             Machinery & Equipment - N.A. Plant
    13-209           8/26/2013   Headset for Drive-Thru                                     Machinery & Equipment - Skokie
    13-210           8/26/2013   Headset for Drive-Thru                                     Machinery & Equipment - Orland Park
    13-212           8/26/2013   Headset for Drive-Thru                                     Machinery & Equipment - Joliet DS
    13-213           8/26/2013   Headset for Drive-Thru                                     Machinery & Equipment - Downers Grove
    13-216           9/23/2013   Bus Station Cabinet                                        Leasehold Improvements - Skokie
    13-217           8/28/2013   Frequency Drive for Vision System                          Machinery & Equipment - N.A. Plant
    13-218           7/12/2013   (2) Credit Card Terminals                                  M/E - Glen Ellyn TBJ
    13-219           8/30/2013   Fire Alarm Panel - Replacement                             Buildings - North Aurora
    13-220           1/31/2013   RCN Fiber & Coax Cable - Relocation                        Leasehold Improvements - Skokie
    13-221           9/18/2013   Steam Coil Replacement for Bottle Washer                   Machinery & Equipment - N.A. Plant
    13-223           9/12/2013   Awning - Recover                                           Machinery & Equipment - Ballwin
    13-224           9/11/2013   Poly Grease Trap, 75 gallon - Remove and Install           Machinery & Equipment - Naperville
    13-225           8/26/2013   Poly Grease Trap, 75 gallon - Remove and Install           Machinery & Equipment - Joliet DS
    13-226           9/23/2013   End Plate and Gasket for Press                             Machinery & Equipment - N.A. Plant
    13-227           9/25/2013   Booster Micro Processor Replacements                       Machinery & Equipment - N.A. Plant
    13-228           9/20/2013   Duct and Central Return Installation                       L/I - Glen Ellyn TBJ
    13-229           9/19/2013   8 Facing Ice Cream Cabinet Serial # 1322614                Machinery & Equipment - Orland Park
    13-230           8/13/2013   4 Rustic Table Tops                                        M/E - Glen Ellyn TBJ
    13-231            8/1/2013   ThinkPad T530 & Docking Station SN-PK07Y99 - Bruce         Data Processing Equipment



63817155
                      Case 24-05385          Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                        Document      Page 138 of 231


 Asset Number   Date Acquired    Asset Description 1                                      G/L Asset Account Description
    13-232           8/24/2013   ThinkPad T530 & Docking StationSN-PK0P75X - Teetee       Data Processing Equipment
    13-234            8/6/2013   (6) Hard Drives for San Extension                        Data Processing Equipment
    13-235           10/3/2013   Baby Chaning Tables                                      Machinery & Equipment - Gurnee
    13-236           9/11/2013   ALTA Survey                                              L/I - Glen Ellyn TBJ
    13-237           9/30/2013   Construction Draw #7, GE TBJ                             L/I - Glen Ellyn TBJ
    13-238           9/20/2013   Compressor for Soft Serve Machine                        Machinery & Equipment - Bloomingdale
    13-239           9/11/2013   Compressor for Soft Serve Machine                        Machinery & Equipment - Schaumburg
    13-240         10/11/2013    Yogurt Machine Twist SS HC8-99T-RMT-132                  Machinery & Equipment - Downers Grove
    13-241         10/11/2013    Yogurt Machine Single SS HC8-15RMT-132                   Machinery & Equipment - Downers Grove
    13-242         10/24/2013    Reach-In Freezer, True Food Service Model TUC-48-L       Machinery & Equipment - Ballwin
    13-243         10/24/2013    Reach-In Freezer, True Food Service Model TUC-48-L       Machinery & Equipment - Kirkwood
    13-245         10/24/2013    Reach-In Freezer, True Food Service Model TUC-48-L       Machinery & Equipment - Oakville
    13-246         10/24/2013    Reach-In Freezer, True Food Service Model TUC-48-L       Machinery & Equipment - St. Peters
    13-247           10/9/2013   Awnings - Recover                                        Machinery & Equipment - Lake Zurich
    13-248         10/25/2013    (6) Metal Table Bases and (16) Chairs                    M/E - Glen Ellyn TBJ
    13-249           10/9/2013   Scissor Lift Serial #:0200161751                         Machinery & Equipment - N.A. Plant
    13-250         10/28/2013    Soft Starter Project for Ammonia Compressor Keypad       Machinery & Equipment - N.A. Plant
    13-251         10/30/2013    Soft Starter Proj for Ammonia Compressor Starter         Machinery & Equipment - N.A. Plant
    13-254         10/29/2013    Cast Iron Sewer - Remove and Replace                     Leasehold Improvements - Joliet DS
    13-255         11/21/2013    Re-Establish AT&T Facilities for Fire Alarm              L/I - Glen Ellyn TBJ
    13-256         11/21/2013    Railings to Ramp and Step                                L/I - Glen Ellyn TBJ
    13-258         11/19/2013    Liquid Ammonia Pumps - Buffalo and Teikoko               Machinery & Equipment - N.A. Plant
    13-259         11/10/2013    (2) Rooftop Carrier A/C Units                            Buildings - North Aurora
    13-260           10/8/2013   Lenovo ThinkStation E31 SN-MJ78XN3 - Dave Hassler        Data Processing Equipment
    13-261         10/14/2013    Lenovo ThinkStation E31 SN-MJ78XN3 - Dave Hassler        Data Processing Equipment
    13-262         10/14/2013    HP Compaq LA2405X LED Monitor SN-CN4330049F - Spar       Data Processing Equipment
    13-263           12/6/2013   Brocade Network Switches - Replacement                   Data Processing Equipment
    13-264           12/6/2013   (3) EMC Hard Drives - 2 TB                               Data Processing Equipment
    13-265           9/20/2013   Door to Door Software Upgrade #2                         Machinery & Equipment - New Cust. Acq.
    13-266            1/1/2013   HP RP5700 POS                                            Machinery & Equipment - D.S. Equipment Inv
    13-267            1/1/2013   Micros WS5 - Serial # 9341065933                         Machinery & Equipment - D.S. Equipment Inv



63817155
                      Case 24-05385          Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                         Document      Page 139 of 231


 Asset Number   Date Acquired    Asset Description 1                                       G/L Asset Account Description
    13-268            6/1/2013   HP 405800                                                 Machinery & Equipment - D.S. Equipment Inv
    13-269           12/1/2013   Soft Starter 370A 23-460 VAC 3-Phase 50/60 Hz             Machinery & Equipment - N.A. Plant
    13-270           12/1/2013   Remote Keypad for Soft Starter w/3m Cable                 Machinery & Equipment - N.A. Plant
    13-272         11/14/2013    HP RP5800 POS System Serial # 2UA3391WJV                  Machinery & Equipment - Park Ridge
    13-273           11/6/2013   HP Compaq LED Monitor LA2405X Serial # CN433201J4         Data Processing Equipment
    13-274           11/6/2013   HP Compaq LED Monitor LA2405X Serial # CN433201J6         Data Processing Equipment
    13-275           11/6/2013   HP Compaq LED Monitor LA2405X Serial # CN433201J7         Data Processing Equipment
    13-276           11/6/2013   HP Compaq LED Monitor LA2405X Serial # CN433201J9         Data Processing Equipment
    13-277           11/6/2013   HP Compaq LED Monitor LA2405X Serial # CN433201JP         Data Processing Equipment
    13-278           11/6/2013   HP Compaq LED Monitor LA2405X Serial # CN433201JR         Data Processing Equipment
    13-279           11/6/2013   HP Compaq LED Monitor LA2405X Serial # CN433201JS         Data Processing Equipment
    13-280           11/6/2013   HP Compaq LED Monitor LA2405X Serial # CN433201JV         Data Processing Equipment
    13-281           11/6/2013   HP Compaq LED Monitor LA2405X Serial # CN43390BW9         Data Processing Equipment
    13-282           11/6/2013   HP Compaq LED Monitor LA2405X Serial # CN43390C2N         Data Processing Equipment
    13-283           11/6/2013   Lenovo ThinkCentre M93P 10AA - Serial # SMJ002M6T         Data Processing Equipment
    13-284           11/6/2013   Lenovo ThinkCentre M93P 10AA - Serial # SMJ002M6U         Data Processing Equipment
    13-285           11/6/2013   Lenovo ThinkCentre M93P 10AA Serial # SMJ002M6V           Data Processing Equipment
    13-286           11/6/2013   Lenovo ThinkCentre M93P 10AA Serial # SMJ002M6W           Data Processing Equipment
    13-287           11/6/2013   Lenovo ThinkCentre M93P 10AA Serial # SMJ002M6X           Data Processing Equipment
    13-288           11/6/2013   Lenovo ThinkCentre M93P 10AA Serial # SMJ002M6Y           Data Processing Equipment
    13-289           11/6/2013   Lenovo ThinkCentre M93P 10AA Serial # SMJ002M6Z           Data Processing Equipment
    13-290           11/6/2013   Lenovo ThinkCentre M93P 10AA Serial # SMJ002M70           Data Processing Equipment
    13-291           11/6/2013   Lenovo ThinkCentre M93P 10AA Serial # SMJ002M71           Data Processing Equipment
    13-292           11/6/2013   Lenovo ThinkCentre M93P 10AA Serial # SMJ002M72           Data Processing Equipment
    13-293         11/18/2013    (3) Brocade ICX 6430/6450 EPS Power Supply                Data Processing Equipment
    14-001            1/1/2014   (3) Rooftop HVAC Units - Remove old install new           Buildings - North Aurora
    14-002            1/7/2014   Awinings - Recover                                        Machinery & Equipment - Arlington Heights
    14-004           1/22/2014   Virtuao Jukebox Serial # BF0F48                           Machinery & Equipment - Naperville
    14-007           1/20/2014   Cabinetry - Fabrication and Installlation                 Leasehold Improvements - Naperville
    14-008           1/31/2014   Restaurant Equipment                                      Machinery & Equipment - Naperville
    14-009            1/1/2014   Signage and Installation                                  Machinery & Equipment - Naperville



63817155
                      Case 24-05385          Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                          Document      Page 140 of 231


 Asset Number   Date Acquired    Asset Description 1                                        G/L Asset Account Description
    14-011           1/28/2014   Architectural Services                                     Leasehold Improvements - Naperville
    14-017           1/28/2014   Construction Draw #1                                       Leasehold Improvements - Naperville
    14-028           1/19/2014   (2) Reznor Heaters- UDA200 & ADAP250 - Remv & Repl         Buildings - North Aurora
    14-031           2/27/2014   Construction Draw #2                                       Leasehold Improvements - Naperville
    14-032           2/12/2014   Ammonia Pump                                               Machinery & Equipment - N.A. Plant
    14-033           1/29/2014   Huhtamaki Machine Update, Rebuild & Spare Parts            Machinery & Equipment - N.A. Plant
    14-034           1/28/2014   Cabling - Cat 5 Internet and Surveillance Camera           Machinery & Equipment - Naperville
    14-044            2/9/2014   Service walk-in freezer & install of new compressr         Machinery & Equipment - Milwaukee TC
    14-053           5/20/2014   Construction Draw - Final                                  Leasehold Improvements - Naperville
    14-055           5/13/2014   PanelView Plus Terminal AB 2711P-K12C4A8                   Machinery & Equipment - N.A. Plant
    14-064           6/24/2014   Door to Door Software Upgrade #3                           Machinery & Equipment - New Cust. Acq.
    14-073           8/25/2014   Leibinger Jet2 Neo printer Serial # LJ-403196              Machinery & Equipment - N.A. Plant
    14-074           8/25/2014   Leibinger Jet2 Neo printer Serial # LJ-403188              Machinery & Equipment - N.A. Plant
    14-075           8/25/2014   Leibinger Jet2 Neo printer Serial # LJ-403195              Machinery & Equipment - N.A. Plant
    14-076           7/23/2014   Updgade concrete front walkway                             L/I - Glen Ellyn TBJ
    14-077            9/9/2014   Sealing of Building                                        Buildings - North Aurora
    14-078           8/25/2014   AIS Pallet Racking                                         Machinery & Equipment - N.A. Plant
    14-096           9/30/2014   Condenser repiping project                                 Machinery & Equipment - N.A. Plant
    14-099           10/6/2014   Asphalt parking lot pavement                               Buildings - North Aurora
    14-105           11/2/2014   Civil Engineering Services 7/28/13 to 9/28/13              Leasehold Improvements - Bolingbrook East TBJ
    14-109           11/2/2014   Bolingbrook Phase I Environmental Site Assessment          Leasehold Improvements - Bolingbrook East TBJ
    14-110           11/2/2014   Bolingbrook Sanitary Sewer Connection                      Leasehold Improvements - Bolingbrook East TBJ
    14-113           11/2/2014   Bolingbrook Soil Borings and Landscape Plans               Leasehold Improvements - Bolingbrook East TBJ
    14-114           11/2/2014   Bolingbrook Civil Engineering Services 9/28/13 to          Leasehold Improvements - Bolingbrook East TBJ
    14-115           11/2/2014   Bolingbrook Architectural Services                         Leasehold Improvements - Bolingbrook East TBJ
    14-116           11/2/2014   Awnings and Installation                                   Machinery & Equipment - Bolingbrook East TBJ
    14-117           11/2/2014   Bolingbrook Building Permit Review Fee                     Leasehold Improvements - Bolingbrook East TBJ
    14-118           11/2/2014   Bolingbrook Site Development Permit, Review & Insp         Leasehold Improvements - Bolingbrook East TBJ
    14-120           11/2/2014   Bolingbrook Civil Engineering Services 1/14-5/14           Leasehold Improvements - Bolingbrook East TBJ
    14-121           11/2/2014   Bolingbrook Architectural Services                         Leasehold Improvements - Bolingbrook East TBJ
    14-122           11/2/2014   Cabinetry - Fabrication & Installation                     Leasehold Improvements - Bolingbrook East TBJ



63817155
                      Case 24-05385             Doc 229        Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                              Document      Page 141 of 231


 Asset Number   Date Acquired    Asset Description 1                                            G/L Asset Account Description
    14-123           11/2/2014   Bolingbrook Building Permit                                    Leasehold Improvements - Bolingbrook East TBJ
    14-124           11/2/2014   Bolingbrook Signage                                            Machinery & Equipment - Bolingbrook East TBJ
    14-127           11/2/2014   Bolingbrook Architectural Services 5/1 - 8/1/14                Leasehold Improvements - Bolingbrook East TBJ
    14-128           11/2/2014   Menu Boards                                                    Machinery & Equipment - Bolingbrook East TBJ
    14-135           11/2/2014   Awnings andI Installation                                      Machinery & Equipment - Bolingbrook East TBJ
    14-136           11/2/2014   Bolingbrook Architectural Services 8/1 - 11/1/14               Leasehold Improvements - Bolingbrook East TBJ
    14-143         10/16/2014    Virtuo Jukebox Serial # BF08C7                                 Machinery & Equipment - Arlington Heights
    14-144            9/3/2014   Conduit Installation Under Parking Lot                         Buildings - North Aurora
    14-147         11/14/2014    Cooler Floor                                                   Buildings - North Aurora
    14-148         11/12/2014    Exit Cooler Dock Door & Cooler Slider                          Machinery & Equipment - N.A. Plant
    14-151         10/22/2014    #C-25 2015 International Model 4400 SBA                        Vehicles
    14-165           12/1/2014   Bottle Washer Parts                                            Machinery & Equipment - N.A. Plant
    14-170           12/8/2014   Repiping of condenser and water leak repair                    Buildings - North Aurora
    14-171         12/30/2014    Reconfiguration of water lines and drain lines                 Leasehold Imp - Rolling Meadows
    14-172           9/28/2014   Lantech Stretch Wrapper Serial # QM032190                      Machinery & Equipment - N.A. Plant
    14-173         10/28/2014    Plastic Pallets for Cooler Warehouse                           Machinery & Equipment - N.A. Plant
    14-185         10/10/2014    NetSupport Manager Remote Control Software                     Data Processing Equipment
    14-187         11/25/2014    Lab Remodel Project                                            Machinery & Equipment - Lab
    14-188         12/30/2014    Plant Rebuilding Project (Energy Efficient Light)              Machinery & Equipment - N.A. Plant
    14-197            5/1/2014   iPhone Application                                             Data Processing Equipment
    14-198           11/2/2014   Walk-in Panels for Cooler/Freezer                              Machinery & Equipment - Bolingbrook East TBJ
    14-199           11/2/2014   Equipment Stand, Refrigerated Base                             Machinery & Equipment - Bolingbrook East TBJ
    14-200           11/2/2014   Walk-in Cooler/Freezer System                                  Machinery & Equipment - Bolingbrook East TBJ
    14-201           11/2/2014   Sneezeguard System                                             Machinery & Equipment - Bolingbrook East TBJ
    14-202           11/2/2014   Gas Fryer System                                               Machinery & Equipment - Bolingbrook East TBJ
    14-203           11/2/2014   Exhaust System (6’x48”)                                        Machinery & Equipment - Bolingbrook East TBJ
    14-204            1/1/2014   Exhaust System (8’x60”)                                        Machinery & Equipment - Bolingbrook East TBJ
    14-205           11/2/2014   Countertop Griddle                                             Machinery & Equipment - Bolingbrook East TBJ
    14-206           11/2/2014   Soda and Ice Dispenser                                         Machinery & Equipment - Bolingbrook East TBJ
    14-207           11/2/2014   Ice Machine Nugget Compressed                                  Machinery & Equipment - Bolingbrook East TBJ
    15-001           1/22/2015   #412 2006 Great Dane OTR Trailer                               Vehicles



63817155
                      Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                           Document      Page 142 of 231


 Asset Number   Date Acquired    Asset Description 1                                         G/L Asset Account Description
    15-002           1/22/2015   #413 2007 Great Dane OTR Trailer                            Vehicles
    15-003           1/22/2015   #414 2007 Great Dane OTR Trailer                            Vehicles
    15-004           1/22/2015   #415 2007 Great Dane OTR Trailer                            Vehicles
    15-005           1/15/2015   Rolling Meadows Kitchen Repairs                             Leasehold Imp - Rolling Meadows
    15-006           1/29/2015   Drive Thru Communication Equipment                          Machinery & Equipment - Bolingbrook East TBJ
    15-007           1/31/2015   Preaction System for Plant Sprinkler                        Machinery & Equipment - N.A. Plant
    15-008           3/13/2015   Ice Cream Batch Freezer for Lab                             Machinery & Equipment - Lab
    15-009           1/18/2015   Rolling Meadows Kitchen Repairs                             Leasehold Imp - Rolling Meadows
    15-010            1/1/2015   Signage - Arlington Heights                                 Machinery & Equipment - Arlington Heights
    15-011           3/25/2015   Reuland Complete Motor / Reducer                            Machinery & Equipment - N.A. Plant
    15-012           2/13/2015   Projector for Training Room                                 Data Processing Equipment
    15-013           2/25/2015   Plant Wi-Fi & Camera Project                                Data Processing Equipment
    15-014           5/15/2015   #316 2015 International 4300                                Vehicles
    15-015           5/15/2015   #319 2015 International 4300                                Vehicles
    15-016           5/15/2015   #320 2015 International 4300                                Vehicles
    15-017           5/15/2015   #321 2015 International 4300                                Vehicles
    15-018           5/15/2015   #318 2015 International 4300                                Vehicles
    15-019           5/15/2015   #324 2015 International 4300                                Vehicles
    15-020           5/15/2015   #322 2015 International 4300                                Vehicles
    15-021           5/15/2015   #317 2015 International 4300                                Vehicles
    15-022           5/15/2015   #325 2015 International 4300                                Vehicles
    15-023           5/15/2015   #323 2015 International 4300                                Vehicles
    15-025           6/12/2015   Bag-in-Box M125 Filler                                      Machinery & Equipment - N.A. Plant
    15-026           6/18/2015   St. Louis Ramp                                              Machinery & Equipment - St. Louis TC
    15-030           6/16/2015   Deposit for 2 Clayton Steam Generators and Accesso          Machinery & Equipment - N.A. Plant
    15-031           6/24/2015   Quantum Scalar I40 Two LTO-6 Drives                         Data Processing Equipment
    15-032            7/2/2015   IZMS Electromagnetic Flowmeter                              Machinery & Equipment - N.A. Plant
    15-033           7/14/2015   Leibinger NEO Continuous Inkjet Printer                     Machinery & Equipment - N.A. Plant
    15-034            8/4/2015   Roof top Carrier unit model #48TCED17A3A6                   Buildings - North Aurora Dairy Store
    15-035           8/19/2015   Pasturizer Heat Exchanger Rebuild                           Machinery & Equipment - N.A. Plant
    15-037           7/27/2015   Plate Pack                                                  Machinery & Equipment - N.A. Plant



63817155
                      Case 24-05385          Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                         Document      Page 143 of 231


 Asset Number   Date Acquired    Asset Description 1                                       G/L Asset Account Description
    15-038           8/18/2015   Grease trap system replacement - Schier 65 gallon         Machinery & Equipment - Park Ridge
    15-039            8/5/2015   Label Printer Project                                     Machinery & Equipment - N.A. Plant
    15-040           8/31/2015   Soft serve machine (single) Serial #G2U-2616              Machinery & Equipment - Elgin
    15-041           8/31/2015   Soft serve machine (twist) Serial #H2U-3170               Machinery & Equipment - Elgin
    15-042           9/21/2015   New Refrig Sys for Exist Walk-In Cooler & Freezer         Machinery & Equipment - Western Springs
    15-043           9/16/2015   Boiler Upgrade Project                                    Machinery & Equipment - N.A. Plant
    15-044           9/28/2015   Wrapper System                                            Machinery & Equipment - N.A. Plant
    15-045         10/11/2015    Initial Sealcoating of Parking Lot (Land Improve)         Buildings - North Aurora
    15-046         10/20/2015    (2) Vitapump systems                                      Machinery & Equipment - N.A. Plant
    15-047           9/21/2015   Exchange Pump                                             Machinery & Equipment - N.A. Plant
    15-048         11/11/2015    Sewer line replacement                                    Leasehold Improvements - Oswego
    15-049         11/25/2015    (3) Rite Hite Eclipse Shelters                            Buildings - North Aurora
    15-050         11/30/2015    Mechanical Dockleveler                                    Leasehold Improvements - Indy Transfer Center
    15-051           12/8/2015   Glass Caser Capital Project                               Machinery & Equipment - N.A. Plant
    15-052         11/17/2015    Truck Tracker 2013 Professional Plus Software Dep         Vehicles
    15-053           9/23/2015   #181 2015 Mercedes-Benz Sprinter                          Vehicles
    15-055           5/24/2015   #171 2015 Mercedes Benz Sprinter                          Vehicles
    15-056           5/24/2015   #172 2015 Mercedes Benz Sprinter                          Vehicles
    15-059           5/24/2015   #175 2015 Mercedes Benz Sprinter                          Vehicles
    15-062           6/16/2015   #176 2015 Mercedes Benz Sprinter                          Vehicles
    15-063           6/16/2015   #180 2015 Mercedes Benz Sprinter                          Vehicles
    15-065           12/1/2015   Leibinger NEO Continuous Inkjet Printer                   Machinery & Equipment - N.A. Plant
    15-066         12/30/2015    Interior Remodel Work                                     Leasehold Improvements - Indy Transfer Center
    15-067         12/30/2015    Cooler Electrical Work                                    Machinery & Equipment - Indianapolis TC
    15-068         12/30/2015    New Cooler Complex Installation for the Remodel           Machinery & Equipment - Indianapolis TC
    16-001           2/12/2016   Nordock Levelers                                          Buildings - North Aurora
    16-002            2/2/2016   #27 2016 GMC Savana Van, VIN 1GT27GFG9G1195357            Vehicles
    16-003            1/3/2016   Awnings - Recover                                         Machinery & Equipment - Evergreen Park
    16-004            1/1/2016   Replacement of Rooftop HVAC - Rheem                       Leasehold Improvements - Kirkwood
    16-005           3/31/2016   Drain Extension Old Hardening Room - Sequoia              Buildings - North Aurora
    16-006           1/26/2016   Electrical Outlets for Truck Compressors                  Machinery & Equipment - Indianapolis TC



63817155
                      Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                           Document      Page 144 of 231


 Asset Number   Date Acquired    Asset Description 1                                         G/L Asset Account Description
    16-007           1/30/2016   Plumbing Projects for Remodel                               Leasehold Improvements - Indy Transfer Center
    16-008            1/1/2016   Soft Serve Machine - Single - Serial # I2U-3382             Machinery & Equipment - Wheaton
    16-009            1/1/2016   Soft Serve Machine - Twist - Serial # I2U-3335              Machinery & Equipment - Wheaton
    16-012           2/19/2016   Boiler Upgrade Project - Mechanical Inc.                    Machinery & Equipment - N.A. Plant
    16-013            1/1/2016   Steam Hose Stations                                         Machinery & Equipment - N.A. Plant
    16-015           2/26/2016   Exhaust Blower System                                       Machinery & Equipment - Truck Maintenance
    16-016           3/11/2016   TouchTunes Virtuo Jukebox                                   Machinery & Equipment - North Aurora DS
    16-017           3/11/2016   TouchTunes Virtuo Jukebox                                   Machinery & Equipment - Evergreen Park
    16-018           3/14/2016   Magikitchen Model MKE-48-E Countertop Griddle               Machinery & Equipment - Skokie
    16-019            3/9/2016   PanelView Plus Terminal AB 2711P-K12C4A8                    Machinery & Equipment - N.A. Plant
    16-020           3/31/2016   Walk-In Cooler/Freezer Combination                          Machinery & Equipment - Norfolk TC
    16-021           4/21/2016   Lactoscope FTIR Advanced Serial # FB151026                  Machinery & Equipment - Lab
    16-022           4/25/2016   #327 - 2016 International 4300 VIN 5749                     Vehicles
    16-023           4/25/2016   #326 - 2016 International 4300 VIN 5748                     Vehicles
    16-024           4/25/2016   #328 - 2016 International 4300 VIN 5750                     Vehicles
    16-025           4/12/2016   Soft Serve Machine - Twist - Serial # L2U-4209              Machinery & Equipment - Western Springs
    16-026           4/28/2016   Standby Power for Wholesale and InterCompany Trcks          Vehicles
    16-027           5/24/2016   AIS Pallet Racking                                          Machinery & Equipment - N.A. Plant
    16-028           5/25/2016   Soft Serve Machine - Single - Serial # E2V-1763             Machinery & Equipment - Western Springs
    16-029           4/14/2016   NA Security System                                          Buildings - North Aurora
    16-030           4/27/2016   #263 2014 Isuzu NRR, Vin # 301889                           Vehicles
    16-031           5/20/2016   Kolpak Walk-In Combination Cooler/Freezer                   Machinery & Equipment - Norfolk TC
    16-032           5/19/2016   Serving Counter Fabrications and Installation               Machinery & Equipment - Bloomingdale
    16-033           6/10/2016   Walk-In Freezer                                             Machinery & Equipment - Park Ridge
    16-034           6/24/2016   Walk-In Freezer                                             Machinery & Equipment - Downers Grove
    16-036           7/13/2016   Awnings - Recover                                           Machinery & Equipment - North Aurora DS
    16-037           6/30/2016   CT Solutions Panel                                          Machinery & Equipment - N.A. Plant
    16-039           6/21/2016   SAN Upgrade - Data Storage                                  Data Processing Equipment
    16-041           8/16/2016   Fab & Installation of Safety Rails & Crossovers             Buildings - North Aurora
    16-043            4/4/2016   Glass Caser                                                 Machinery & Equipment - N.A. Plant
    16-044           9/16/2016   Soft Serve Machine - Single - Serial # I2V-3181             Machinery & Equipment - Rolling Meadows



63817155
                      Case 24-05385          Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                        Document      Page 145 of 231


 Asset Number   Date Acquired    Asset Description 1                                      G/L Asset Account Description
    16-045           9/16/2016   Soft Serve Machine - Twist - Serial # I2V-3191           Machinery & Equipment - Rolling Meadows
    16-046           8/30/2016   Soft Serve Machine - Single - Serial #H2V-2960           Machinery & Equipment - Bolingbrook East TBJ
    16-047           8/30/2016   Soft Serve Machine - Twist - Serial #H2V-2969            Machinery & Equipment - Bolingbrook East TBJ
    16-048           8/23/2016   Soft Serve Machine - Twist - Serial #C2V-841             Machinery & Equipment - Bloomingdale
    16-049           8/23/2016   Soft Serve Machine - Single - Serial #H2V-2917           Machinery & Equipment - Bloomingdale
    16-050           8/23/2016   Soft Serve Machine - Single - Serial #H2V-2916           Machinery & Equipment - North Aurora DS
    16-051           8/23/2016   Soft Serve Machine - Twist - Serial #F2V-2025            Machinery & Equipment - North Aurora DS
    16-052           8/25/2016   Cooler/Freezer Wiring                                    Machinery & Equipment - Norfolk TC
    16-053           9/30/2016   Compressor #3 Rebuild                                    Machinery & Equipment - N.A. Plant
    16-054           8/10/2016   Awnings - Recover                                        Machinery & Equipment - Bloomingdale
    16-055            9/6/2016   Flooring                                                 L/I - Glen Ellyn TBJ
    16-057           9/19/2016   Asphalt Paving                                           Leasehold Improvements - Bloomingdale
    16-058           8/29/2016   Glass Bottle Line Electrical Panel                       Machinery & Equipment - N.A. Plant
    16-059           9/30/2016   #187-16 Mercedes-Benz Sprinter WD3PF4CC0GP266401         Vehicles
    16-060           9/30/2016   #188-16 Mercedes-Benz Sprinter WD3PF4CC0GP266402         Vehicles
    16-061           9/30/2016   #189-16 Mercedes-Benz Sprinter WD3PF4CC0GP266403         Vehicles
    16-062           9/30/2016   #190-16 Mercedes-Benz Sprinter WD3PF4CC0GP266404         Vehicles
    16-063           9/30/2016   #191-16 Mercedes-Benz Sprinter WD3PF4CC2GP280056         Vehicles
    16-064           9/30/2016   #192-16 Mercedes-Benz Sprinter WD3PF4CC2GP280668         Vehicles
    16-066           10/4/2016   Drive Thru Communication Equipment                       Machinery & Equipment - Naperville North
    16-067           9/30/2016   Compressor #1 Oil Separator                              Machinery & Equipment - N.A. Plant
    16-068           10/5/2016   Condensing Unit                                          Machinery & Equipment - Elmhurst
    16-069         10/31/2016    Cannon Glass Caser Morrison Screw Kit                    Machinery & Equipment - N.A. Plant
    16-070         10/29/2016    Channel Letter Signs LED Conversion                      Machinery & Equipment - Park Ridge
    16-071         10/18/2016    Bottle Washer Caustic Spray                              Machinery & Equipment - N.A. Plant
    16-072           6/22/2016   Pallet Jack                                              Machinery & Equipment - Indianapolis TC
    16-073         10/27/2016    Drive Thru Communication Equipment                       Machinery & Equipment - Oakville
    16-074         10/31/2016    Condensing Unit                                          Machinery & Equipment - Oswego
    16-075           11/7/2016   Build and Install Control Cabinet Equipment              Machinery & Equipment - N.A. Plant
    16-077         11/22/2016    Hach Hardness Analyzer                                   Machinery & Equipment - N.A. Plant
    16-078         11/16/2016    Flooring, Ramp Rebuild                                   L/I - Glen Ellyn TBJ



63817155
                      Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                           Document      Page 146 of 231


 Asset Number   Date Acquired    Asset Description 1                                         G/L Asset Account Description
    16-080         10/25/2016    Oil Separator                                               Machinery & Equipment - N.A. Plant
    16-081           9/15/2016   Camera Licensing and Hardware                               Leasehold Imp - Norfolk TC
    16-083           12/8/2016   Drive Thru Communication Equipment                          Machinery & Equipment - Bloomingdale
    16-091           9/26/2016   Soda Ice & Beverage Dispenser                               M/E - Glen Ellyn TBJ
    16-092           12/7/2016   Protect-All Flooring and Installation-Rear Office           Leasehold Improvements - Western Springs
    17-001            1/1/2017   Drive-thru Communication Equipment                          Machinery & Equipment - Rolling Meadows
    17-002            1/1/2017   Drive-thru Communication Equipment                          Machinery & Equipment - North Aurora DS
    17-003            1/1/2017   Drive-thru Coomunication Equipment                          M&E - St. Charles
    17-004           2/22/2017   Major Tile Replacement, Sub-Flooling Leveling               Leasehold Improvements - Bloomingdale
    17-005            4/8/2017   Metal Detector                                              Machinery & Equipment - N.A. Plant
    17-006           3/14/2017   Wastewater Sampler                                          Machinery & Equipment - N.A. Plant
    17-007           3/17/2017   Protect-All Flooring and Installation-Customer Ser          Leasehold Improvements - Western Springs
    17-008           3/17/2017   Protect-All Flooring and Installation-Kitchen Serv          Leasehold Improvements - Western Springs
    17-009           2/23/2017   Imperial Surveillance System                                Leasehold Improvements - Joliet DS
    17-010           2/24/2017   Compressor Rebuild #2                                       Machinery & Equipment - N.A. Plant
    17-011           4/28/2017   Hardening Room Penthouse Door                               Machinery & Equipment - N.A. Plant
    17-014           5/22/2017   Engineering & Architecture Raleigh TC                       Leasehold Improvements - Raleigh TC
    17-016           5/22/2017   Wood Grain Restaurant Equipment                             Machinery & Equipment - Bolingbrook East TBJ
    17-017           5/22/2017   Wood Grain Oven/Mixer                                       Machinery & Equipment - Bolingbrook East TBJ
    17-018           5/22/2017   Wood Grain Leasehold Buyout                                 Leasehold Improvements - Bolingbrook East TBJ
    17-019           5/22/2017   Wood Grain Exterior Signs                                   Machinery & Equipment - Bolingbrook East TBJ
    17-020           5/22/2017   Wood Grain Furniture                                        Machinery & Equipment - Bolingbrook East TBJ
    17-021           5/22/2017   Wood Grain Kitchenware                                      Machinery & Equipment - Bolingbrook East TBJ
    17-022           5/22/2017   Wood Grain Construction Costs                               Leasehold Improvements - Bolingbrook East TBJ
    17-023            5/9/2017   Frequency Drive for the Homogenizer                         Machinery & Equipment - N.A. Plant
    17-024           5/31/2017   Installation of Used Raleigh Cooler/Freezer                 Machinery & Equiment - Raleigh TC
    17-025           5/19/2017   Drive-thru Communication Equipment                          Machinery & Equipment - Joliet DS
    17-026           5/25/2017   Raymond Pallet Truck 2017 8210-F45L                         Machinery & Equiment - Raleigh TC
    17-027            6/6/2017   Raymond Pallet Truck 2017 8210-F45L                         Machinery & Equipment - Norfolk TC
    17-028           6/26/2017   Compressor for Walk-In Freezer WIF SN# T15M08792            Machinery & Equipment - Indianapolis TC
    17-029           6/19/2017   Emergency Ammonia Shut Down System                          Machinery & Equipment - N.A. Plant



63817155
                      Case 24-05385          Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                         Document      Page 147 of 231


 Asset Number   Date Acquired    Asset Description 1                                       G/L Asset Account Description
    17-030            6/7/2017   Raleigh Transfer Center Plumbing & Electrical Work        Leasehold Improvements - Raleigh TC
    17-031            9/1/2017   New STL Cooler/Freezer                                    Machinery & Equipment - St. Louis TC
    17-032           9/27/2017   St. Louis Demising Wall Repairs                           Leasehold Improvements - St. Louis TC
    17-033           9/25/2017   New Electrical Work to Hook Up New Freezer                Machinery & Equipment - St. Louis TC
    17-037            9/1/2017   #611 2017 Freightliner MT45 VIN 4UZAAPDU0HCJH0660         Vehicles
    17-040            9/1/2017   #614 2017 Freightliner MT45 VIN 4UZAAPDU6HCJH0662         Vehicles
    17-042            9/1/2017   #616 2017 Freightliner MT45 VIN 4UZAAPDUXHCJH0665         Vehicles
    17-043            9/1/2017   #617 2017 Freightliner MT45 VIN 4UZAAPDU1HCJH0666         Vehicles
    17-045            9/1/2017   #619 2017 Freightliner MT45 VIN 4UZAAPDU8HCJH6982         Vehicles
    17-046            9/1/2017   #620 2017 Freightliner MT45 VIN 4UZAAPDUXHCJH6983         Vehicles
    17-050            9/1/2017   #624 2017 Freightliner MT45 VIN 4UZAAPFD1JCJL3236         Vehicles
    17-051            9/1/2017   #625 2017 Freightliner MT45 VIN 4UZAAPFD3JCJL3237         Vehicles
    17-052            9/1/2017   #626 2017 Freightliner MT45 VIN 4UZAAPFD5JCJL3238         Vehicles
    17-053            9/1/2017   #627 2017 Freightliner MT45 VIN 4UZAAPFD7JCJL3239         Vehicles
    17-054            9/1/2017   #628 2017 Freightliner MT45 VIN 4UZAAPFD3JCJL3240         Vehicles
    17-056            9/1/2017   #630 2017 Freightliner MT45 VIN 4UZAAPFD7JCJL3242         Vehicles
    17-061            9/1/2017   #635 2017 Freightliner MT45 VIN 4UZAAPFDXJCJL3249         Vehicles
    17-062         10/25/2017    Walk-In Cooler/Freezer                                    Machinery & Equipment - Bloomington TBJ
    17-063         10/25/2017    Walk-In Cooler/Freezer Refrigeration System               Machinery & Equipment - Bloomington TBJ
    17-064         10/25/2017    Refrigerated Fountain Rail and Accessories                Machinery & Equipment - Bloomington TBJ
    17-065         10/25/2017    Reach-in Freezer                                          Machinery & Equipment - Bloomington TBJ
    17-066         10/25/2017    Dishwasher                                                Machinery & Equipment - Bloomington TBJ
    17-067         10/25/2017    Walk-In Cooler Refrigeration System                       Machinery & Equipment - Bloomington TBJ
    17-068         10/25/2017    Walk-In Freezer Refrigeration System                      Machinery & Equipment - Bloomington TBJ
    17-069         10/25/2017    Gas Fryer                                                 Machinery & Equipment - Bloomington TBJ
    17-070         10/25/2017    Exhaust Hood System                                       Machinery & Equipment - Bloomington TBJ
    17-071         10/25/2017    Fire Suppression System                                   Machinery & Equipment - Bloomington TBJ
    17-072         10/25/2017    Electric Countertop Griddle                               Machinery & Equipment - Bloomington TBJ
    17-073         10/25/2017    Refrigerated Equipment Stand                              Machinery & Equipment - Bloomington TBJ
    17-074         10/25/2017    Soda & Ice Dispenser System                               Machinery & Equipment - Bloomington TBJ
    17-075         10/25/2017    Bloomington TBJ Furniture                                 Machinery & Equipment - Bloomington TBJ



63817155
                      Case 24-05385          Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19       Desc Main
                                                          Document      Page 148 of 231


 Asset Number   Date Acquired    Asset Description 1                                        G/L Asset Account Description
    17-076         10/25/2017    Signage                                                    Machinery & Equipment - Bloomington TBJ
    17-077         10/25/2017    Drive-thru Communication Equipment                         Machinery & Equipment - Bloomington TBJ
    17-078         10/25/2017    Architectural Services                                     Leasehold Improvements - Bloomington TBJ
    17-079         10/25/2017    Civil Engineering                                          Leasehold Improvements - Bloomington TBJ
    17-080         10/25/2017    Design Development                                         Leasehold Improvements - Bloomington TBJ
    17-081         10/25/2017    New ODI Interior Design                                    Leasehold Improvements - Bloomington TBJ
    17-082         10/25/2017    ODI Booths and Benches                                     Machinery & Equipment - Bloomington TBJ
    17-083         10/25/2017    TBJ Tables and Booth Seating                               Machinery & Equipment - Bloomington TBJ
    17-084         10/25/2017    Awings                                                     Machinery & Equipment - Bloomington TBJ
    17-085         10/25/2017    Cabinetry                                                  Leasehold Improvements - Bloomington TBJ
    17-086         10/30/2017    Drive-thru Communication Equipment                         Machinery & Equipment - Bloomington TBJ
    17-087         10/20/2017    Electrical Outlets for Truck Compressors                   Machinery & Equipment - Detroit Transfer Center
    17-088         10/25/2017    TouchTunes Virtuo Jukebox                                  Machinery & Equipment - Bloomington TBJ
    17-089         10/20/2017    Condensing Unit on Walk-In Freezer                         Machinery & Equipment - Elgin
    17-090            8/8/2017   SPS 200 MasoSine Pump Assembly                             Machinery & Equipment - N.A. Plant
    17-091         12/22/2017    #638 2017 Freightliner MT45 VIN 4UZAAPFD3JCJL3254          Vehicles
    17-092         12/22/2017    #647 2017 Freightliner MT45 VIN 4UZAAPFD8JCJL3248          Vehicles
    17-093         12/22/2017    #648 2017 Freightliner MT45 VIN 4UZAAPFD1JCJL3253          Vehicles
    17-095         11/21/2017    #636 2018 Freightliner MT45 VIN 4UZAAPFD6JCJL3250          Vehicles
    17-096         11/22/2017    #637 2018 Freightliner MT45 VIN 4UZAAPFDXJCJL3252          Vehicles
    17-097         11/21/2017    #639 2018 Freightliner MT45 VIN 4UZAAPFD2JCJL3245          Vehicles
    17-099         11/21/2017    #641 2018 Freightliner MT45 VIN 4UZAAPFD9JCJL3257          Vehicles
    17-100         11/21/2017    #642 2018 Freightliner MT45 VIN 4UZAAPFD0JCJL3258          Vehicles
    17-101         11/21/2017    #643 2018 Freightliner MT45 VIN 4UZAAPFD8JCJL3251          Vehicles
    17-102         11/21/2017    #644 2018 Freightliner MT45 VIN 4UZAAPFD5JCJL3255          Vehicles
    17-103         11/22/2017    #645 2018 Freightliner MT45 VIN 4UZAAPFD4JCJL3246          Vehicles
    17-104         11/22/2017    #646 2018 Freightliner MT45 VIN 4UZAAPFD6JCJL3247          Vehicles
    17-106         11/22/2017    #651 2018 Freightliner MT45 VIN 4UZAAPFD0JCJL3261          Vehicles
    18-001            2/1/2018   Construction Administration Architectural Services         Leasehold Improvements - Bloomington TBJ
    18-003           1/31/2018   3 Phase AC Motor - Serial # 1-29-2018                      Machinery & Equipment - N.A. Plant
    18-004           1/18/2018   Drive-thru Communication Equipment                         Machinery & Equipment - Orland Park



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                            Document      Page 149 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    18-005            1/8/2018   New STL Cooler/Freezer - Final Invoice (Asset 17-0           Machinery & Equipment - St. Louis TC
    18-006           1/15/2018   Drive-thru Communication Equipment                           Machinery & Equipment - Schereville
    18-007            1/1/2018   Vilter Oil Seperator                                         Machinery & Equipment - N.A. Plant
    18-008            1/1/2018   Drive-thru Communication Equipment                           Machinery & Equipment - Downers Grove
    18-009           2/27/2018   Drive-thru Communication Equipment                           Machinery & Equipment - Bartlett
    18-010           2/21/2018   Drive-thru Communication Equipment                           Machinery & Equipment - Elgin
    18-011           2/28/2018   Electrical Outlets for Truck Compressors                     Machinery & Equipment - Bloomington TC
    18-013           3/28/2018   Installation of Freezer Outlet Plug-Ins                      Machinery & Equipment - Norfolk TC
    18-014           4/11/2018   Walk-In Cooler/Freezer                                       Machinery & Equipment - Champaign TBJ
    18-015           4/11/2018   Walk-In Cooler/Freezer Refrigeration System                  Machinery & Equipment - Champaign TBJ
    18-016           4/11/2018   Undercounter Freezer                                         Machinery & Equipment - Champaign TBJ
    18-017           4/11/2018   Bar Blenders                                                 Machinery & Equipment - Champaign TBJ
    18-018           4/11/2018   Drink Mixer                                                  Machinery & Equipment - Champaign TBJ
    18-019           4/11/2018   Ice Cream Dipping Cabinets - 2                               Machinery & Equipment - Champaign TBJ
    18-020           4/11/2018   Refrigerated Fountain Rail                                   Machinery & Equipment - Champaign TBJ
    18-021           4/11/2018   Work Table, Stainless Steel Top                              Machinery & Equipment - Champaign TBJ
    18-022           4/11/2018   Waffle Cone Baker                                            Machinery & Equipment - Champaign TBJ
    18-023           4/11/2018   Reach-In Undercounter Refrigerator                           Machinery & Equipment - Champaign TBJ
    18-024           4/11/2018   Ice Cream Dipping Cabinets - 2                               Machinery & Equipment - Champaign TBJ
    18-025           4/11/2018   Reach-In Freezer                                             Machinery & Equipment - Champaign TBJ
    18-026           4/11/2018   Dry and Chemical Storage Shelving                            Machinery & Equipment - Champaign TBJ
    18-027           4/11/2018   Dishwasher and Racks                                         Machinery & Equipment - Champaign TBJ
    18-028           4/11/2018   Exhaust Hood System                                          Machinery & Equipment - Champaign TBJ
    18-029           4/11/2018   Electric Booster Heater                                      Machinery & Equipment - Champaign TBJ
    18-030           4/11/2018   Three Compartment Sink System                                Machinery & Equipment - Champaign TBJ
    18-031           4/11/2018   Countertop Gas Griddle                                       Machinery & Equipment - Champaign TBJ
    18-032           4/11/2018   Steamer                                                      Machinery & Equipment - Champaign TBJ
    18-033           4/11/2018   Work Table, Stainless Steel Top                              Machinery & Equipment - Champaign TBJ
    18-034           4/11/2018   Work Table System                                            Machinery & Equipment - Champaign TBJ
    18-035           4/11/2018   Wall Mounted Shelving                                        Machinery & Equipment - Champaign TBJ
    18-036           4/11/2018   Fry Basket Racks and Fry Baskets                             Machinery & Equipment - Champaign TBJ



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19     Desc Main
                                                            Document      Page 150 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    18-037           4/11/2018   Gas Fryer                                                    Machinery & Equipment - Champaign TBJ
    18-038           4/11/2018   Exhaust Hood System                                          Machinery & Equipment - Champaign TBJ
    18-039           4/11/2018   Fire Supression System                                       Machinery & Equipment - Champaign TBJ
    18-040           4/11/2018   French Fry Warmer and Refrigerated Work Top                  Machinery & Equipment - Champaign TBJ
    18-041           4/11/2018   Work Table                                                   Machinery & Equipment - Champaign TBJ
    18-042           4/11/2018   Toaster                                                      Machinery & Equipment - Champaign TBJ
    18-043           4/11/2018   Refrigerated Condiment Table                                 Machinery & Equipment - Champaign TBJ
    18-044           4/11/2018   Reach-In Undercounter Refrigerator                           Machinery & Equipment - Champaign TBJ
    18-045           4/11/2018   Electric Countertop Griddle                                  Machinery & Equipment - Champaign TBJ
    18-046           4/11/2018   Refrigerated Equipment Stand                                 Machinery & Equipment - Champaign TBJ
    18-047           4/11/2018   Exhaust Fan                                                  Machinery & Equipment - Champaign TBJ
    18-048           4/11/2018   Soda Ice & Beverage Dispenser Systems - 2                    Machinery & Equipment - Champaign TBJ
    18-049           4/11/2018   Sneezeguards & Glass                                         Machinery & Equipment - Champaign TBJ
    18-050           4/11/2018   Three Compartment Sink System                                Machinery & Equipment - Champaign TBJ
    18-051           4/11/2018   Tables, Booths & Chairs                                      Machinery & Equipment - Champaign TBJ
    18-052           4/11/2018   Milk Dispenser                                               Machinery & Equipment - Champaign TBJ
    18-053           4/11/2018   Work Table, Stainless Steel Top                              Machinery & Equipment - Champaign TBJ
    18-054           4/11/2018   Building Permit                                              Leasehold Improvements - Champaign TBJ
    18-055           4/11/2018   Sign Package                                                 Leasehold Improvements - Champaign TBJ
    18-056           4/11/2018   Preliminary Design Architectural Services                    Leasehold Improvements - Champaign TBJ
    18-057           4/11/2018   Civil Engineering Services                                   Leasehold Improvements - Champaign TBJ
    18-058           4/11/2018   Architectural Services                                       Leasehold Improvements - Champaign TBJ
    18-059           4/11/2018   Design Development/CD’s; Architectural Services              Leasehold Improvements - Champaign TBJ
    18-060           4/11/2018   Civil Engineering Services                                   Leasehold Improvements - Champaign TBJ
    18-061           4/11/2018   TBJ & ODI Booths, TBJ Tables                                 Machinery & Equipment - Champaign TBJ
    18-062           4/11/2018   Drive-thru Equipment                                         Machinery & Equipment - Champaign TBJ
    18-063           4/11/2018   TouchTunes Virtuo Jukebox                                    Machinery & Equipment - Champaign TBJ
    18-064           4/11/2018   Awnings                                                      Machinery & Equipment - Champaign TBJ
    18-065           4/11/2018   Cabinetry                                                    Leasehold Improvements - Champaign TBJ
    18-066           4/11/2018   Architectural Services                                       Leasehold Improvements - Champaign TBJ
    18-067           4/11/2018   Data and Security Camera Installation                        Machinery & Equipment - Champaign TBJ



63817155
                      Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                           Document      Page 151 of 231


 Asset Number   Date Acquired    Asset Description 1                                         G/L Asset Account Description
    18-068           4/11/2018   Square Inground Tables - 4                                  Machinery & Equipment - Champaign TBJ
    18-069           4/11/2018   Micros Systems - 5                                          Machinery & Equipment - Champaign TBJ
    18-070           4/11/2018   HP PR5810 POS System                                        Machinery & Equipment - Champaign TBJ
    18-071           4/19/2018   Ice Cream Dipping Cabinet 4 Facing - Ser # 1810812          Machinery & Equipment - Western Springs
    18-072           4/13/2018   Ice Cream Dipping Cabinet 4 Facing - Ser #1805102           Machinery & Equipment - Troy
    18-073           4/24/2018   Drive-thru Communication Equipment                          Machinery & Equipment - Champaign TBJ
    18-074           4/24/2018   Restaurant Speaker System                                   Machinery & Equipment - Champaign TBJ
    18-075           2/28/2018   DT Research 9.7 Atom Tablet                                 Machinery & Equipment - D.S. Equipment Inv
    18-076           2/28/2018   DT Research 9.7 Atom Tablet                                 Machinery & Equipment - D.S. Equipment Inv
    18-077           2/28/2018   DT Research 9.7 Atom Tablet                                 Machinery & Equipment - D.S. Equipment Inv
    18-078           2/28/2018   DT Research 9.7 Atom Tablet                                 Machinery & Equipment - D.S. Equipment Inv
    18-079           2/28/2018   DT Research 9.7 Atom Tablet                                 Machinery & Equipment - Downers Grove
    18-080           2/28/2018   DT Research 9.7 Atom Tablet                                 M/E - Glen Ellyn TBJ
    18-081           2/28/2018   DT Research 9.7 Atom Tablet                                 Machinery & Equipment - Gurnee
    18-082           2/28/2018   DT Research 9.7 Atom Tablet                                 Machinery & Equipment - Naperville North
    18-083           2/28/2018   DT Research 9.7 Atom Tablet                                 Machinery & Equipment - Oakville
    18-084           2/28/2018   DT Research 9.7 Atom Tablet                                 Machinery & Equipment - Orland Park
    18-085           2/28/2018   DT Research 9.7 Atom Tablet                                 Machinery & Equipment - Skokie
    18-086           2/28/2018   DT Research 9.7 Atom Tablet                                 M&E - St. Charles
    18-087           4/24/2018   Countertop Welcome Sign                                     Machinery & Equipment - Bloomington TBJ
    18-088           4/24/2018   Countertop Welcome Sign                                     Machinery & Equipment - Champaign TBJ
    18-089            5/9/2018   Drive-thru Communication Equipment                          Machinery & Equipment - Mokena
    18-090           5/10/2018   Round Portable Exterior Tables and Umbrellas (2)            Machinery & Equipment - Schaumburg
    18-091            1/1/2018   Replacement Cooler Door                                     Machinery & Equipment - Bloomington TBJ
    18-092            1/1/2018   Replacement Freezer Door                                    Machinery & Equipment - Bloomington TBJ
    18-093           4/11/2018   Custom Fabricated Stainless Steel Hood Trim                 Machinery & Equipment - Champaign TBJ
    18-094            2/6/2018   Oracle Point of Sale System                                 M/E - Glen Ellyn TBJ
    18-095            2/6/2018   HP PR5810 POS System                                        M/E - Glen Ellyn TBJ
    18-096            2/9/2018   Bar Blender                                                 Machinery & Equipment - Oakville
    18-097           1/10/2018   Ice Cream Dipping Cabinet-8 Facing Serial #1722804          Machinery & Equipment - Schaumburg
    18-098           1/25/2018   Ice Cream Dipping Cabinet-4 Facing Serial #173309           Machinery & Equipment - Arlington Heights



63817155
                      Case 24-05385           Doc 229        Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                            Document      Page 152 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    18-099           1/19/2018   DT Research 9.7 Atom Tablet                                  Machinery & Equipment - North Aurora DS
    18-100            2/6/2018   Micros System                                                M/E - Glen Ellyn TBJ
    18-101            5/3/2018   Sprockets and Shafts                                         Machinery & Equipment - N.A. Plant
    18-102           5/16/2018   Woodgrain Exterior Signage                                   M/E - Glen Ellyn TBJ
    18-103           5/10/2018   Drive-thru Communication Equipment                           Machinery & Equipment - Lake Zurich
    18-104           5/17/2018   Ice Cream Dipping Cabinet - 8 Facing Ser #1812813            Machinery & Equipment - Glenview
    18-106           6/21/2018   TouchTunes Virtuo Jukebox                                    Machinery & Equipment - Downers Grove
    18-108           5/23/2018   Bar Blender                                                  Machinery & Equipment - Evergreen Park
    18-109           6/21/2018   Bar Blender                                                  Machinery & Equipment - Downers Grove
    18-110           6/21/2018   RIght Way Signs                                              Machinery & Equipment - Downers Grove
    18-111           5/29/2018   Ice Dream Dippling Cabinet - 8 Facing Ser #1812814           M&E - St. Charles
    18-112            5/9/2018   Bar Blender                                                  Machinery & Equipment - Troy
    18-113           6/21/2018   Amsec Safe                                                   Machinery & Equipment - Downers Grove
    18-114           6/21/2018   Kitchen Ceiling Tile Replacement                             Leasehold Improvements - Downers Grove
    18-115           6/21/2018   TBJ Tables                                                   Machinery & Equipment - Downers Grove
    18-116           6/21/2018   TBJ Booths                                                   Machinery & Equipment - Downers Grove
    18-117           6/21/2018   Drive-thru Communication Equipment                           Machinery & Equipment - Downers Grove
    18-118           6/21/2018   Micros WS5A Terminal                                         Machinery & Equipment - Downers Grove
    18-119           6/21/2018   Surveillance Equipment                                       Leasehold Improvements - Downers Grove
    18-120           6/21/2018   Custom Wrough Iron Blade Sign Frames                         Machinery & Equipment - Downers Grove
    18-121           6/21/2018   Round Portable Exterior Tables (3)                           Machinery & Equipment - Downers Grove
    18-122           6/21/2018   Interior Signage System - (3) Samsung 43” LED LCD            Machinery & Equipment - Downers Grove
    18-123           6/14/2018   Worktable                                                    Machinery & Equipment - Arlington Heights
    18-124           6/11/2018   Ice Dream Dippling Cabinet - 4 Facing Ser #1815808           Machinery & Equipment - Elmhurst
    18-125           6/21/2018   Ice Dream Dippling Cabinet - 4 Facing Ser #1816705           Machinery & Equipment - Naperville
    18-126            6/6/2018   Ardco Freezer/Cooler Display Customer Door Lightin           Machinery & Equipment - Elmhurst
    18-127           6/21/2018   IT/Networking Equipment                                      Machinery & Equipment - Downers Grove
    18-128            6/1/2018   Cabinetry                                                    Leasehold Improvements - Downers Grove
    18-129           6/21/2018   Cabling Installation                                         Machinery & Equipment - Downers Grove
    18-130           6/21/2018   OmniFlex Dispense-and-Vac Cleaning System                    Machinery & Equipment - Downers Grove
    18-131           6/18/2018   Cream Silos Project Electronics                              Machinery & Equipment - N.A. Plant



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                            Document      Page 153 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    18-132            6/8/2018   Walk-in Freezer Refrigeration Condensing Unit                Machinery & Equipment - St. Louis TC
    18-133           6/29/2018   Bar Blenders (2)                                             Machinery & Equipment - Ballwin
    18-134           6/21/2018   LED Sign and Installation                                    Machinery & Equipment - Bloomingdale
    18-135           6/21/2018   Speaker System                                               Machinery & Equipment - Downers Grove
    18-136            7/5/2018   Homogenizer Rebuild                                          Machinery & Equipment - N.A. Plant
    18-137           5/23/2018   New Refrigeration in Walk-in Freezer                         Machinery & Equipment - Bloomington TC
    18-138            7/4/2018   Digital Print Wallcovering                                   Machinery & Equipment - Downers Grove
    18-139           6/21/2018   Architectural Services                                       Leasehold Improvements - Downers Grove
    18-140           7/26/2018   4 & 2 Door LED Retro Fit                                     Machinery & Equipment - Joliet DS
    18-141           7/17/2018   Ice Cream Dipping Cabinet - 8 Facing Serial #18170           Machinery & Equipment - Evergreen Park
    18-142           4/11/2018   Round Portable Exterior Tables (4)                           Machinery & Equipment - Champaign TBJ
    18-143           6/27/2018   Chairs (6)                                                   Machinery & Equipment - Lincolnwood
    18-144           7/16/2018   Panelview                                                    Machinery & Equipment - N.A. Plant
    18-145           8/13/2018   Reach-In Freezer                                             Machinery & Equipment - Western Springs
    18-146           6/21/2018   3-Door Section for Display Cooler                            Machinery & Equipment - Downers Grove
    18-147           6/21/2018   Ice Cream Dipping Cabinet - 4 Facing                         Machinery & Equipment - Downers Grove
    18-148           6/21/2018   Work Table, Stainless Steel Top                              Machinery & Equipment - Downers Grove
    18-149           6/21/2018   Reach-In Undercounter Freezer                                Machinery & Equipment - Downers Grove
    18-150           6/21/2018   Countertop Gas Griddle                                       Machinery & Equipment - Downers Grove
    18-151           6/21/2018   Steamer                                                      Machinery & Equipment - Downers Grove
    18-152           6/21/2018   Walk-In Cooler                                               Machinery & Equipment - Downers Grove
    18-153           6/21/2018   Walk-In Cooler Refrigeration System                          Machinery & Equipment - Downers Grove
    18-154           6/21/2018   Work Table                                                   Machinery & Equipment - Downers Grove
    18-155           6/21/2018   Wall Mounted Shelving                                        Machinery & Equipment - Downers Grove
    18-156           6/21/2018   Fry Basket Racks and Fry Baskets                             Machinery & Equipment - Downers Grove
    18-157           6/21/2018   Gas Fryer                                                    Machinery & Equipment - Downers Grove
    18-158           6/21/2018   Exhaust Hood System                                          Machinery & Equipment - Downers Grove
    18-159           6/21/2018   Fire Supression System                                       Machinery & Equipment - Downers Grove
    18-160           6/21/2018   French Fry Warmer                                            Machinery & Equipment - Downers Grove
    18-161           6/21/2018   Refrigerated Work Top                                        Machinery & Equipment - Downers Grove
    18-162           6/21/2018   Toaster                                                      Machinery & Equipment - Downers Grove



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                            Document      Page 154 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    18-163           6/21/2018   Refrigerated Condiment Table                                 Machinery & Equipment - Downers Grove
    18-164           6/21/2018   Work Table, Stainless Steel Top                              Machinery & Equipment - Downers Grove
    18-165           6/21/2018   Countertop Electric Griddle                                  Machinery & Equipment - Downers Grove
    18-166           6/21/2018   Refrigerated Equipment Stand                                 Machinery & Equipment - Downers Grove
    18-167           6/21/2018   Exhaust Hood System                                          Machinery & Equipment - Downers Grove
    18-168           6/21/2018   Soda Ice & Beverage Dispenser Systems                        Machinery & Equipment - Downers Grove
    18-169           6/21/2018   Milk Dispenser                                               Machinery & Equipment - Downers Grove
    18-170           6/21/2018   Sneezeguards & Glass                                         Machinery & Equipment - Downers Grove
    18-171           6/21/2018   Three Compartment Sink System                                Machinery & Equipment - Downers Grove
    18-172           6/21/2018   Work Table, Stainless Steel Top                              Machinery & Equipment - Downers Grove
    18-173           6/21/2018   Chairs (14)                                                  Machinery & Equipment - Downers Grove
    18-174           8/20/2018   Bradfor hot water heater                                     Machinery & Equipment - Glenview
    18-175           8/17/2018   Condensing Unit for Walk-In Freezer                          Machinery & Equipment - Elmhurst
    18-176           8/22/2018   Chest Refrigerator - Summit Model EQFR121                    Machinery & Equipment - Truck Maintenance
    18-177            7/7/2018   Lenovo T480s Ultrabook                                       Data Processing Equipment
    18-178           6/21/2018   Construction Draws #1-4                                      Leasehold Improvements - Downers Grove
    18-180           9/19/2018   Installation of Heavy Wall on Rooftop for Water Me           Leasehold Improvements - Downers Grove
    18-181            9/1/2018   Mural Frame                                                  Machinery & Equipment - Downers Grove
    18-182            9/5/2018   Awnings - Recover                                            Machinery & Equipment - Schereville
    18-183           8/21/2018   Air Conditioner Compressor                                   Machinery & Equipment - Oswego
    18-184           9/13/2018   Ice Cream Dipping Cabinets - 4 Facing (2)                    Machinery & Equipment - Schereville
    18-185           9/13/2018   Ice Cream Dipping Cabinet - 4 Facing                         Machinery & Equipment - Mokena
    18-186           9/27/2018   Remove and Replace Concrete Ramp                             Leasehold Imp - Rolling Meadows
    18-187           9/10/2018   Ice Cream Dipping Cabinet - 4 Facing Ser #1817312            Machinery & Equipment - Rolling Meadows
    18-188           9/21/2018   Valve for Seperator                                          Machinery & Equipment - N.A. Plant
    18-189           10/4/2018   Quest Hi-E Dry 195 Dehumidifier                              Machinery & Equipment - Skokie
    18-191            9/5/2018   Canon 5D Mark IV EOS Camera and Lenses                       Marketing / Promotional Assets
    18-192           10/9/2018   Ice Cream Dipping Cabinet - 8 Facing Ser #1825501            Machinery & Equipment - Joliet DS
    18-193           9/27/2018   Ice Cream Dipping Cabinet - 6 Facing Ser #1822007            M/E - Glen Ellyn TBJ
    18-194           9/18/2018   Chairs (40)                                                  Machinery & Equipment - Kirkwood
    18-195           8/22/2018   Vision Sensor System                                         Machinery & Equipment - N.A. Plant



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                            Document      Page 155 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    18-196           10/4/2018   Hardening Room and Freezer Lighting                          Machinery & Equipment - N.A. Plant
    18-197           11/5/2018   Conference Room and Desk Chairs (13)                         Office Furniture - North Aurora
    18-198           11/5/2018   Tile Installation                                            Leasehold Improvements - Downers Grove
    18-199           11/5/2018   Shingled Roof Replacement                                    Leasehold Improvements - Arlington Heights
    18-200         11/21/2018    Awnings - Recover                                            Machinery & Equipment - Schaumburg
    18-201         12/13/2018    Sign Faces                                                   Machinery & Equipment - North Aurora DS
    18-202         11/28/2018    Small Bottle Line Conveyor Belt                              Machinery & Equipment - N.A. Plant
    18-203         12/19/2018    Upsize Gas Meter                                             Leasehold Improvements - Downers Grove
    18-204            9/5/2018   Awnings - Recover                                            Machinery & Equipment - Elgin
    18-205           11/1/2018   Parts for Existing Bottle Washer                             Machinery & Equipment - N.A. Plant
    19-001            1/1/2019   2 - Lenovo Laptops                                           Data Processing Equipment
    19-002            1/1/2019   Micros System                                                Machinery & Equipment - D.S. Equipment Inv
    19-003           1/25/2019   Ice Cream Dipping Cabinet 8 Facing - Serial #19015           Machinery & Equipment - Schaumburg
    19-004            2/6/2019   Bottle Washer Clean Conveyors                                Machinery & Equipment - N.A. Plant
    19-005           2/22/2019   Tetra Pak Compression Tool                                   Machinery & Equipment - N.A. Plant
    19-006            1/1/2019   Wire Shelving Units                                          Machinery & Equipment - Champaign TBJ
    19-007            1/1/2019   Soda System Installation                                     Machinery & Equipment - Bloomington TBJ
    19-008           3/13/2019   75 KVA Transformer (Used)                                    Machinery & Equiment - Raleigh TC
    19-009           3/14/2019   Ice Cream Dipping Cabinet 8 Facing - Serial #19063           Machinery & Equipment - D.S. Equipment Inv
    19-010           3/14/2019   Ice Cream Dipping Cabinet 8 Facing - Serial #19066           Machinery & Equipment - D.S. Equipment Inv
    19-011            3/6/2019   Beverage Dispenser Bubbler                                   Machinery & Equipment - Bloomington TBJ
    19-012            4/4/2019   Menu Board                                                   Machinery & Equipment - D.S. Equipment Inv
    19-013           3/31/2019   Soft Start Compressor                                        Machinery & Equipment - N.A. Plant
    19-014            3/6/2019   Beverage Dispenser Bubbler                                   Machinery & Equipment - Bolingbrook East TBJ
    19-015            3/6/2019   Beverage Dispenser Bubbler                                   Machinery & Equipment - Naperville
    19-016           3/11/2019   Ottawa 2003 Off Road Spotter Truck (Used)                    Vehicles
    19-017           3/31/2019   Freezer Motor                                                Machinery & Equipment - N.A. Plant
    19-018           4/22/2019   Chairs                                                       Machinery & Equipment - Schaumburg
    19-019           4/22/2019   Chairs                                                       Machinery & Equipment - Elgin
    19-020           4/17/2019   Apple Computer Serial #: C02YK0T4JV40                        Data Processing Equipment
    19-021           3/27/2019   Freezer                                                      Machinery & Equipment - D.S. Equipment Inv



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                            Document      Page 156 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    19-022           4/29/2019   (4) 46 inch Round Exterior Tables and Benches                Machinery & Equipment - North Aurora DS
    19-023           4/29/2019   (2) 46 inch Round Exterior Tables and Benches                Machinery & Equipment - Gurnee
    19-024           4/12/2019   Emergency E-Stops for Steam Generators                       Machinery & Equipment - N.A. Plant
    19-025           4/30/2019   Gas water heater                                             Machinery & Equipment - Oakville
    19-026            5/9/2019   (2) Condensing Units                                         Machinery & Equipment - Bloomington TC
    19-027           4/30/2019   Mechanical Dock Leveler                                      Buildings - North Aurora
    19-028           5/30/2019   Beverage Dispenser Bubbler                                   M/E - Glen Ellyn TBJ
    19-029           5/30/2019   Beverage Dispenser Bubbler                                   Machinery & Equipment - Downers Grove
    19-030           5/16/2019   Beverage Dispenser Bubbler                                   Machinery & Equipment - Champaign TBJ
    19-031           5/30/2019   Beverage Dispenser Bubbler                                   Machinery & Equipment - D.S. Equipment Inv
    19-032           5/24/2019   Beverage Dispenser Bubbler                                   Machinery & Equipment - Skokie
    19-033            5/2/2019   Flow Meter for Raw Blending                                  Machinery & Equipment - N.A. Plant
    19-034           5/13/2019   Bar Blender                                                  Machinery & Equipment - Elgin
    19-035           6/10/2019   New AC Unit for IT Room - 3 Ton Carrier Split Sys            Data Processing Equipment
    19-037           6/28/2019   Conventional Chest Freezer Serial #1917302                   Machinery & Equipment - Western Springs
    19-038           6/21/2019   Bar Blender                                                  Machinery & Equipment Royal Oak Woodward
    19-039           6/27/2019   Ice Cream Dipping Cabinet 8 Facing - Serial #19108           Machinery & Equipment - Glenview
    19-041           6/12/2019   Sneeze Guard                                                 Machinery & Equipment - Arlington Heights
    19-042            6/4/2019   Bradford Hot Water Heater                                    Machinery & Equipment - Naperville
    19-043            7/7/2019   Bradford Water Heater                                        Machinery & Equipment - Bolingbrook
    19-044            7/3/2019   Water Cooler w/Bottle Filling Station                        Machinery & Equipment - North Aurora DS
    19-046           7/30/2019   HVAC Units (2)                                               Leasehold Improvements - Bolingbrook
    19-047           7/31/2019   Bar Blender                                                  M&E - St. Charles
    19-048            8/2/2019   Back Bar Blender                                             Machinery & Equipment - Bolingbrook East TBJ
    19-050           7/12/2019   Roof Replacement                                             Leasehold Improvements - Bloomingdale
    19-051            7/9/2019   4 & 2 Door LED Retro Fit                                     Machinery & Equipment - Bartlett
    19-052           8/16/2019   Roof Mounted Exhaust Fan for Restrooms                       Machinery & Equipment - N.A. Plant
    19-053            8/6/2019   Air Compressor                                               Machinery & Equipment - N.A. Plant
    19-054            7/9/2019   4 & 2 Door LED Retro Fit                                     Machinery & Equipment - Schaumburg
    19-055           8/26/2019   Custom Exterior Drive Thru Signage                           Machinery & Equipment - Bolingbrook East TBJ
    19-056           8/26/2019   4 & 2 Door LED Retro Fit                                     M/E - Glen Ellyn TBJ



63817155
                      Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19       Desc Main
                                                           Document      Page 157 of 231


 Asset Number   Date Acquired    Asset Description 1                                         G/L Asset Account Description
    19-057            9/9/2019   Ice Cream Dipping Cabinet 4 Facing - Ser #1924201           Machinery & Equipment - Gurnee
    19-058           9/30/2019   Installation Prep for PAC Bottle Washer & Conveyor          Machinery & Equipment - N.A. Plant
    19-059           9/30/2019   Stainless Steel Conveyors for PAC Bottle Washer             Machinery & Equipment - N.A. Plant
    19-060           9/30/2019   Steam, Exhaust Piping and Drains for PAC Bottle Wa          Machinery & Equipment - N.A. Plant
    19-061           9/30/2019   In-Floor Conveyors for PAC Bottle Washer                    Machinery & Equipment - N.A. Plant
    19-062           9/30/2019   Electrical Preparation Work for PAC Bottle Washer           Machinery & Equipment - N.A. Plant
    19-063           9/30/2019   Steam Insulation for PAC Bottle Washer                      Machinery & Equipment - N.A. Plant
    19-064           9/30/2019   PAC Bottle Washer                                           Machinery & Equipment - N.A. Plant
    19-065           7/30/2019   (4) Round Tables and Umbrellas                              Machinery & Equipment - North Aurora DS
    19-066           8/19/2019   Ice Cream Dipping Cabinet 8 Facing - Serial #19221          Machinery & Equipment - Schereville
    19-067         10/11/2019    Reach-In Freezer True Mfg Model No. T-23F-HC                Machinery & Equipment - Rolling Meadows
    19-068           10/4/2019   Hot Water Heater                                            Machinery & Equipment - Lakeview
    19-069           10/8/2019   4 & 2 Door LED Retro Fit                                    Machinery & Equipment - Naperville
    19-070           7/18/2019   Lenovo ThinkPad T490s                                       Data Processing Equipment
    19-071           9/13/2019   Plumbing installation for PAC Bottle Washer                 Machinery & Equipment - N.A. Plant
    19-072           9/25/2019   PowerFlex Air Frequency Drive for PT6                       Machinery & Equipment - N.A. Plant
    19-073            8/5/2019   ThinkPad T490s Serial #PF1G10QE                             Data Processing Equipment
    19-074            8/5/2019   ThinkPad T490s Serial #PF1FP4R4                             Data Processing Equipment
    19-075           10/7/2019   Ice Cream Dipping Cabinet 6 Facing - Ser #1925408           Machinery & Equipment - Park Ridge
    19-076           10/7/2019   Ice Cream Dipping Cabinet 6 Facing - Ser #1925501           Machinery & Equipment - Park Ridge
    19-077         10/15/2019    4 & 2 Door LED Retro Fit                                    Machinery & Equipment - Naperville North
    19-078         10/14/2019    Heat Exchanger and Installation                             Machinery & Equipment - Detroit Transfer Center
    19-079           9/30/2019   Steam Condensate Tank Replacement                           Machinery & Equipment - N.A. Plant
    19-080         10/31/2019    Leibinger Inkjet Printer System                             Machinery & Equipment - N.A. Plant
    19-081         10/18/2019    New Evaporator Coil for Walk-In Cooler                      Machinery & Equipment - Milwaukee TC
    19-082         11/12/2019    Ice Cream Dipping Cabinet 8 Facing - Ser #1926607           Machinery & Equipment - Lincolnwood
    19-083           11/1/2019   Electrical Work for PAC Bottle Washer                       Machinery & Equipment - N.A. Plant
    19-084         11/14/2019    4 & 2 Door LED Retro Fit                                    Machinery & Equipment - D.S. Equipment Inv
    19-085           11/6/2019   Micros System                                               Machinery & Equipment - North Aurora DS
    19-086         11/18/2019    Grease Trap Replacement                                     Machinery & Equipment - Mokena
    19-087         12/16/2019    Awnings - Recover                                           Machinery & Equipment Royal Oak Woodward



63817155
                      Case 24-05385           Doc 229        Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                            Document      Page 158 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    19-088         12/11/2019    Hot Water Heater - Bradord 75 gallon                         Machinery & Equipment - Gurnee
    19-089         11/12/2019    Rocket Industrial Case Sealer                                Machinery & Equipment - N.A. Plant
    19-090           12/5/2019   2014 Toyota Sitdown Counterbalance Forklift                  Machinery & Equipment - Truck Maintenance
    19-091         12/13/2019    Sign Skirt                                                   Machinery & Equipment - Champaign TBJ
    19-093           7/10/2019   Vinyl Graphics for Custom Exterior Sign Installati           Machinery & Equipment - Bloomington TBJ
    20-001            1/8/2020   Schwank Model S100-f-175n Heater                             Machinery & Equipment - Truck Maintenance
    20-002           1/28/2020   Walk-in Freezer Condensing Unit                              M/E - Glen Ellyn TBJ
    20-003            1/1/2020   Heat Exchanger for Truck CIP                                 Machinery & Equipment - N.A. Plant
    20-004            1/1/2020   Watchguard Firebox M670 and 3 Year Basic Security            Data Processing Equipment
    20-005            1/3/2020   Microsoft Visual Studio                                      Data Processing Equipment
    20-006            1/1/2020   ThinkPad P1 Gen 2                                            Data Processing Equipment
    20-007            1/1/2020   New VFD for PT6 Cooling and Programming                      Machinery & Equipment - N.A. Plant
    20-009           1/27/2020   HP Support for VMWare Hosts                                  Data Processing Equipment
    20-010            1/2/2020   VMWare Vsphere Standard Product Support                      Data Processing Equipment
    20-011            1/1/2020   Lenovo 20NXCT01WW Laptop (Serial #PC1CKKLS)                  Data Processing Equipment
    20-012           2/20/2020   Truck Receptacles at Truck Barn                              Machinery & Equipment - Truck Maintenance
    20-013           2/20/2020   AP15 Melter Glue Pot                                         Machinery & Equipment - N.A. Plant
    20-014           2/27/2020   Gearbox for RT-1                                             Machinery & Equipment - N.A. Plant
    20-015           1/31/2020   New Compressor for Cooler/Freezer                            Machinery & Equiment - Raleigh TC
    20-016           2/11/2020   New Compressor for Cooler/Freezer                            Machinery & Equipment - Indianapolis TC
    20-017           3/17/2020   Bradfor Hot Water Heater                                     Machinery & Equipment - Skokie
    20-019           4/29/2020   Walk-in cooler / freezer                                     Machinery & Equipment - O’Fallon TJB
    20-020           4/29/2020   Refrigeration System                                         Machinery & Equipment - O’Fallon TJB
    20-021           4/29/2020   Ice Cream Dipping Cabinet 8 Facing - Ser #1932205            Machinery & Equipment - O’Fallon TJB
    20-022           4/29/2020   Ice Cream Dipping Cabinet 8 Facing - Ser #1932215            Machinery & Equipment - O’Fallon TJB
    20-023           4/29/2020   Ice Cream Dipping Cabinet 4 Facing - Ser #1928712            Machinery & Equipment - O’Fallon TJB
    20-024           4/29/2020   Ice Cream Dipping Cabinet 4 Facing - Ser #1928713            Machinery & Equipment - O’Fallon TJB
    20-025           4/29/2020   Bottle Cooler True Model TD-24-7-HC Ser #9738029             Machinery & Equipment - O’Fallon TJB
    20-026           4/29/2020   Worktable                                                    Machinery & Equipment - O’Fallon TJB
    20-027           4/29/2020   Pizza Prep Refrig True Model TPP-67 Ser#9819698              Machinery & Equipment - O’Fallon TJB
    20-028           4/29/2020   Worktable                                                    Machinery & Equipment - O’Fallon TJB



63817155
                      Case 24-05385          Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                        Document      Page 159 of 231


 Asset Number   Date Acquired    Asset Description 1                                      G/L Asset Account Description
    20-029           4/29/2020   Reach-in undercounter freezer Serial #159B8409           Machinery & Equipment - O’Fallon TJB
    20-030           4/29/2020   Vitamix Bar Blenders Model No. 15978                     Machinery & Equipment - O’Fallon TJB
    20-031           4/29/2020   Wire Shelving                                            Machinery & Equipment - O’Fallon TJB
    20-032           4/29/2020   Vitamix Bar Blenders Model No. 570                       Machinery & Equipment - O’Fallon TJB
    20-033           4/29/2020   Reach-in freezer True Model T-35F-HC Ser #988913         Machinery & Equipment - O’Fallon TJB
    20-034           4/29/2020   Sneeze Guard                                             Machinery & Equipment - O’Fallon TJB
    20-035           4/29/2020   Waffle Cone Bakers Cobatco Model MD-10SSE                Machinery & Equipment - O’Fallon TJB
    20-036           4/29/2020   Gas Fryer Battery                                        Machinery & Equipment - O’Fallon TJB
    20-037           4/29/2020   Refrig work top True Mod TWT-44D-2-HC Ser #9886340       Machinery & Equipment - O’Fallon TJB
    20-038           4/29/2020   Frech Fry Warmer Serial #6761002008                      Machinery & Equipment - O’Fallon TJB
    20-039           4/29/2020   Gas Countertop Griddle MKG-60-ST Ser #G19ME081557        Machinery & Equipment - O’Fallon TJB
    20-040           4/29/2020   Equip Stnd, Refrig Base True TRCB-52-60 Ser9860986       Machinery & Equipment - O’Fallon TJB
    20-041           4/29/2020   Cntertp Portion Steamer Antunes DFW-150 #19122307        Machinery & Equipment - O’Fallon TJB
    20-042           4/29/2020   Pizza Prep Refrig True Model TPP-67 Serial#9819689       Machinery & Equipment - O’Fallon TJB
    20-043           4/29/2020   Grill Toaster Antunes VCT-2000-9210123 Ser#1912256       Machinery & Equipment - O’Fallon TJB
    20-044           4/29/2020   Two Compartment Sink John Boos Model 2B244-X             Machinery & Equipment - O’Fallon TJB
    20-045           4/29/2020   Walk-In Cooler Refrigtion Enterprise Ser#410205815       Machinery & Equipment - O’Fallon TJB
    20-046           4/29/2020   Walk-In Cooler Dave Roth Mechanical                      Machinery & Equipment - O’Fallon TJB
    20-047           4/29/2020   Wire Shelving                                            Machinery & Equipment - O’Fallon TJB
    20-048           4/29/2020   Refrigerated work top True TWT-72-HC Ser #9880771        Machinery & Equipment - O’Fallon TJB
    20-049           4/29/2020   Food Proc Robot Coupe R2DICE CLR Sr#2560208703M-06       Machinery & Equipment - O’Fallon TJB
    20-050           4/29/2020   Exhaust Hood Captive-Aire Model 4830ND-2-ACPSP-F         Machinery & Equipment - O’Fallon TJB
    20-051           4/29/2020   Exhaust Fan Captive-Aire Model NCA14FA                   Machinery & Equipment - O’Fallon TJB
    20-052           4/29/2020   Supply Fan Captive-Aire Model A2=D.500-G15               Machinery & Equipment - O’Fallon TJB
    20-053           4/29/2020   Eletrictrical System Captive-Aire Model 321110FP         Machinery & Equipment - O’Fallon TJB
    20-054           4/29/2020   Wall Flashing                                            Machinery & Equipment - O’Fallon TJB
    20-055           4/29/2020   Fire Suppression System Captive-Aire Model FS-1          Machinery & Equipment - O’Fallon TJB
    20-056           4/29/2020   Ice Cuber Manitowoc Model IYT-1200A                      Machinery & Equipment - O’Fallon TJB
    20-057           4/29/2020   Ice Cuber Manitowoc Model IYT0620A                       Machinery & Equipment - O’Fallon TJB
    20-058           4/29/2020   Milk Disp Silver King SKMAJ2/C3 Ser #CPDP29443SA         Machinery & Equipment - O’Fallon TJB
    20-059           4/29/2020   Bvrge Disp Grindmaster-Cecilware CS-4E-16 #T479329       Machinery & Equipment - O’Fallon TJB



63817155
                      Case 24-05385          Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                         Document      Page 160 of 231


 Asset Number   Date Acquired    Asset Description 1                                       G/L Asset Account Description
    20-060           4/29/2020   Refrig Work Top True Model TWT-36-HC Ser #9884187         Machinery & Equipment - O’Fallon TJB
    20-061           4/29/2020   Mega Top Refrig True TSSU-72-30M-B-ST-HC S#9891787        Machinery & Equipment - O’Fallon TJB
    20-062           4/29/2020   Preparation Refrig True TSSU-60-16-HC Ser #9873442        Machinery & Equipment - O’Fallon TJB
    20-063           4/29/2020   Heated Cabinet FWE HLC-1826-4-UC Serial #206631701        Machinery & Equipment - O’Fallon TJB
    20-064           4/29/2020   Worktable                                                 Machinery & Equipment - O’Fallon TJB
    20-065           4/29/2020   Heat Lamps Hatco Model GRAIHL-48                          Machinery & Equipment - O’Fallon TJB
    20-066           4/29/2020   Three Comprtmnt Sink John Boos Mod 33818244-2D24-X        Machinery & Equipment - O’Fallon TJB
    20-067           4/29/2020   Overshelf John Boos Model BHS1248PR-X                     Machinery & Equipment - O’Fallon TJB
    20-068           4/29/2020   Worktable                                                 Machinery & Equipment - O’Fallon TJB
    20-069           4/29/2020   Tables, Booths and Chairs                                 Machinery & Equipment - O’Fallon TJB
    20-070           4/29/2020   Environmental Site Assessment                             Leasehold Improvements - O’Fallon
    20-071           4/29/2020   Schematic Design                                          Leasehold Improvements - O’Fallon
    20-072           4/29/2020   Construction Documents                                    Leasehold Improvements - O’Fallon
    20-073           4/29/2020   Construction Documents, Zoning Hearing                    Leasehold Improvements - O’Fallon
    20-074           4/29/2020   Reimbursable Expenses                                     Leasehold Improvements - O’Fallon
    20-075           4/29/2020   Construction Documents, MEP Engineering                   Leasehold Improvements - O’Fallon
    20-076           4/29/2020   Reimbursable Expenses                                     Leasehold Improvements - O’Fallon
    20-077           4/29/2020   Reimbursable Expenses                                     Leasehold Improvements - O’Fallon
    20-078           4/29/2020   Professional Services                                     Leasehold Improvements - O’Fallon
    20-079           4/29/2020   Construction Administration                               Leasehold Improvements - O’Fallon
    20-080           4/29/2020   Reimbursable Expenses                                     Leasehold Improvements - O’Fallon
    20-081           4/29/2020   Micros Workstations                                       Machinery & Equipment - O’Fallon TJB
    20-082           4/29/2020   Oracle POS Software                                       Machinery & Equipment - O’Fallon TJB
    20-084           4/29/2020   Subsurface Exploration & Geotechnical Engineering         Leasehold Improvements - O’Fallon
    20-085           4/29/2020   Sign Package                                              Leasehold Improvements - O’Fallon
    20-086           4/29/2020   Virtuo II Juke Box Serial # 0A560A                        Machinery & Equipment - O’Fallon TJB
    20-087           4/29/2020   Market Umbrellas                                          Machinery & Equipment - O’Fallon TJB
    20-088           4/29/2020   Awnings                                                   Machinery & Equipment - O’Fallon TJB
    20-089           4/29/2020   LED Monitor                                               Machinery & Equipment - O’Fallon TJB
    20-090           4/29/2020   Relocate Overhead Electric Facilities                     Leasehold Improvements - O’Fallon
    20-091           4/29/2020   Traffic Study                                             Leasehold Improvements - O’Fallon



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19       Desc Main
                                                            Document      Page 161 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    20-092           4/29/2020   Bistro Twister Pizza Oven                                    Machinery & Equipment - O’Fallon TJB
    20-093           4/29/2020   Fire Permit                                                  Leasehold Improvements - O’Fallon
    20-095           4/29/2020   Water Line & Irrigation Line                                 Leasehold Improvements - O’Fallon
    20-096           4/29/2020   SIte Devlelopment & Plat Permits                             Leasehold Improvements - O’Fallon
    20-097           4/29/2020   Commercial Application Fee                                   Leasehold Improvements - O’Fallon
    20-098           4/29/2020   OPLE Permit                                                  Leasehold Improvements - O’Fallon
    20-099           4/29/2020   Tables, Umbrellas, Garbage Recepticles                       Machinery & Equipment - O’Fallon TJB
    20-100           4/29/2020   Surveying Services                                           Leasehold Improvements - O’Fallon
    20-101           4/29/2020   Cabinetry                                                    Machinery & Equipment - O’Fallon TJB
    20-102           2/24/2020   Synology RackStation RS2418+ NAS Server                      Data Processing Equipment
    20-103           5/12/2020   Carrier HVAC Unit 48TCED09A                                  Buildings - North Aurora
    20-104           5/13/2020   Bar Blenders Quiet One (2)                                   Machinery & Equipment - Evergreen Park
    20-105            5/5/2020   Toughbook FZ-N1 (3)                                          Machinery & Equipment - Detroit Transfer Center
    20-107           4/14/2020   Toughbook FZ-N1 (4)                                          Data Processing Equipment
    20-108           5/25/2020   Jet 1 HP Milling/Drilling Machine Ser # NA031518N            Machinery & Equipment - N.A. Plant
    20-109           3/16/2020   Dyson Airblade Hand Dryers (4)                               Machinery & Equipment - N.A. Plant
    20-110           5/21/2020   Welding Machine                                              Machinery & Equipment - N.A. Plant
    20-111           5/14/2020   Chest Freezer                                                Machinery & Equipment - Detroit Transfer Center
    20-112           6/15/2020   Sound System                                                 Machinery & Equipment - O’Fallon TJB
    20-113           6/26/2020   Drive-thru Equipment                                         Machinery & Equipment - O’Fallon TJB
    20-114            6/9/2020   Bar Blender Quiet One                                        Machinery & Equipment - Naperville
    20-115           6/18/2020   Bar Blender Quiet One                                        Machinery & Equipment - Lincolnwood
    20-116           6/12/2020   Round Tables (4) and Market Umbrellas (4)                    Machinery & Equipment - O’Fallon TJB
    20-117           3/21/2020   ThinkPad T490CML                                             Data Processing Equipment
    20-118           3/19/2020   ThinkPad T490S - Serial #MJ0BB9L5                            Data Processing Equipment
    20-119           3/19/2020   ThinkPad T490S - Serial #MJ0BB9JT                            Data Processing Equipment
    20-120           6/16/2020   Walk-In Freezer Condensing Unit                              Machinery & Equipment - Schaumburg
    20-121           6/22/2020   Civil Engineering Services                                   Leasehold Improvements - O’Fallon
    20-122            7/7/2020   Civil Engineering Services                                   Leasehold Improvements - O’Fallon
    20-123           7/17/2020   Walkie Pallet Jack                                           Machinery & Equipment - Detroit Transfer Center
    20-124           6/30/2020   Hot Water Heater                                             Machinery & Equipment - Schereville



63817155
                      Case 24-05385          Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                         Document      Page 162 of 231


 Asset Number   Date Acquired    Asset Description 1                                       G/L Asset Account Description
    20-125            7/9/2020   Ice Cream Dipping Cabinet 4 Facing - Ser #2018105         Machinery & Equipment - Troy
    20-126           7/21/2020   Separater Valves                                          Machinery & Equipment - N.A. Plant
    20-127           7/17/2020   Dock and Trailer Area Lights and Fixtures                 Machinery & Equipment - N.A. Plant
    20-128           7/30/2020   Parking Blocks                                            Leasehold Imp - Rolling Meadows
    20-129           7/23/2020   Bar Blenders Quiet One (3)                                Machinery & Equipment - St. Peters
    20-130           7/23/2020   Bar Blender Quiet One                                     Machinery & Equipment - Rolling Meadows
    20-131           7/23/2020   Bar Blender Quiet One                                     Machinery & Equipment - Bolingbrook
    20-132           7/23/2020   Bar Blender Quiet One                                     Machinery & Equipment - Bartlett
    20-133           7/23/2020   Bar Blender Quiet One                                     Machinery & Equipment - D.S. Equipment Inv
    20-135           7/15/2020   Stainless Steel Ledge                                     Machinery & Equipment - O’Fallon TJB
    20-136           6/26/2020   Supply Diffuser                                           Machinery & Equipment - O’Fallon TJB
    20-137            7/5/2020   Power Vent Water Heater                                   Machinery & Equipment - Ballwin
    20-138           5/13/2020   Motors for Freezer Evaporators 7 and 8                    Machinery & Equipment - N.A. Plant
    20-139           6/19/2020   Truck CIP and Stuffing Pump Motor Replacement             Machinery & Equipment - N.A. Plant
    20-140           6/19/2020   Booster Pump Motor Replacement                            Machinery & Equipment - N.A. Plant
    20-141           6/19/2020   Homogenizer Motor Replacement                             Machinery & Equipment - N.A. Plant
    20-142           6/19/2020   Ammonia Power Valves                                      Machinery & Equipment - N.A. Plant
    20-143            6/2/2020   Toughbook FZ-N1 (2) Ser #: 9EKSA48253; 9EFSA48274         Machinery & Equipment - Milwaukee TC
    20-145            6/2/2020   Toughbook FZ-N1 Ser #:0BKSA94713                          Data Processing Equipment
    20-146           6/16/2020   IT Server Upgrade                                         Data Processing Equipment
    20-147           6/26/2020   Water Softner Replacement                                 Machinery & Equipment - N.A. Plant
    20-148           6/11/2020   Carrier HVAC Unit                                         Leasehold Improvements - Oakville
    20-149           4/28/2020   Oracle Micros Tablet 721 Serial #17CW11923P970            Machinery & Equipment - D.S. Equipment Inv
    20-150           4/28/2020   Oracle Micros Tablet 721 Serial #17CW11923P613            Machinery & Equipment - D.S. Equipment Inv
    20-151           4/28/2020   Oracle Micros Tablet 721 Serial #17CW11923P587            Machinery & Equipment - D.S. Equipment Inv
    20-152           4/28/2020   Oracle Micros Tablet 721 Serial #17CW11923P586            Machinery & Equipment - D.S. Equipment Inv
    20-153           5/31/2020   Oracle Micros Tablet 721 Serial #17CW11923P385            Machinery & Equipment - D.S. Equipment Inv
    20-154           5/31/2020   Oracle Micros Tablet 721 Serial #17CW11923P073            Machinery & Equipment - D.S. Equipment Inv
    20-155           4/24/2020   Oracle Micros Tablet 721 Serial #17CW11923N175            Machinery & Equipment - D.S. Equipment Inv
    20-156           4/24/2020   Oracle Micros Tablet 721 Serial #17CW11923N095            Machinery & Equipment - D.S. Equipment Inv
    20-157           4/15/2020   Lenovo ThinkPad T490CML Serial #PF2900L8                  Data Processing Equipment



63817155
                      Case 24-05385           Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                          Document      Page 163 of 231


 Asset Number   Date Acquired    Asset Description 1                                        G/L Asset Account Description
    20-158           5/12/2020   Oracle Micros Tablet 721                                   Machinery & Equipment - D.S. Equipment Inv
    20-159           8/10/2020   Bar Blender Quiet One                                      Machinery & Equipment Royal Oak Woodward
    20-161            7/7/2020   Bar Blender Quiet One (4)                                  Machinery & Equipment - Schaumburg
    20-162           7/28/2020   Mobile Heated Cabinet                                      Machinery & Equipment - O’Fallon TJB
    20-163           8/11/2020   Ice Cream Dipping Cabinet 6 Facing - Ser #2021907          Machinery & Equipment - Joliet DS
    20-164           8/13/2020   Condenser Coils RTU #1, #2 & #6 & Trane RTU #9&#10         Buildings - North Aurora
    20-165           8/18/2020   Counter Cafe Doors                                         Machinery & Equipment - Schaumburg
    20-166           8/11/2020   Ampco Pump Model #KC2-215-184JM-X58                        Machinery & Equipment - N.A. Plant
    20-167            6/4/2020   Ice Cream Dipping Cabinet 8 Facing - Ser #2015407          Machinery & Equipment - Kirkwood
    20-168           7/28/2020   Ice Cream Dipping Cabinet 4 Facing - Ser #2020412          Machinery & Equipment - Ballwin
    20-169           8/31/2020   Checkers and Chess Tables                                  Machinery & Equipment - O’Fallon TJB
    20-170            8/8/2020   Truck Barn Parking Lot Grind/Mill/Resurface                Leasehold Improvements - Truck Barn
    20-171           8/18/2020   Truck Barn Lighting                                        Leasehold Improvements - Truck Barn
    20-172           8/12/2020   250HP 4P Motor                                             Machinery & Equipment - N.A. Plant
    20-174            8/7/2020   True Model T-49F-HC Reach-In Freezer                       Machinery & Equipment - North Aurora DS
    20-175           8/19/2020   Hatco Model C-7 Electric Booster Heater                    M&E - St. Charles
    20-176           7/13/2020   Interior Signage                                           Machinery & Equipment - O’Fallon TJB
    20-177            8/6/2020   Dock Leveler #8                                            Machinery & Equipment - N.A. Plant
    20-178           7/17/2020   Toughbook FZ-N1 Ser #:0BKSA89241                           Data Processing Equipment
    20-179           7/17/2020   Toughbook FZ-N1 Ser #:0BKSA94206                           Data Processing Equipment
    20-180           7/17/2020   Toughbook FZ-N1 Ser #:0BKSA94667                           Data Processing Equipment
    20-181           7/17/2020   Toughbook FZ-N1 Ser #:0BKSA06083                           Data Processing Equipment
    20-182           7/17/2020   Toughbook FZ-N1 Ser #:0BKSA94773                           Data Processing Equipment
    20-183           7/17/2020   Toughbook FZ-N1 Ser #:0BKSA94776                           Data Processing Equipment
    20-184           7/17/2020   Toughbook FZ-N1 Ser #:0BKSA94729                           Data Processing Equipment
    20-185           6/10/2020   Lenovo ThinkPad T15 Gen 1 Serial #PF-2BKAV                 Data Processing Equipment
    20-186            9/9/2020   Toughpad FZ-N1 (2)                                         Machinery & Equipment - Milwaukee TC
    20-187           8/28/2020   QRS Tablet 721                                             M/E - Glen Ellyn TBJ
    20-188           9/28/2020   Civil Engineering Services                                 Buildings - Geneva
    20-189           9/28/2020   Architectural Services                                     Buildings - Geneva
    20-190           9/28/2020   Architectural Services                                     Buildings - Geneva



63817155
                      Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19     Desc Main
                                                           Document      Page 164 of 231


 Asset Number   Date Acquired    Asset Description 1                                         G/L Asset Account Description
    20-191           9/28/2020   Geotechnical Engineering Services                           Buildings - Geneva
    20-192           9/28/2020   Real Estate Consulting Services                             Buildings - Geneva
    20-193           9/28/2020   Permit Fees                                                 Buildings - Geneva
    20-194           9/28/2020   Plan Review and Road Improvement Impact Fee                 Buildings - Geneva
    20-195           9/28/2020   Civil Engineering Services                                  Buildings - Geneva
    20-196           9/28/2020   Construction Documents                                      Buildings - Geneva
    20-197           9/28/2020   Permit Services                                             Buildings - Geneva
    20-198           9/28/2020   Interior Design                                             Buildings - Geneva
    20-199           9/28/2020   Construction Documents                                      Buildings - Geneva
    20-200           9/28/2020   Awnings                                                     Machinery & Equipment - Geneva TBJ
    20-201           9/28/2020   LED Monitor                                                 Machinery & Equipment - Geneva TBJ
    20-202           9/28/2020   Bistro Twister Pizza Oven                                   Machinery & Equipment - Geneva TBJ
    20-203           9/28/2020   Survellance Equipment                                       Machinery & Equipment - Geneva TBJ
    20-204           9/28/2020   Tables, Booths and Chairs                                   Machinery & Equipment - Geneva TBJ
    20-205           9/28/2020   Construction Draw #1                                        Buildings - Geneva
    20-206           9/28/2020   Construciton Draw #2                                        Buildings - Geneva
    20-207           9/28/2020   Construction Draw #3                                        Buildings - Geneva
    20-208           9/28/2020   Construction Draw #4                                        Buildings - Geneva
    20-209           9/28/2020   Construciton Draw #5                                        Buildings - Geneva
    20-210           9/28/2020   Construction Draw #6                                        Buildings - Geneva
    20-211           9/18/2020   Construction Draw #7                                        Buildings - Geneva
    20-212           9/28/2020   Toast POS System                                            Machinery & Equipment - Geneva TBJ
    20-213           9/28/2020   Tables, Umbrellas, Garbage Recepticles                      Machinery & Equipment - Geneva TBJ
    20-214           9/28/2020   Steno Fork Mixer                                            Machinery & Equipment - Geneva TBJ
    20-215           9/28/2020   Oven Fan for Pizza Oven                                     Machinery & Equipment - Geneva TBJ
    20-216           9/28/2020   Interior Signage                                            Machinery & Equipment - Geneva TBJ
    20-217           9/28/2020   Watchguard Firebox T80 and 3 Year Basic Security            Machinery & Equipment - Geneva TBJ
    20-218           8/12/2020   Microsoft Windows Server 2019 Datacenter Edition            Data Processing Equipment
    20-219           9/28/2020   Virtuo II Juke Box Serial # 0A647F                          Machinery & Equipment - Geneva TBJ
    20-220           8/27/2020   HP Meridian Temperature Verification Kiosks (2)             Data Processing Equipment
    20-221           9/21/2020   Bar Blender Quet One                                        Machinery & Equipment - Oakville



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                            Document      Page 165 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    20-222           9/20/2020   Freezer Condenser Serial # T20E16311                         Machinery & Equipment - Lincolnwood
    20-223           8/18/2020   Ice Machine                                                  Machinery & Equipment - Kirkwood
    20-224           9/28/2020   Kolpak Walk-In Cooler/Freezer                                Machinery & Equipment - Geneva TBJ
    20-225           9/28/2020   Refrigeration Enterprises Walk-In Cooler/Freezer             Machinery & Equipment - Geneva TBJ
    20-226           9/28/2020   Olympic Wire Shelving Unit                                   Machinery & Equipment - Geneva TBJ
    20-227           9/28/2020   C. Nelson Ice Cream Dipping Cabinets 8 Facing (2)            Machinery & Equipment - Geneva TBJ
    20-228           9/28/2020   C. Nelson Ice Cream Dipping Cabinets 4 Facing (2)            Machinery & Equipment - Geneva TBJ
    20-229           9/28/2020   True Model TD-24-7-HC Bottle Cooler                          Machinery & Equipment - Geneva TBJ
    20-230           9/28/2020   John Boos Work Table                                         Machinery & Equipment - Geneva TBJ
    20-231           9/28/2020   True MFG Pizza Preparation Refrigerator                      Machinery & Equipment - Geneva TBJ
    20-232           9/28/2020   John Boos Work Table                                         Machinery & Equipment - Geneva TBJ
    20-233           9/28/2020   Continental Refrig Reach-In Undercounter Freezer             Machinery & Equipment - Geneva TBJ
    20-234           9/28/2020   Vitamix Quiet One Bar Blenders (3)                           Machinery & Equipment - Geneva TBJ
    20-235           9/28/2020   Olympic Wire Shelving Unit                                   Machinery & Equipment - Geneva TBJ
    20-236           9/28/2020   Vitamix Mix’n Machine Mixer (2)                              Machinery & Equipment - Geneva TBJ
    20-237           9/28/2020   True Reach-In Freezer                                        Machinery & Equipment - Geneva TBJ
    20-238           9/28/2020   Sneeze Guard                                                 Machinery & Equipment - Geneva TBJ
    20-239           9/28/2020   Cobatco Waffle Cone Baker                                    Machinery & Equipment - Geneva TBJ
    20-240           9/28/2020   Pitco Frialator Gas Fryer and Rack                           Machinery & Equipment - Geneva TBJ
    20-241           9/28/2020   True Refrigerated Work Top                                   Machinery & Equipment - Geneva TBJ
    20-242           9/28/2020   Hatco French Fry Warmer                                      Machinery & Equipment - Geneva TBJ
    20-243           9/28/2020   Magikitch’n Gas Countertop Griddle                           Machinery & Equipment - Geneva TBJ
    20-244           9/28/2020   True Refrigerated Equipment Stand                            Machinery & Equipment - Geneva TBJ
    20-245           9/28/2020   Antunes Countertop Portion Steamer                           Machinery & Equipment - Geneva TBJ
    20-246           9/28/2020   True Pizza Preperation Refrigerator                          Machinery & Equipment - Geneva TBJ
    20-247           9/28/2020   Antunes Contact Grill Toaster                                Machinery & Equipment - Geneva TBJ
    20-248           9/28/2020   John Boos Two Compartment Sink                               Machinery & Equipment - Geneva TBJ
    20-249           9/28/2020   Kolpak Walk-In Cooler                                        Machinery & Equipment - Geneva TBJ
    20-250           9/28/2020   Olympic Wire Shelving Unit                                   Machinery & Equipment - Geneva TBJ
    20-251           9/28/2020   True Refrigerated Work Top                                   Machinery & Equipment - Geneva TBJ
    20-252           9/28/2020   Robot Coupe Food Processor                                   Machinery & Equipment - Geneva TBJ



63817155
                      Case 24-05385           Doc 229        Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                            Document      Page 166 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    20-253           9/28/2020   Globe Electric Food Slicer                                   Machinery & Equipment - Geneva TBJ
    20-254           9/28/2020   Captive-Aire Exhaust Hood                                    Machinery & Equipment - Geneva TBJ
    20-255           9/28/2020   Captive-Aire Exhaust Fan                                     Machinery & Equipment - Geneva TBJ
    20-256           9/28/2020   Captive-Aire Supply Fan                                      Machinery & Equipment - Geneva TBJ
    20-257           9/28/2020   Captive-Aire Electrical System                               Machinery & Equipment - Geneva TBJ
    20-258           9/28/2020   Wall Flashing                                                Machinery & Equipment - Geneva TBJ
    20-259           9/28/2020   Captive-Aire Fire Suppression System                         Machinery & Equipment - Geneva TBJ
    20-260           9/28/2020   Silver King Milk Dispenser                                   Machinery & Equipment - Geneva TBJ
    20-261           9/28/2020   Grindmaster-Cecilware Beverage Dispenser                     Machinery & Equipment - Geneva TBJ
    20-262           9/28/2020   True Undercounter Refrigerator                               Machinery & Equipment - Geneva TBJ
    20-263           9/28/2020   True Mega Top Preparation Refrigerator                       Machinery & Equipment - Geneva TBJ
    20-264           9/28/2020   True Preparation Refrigerator                                Machinery & Equipment - Geneva TBJ
    20-265           9/28/2020   Food Warming Equipment Heated Cabinet                        Machinery & Equipment - Geneva TBJ
    20-266           9/28/2020   John Boos Work Table                                         Machinery & Equipment - Geneva TBJ
    20-267           9/28/2020   Hatco Heat Lamps                                             Machinery & Equipment - Geneva TBJ
    20-268           9/28/2020   Sneeze Guard                                                 Machinery & Equipment - Geneva TBJ
    20-269           9/28/2020   John Boos Three Compartment Sink                             Machinery & Equipment - Geneva TBJ
    20-270           9/28/2020   John Boos Overshelves                                        Machinery & Equipment - Geneva TBJ
    20-271           9/28/2020   Cabinetry                                                    Machinery & Equipment - Geneva TBJ
    20-272           9/11/2020   QRS Tablet 721                                               Machinery & Equipment - Western Springs
    20-273           9/17/2020   Ice Cream Dipping Cabinet 4 Facing - Serl #2024812           Machinery & Equipment - Park Ridge
    20-274           9/25/2020   Motor and gearbox replacement                                Machinery & Equipment - N.A. Plant
    20-275           9/23/2020   Heater for Hot Water Bath                                    Machinery & Equipment - N.A. Plant
    20-276           9/29/2020   Construction Draw #8                                         Buildings - Geneva
    20-277           8/31/2020   Heating/Cooling Unit Installation                            Leasehold Improvements - O’Fallon
    20-278           9/30/2020   Drive-Thru Equipment                                         Machinery & Equipment - Geneva TBJ
    20-279           10/7/2020   PT Room Floor Refinishing                                    Buildings - North Aurora
    20-280           9/28/2020   Playground Equipment                                         Machinery & Equipment - Geneva TBJ
    20-281            9/4/2020   Bradford Hot Water Heater                                    Machinery & Equipment - Orland Park
    20-282           10/1/2020   Patio Benches                                                Machinery & Equipment - Wheaton
    20-283           7/28/2020   Ice Cream Dipping Cabinet 4 Facing - Serl #2020210           Machinery & Equipment - D.S. Equipment Inv



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                            Document      Page 167 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    20-284           9/28/2020   Exterior Signage                                             Machinery & Equipment - Geneva TBJ
    20-285           9/28/2020   Drawing Updates and City Correspondence                      Buildings - Geneva
    20-286           9/18/2020   As-Built Drawings                                            Buildings - Geneva
    20-287           10/5/2020   Concrete sealing                                             Buildings - Geneva
    20-288           10/2/2020   Bar Blender Quiet One                                        Machinery & Equipment - Bolingbrook East TBJ
    20-292           9/16/2020   Truck Temperature Monitoring System                          Vehicles
    20-293           9/15/2020   Ampco Pump Model #KC2-215-184JM-X58                          Machinery & Equipment - N.A. Plant
    20-294         10/21/2020    Rooftop Larkin Condensing Unit for Walk-In Freezer           Machinery & Equipment - North Aurora DS
    20-295         10/16/2020    Bar Blender Quiet One                                        Machinery & Equipment - Bolingbrook East TBJ
    20-296         10/28/2020    Ice Cream Cabinet BD-10 Ser #2028716                         Machinery & Equipment - North Aurora DS
    20-297         10/22/2020    Drive-Thru Equipment                                         Machinery & Equipment - Geneva TBJ
    20-299           9/18/2020   Deadbolts                                                    Machinery & Equipment - Geneva TBJ
    20-300           11/7/2020   Asphalt and Curb Replacement                                 Leasehold Imp - Rolling Meadows
    20-301           10/5/2020   Floor Scrubber Rebuild                                       Machinery & Equipment - N.A. Plant
    20-302         10/20/2020    Bulk System Automatic Chemical Handling System               Machinery & Equipment - N.A. Plant
    20-303         10/16/2020    Steam Generator Pumps                                        Machinery & Equipment - N.A. Plant
    20-304         10/15/2020    Human Machine Interface Retrofit                             Machinery & Equipment - N.A. Plant
    20-305           9/15/2020   Lenovo ThinkPad T15 Gen 1 Serl #PF – 24TEH5                  Data Processing Equipment
    20-306           9/18/2020   Lenovo ThinkPad P14s Gen 1 Serial #PF-23CRSN                 Data Processing Equipment
    20-308           11/9/2020   Bradford Hot Water Heater                                    Machinery & Equipment - Troy
    20-309           10/2/2020   Diamond Plate Cooler Flooring                                Machinery & Equipment - Bloomingdale
    20-310           10/6/2020   Electric Booster Heater                                      Machinery & Equipment - Oakville
    20-311         11/23/2020    Pail Unloader System                                         Machinery & Equipment - N.A. Plant
    20-312           6/17/2020   Micros Tablet 721 Serial #17CW11953P173                      Machinery & Equipment - Bloomington TBJ
    20-313           9/24/2020   Fabric Roll Up Door Installation                             Machinery & Equipment - N.A. Plant
    20-314         11/23/2020    Ice Cream Dipping Cabinet 4 Facing - Ser #2030207            Machinery & Equipment Royal Oak Woodward
    20-315         11/23/2020    Ice Cream Dipping Cabinet 4 Facing - Ser #2030208            Machinery & Equipment Royal Oak Woodward
    20-316           11/9/2020   Asphalt Replacement                                          Leasehold Improvements - Orland Park
    20-317           9/28/2020   AMSEC 3020 Safe                                              Machinery & Equipment - Geneva TBJ
    20-318         11/25/2020    Watchguard AP325 and 3 Year Basic Wi-Fi                      Data Processing Equipment
    20-319         11/24/2020    Illuminated Menu Board                                       Machinery & Equipment - Downers Grove



63817155
                      Case 24-05385          Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                        Document      Page 168 of 231


 Asset Number   Date Acquired    Asset Description 1                                      G/L Asset Account Description
    20-320         12/15/2020    Litght Pole Installation (2)                             Leasehold Improvements - Detroit TF
    20-321         12/31/2020    North Aurora Office Refresh                              Office Furniture - North Aurora
    20-322         12/11/2020    Bryant Gas Furnace                                       Machinery & Equipment - Glenview
    20-323         12/24/2020    12.5 Bryant RTU with Curb Adapter                        Machinery & Equipment - Bloomingdale
    20-324         11/19/2020    Drive-Thru Equipment                                     Machinery & Equipment - Rolling Meadows
    20-325         11/10/2020    Fluid Pallet Shrink Wrapper                              Machinery & Equipment - N.A. Plant
    20-326         11/12/2020    Conventional Chest Type Double Row Cabinet               Machinery & Equipment - Rolling Meadows
    20-327         11/23/2020    Conventional Chest Type Double Row Cabinets (2)          M&E - St. Charles
    20-328           12/9/2020   Conventional Chest Type Double Row Cabinet               Machinery & Equipment - Western Springs
    20-329           12/4/2020   Walk-In Cooler Compressor                                Machinery & Equipment - Bolingbrook
    20-330         11/16/2020    Walk-in Cooler Floor Installation                        Machinery & Equipment - Joliet DS
    20-331           8/31/2020   Hot Well Repair                                          Machinery & Equipment - N.A. Plant
    20-332         12/10/2020    Construction Draw #9                                     Buildings - Geneva
    20-333         10/27/2020    Ammonia to PT5                                           Machinery & Equipment - N.A. Plant
    20-334         12/23/2020    Bar Blender Quiet One                                    Machinery & Equipment - Bolingbrook East TBJ
    20-335           11/5/2020   Office Counter Installation                              Machinery & Equipment - Naperville
    20-336           7/21/2020   Frequency Drive for Homogenizer                          Machinery & Equipment - N.A. Plant
    20-337         12/31/2020    Bulk Ingredient Handler System                           Machinery & Equipment - N.A. Plant
    20-338         12/31/2020    Office Wall Reconstruciton                               Buildings - North Aurora
    21-001            1/1/2021   Tecumseh Ice Cream Machine Compressor                    Machinery & Equipment - Evergreen Park
    21-002            1/1/2021   Tecumseh Ice Cream Machine Compressor                    Machinery & Equipment - Orland Park
    21-003           1/13/2021   Homogenizer Hydraulic Pump & Motor                       Machinery & Equipment - N.A. Plant
    21-004           1/22/2021   #653 2021 MT45G Freightliner VIN 4UZAC2GA4MCMR1288       Vehicles
    21-005           1/22/2021   #654 2021 MT45G Freightliner VIN 4UZAC2GA6MCMR1289       Vehicles
    21-006           1/22/2021   #655 2021 MT45G Freightliner VIN 4UZAC2GA2MCMR1290       Vehicles
    21-007            1/1/2021   Asphalf Remove and Replace                               Leasehold Improvements - Oakville
    21-008           2/16/2021   Bar Blender Quiet One                                    Machinery & Equipment - Arlington Heights
    21-009            2/4/2021   True Mfg Reach-In Freezer Model T-23F-HC                 Machinery & Equipment - Lakeview
    21-010           1/25/2021   Fencing                                                  Leasehold Improvements - Oakville
    21-011            1/1/2021   Steel Insulated Dock Doors (3)                           Machinery & Equipment - Indianapolis TC
    21-012            1/1/2021   Tablet 721 and Docking Station                           Machinery & Equipment - Schaumburg



63817155
                      Case 24-05385          Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                        Document      Page 169 of 231


 Asset Number   Date Acquired    Asset Description 1                                      G/L Asset Account Description
    21-013            1/1/2021   Tablet 721 and Docking Station                           Machinery & Equipment - Lincolnwood
    21-014            1/1/2021   Tablet 721 and Docking Station                           Machinery & Equipment - Troy
    21-015            1/1/2021   Tablet 721 and Docking Station                           Machinery & Equipment - Naperville
    21-016            2/8/2021   Truck Barn Racking                                       Machinery & Equipment - Truck Maintenance
    21-017           1/14/2021   Tecumseh Ice Cream Machine Compressor                    Machinery & Equipment - Naperville North
    21-018           2/17/2021   Work top Refrigerator                                    Machinery & Equipment - Bolingbrook East TBJ
    21-019           1/21/2021   Data Cabling - 1st Floor Marketing and Accounting        Data Processing Equipment
    21-020            1/1/2021   Lenovo ThinkPad P14S Serial #PF1V0589                    Data Processing Equipment
    21-021            1/1/2021   Lenovo ThinkPad P14S Serial #PF1V06YJ                    Data Processing Equipment
    21-022            1/1/2021   Lenovo ThinkPad P14s Serial #PF2455XQ                    Data Processing Equipment
    21-023           2/15/2021   LED Sign Retrofit                                        Machinery & Equipment - Joliet DS
    21-024           2/15/2021   LED Sign Retrofit                                        Machinery & Equipment - Bolingbrook
    21-025           2/17/2021   Awnings - Recover                                        Machinery & Equipment - Glenview
    21-026            2/2/2021   Metro Heated Proofing and Holding Cabinet                Machinery & Equipment - O’Fallon TJB
    21-027           2/26/2021   Bradford Hot Water Heater                                Machinery & Equipment - Park Ridge
    21-028           2/10/2021   Freezer Shelving                                         Machinery & Equiment - Raleigh TC
    21-029            2/2/2021   Grey H2O Bottle Filler Unit                              Machinery & Equipment - Oswego
    21-030            2/2/2021   Grey H2O Bottle Filler Unit                              Machinery & Equipment - Bartlett
    21-031           3/10/2021   Awinings - Recover                                       Machinery & Equipment - Gurnee
    21-032           3/11/2021   Ladderback Metal Chairs (36)                             Machinery & Equipment - Joliet DS
    21-033           3/10/2021   Window Shades                                            Machinery & Equipment - Bartlett
    21-034            3/3/2021   #656 2021 MT45G Freightliner VIN 4UZAC2GA4MCMR1291       Vehicles
    21-035            3/3/2021   #657 2021 MT45 Freightliner VIN 4UZAAPFD9MCMR1298        Vehicles
    21-036            3/3/2021   #658 2021 MT45 Freightliner VIN 4UZAAPFD0MCMR1299        Vehicles
    21-037            3/3/2021   #663 MT45 2021 Freightliner VIN 4UZAAPFD0MCMR1304        Vehicles
    21-038            1/1/2021   Hardening Room Steel Ramps                               Buildings - North Aurora
    21-039            3/3/2021   Hormann Roll-up Door                                     Machinery & Equipment - N.A. Plant
    21-040            3/5/2021   DariFill Variegate Nozzle and Syrup Divert Valve         Machinery & Equipment - N.A. Plant
    21-041           3/31/2021   Toast POS System                                         Machinery & Equipment - Bloomington TBJ
    21-042           2/28/2021   Toast POS System                                         Machinery & Equipment - O’Fallon TJB
    21-043           3/24/2021   Pole Sign / Sign Cabinet New Lexan Face Panels           Machinery & Equipment - Rolling Meadows



63817155
                      Case 24-05385          Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                         Document      Page 170 of 231


 Asset Number   Date Acquired    Asset Description 1                                       G/L Asset Account Description
    21-044           3/24/2021   Pole Sign/Cabinet New Lexan Face Panels& LED Retro        Machinery & Equipment - Arlington Heights
    21-045           3/30/2021   Landscaping                                               Leasehold Improvements - Oakville
    21-046           4/12/2021   #659 MT45 2021 Freightliner VIN 4UZAAPFD3MCMR1300         Vehicles
    21-047           4/12/2021   #661 MT45 2021 Freightliner VIN 47ZAAPFD7MCMR1302         Vehicles
    21-048           4/12/2021   #662 MT45 2021 Freightliner VIN 4UZAAPFD9MCMR1303         Vehicles
    21-049           1/29/2021   Menu Board #2                                             Machinery & Equipment - Downers Grove
    21-050           3/30/2021   Exterior Electric Installation for New Building           Buildings - Geneva
    21-051           3/26/2021   Chest Freezer                                             Machinery & Equipment - Downers Grove
    21-052           3/26/2021   Chest Freezer                                             M/E - Glen Ellyn TBJ
    21-053            1/1/2021   ThinkPad P14S Mobile Workstation Ser #PF2G2EYN            Data Processing Equipment
    21-054            1/1/2021   ThinkPad P1 Gen 3 Workstation Ser #R910TCWV               Data Processing Equipment
    21-055            2/3/2021   ThinkPad P14S Mobile Workstation Ser #PF1SHGWQ            Data Processing Equipment
    21-056           4/29/2021   Ladderback Metal Chairs (45)                              Machinery & Equipment - Naperville
    21-057           4/29/2021   Ladderback Metal Chairs (50)                              Machinery & Equipment - North Aurora DS
    21-058            4/1/2021   Sidewalks Remove and Replace                              Leasehold Improvements - Arlington Heights
    21-059            4/9/2021   Old Freezer Ceiling Installlation                         Buildings - North Aurora
    21-060           4/30/2021   Tetra Pak Ice Cream Freezer Upgrades                      Machinery & Equipment - N.A. Plant
    21-061           3/25/2021   Conference Room Furniture                                 Office Furniture - North Aurora
    21-062           4/19/2021   Customer Service New Low Voltage Wiring                   Data Processing Equipment
    21-063           3/19/2021   HermanMiller Office Chair                                 Office Furniture - North Aurora
    21-064            4/1/2021   Epson Surecolor P5000 Printer Ser #X2WE101982             Data Processing Equipment
    21-065           5/13/2021   Replacement of Facia and Soffit                           Leasehold Improvements - Oakville
    21-066            5/6/2021   Heated Holding Cabinet                                    Machinery & Equipment - Geneva TBJ
    21-067            5/6/2021   Heated Holding Cabinet                                    Machinery & Equipment - Bolingbrook
    21-068           5/10/2021   Bradford Hot Water Heater                                 Machinery & Equipment - Bolingbrook East TBJ
    21-069           4/21/2021   Solar & Roller Shades                                     Machinery & Equipment - Mokena
    21-070           4/30/2021   Plant Roof Replacement                                    Buildings - North Aurora
    21-071           4/12/2021   Solar and Roller Shakes                                   Machinery & Equipment - Oswego
    21-072           5/24/2021   Toast POS System                                          Machinery & Equipment - Champaign TBJ
    21-073           5/18/2021   Bloomington Cooler Expansionl                             Machinery & Equipment - Bloomington TC
    21-075           4/30/2021   Raymond Pallet Truck                                      Machinery & Equipment - Indianapolis TC



63817155
                      Case 24-05385          Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                         Document      Page 171 of 231


 Asset Number   Date Acquired    Asset Description 1                                       G/L Asset Account Description
    21-076            5/6/2021   Water Extension to Back of Building                       Leasehold Improvements - Detroit TF
    21-077           5/21/2021   True Mfg Reach-In Freezer Model T-49F-HC                  Machinery & Equipment - Oakville
    21-078            3/3/2021   Watchguard Firebox T80 with 3-yr Standard Support         Machinery & Equipment - Champaign TBJ
    21-079            3/3/2021   Watchguard Firebox T80 with 3-yr Standard Support         Machinery & Equipment - O’Fallon TJB
    21-080            3/3/2021   Watchguard Firebox T80 with 3-yr Standard Support         Machinery & Equipment - Bloomington TBJ
    21-081            3/3/2021   Watchguard Firebox T80 with 3-yr Standard Support         Data Processing Equipment
    21-082            3/2/2021   WatchGuard AP 325 with 3-yr Basic WiFi                    Machinery & Equipment - North Aurora DS
    21-083           2/16/2021   Lenovo ThinkPad P14S Ser #PF22BLTH                        Data Processing Equipment
    21-084           2/16/2021   ThinkPad P1 Gen 3 Workstation Ser #R9115SS7               Data Processing Equipment
    21-085           2/15/2021   Watchguard Firebox T80 with 3-yr Standard Support         Machinery & Equipment - Lakeview
    21-086           2/15/2021   Watchguard Firebox T80 with 3-yr Standard Support         Machinery & Equipment - D.S. Equipment Inv
    21-087           5/27/2021   Awnings - Recover                                         Machinery & Equipment - Oakville
    21-088           3/23/2021   ThinkPad P15S Mobile Workstation Serial #PF2RXD19         Data Processing Equipment
    21-089           3/16/2021   Lenovo ThinkPad P14S Serial #PF1SHGWQ                     Data Processing Equipment
    21-090            4/9/2021   Watchguard AP325 with 3-yr Basic WiFi                     Data Processing Equipment
    21-091           5/24/2021   Vulcan Griddle Model No. VMCS-101                         Machinery & Equipment - Geneva TBJ
    21-092           5/20/2021   Bar Blender Quiet One                                     Machinery & Equipment - Glenview
    21-093            6/2/2021   Extend Truck Barn Parking Lot                             Leasehold Improvements - Truck Barn
    21-094            5/4/2021   Allen Bradley Variable Frequency Drive for Homogen        Machinery & Equipment - N.A. Plant
    21-095           5/27/2021   WatchGuard AP327X w/ 3 Years Basic Wi-Fi                  Machinery & Equipment - O’Fallon TJB
    21-096           5/28/2021   Press Booster and Stuffing Pump                           Machinery & Equipment - N.A. Plant
    21-097           5/25/2021   Bar Blender Quiet One                                     Machinery & Equipment - Troy
    21-098            4/6/2021   #660 MT45 2021 Freightliner VIN 4UZAAPFD5MCMR1301         Vehicles
    21-099            4/6/2021   #664 MT45 2021 Freightliner VIN 4UAAAPFD2MCMR1305         Vehicles
    21-100           4/20/2021   Hormann Roll-up Door                                      Machinery & Equipment - N.A. Plant
    21-101           5/21/2021   Diagnostic Touch Screen Laptop                            Vehicles
    21-102           4/13/2021   ThinkPad P1 Gen 3 Mobile Workstation Ser #R91254Z7        Data Processing Equipment
    21-103           4/13/2021   ThinkPad P14S Mobile Workstation Serial #PF2ESCT2         Data Processing Equipment
    21-104           3/31/2021   ThinkPad P14S Gen 1 Serial #PF2VGJTT                      Data Processing Equipment
    21-105           6/16/2021   PSM Maintenance for Regulatory Complaince                 Machinery & Equipment - N.A. Plant
    21-106            9/1/2021   Marlo MGT-450-2 Parallet Softner System                   Machinery & Equipment - N.A. Plant



63817155
                      Case 24-05385          Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                        Document      Page 172 of 231


 Asset Number   Date Acquired    Asset Description 1                                      G/L Asset Account Description
    21-107            7/6/2021   Metal Door and Frame                                     Leasehold Improvements Woodward
    21-108           7/13/2021   Grease Trap Replacement                                  Machinery & Equipment - Bartlett
    21-110            6/7/2021   Toast POS System                                         Machinery & Equipment - Naperville
    21-111            7/9/2021   Electric Booster Heater                                  Machinery & Equipment - Joliet DS
    21-112            7/7/2021   Landscaping                                              Leasehold Improvements - Orland Park
    21-113           6/29/2021   Handheld FZ-N1EBEZZDM Serial #1FKSA40723                 Machinery & Equipment - N.A. Plant
    21-114           6/29/2021   Handheld FZ-N1EBEZZDM Serial #1FKSA40725                 Machinery & Equipment - N.A. Plant
    21-115           6/30/2021   Electric Booster Heater                                  Machinery & Equipment Royal Oak Woodward
    21-116           6/29/2021   Bar Blender Quiet One                                    Machinery & Equipment - Park Ridge
    21-117            7/6/2021   Bar Blender Quiet One                                    Machinery & Equipment - Arlington Heights
    21-118           7/18/2021   Toast POS System                                         Machinery & Equipment - Downers Grove
    21-119           7/16/2021   Metro Heated Proofing and Holding Cabinet                Machinery & Equipment - Champaign TBJ
    21-120           7/16/2021   Metro Heated Proofing and Holding Cabinet                Machinery & Equipment - Bloomington TBJ
    21-121            7/7/2021   Office Furniture                                         Office Furniture - North Aurora
    21-122            7/6/2021   Ice Cream Machine Compressor                             Machinery & Equipment - Western Springs
    21-123           6/28/2021   Adobe Photoshop Software                                 Data Processing Equipment
    21-124           7/21/2021   Ladderback Metal Chairs (36)                             Machinery & Equipment - Wheaton
    21-125           7/21/2021   Ladderback Metal Chairs (36)                             Machinery & Equipment - Orland Park
    21-126           7/21/2021   Ladderback Metal Chairs (42)                             Machinery & Equipment - Lake Zurich
    21-127           7/21/2021   Ladderback Metal Chairs (38)                             Machinery & Equipment - Evergreen Park
    21-128           7/21/2021   Ladderback Metal Chairs (32)                             Machinery & Equipment - Bartlett
    21-129           7/21/2021   Ladderback Metal Chairs (60)                             Machinery & Equipment - Arlington Heights
    21-130           7/21/2021   Ladderback Metal Chairs (55)                             Machinery & Equipment - Bolingbrook
    21-131            5/7/2021   Conveyor Motor                                           Machinery & Equipment - N.A. Plant
    21-132            7/5/2021   (2) Carrier Roof Top Air Conditioning Units              Leasehold Improvements - Arlington Heights
    21-134           6/28/2021   Walk-in Freezer Condensing Unit                          Machinery & Equipment - Evergreen Park
    21-135           6/30/2021   True Mfg. Reach-in Freezer Model #T-72F-HC               Machinery & Equipment - Western Springs
    21-136           7/30/2021   #182 Mercedes Benz Sprinter WD3PF4CC1GP254323            Vehicles
    21-137           7/30/2021   #183 Mercedes Benz Sprinter WD3PF4CC3GP254324            Vehicles
    21-138           7/30/2021   #184 Mercedes Benz Sprinter WD3PF4CC5GP254325            Vehicles
    21-139           7/30/2021   #185 Mercedes Benz Sprinter WD3PF4CC7GP254326            Vehicles



63817155
                      Case 24-05385          Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                         Document      Page 173 of 231


 Asset Number   Date Acquired    Asset Description 1                                       G/L Asset Account Description
    21-140           7/30/2021   #186 Mercedes Benz Sprinter WD3PF4CC9GP254327             Vehicles
    21-141           7/30/2021   #C-28 2022 International MV607 1HTEVTARXNH215404          Vehicles
    21-142            8/2/2021   Heated Holding Cabinet                                    Machinery & Equipment - Downers Grove
    21-143           7/30/2021   Bradford Hot Water Heater                                 M/E - Glen Ellyn TBJ
    21-144           6/24/2021   Heated warming cabinet                                    Machinery & Equipment - Skokie
    21-145           7/21/2021   Variable Frequency Drive                                  Machinery & Equipment - N.A. Plant
    21-146            8/2/2021   Toast POS System                                          M/E - Glen Ellyn TBJ
    21-147           8/16/2021   Toast POS System                                          Machinery & Equipment - North Aurora DS
    21-148           8/31/2021   Toast POS System                                          Machinery & Equipment - Bolingbrook East TBJ
    21-149           8/18/2021   #C-29 Freightliner 2022 3ALHCYD28NDND2177                 Vehicles
    21-150           8/23/2021   Electrical surge protection equipment for plant sy        Machinery & Equipment - N.A. Plant
    21-151           4/26/2021   Conventional Chest Type Double Row Cabinet                Machinery & Equipment - Gurnee
    21-152           8/24/2021   Android 8.1 Qualcomm SDM660-2 Handheld 1FKSA40721         Data Processing Equipment
    21-153           8/24/2021   Android 8.1 Qualcomm SDM660-2 Handheld 1FKSA40722         Data Processing Equipment
    21-154           8/24/2021   Android 8.1 Qualcomm SDM660-2 Handheld 1FKSA40728         Data Processing Equipment
    21-155           8/24/2021   Android 8.1 Qualcomm SDM660-2 Handheld 1FKSA40730         Data Processing Equipment
    21-156           8/24/2021   Android 8.1 Qualcomm SDM660-2 Handheld 1FKSA40734         Data Processing Equipment
    21-157           8/12/2021   Primed Cap Pickup Machine for Glass Bowl Filler           Machinery & Equipment - N.A. Plant
    21-158           5/19/2021   Round Outdoor Tables (5)                                  Machinery & Equipment - Bartlett
    21-159           5/19/2021   Round Outdoor Tables (2)                                  Machinery & Equipment - Evergreen Park
    21-160           5/19/2021   Round Outdoor Table                                       Machinery & Equipment - North Aurora DS
    21-161           5/19/2021   Round Outdoor Tables (2)                                  Machinery & Equipment - North Aurora DS
    21-162           8/25/2021   Awnings - Recover                                         M&E - St. Charles
    21-163           8/13/2021   (2) Powerflex 70 VFD’s Emergency for Raw Side Pump        Machinery & Equipment - N.A. Plant
    21-164           8/13/2021   (2) Powerflex 20G11 VFD’s Emergency for Pasturized        Machinery & Equipment - N.A. Plant
    21-165           8/30/2021   True Mfg. Reach-in Freezer Model #T-49F-HC                Machinery & Equipment - Joliet DS
    21-166           9/13/2021   Toast POS System                                          Machinery & Equipment - Skokie
    21-167           6/25/2021   Lenovo ThinkPad P14S Serial #PF2X9F5X                     Data Processing Equipment
    21-168           6/25/2021   Lenovo ThinkPad P14S Serial #PF2X8YKX                     Data Processing Equipment
    21-169           6/11/2021   Lenovo ThinkPad P43S Serial #R91254Z7                     Data Processing Equipment
    21-170           6/11/2021   Lenovo ThinkPad P43S Serial #PF2ESCT2                     Data Processing Equipment



63817155
                      Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                           Document      Page 174 of 231


 Asset Number   Date Acquired    Asset Description 1                                         G/L Asset Account Description
    21-171            8/6/2021   Refrigeration System for Walk-In Cooler                     Machinery & Equipment - Downers Grove
    21-173            8/3/2021   Video Surveillance Equipment                                Machinery & Equipment Royal Oak Woodward
    21-174            8/3/2021   Video Surveillance Equipment                                Machinery & Equipment - Troy
    21-175           9/15/2021   Awnings - Recover                                           Machinery & Equipment - Joliet DS
    21-176           8/11/2021   Awnings - Recover                                           Machinery & Equipment - Naperville
    21-177           8/18/2021   Awnings - Recover                                           Machinery & Equipment - Park Ridge
    21-178           9/25/2021   Heated Ice Cream Variegator Pump                            Machinery & Equipment - N.A. Plant
    21-179            9/1/2021   Plastic bottle sleeve applicator and steam tunnel           Machinery & Equipment - N.A. Plant
    21-180           8/15/2021   Lelbinger Jet2Neo System                                    Machinery & Equipment - N.A. Plant
    21-181            8/2/2021   Heated Holding Cabinet                                      M/E - Glen Ellyn TBJ
    21-182           8/12/2021   Bar Blender Quiet One                                       Machinery & Equipment - Park Ridge
    21-183           8/25/2021   Watchguard Firebox T80 with 3-yr Standard Support           Machinery & Equipment - Bolingbrook East TBJ
    21-184           9/16/2021   2nd Heat Exchanger for CIP System                           Machinery & Equipment - N.A. Plant
    21-185           9/17/2021   Heat Exchanger for CIP System                               Machinery & Equipment - N.A. Plant
    21-186            9/3/2021   Bar Blender Quiet One                                       M/E - Glen Ellyn TBJ
    21-187           10/5/2021   Landscaping                                                 Leasehold Improvements - Champaign TBJ
    21-188           7/21/2021   Lenovo Intel Core i5-10500 Processor with vPro              Data Processing Equipment
    21-189           9/21/2021   Dipping Cabinet                                             Machinery & Equipment - Naperville North
    21-190           9/30/2021   Pneumatic Wrench                                            Machinery & Equipment - N.A. Plant
    21-192           10/6/2021   Motor for Glass Production Line                             Machinery & Equipment - N.A. Plant
    21-193           10/1/2021   Line Monitoring Equipment                                   Machinery & Equipment - N.A. Plant
    21-194            9/1/2021   Walk-in Freezer Condensing Unit                             Machinery & Equipment - Oakville
    21-195         10/18/2021    Dipping Cabinet                                             M/E - Glen Ellyn TBJ
    21-196           9/18/2021   LED Awning Retrofit                                         M&E - St. Charles
    21-198           9/18/2021   LED Sign and Awning Retrofit                                Machinery & Equipment - Naperville North
    21-199         10/19/2021    Fire Alarm System                                           Buildings - North Aurora
    21-200           10/6/2021   1/2 Gallon Glass Replacement Infeed                         Machinery & Equipment - N.A. Plant
    21-201         10/13/2021    Bar Blender Quiet One                                       Machinery & Equipment - Ballwin
    21-202            1/1/2021   Tunnel Tray Assembly                                        Machinery & Equipment - N.A. Plant
    21-203           9/23/2021   #264 2018 Freighliner VIN #1FVACWFB7JHJP8199                Vehicles
    21-204           9/23/2021   #265 2018 Freighliner VIN #1FVACWFB9JHJP8200                Vehicles



63817155
                      Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                           Document      Page 175 of 231


 Asset Number   Date Acquired    Asset Description 1                                         G/L Asset Account Description
    21-205         10/15/2021    Handheld FZ-N1EBEZZDM Serial #1GKSA45000                    Data Processing Equipment
    21-206         10/15/2021    Handheld FZ-N1EBEZZDM Serial #1GKSA45004                    Data Processing Equipment
    21-207         10/15/2021    Handheld FZ-N1EBEZZDM Serial #1GKSA45003                    Data Processing Equipment
    21-208         10/15/2021    Handheld FZ-N1EBEZZDM Serial #1GKSA45002                    Data Processing Equipment
    21-209         10/29/2021    Ladderback Metal Chairs (30)                                Machinery & Equipment - Schereville
    21-210         10/29/2021    Ladderback Metal Chairs (28)                                Machinery & Equipment - Park Ridge
    21-211         10/29/2021    Ladderback Metal Chairs (28)                                Machinery & Equipment - Lincolnwood
    21-212           10/5/2021   Ceiling Tiles, Stainless Steel Shelving                     Leasehold Improvements - Oakville
    21-213         10/12/2021    Ceiling Tiles, Stainless Steel Shelving                     Leasehold Improvements - Kirkwood
    21-214         10/19/2021    Tigear-2 E-Z Kleen Reducer Gear Products                    Machinery & Equipment - N.A. Plant
    21-215         10/13/2021    .75 HP Motor                                                Machinery & Equipment - N.A. Plant
    21-216           10/5/2021   Gear Boxes for Conveyer Systems (4)                         Machinery & Equipment - N.A. Plant
    21-217         10/15/2021    High Level Safety and Ammonia Detection System              Machinery & Equipment - N.A. Plant
    21-218           10/7/2021   Frequency Controlled Motor Drive                            Machinery & Equipment - N.A. Plant
    21-219         10/21/2021    Chart Recorder (2)                                          Machinery & Equipment - N.A. Plant
    21-220           8/26/2021   Rooftop Condensing Unit for Walk-in Freezer                 Machinery & Equipment - Naperville
    21-221           11/3/2021   Landscaping                                                 Leasehold Improvements - Bloomington TBJ
    21-222         10/12/2021    Rooftop Compresser Unit for Reach-in Freezer                Machinery & Equipment - St. Peters
    21-223           8/25/2021   SMC Flex Smart Motor Controller                             Machinery & Equipment - N.A. Plant
    21-225         11/15/2021    7.5 HP Motor                                                Machinery & Equipment - N.A. Plant
    21-226           11/7/2021   Asphalt Installation                                        Leasehold Improvements - Oakville
    21-227         10/18/2021    FRP Wall Covering                                           Machinery & Equipment - Skokie
    21-228         10/11/2021    Lenovo ThinkCentre M90Q Tiny Gen 2                          Data Processing Equipment
    21-229           10/5/2021   ThinkPad P17 Ser #PF37QERY                                  Data Processing Equipment
    21-230           10/5/2021   ThinkPad P17 Ser #PF38YQR3                                  Data Processing Equipment
    21-231           10/5/2021   ThinkPad P17 Ser #PF390Q0F                                  Data Processing Equipment
    21-232         11/11/2021    Air Curtains for Trucks (50)                                Vehicles
    21-233           10/4/2021   Hardening Room Doors                                        Machinery & Equipment - N.A. Plant
    21-234         11/22/2021    Milk Receiving Bay Doors                                    Machinery & Equipment - N.A. Plant
    21-235           11/9/2021   Exterior Rear Door                                          Leasehold Improvements - Arlington Heights
    21-236         11/18/2021    Pump for Drums                                              Machinery & Equipment - N.A. Plant



63817155
                      Case 24-05385          Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                         Document      Page 176 of 231


 Asset Number   Date Acquired    Asset Description 1                                       G/L Asset Account Description
    21-237           12/3/2021   Sneeze Guard                                              Machinery & Equipment - Lakeview
    21-238         12/15/2021    LED Sign Retrofit                                         Machinery & Equipment - Arlington Heights
    21-239           11/5/2021   Landscaping                                               Leasehold Improvements - Oakville
    21-240         12/15/2021    LED Sign Retrofit                                         Machinery & Equipment - Schereville
    21-241         12/15/2021    LED Sign Retrofit                                         Machinery & Equipment - Wheaton
    21-242         12/21/2021    Complete Capper Head Assembly                             Machinery & Equipment - N.A. Plant
    21-243           12/8/2021   Awnings - Recover                                         Machinery & Equipment - Bloomingdale
    21-244         12/13/2021    Window Tint Film                                          Machinery & Equipment - Lincolnwood
    21-245           12/8/2021   Awning - Recover                                          Machinery & Equipment - North Aurora DS
    21-246         12/14/2021    LED Retrofit                                              Machinery & Equipment - Mokena
    22-001            1/1/2022   (2) Zebra Industrial Label Printers                       Data Processing Equipment
    22-002            1/1/2022   Lenovo ThinkPad P14S Serial #PF38TKW6                     Data Processing Equipment
    22-003            1/1/2022   Video Surveillance Equipment                              Machinery & Equipment - Lakeview
    22-004            1/1/2022   Video Surveillance Equipment                              Machinery & Equipment - Orland Park
    22-005           4/12/2022   500 Gallon Stainless Steel Tank                           Machinery & Equipment - N.A. Plant
    22-006           1/13/2022   Walk-In Freezer Condensing Unit                           Machinery & Equiment - Raleigh TC
    22-007            1/7/2022   Z-Linde MT-18 Electric Pallet Truck                       Machinery & Equipment - Milwaukee TC
    22-012           2/17/2022   Stainless Steel Table                                     Machinery & Equipment - Downers Grove
    22-013           2/22/2022   (32) Ladderback Metal Chairs                              Machinery & Equipment - Ballwin
    22-014           2/22/2022   (31) Ladderback Metal Chairs                              Machinery & Equipment - St. Peters
    22-015           2/22/2022   (32) Ladderback Metal Chairs                              Machinery & Equipment - Bloomingdale
    22-016           2/22/2022   (26) Ladderback Metal Chairs                              Machinery & Equipment - Naperville North
    22-017           2/22/2022   (16) Ladderback Metal Chairs                              Machinery & Equipment - Naperville
    22-018            1/1/2022   Vitapump                                                  Machinery & Equipment - N.A. Plant
    22-019            1/1/2022   Motor Controller (VFD)                                    Machinery & Equipment - N.A. Plant
    22-020           1/31/2022   Sterling Heater STXF175A1NS111, #C2101783474005003        Machinery & Equipment - N.A. Plant
    22-021           1/31/2022   Sterling Heater STXF175A1NS111, #C210242408800020         Machinery & Equipment - N.A. Plant
    22-022           1/31/2022   Sterling Heater STXF200A1NS111, #G210244085300061         Machinery & Equipment - N.A. Plant
    22-023            2/8/2022   Bar Blender Quiet One                                     Machinery & Equipment - Kirkwood
    22-024            2/8/2022   (2) Bar Blenders Quiet One                                Machinery & Equipment - Kirkwood
    22-025           2/25/2022   Walk-behind 20” Disc Scrubber                             Machinery & Equipment - N.A. Plant



63817155
                      Case 24-05385          Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                        Document      Page 177 of 231


 Asset Number   Date Acquired    Asset Description 1                                      G/L Asset Account Description
    22-026           2/24/2022   Ground mounted fencing gates                             Leasehold Imp - Rolling Meadows
    22-027            3/5/2022   LED Sign Retrofit                                        Machinery & Equipment - Arlington Heights
    22-028            2/7/2022   Copeland Ice Cream Compressor                            Machinery & Equipment - Elgin
    22-029            2/2/2022   Hopper Assembly                                          Machinery & Equipment - N.A. Plant
    22-030           3/16/2022   NBD8-HC Dipping Cabinet                                  M/E - Glen Ellyn TBJ
    22-033           3/15/2022   #172 Sprinter Engine                                     Vehicles
    22-034           2/26/2022   (3) Pedestrian Exterior Doors and CIP Room Door          Buildings - North Aurora
    22-035            1/1/2022   Milk Receiving Bay Doors                                 Buildings - North Aurora
    22-036            2/7/2022   Handheld FZ-N1EBEZZDM Ser #1LKSA58685                    Data Processing Equipment
    22-037            2/7/2022   Handheld FZ-N1EBEZZDM Ser #1LKSA58730                    Data Processing Equipment
    22-038            2/7/2022   Handheld FZ-N1EBEZZDM Ser #1LKSA58742                    Data Processing Equipment
    22-039            2/7/2022   Handheld FZ-N1EBEZZDM Ser #1LKSA58809                    Data Processing Equipment
    22-040            2/7/2022   Handheld FZ-N1EBEZZDM Ser #1LKSA58779                    Data Processing Equipment
    22-041            2/7/2022   Handheld FZ-N1EBEZZDM Ser #1LKSA58791                    Data Processing Equipment
    22-042            2/7/2022   Handheld FZ-N1EBEZZDM Ser #1LKSA58792                    Data Processing Equipment
    22-043            2/7/2022   Handheld FZ-N1EBEZZDM Ser #1LKSA58763                    Data Processing Equipment
    22-044            1/1/2022   Greenheck CUE-100A Exhaust Fan                           Machinery & Equipment - N.A. Plant
    22-045           2/23/2022   Pump for TetraPak                                        Machinery & Equipment - N.A. Plant
    22-046           3/28/2022   PowerFlex 755 AC Drive                                   Machinery & Equipment - N.A. Plant
    22-047           3/17/2022   Outdoor LED Light Box                                    Machinery & Equipment - Bloomington TBJ
    22-048           3/17/2022   Hot Water Mixing Valve Hose Station                      Machinery & Equipment - N.A. Plant
    22-049            3/1/2022   Ifix v2022 Plus Software                                 Machinery & Equipment - N.A. Plant
    22-050           3/10/2022   Panelview Plus                                           Machinery & Equipment - N.A. Plant
    22-052           3/11/2022   (5) Tank Level Transmitters                              Machinery & Equipment - N.A. Plant
    22-053           3/18/2022   Dart Digital Thermometer                                 Machinery & Equipment - N.A. Plant
    22-054           2/21/2022   Handheld FZ-N1EBEZZDM Ser #1LKSA58670                    Data Processing Equipment
    22-055           2/21/2022   Handheld FZ-N1EBEZZDM Ser #1LKSA58748                    Data Processing Equipment
    22-056           2/21/2022   Handheld FZ-N1EBEZZDM Ser #1LKSA58766                    Data Processing Equipment
    22-057           2/21/2022   Handheld FZ-N1EBEZZDM Ser #1LKSA58765                    Data Processing Equipment
    22-058           2/21/2022   Handheld FZ-N1EBEZZDM Ser #1LKSA58755                    Data Processing Equipment
    22-059           3/22/2022   #665 2022 Freightliner MT45G VIN #47ZAC2GA1NCNR448       Vehicles



63817155
                      Case 24-05385          Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                        Document      Page 178 of 231


 Asset Number   Date Acquired    Asset Description 1                                      G/L Asset Account Description
    22-060           3/22/2022   #668 2022 Freightliner MT45G VIN #4UZAC2GAXNCN4449       Vehicles
    22-061           3/22/2022   #670 2022 Freightliner MT45G VIN #47ZAC2GA3NCNR449       Vehicles
    22-062           2/25/2022   Sanitary Differential Pressure Switch                    Machinery & Equipment - N.A. Plant
    22-063           4/19/2022   Pressure Relief Valve                                    Machinery & Equipment - N.A. Plant
    22-064           4/19/2022   Pressure Relief Valve                                    Machinery & Equipment - N.A. Plant
    22-065           4/29/2022   Industrial Inkjet Printer                                Machinery & Equipment - N.A. Plant
    22-066           2/28/2022   Steam Hood                                               Machinery & Equipment - N.A. Plant
    22-067           4/26/2022   Ammonia Transfer Pump                                    Machinery & Equipment - N.A. Plant
    22-068           4/18/2022   Scot Industrial Pump                                     Machinery & Equipment - N.A. Plant
    22-069            4/7/2022   (3) CHI 3285 Insulated Sectional Doors                   Machinery & Equipment - N.A. Plant
    22-070           4/22/2022   Panelview Plus                                           Machinery & Equipment - N.A. Plant
    22-071           4/28/2022   #28 2020 Chevrolet Express Car VIN #1GCWGAFG4L1271       Vehicles
    22-072            4/6/2022   Allen Bradley Control Panel                              Machinery & Equipment - N.A. Plant
    22-073            4/6/2022   PowerFlex 753 AC Drive                                   Machinery & Equipment - N.A. Plant
    22-074           4/14/2022   PowerFlex 753 AC Drive                                   Machinery & Equipment - N.A. Plant
    22-075            4/4/2022   PowerFlex 70 AC Drive                                    Machinery & Equipment - N.A. Plant
    22-076            1/1/2022   Intralox Conveyer Belt                                   Machinery & Equipment - N.A. Plant
    22-078            5/3/2022   Stainless Steel Tank                                     Machinery & Equipment - N.A. Plant
    22-079            4/4/2022   3 Phase AC Motor Serial #850483058.15.15.001             Machinery & Equipment - N.A. Plant
    22-080            4/7/2022   Allen Bradley Control Panel                              Machinery & Equipment - N.A. Plant
    22-081           4/14/2022   Rebuild of Condenser Tower for Cooling Purposes          Machinery & Equipment - N.A. Plant
    22-082           4/20/2022   (4) Baldor Stainless Steel Motors                        Machinery & Equipment - N.A. Plant
    22-083           3/17/2022   Copeland Ice Cream Compressor                            Machinery & Equipment - Wheaton
    22-084           3/11/2022   Electro Freeze Roller Assembly and Pressure Switch       Machinery & Equipment - Lakeview
    22-085           4/21/2022   Bar Blender Quiet One                                    Machinery & Equipment - Gurnee
    22-086           3/31/2022   Quart and Pint Spinner                                   Machinery & Equipment - N.A. Plant
    22-087           4/30/2022   Fruit Feeder & IC Freezer Rebuild                        Machinery & Equipment - N.A. Plant
    22-088           4/11/2022   Small Bottle Packaging Machine                           Machinery & Equipment - N.A. Plant
    22-089           5/19/2022   Bloomington Freezer Expansion                            Machinery & Equipment - Bloomington TC
    22-090           5/17/2022   Roof Coating                                             Leasehold Improvements - Arlington Heights
    22-091           5/27/2022   Roof Coating                                             Leasehold Improvements - St. Charles



63817155
                      Case 24-05385          Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19     Desc Main
                                                        Document      Page 179 of 231


 Asset Number   Date Acquired    Asset Description 1                                      G/L Asset Account Description
    22-092           5/26/2022   Dipping Cabinet                                          Machinery & Equipment - Evergreen Park
    22-093           5/13/2022   Pressure Washer                                          Machinery & Equipment - Truck Maintenance
    22-094           5/12/2022   (2) Outdoor Round Tables and Umbrellas                   Machinery & Equipment - Orland Park
    22-096           5/23/2022   Ice Cream Wrapper Belt                                   Machinery & Equipment - N.A. Plant
    22-097            5/9/2022   3 Phase AC Motor Serial #F0108080726                     Machinery & Equipment - N.A. Plant
    22-098           5/12/2022   (5) 1 HP Rolled Steel Motors                             Machinery & Equipment - N.A. Plant
    22-099           5/31/2022   3 Phase AC Motor Serial #A2002212042                     Machinery & Equipment - N.A. Plant
    22-100           5/25/2022   (4) .75 HP Motors                                        Machinery & Equipment - N.A. Plant
    22-101           4/27/2022   Baldor Pump/Motor Assembly                               Machinery & Equipment - N.A. Plant
    22-102           6/15/2022   (36) Ladderback Metal Chairs                             Machinery & Equipment Royal Oak Woodward
    22-103           6/15/2022   (35) Ladderback Metal Chairs                             Machinery & Equipment - Oakville
    22-104           6/15/2022   (24) Ladderback Metal Chairs                             Machinery & Equipment - Troy
    22-105           6/17/2022   Dipping Cabinet                                          Machinery & Equipment - Troy
    22-106           6/17/2022   Toast POS System                                         Machinery & Equipment - Gurnee
    22-107           5/25/2022   Security Alarm Upgrade                                   Buildings - North Aurora
    22-108            6/1/2022   Plant Cameras                                            Data Processing Equipment
    22-109           6/14/2022   #19 2022 Chevy Silverado Vin # 1GB5YLE71NF275052         Vehicles
    22-110           5/25/2022   New Grout in CIP Room                                    Buildings - North Aurora
    22-111            6/3/2022   Glass and Plastic Bottle Filler Parts                    Machinery & Equipment - N.A. Plant
    22-112           6/17/2022   (3) Pump/Motor Assemblies                                Machinery & Equipment - N.A. Plant
    22-113           6/21/2022   Pump/Motor Assembly                                      Machinery & Equipment - N.A. Plant
    22-115            6/9/2022   New CAT 6 Cabling for Cameras                            Machinery & Equipment - Lakeview
    22-116            6/9/2022   New CAT 6 Cabling for Cameras, Patch Panel&12U Box       Machinery & Equipment - Orland Park
    22-117            6/9/2022   New CAT 6 Cabling for Cameras, Patch Panel&12U Box       Machinery & Equipment - Park Ridge
    22-118           7/15/2022   (4) Outdoor 46” Round Tables                             Machinery & Equipment - Troy
    22-119            7/5/2022   Receiving Bay Main Pump                                  Machinery & Equipment - N.A. Plant
    22-120            7/1/2022   Caser Machine Panel Logic Controllers                    Machinery & Equipment - N.A. Plant
    22-121           7/21/2022   #673 2022 MT45G Freightliner VIN#4UZAC2GA9NCN44496       Vehicles
    22-122           7/21/2022   #674 2022 MT45G Freightliner VIN#4UZAC2GA0NCNR4497       Vehicles
    22-123            6/9/2022   #C-30 2023 M2-106 Freightliner #1FVHCYD25PHNZ7361        Vehicles
    22-124           6/28/2022   #C-31 2023 M2-106 Freightliner #1FVHCYD27PHNZ7362        Vehicles



63817155
                      Case 24-05385          Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19       Desc Main
                                                        Document      Page 180 of 231


 Asset Number   Date Acquired    Asset Description 1                                      G/L Asset Account Description
    22-125           7/11/2022   Toast POS System                                         Machinery & Equipment - Schaumburg
    22-126           7/18/2022   Toast POS System                                         Machinery & Equipment - Elgin
    22-127           7/25/2022   Toast POS System                                         Machinery & Equipment - Lake Zurich
    22-128            8/8/2022   Toast POS System                                         Machinery & Equipment - Arlington Heights
    22-129           8/15/2022   Toast POS System                                         Machinery & Equipment - Glenview
    22-130            8/1/2022   (6) Truck Plug-Ins                                       Machinery & Equipment - Truck Maintenance
    22-131            6/2/2022   Tapered Insulation                                       Leasehold Improvements - Bartlett
    22-132            8/5/2022   #410 Thermo King SB190 Refrigeration Unit                Vehicles
    22-133            8/5/2022   #411 Thermo King SB190 Refrigeration Unit                Vehicles
    22-134           8/13/2022   #671 2022 MT45G Freightliner VIN#4UZAC2GA5NCNR4494       Vehicles
    22-135           8/19/2022   #672 2022 MT45G Freightliner VIN#4UZAC2GA7NCNR4495       Vehicles
    22-137            8/8/2022   Asphalt Repair                                           Leasehold Improvements - Arlington Heights
    22-138           7/19/2022   DT Research Med Mini I5 W10 8/256                        Data Processing Equipment
    22-139           7/19/2022   DT Research Med Mini I5 W10 8/256                        Data Processing Equipment
    22-140           7/19/2022   DT Research Med Mini I5 W10 8/256                        Data Processing Equipment
    22-141           7/26/2022   Detroit Walk in Freezer Evaporator/Condenser Repla       Machinery & Equipment - Detroit Transfer Center
    22-142           7/17/2022   Bottle Washer Infeed Motor                               Machinery & Equipment - N.A. Plant
    22-143           8/22/2022   Toast POS System                                         M&E - St. Charles
    22-144            7/5/2022   SS installation and FRP installation on walls            Leasehold Improvements - Downers Grove
    22-145           7/29/2022   Spare Drive and I/O Cards for Caser                      Machinery & Equipment - N.A. Plant
    22-146           7/25/2022   Steam Generator Heating Coil and Installation            Machinery & Equipment - N.A. Plant
    22-147            2/1/2022   ThinkCentre M70Q MJ0GS0FK                                Data Processing Equipment
    22-148           2/19/2022   ThinkCentre M70Q MJ0GS0G5                                Data Processing Equipment
    22-149           2/19/2022   ThinkCentre M70Q MJ0GS25W                                Data Processing Equipment
    22-150           2/20/2022   ThinkCentre M70Q MJ0GS0F6                                Data Processing Equipment
    22-151           2/20/2022   ThinkCentre M70Q MJ0GS0FL                                Data Processing Equipment
    22-152           2/20/2022   ThinkCentre M70Q MJ0GS0G4                                Data Processing Equipment
    22-153           2/20/2022   ThinkCentre M70Q MJ0GS0FF                                Data Processing Equipment
    22-154           2/20/2022   ThinkCentre M70Q MJ0GS0EV                                Data Processing Equipment
    22-155           2/20/2022   ThinkCentre M70Q MJ0GS0F8                                Data Processing Equipment
    22-156           2/20/2022   ThinkCentre M70Q MJ0GS0FE                                Data Processing Equipment



63817155
                      Case 24-05385          Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                        Document      Page 181 of 231


 Asset Number   Date Acquired    Asset Description 1                                      G/L Asset Account Description
    22-157           2/20/2022   ThinkCentre M70Q MJ0GS0FG                                Data Processing Equipment
    22-158           3/10/2022   ThinkCentre M70Q MJ0GS0KW                                Data Processing Equipment
    22-159           3/10/2022   ThinkCentre M70Q MJ0GS1ZY                                Data Processing Equipment
    22-160           3/10/2022   ThinkCentre M70Q MJ0GS2DP                                Data Processing Equipment
    22-161           3/10/2022   ThinkCentre M70Q MJ0GS0HL                                Data Processing Equipment
    22-162           3/10/2022   ThinkCentre M70Q MJ0GS0JQ                                Data Processing Equipment
    22-163           3/10/2022   ThinkCentre M70Q MJ0GS0KD                                Data Processing Equipment
    22-164            3/9/2022   ThinkCentre M70Q MJ0GS0RZ                                Data Processing Equipment
    22-165            3/9/2022   ThinkCentre M70Q MJ0GS9WX                                Data Processing Equipment
    22-166            3/9/2022   ThinkCentre M70Q MJ0GSA62                                Data Processing Equipment
    22-167            3/9/2022   ThinkCentre M70Q MJ0GS9Y2                                Data Processing Equipment
    22-168            3/9/2022   ThinkCentre M70Q MJ0GSA2L                                Data Processing Equipment
    22-169            3/9/2022   ThinkCentre M70Q MJ0GSA5S                                Data Processing Equipment
    22-170            3/9/2022   ThinkCentre M70Q MJ0GS9SE                                Data Processing Equipment
    22-171            3/9/2022   ThinkCentre M70Q MJ0GS9X2                                Data Processing Equipment
    22-172            3/9/2022   ThinkCentre M70Q MJ0GSA4S                                Data Processing Equipment
    22-173            3/9/2022   ThinkCentre M70Q MJ0GS9K8                                Data Processing Equipment
    22-174            3/9/2022   ThinkCentre M70Q MJ0GS9WJ                                Data Processing Equipment
    22-175            3/9/2022   ThinkCentre M70Q MJ0GSA5E                                Data Processing Equipment
    22-176           8/16/2022   (3) Sets of Stainless Steel Frames and New Glass         Buildings - North Aurora
    22-177           8/24/2022   Mesh Raw Milk Receiving Bay Door                         Buildings - North Aurora
    22-178            8/9/2022   Refurbished PowerFlex 755 Motor                          Machinery & Equipment - N.A. Plant
    22-179           8/24/2022   Refurb Kenetix 5500 Barcode Print Ser#952048278183       Machinery & Equipment - N.A. Plant
    22-180           8/24/2022   Refurb Kenetix 5500 Barcode Print Ser#147318689289       Machinery & Equipment - N.A. Plant
    22-181           8/29/2022   #675 2022 MT45G Freightliner VIN#4UZAC2GA7NCNR4498       Vehicles
    22-182           5/24/2022   Awnings Recover                                          Machinery & Equipment - St. Peters
    22-183            9/2/2022   Actuator                                                 Machinery & Equipment - N.A. Plant
    22-184           8/11/2022   Spring Loaded Pressure Relief Valve for HTST             Machinery & Equipment - N.A. Plant
    22-185           8/15/2022   Heated Holding Cabinet Serial #C5HME041430               M/E - Glen Ellyn TBJ
    22-186           8/11/2022   Delta Butterfat Tester - Rebuild                         Machinery & Equipment - Lab
    22-187           8/22/2022   Hose System for Outbound MIlk Loads                      Machinery & Equipment - N.A. Plant



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                            Document      Page 182 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    22-188           8/12/2022   Tools for Product Quality Assurance                          Machinery & Equipment - N.A. Plant
    22-189            8/7/2022   High Speed Door for Small Ingredient Room                    Machinery & Equipment - N.A. Plant
    22-190           8/22/2022   Ductwork                                                     Leasehold Improvements - O’Fallon
    22-191           8/22/2022   Ceiling Tiles                                                Leasehold Imp - Rolling Meadows
    22-192           8/22/2022   FRP and Backer Installation                                  Leasehold Improvements - Arlington Heights
    22-193           9/13/2022   Clear Insulating Glass Unit                                  Leasehold Improvements - Oswego
    22-194           8/15/2022   Apple Studio Display Serial #SK4HCGXPVY9                     Data Processing Equipment
    22-195           9/12/2022   Toast POS System                                             Machinery & Equipment - Oswego
    22-196           9/19/2022   Toast POS System                                             Machinery & Equipment - Naperville North
    22-197         10/11/2022    Double Flip Chest Freezer Ser # 2228002                      Machinery & Equipment Royal Oak Woodward
    22-198           8/30/2022   Lenovo ThinkPad T15p Gen 3 Serial #PF42L9WK                  Data Processing Equipment
    22-199           8/30/2022   Lenovo ThinkPad T15p Gen 3 Serial #PF42LC23                  Data Processing Equipment
    22-200           8/21/2022   DS-7332HUI-KR Analog HD DVR                                  Data Processing Equipment
    22-201           10/4/2022   Allen Bradley Powerflex 755                                  Machinery & Equipment - N.A. Plant
    22-202            9/1/2022   (5) Sets of SS Doors, Frames and Hardware for Plnt           Buildings - North Aurora
    22-203           10/6/2022   Bradford 75 Gallon Hot Water Heater                          Machinery & Equipment - Joliet DS
    22-204           7/26/2022   Motor and Housing Assembly                                   Machinery & Equipment - Oswego
    22-205         10/31/2022    120 V Heater Serial #22GAJ840M                               Machinery & Equipment - Lake Zurich
    22-206         10/17/2022    Toast POS Installation                                       Machinery & Equipment - Bolingbrook
    22-207         10/24/2022    Toast POS System                                             Machinery & Equipment - Oakville
    22-208           9/26/2022   Toast POS System                                             Machinery & Equipment - Park Ridge
    22-209         10/25/2022    Toast POS System                                             Machinery & Equipment - St. Peters
    22-210         10/26/2022    (3) Pump/Motor Assemblies                                    Machinery & Equipment - N.A. Plant
    22-211         10/10/2022    Kinetic VP Food Grade Servo Motor                            Machinery & Equipment - N.A. Plant
    22-212         11/14/2022    Toast POS System                                             Machinery & Equipment - Rolling Meadows
    22-213         11/16/2022    Toast POS System                                             Machinery & Equipment - Wheaton
    22-214         11/28/2022    Snow Plow                                                    Vehicles
    22-215           10/3/2022   Hotbar for Ice Cream Shrink Wrapper                          Machinery & Equipment - N.A. Plant
    22-216         10/17/2022    Painting in Plant                                            Buildings - North Aurora
    22-217           9/21/2022   (5) Bottle Carrier Racks                                     Machinery & Equipment - N.A. Plant
    22-218           9/20/2022   (2) Red/Green Traffic Flow Lights                            Machinery & Equipment - N.A. Plant



63817155
                      Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                           Document      Page 183 of 231


 Asset Number   Date Acquired    Asset Description 1                                         G/L Asset Account Description
    22-219         10/11/2022    Interior Cooler Man Door                                    Machinery & Equipment - N.A. Plant
    22-220           10/4/2022   Dock Snider Door                                            Buildings - North Aurora
    22-221           10/4/2022   Exterior Man Door                                           Buildings - North Aurora
    22-222         10/11/2022    Old Hardening Room/Cooler Door                              Machinery & Equipment - N.A. Plant
    22-223         11/22/2022    (4) Nema Door Operators                                     Machinery & Equipment - N.A. Plant
    22-224            9/8/2022   PowerFlex AC Drive Serial #94473685                         Machinery & Equipment - N.A. Plant
    22-225            9/8/2022   Allen Bradley Powerflex 750                                 Machinery & Equipment - N.A. Plant
    22-226            9/9/2022   Allen Bradley Powerflex 70                                  Machinery & Equipment - N.A. Plant
    22-227            9/8/2022   Allen Bradley 20AD027A0A6NANNN                              Machinery & Equipment - N.A. Plant
    22-228            9/9/2022   Allen Bradley 20F1AND125JN0NNNNN                            Machinery & Equipment - N.A. Plant
    22-229           8/31/2022   Centralized Ordering                                        Machinery & Equipment - Bolingbrook East TBJ
    22-230           6/22/2022   Descaling of Steam Generator System                         Machinery & Equipment - N.A. Plant
    22-231         11/26/2022    FOGG Filler Rebuild                                         Machinery & Equipment - N.A. Plant
    22-232         11/26/2022    Ice Cream Flipper                                           Machinery & Equipment - N.A. Plant
    22-233         12/18/2022    Vision System                                               Machinery & Equipment - N.A. Plant
    22-234         12/11/2022    Ice Cream Fruit Feeders                                     Machinery & Equipment - N.A. Plant
    22-235         10/29/2022    Ice Cream Conveyor                                          Machinery & Equipment - N.A. Plant
    22-236         11/19/2022    New System Design for Ice Cream Process Piping              Machinery & Equipment - N.A. Plant
    22-238         12/10/2022    Keyence Inkjet with Slide Integration                       Machinery & Equipment - N.A. Plant
    22-239           12/6/2022   Drive-thru Audio System                                     Machinery & Equipment - Gurnee
    22-241         12/12/2022    Toast POS System                                            Machinery & Equipment - Kirkwood
    22-242         12/12/2022    Toast POS System                                            Machinery & Equipment - Ballwin
    22-243         11/11/2022    True Mfg Freezer Model # T-35F-HC; Ser:10479897-1           Machinery & Equipment - Elgin
    22-244            8/9/2022   Convection Toaster                                          Machinery & Equipment - Naperville
    22-245         12/12/2022    3 Compartment Sink                                          Leasehold Improvements - Orland Park
    22-246         12/14/2022    Counter Stainless Steel Frame and Doors                     Leasehold Improvements - Arlington Heights
    22-247           12/6/2022   (4) Pump/Motor Assemblies                                   Machinery & Equipment - N.A. Plant
    22-248         12/19/2022    .5 HP Motor                                                 Machinery & Equipment - N.A. Plant
    22-249         12/22/2022    Heat Exchanger                                              Machinery & Equipment - Bolingbrook East TBJ
    22-250           9/14/2022   (2) Exhaust Ventilators                                     Machinery & Equipment - N.A. Plant
    22-251           11/1/2022   Painting in Receiving Bay                                   Buildings - North Aurora



63817155
                      Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19     Desc Main
                                                           Document      Page 184 of 231


 Asset Number   Date Acquired    Asset Description 1                                         G/L Asset Account Description
    22-252           11/7/2022   Painting in CIP Room and Raw Hallway                        Buildings - North Aurora
    23-001           1/12/2023   (2) Heat Exchangers                                         Machinery & Equipment - Elgin
    23-002            1/4/2023   (2) Motor Assemblies                                        Machinery & Equipment - N.A. Plant
    23-003           1/30/2023   (2) Motor Assemblies                                        Machinery & Equipment - N.A. Plant
    23-004           1/27/2023   Pneutech Refrigerated Air Dryer                             Machinery & Equipment - N.A. Plant
    23-005           1/13/2023   PowerFlex 755 AC Drive                                      Machinery & Equipment - N.A. Plant
    23-006           1/19/2023   PowerFlex 723 AC Drive                                      Machinery & Equipment - N.A. Plant
    23-007            1/1/2023   Bowl Rising Mechanism                                       Machinery & Equipment - N.A. Plant
    23-008           1/16/2023   Compresser Ser # 22DG0882U                                  Machinery & Equipment - N.A. Plant
    23-009            1/9/2023   Exterior Stainless Steel Door and Frame                     Buildings - North Aurora
    23-010            1/9/2023   (2) Interior Stainless Steel Door Wraps                     Machinery & Equipment - N.A. Plant
    23-011           1/11/2023   Painting of Production Room                                 Buildings - North Aurora
    23-012           1/27/2023   American Hot Water 100 Gallon Heater                        Machinery & Equipment Royal Oak Woodward
    23-013            1/9/2023   Toast POS System                                            Machinery & Equipment - Bloomingdale
    23-014           1/23/2023   Toast POS System                                            Machinery & Equipment - Bartlett
    23-015            1/6/2023   (2) Silver King Dispenser Cans                              Machinery & Equipment - O’Fallon TJB
    23-016            1/6/2023   (2) Silver King Dispenser Cans                              Machinery & Equipment - Bloomington TBJ
    23-017            1/6/2023   (2) Silver King Dispenser Cans                              Machinery & Equipment - Champaign TBJ
    23-018           1/30/2023   (6) Variable Frequency Drives & Communication Mods          Machinery & Equipment - N.A. Plant
    23-019            1/4/2023   (2) 0.5 HP Motors                                           Machinery & Equipment - N.A. Plant
    23-020            1/1/2023   3 Phase Motor                                               Machinery & Equipment - N.A. Plant
    23-021            2/2/2023   Barrier Glider Door Serial #DR04726                         Buildings - North Aurora
    23-023           2/13/2023   Toast POS System                                            Machinery & Equipment - Elmhurst
    23-024           2/20/2023   Toast POS System                                            Machinery & Equipment - Western Springs
    23-025            1/1/2023   Panasonic Toughpad FZ-N1 Serial #2KKSA27255                 Data Processing Equipment
    23-026            1/1/2023   Panasonic Toughpad FZ-N1 Serial #2KKSA27252                 Data Processing Equipment
    23-027            1/1/2023   Panasonic Toughpad FZ-N1 Serial #2KKSA27259                 Data Processing Equipment
    23-028            1/1/2023   Panasonic Toughpad FZ-N1 Serial #2KKSA27261                 Data Processing Equipment
    23-029           2/24/2023   LM Hoist Door Operator                                      Machinery & Equipment - N.A. Plant
    23-030           2/26/2023   Air Controller KF3000 for TetraPak                          Machinery & Equipment - N.A. Plant
    23-031           2/13/2023   Alfa Laval Pump                                             Machinery & Equipment - N.A. Plant



63817155
                      Case 24-05385           Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                          Document      Page 185 of 231


 Asset Number   Date Acquired    Asset Description 1                                        G/L Asset Account Description
    23-032           1/13/2023   PowerFlex Air Cooled 755 AC Drive Serial #30436800         Machinery & Equipment - N.A. Plant
    23-033           1/13/2023   PowerFlex Air Cooled 755 AC Drive Serial #30436800         Machinery & Equipment - N.A. Plant
    23-034           3/20/2023   Toast POS System                                           Machinery & Equipment - Lakeview
    23-035           3/13/2023   Toast POS System                                           Machinery & Equipment - Lincolnwood
    23-036           1/11/2023   Keyence Inkjet - Final Payment (#22-238)                   Machinery & Equipment - N.A. Plant
    23-037            1/9/2023   Ice Cream Fruit Feeder - Final Payments (#23-037)          Machinery & Equipment - N.A. Plant
    23-043           3/23/2023   Main Drive for PAC Global Bottle Washer                    Machinery & Equipment - N.A. Plant
    23-045           2/23/2023   Cooler Compressor                                          Machinery & Equipment - Norfolk TC
    23-046           1/25/2023   #676 2023 Freightliner MT45G 4UZAC2G70PCUE8846             Vehicles
    23-047           1/17/2023   #686 2023 Freightliner MT45G 4UZAC2G73PCUE8856             Vehicles
    23-048            1/1/2023   #680 2023 Freightliner MT45G 4UZAC2G73PCUE8850             Vehicles
    23-049           1/25/2023   #677 2023 Freightliner MT45G 4UZAC2G72PCUE8847             Vehicles
    23-050           3/17/2023   #684 2023 Freightliner MT45G 4UZAC2G7XPCUE8854             Vehicles
    23-051           2/24/2023   Bradford White 75 Gallon Hot Water Heater                  Machinery & Equipment - Bolingbrook East TBJ
    23-052           3/24/2023   Steamer Frother                                            Machinery & Equipment - North Aurora DS
    23-053           3/24/2023   Steamer Frother                                            Machinery & Equipment - Schaumburg
    23-054           3/15/2023   W6 Intuition Water Treatment Controller                    Machinery & Equipment - N.A. Plant
    23-055           4/19/2023   Tetra Pak Rebuild                                          Machinery & Equipment - N.A. Plant
    23-056            4/7/2023   (2) Tri Clover Liquid Level Controllers                    Machinery & Equipment - N.A. Plant
    23-057           4/18/2023   Allen Bradley Servo Drive                                  Machinery & Equipment - N.A. Plant
    23-058           4/20/2023   Hobart Pump / Motor Assembly                               Machinery & Equipment Royal Oak Woodward
    23-059            2/2/2023   Lenovo ThinkPad P14s                                       Data Processing Equipment
    23-060            2/2/2023   Lenovo ThinkPad P14s                                       Data Processing Equipment
    23-061            2/3/2023   Electro Freeze Model No. GEN-5099                          Machinery & Equipment - D.S. Equipment Inv
    23-062           1/23/2023   New Track Room Construction                                Buildings - North Aurora
    23-063           4/21/2023   Process Engineering                                        Machinery & Equipment - N.A. Plant
    23-064           4/17/2023   Toast POS System                                           Machinery & Equipment - Troy
    23-065           4/17/2023   Toast POS System                                           Machinery & Equipment Royal Oak Woodward
    23-066           4/21/2023   (5) CIP Alfa Laval Unique SSV Valves                       Machinery & Equipment - N.A. Plant
    23-067           4/25/2023   Bradford White Hot Water Heater                            Machinery & Equipment - Bartlett
    23-072           2/27/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36805                Data Processing Equipment



63817155
                      Case 24-05385          Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                        Document      Page 186 of 231


 Asset Number   Date Acquired    Asset Description 1                                      G/L Asset Account Description
    23-073           2/27/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36794              Data Processing Equipment
    23-074           2/27/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36811              Data Processing Equipment
    23-075           2/27/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36815              Data Processing Equipment
    23-076           2/27/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36813              Data Processing Equipment
    23-077            3/1/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36835              Data Processing Equipment
    23-078            3/1/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36830              Data Processing Equipment
    23-079            3/1/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36829              Data Processing Equipment
    23-080            3/1/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36816              Data Processing Equipment
    23-081            3/1/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36842              Data Processing Equipment
    23-082           2/28/2023   Empty Stack Line Conveyors                               Machinery & Equipment - N.A. Plant
    23-087            1/1/2023   #690 2023 Freightliner MT45G 4UZAC2G75PCUE8860           Vehicles
    23-090            5/8/2023   Toast POS System                                         Machinery & Equipment - D.S. Equipment Inv
    23-091           5/22/2023   Toast POS System                                         Machinery & Equipment - Evergreen Park
    23-092            5/4/2023   (2) .75 Hydroduty Motors                                 Machinery & Equipment - N.A. Plant
    23-093           5/12/2023   Allen Bradley Panel View Model 2711-K5A1X                Machinery & Equipment - N.A. Plant
    23-094            5/4/2023   (2) Dispenser Cans                                       Machinery & Equipment - Naperville
    23-095            5/4/2023   (2) Dispenser Cans                                       Machinery & Equipment - Skokie
    23-096           5/17/2023   (2) Dispenser Cans                                       M/E - Glen Ellyn TBJ
    23-097           5/17/2023   (2) Dispenser Cans                                       Machinery & Equipment - Downers Grove
    23-098           5/17/2023   (2) Dispenser Cans                                       Machinery & Equipment - Bolingbrook East TBJ
    23-099           4/27/2023   LG UHD LED Monitor Ser #208MXAY7Z520                     Machinery & Equipment - Bolingbrook East TBJ
    23-100           4/27/2023   LG UHD LED Monitor Ser #208MXWE7Z521                     Machinery & Equipment - Bolingbrook East TBJ
    23-101           4/27/2023   LG UHD LED Monitor Ser #208MXCRBH563                     Machinery & Equipment - Bolingbrook East TBJ
    23-102            5/1/2023   Toast POS System                                         Machinery & Equipment - Orland Park
    23-103           5/12/2023   Condenser VFD                                            Machinery & Equipment - N.A. Plant
    23-104           5/31/2023   Cooler Bumpers and Bumper Boxes                          Machinery & Equipment - N.A. Plant
    23-105           2/14/2023   Lenovo ThinkPad P14S Gen 3                               Data Processing Equipment
    23-106           2/14/2023   Lenovo ThinkPad P14S Gen 3                               Data Processing Equipment
    23-107            3/1/2023   Lenovo ThinkPad P14S Gen 3                               Data Processing Equipment
    23-108            3/1/2023   Lenovo ThinkPad P14S Gen 3                               Data Processing Equipment
    23-109            6/9/2023   Signage                                                  Machinery & Equipment - Oakville



63817155
                      Case 24-05385          Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                         Document      Page 187 of 231


 Asset Number   Date Acquired    Asset Description 1                                       G/L Asset Account Description
    23-110           6/13/2023   Supply Starters                                           Machinery & Equipment - N.A. Plant
    23-111           3/20/2023   UV Cooler Lighting                                        Machinery & Equipment - N.A. Plant
    23-112           6/21/2023   Reman Racine Pump Model #PSVPSCF40HRM66                   Machinery & Equipment - N.A. Plant
    23-113           6/19/2023   ControlLogix 16 Point A/I Module Y                        Machinery & Equipment - N.A. Plant
    23-114           6/19/2023   Powerflex Air Cooled AC Drive                             Machinery & Equipment - N.A. Plant
    23-115           6/22/2023   Vilter Compressor Speed Increase                          Machinery & Equipment - N.A. Plant
    23-116            6/5/2023   15HP Motor                                                Machinery & Equipment - N.A. Plant
    23-117           6/20/2023   Powerflex Air Cooled 755 AC Drive                         Machinery & Equipment - N.A. Plant
    23-118           6/19/2023   Toast POS System                                          Machinery & Equipment - Joliet DS
    23-119           6/23/2023   COM11213 Compressor                                       Machinery & Equipment - St. Peters
    23-120           6/26/2023   Toast POS System                                          Machinery & Equipment - Schereville
    23-121            5/8/2023   Hermetic Compressor                                       Machinery & Equipment - Joliet DS
    23-122            6/5/2023   Toast POS System                                          Machinery & Equipment - Mokena
    23-123            5/9/2023   American Standard 50 Gallon Hot Water Heater              Machinery & Equipment - Elmhurst
    23-125           4/30/2023   Watchguard Fireboxes                                      Data Processing Equipment
    23-126           5/30/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36803               Data Processing Equipment
    23-127           5/30/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36802               Data Processing Equipment
    23-128           5/30/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36839               Data Processing Equipment
    23-129           5/30/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36823               Data Processing Equipment
    23-130           5/30/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36812               Data Processing Equipment
    23-131           4/28/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36808               Data Processing Equipment
    23-132           4/28/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36791               Data Processing Equipment
    23-133           4/28/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36797               Data Processing Equipment
    23-134           4/28/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36820               Data Processing Equipment
    23-135           4/28/2023   Panasonic Toughpad FZ-NA Serial #3BKSA36819               Data Processing Equipment
    23-136           2/28/2023   Shutoff Valves (2)                                        Machinery & Equipment - N.A. Plant
    23-137           6/15/2023   Hopper Cover Assembly                                     Machinery & Equipment - N.A. Plant
    23-138           7/14/2023   Poweramp NL7220-15                                        Machinery & Equipment - Norfolk TC
    23-139           5/31/2023   Plant HVAC Upgrade                                        Buildings - North Aurora
    23-140           3/31/2023   Freezer Compressor                                        M/E - Glen Ellyn TBJ
    23-141           7/13/2023   Beverage Dispenser                                        Machinery & Equipment - Skokie



63817155
                      Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                           Document      Page 188 of 231


 Asset Number   Date Acquired    Asset Description 1                                         G/L Asset Account Description
    23-142           6/27/2023   True Compressor                                             M&E - St. Charles
    23-143           8/16/2023   Nord Shaft Mount Gear Motor                                 Machinery & Equipment - N.A. Plant
    23-144           8/29/2023   Alfa Laval Centrifugal Pump                                 Machinery & Equipment - N.A. Plant
    23-145           8/29/2023   Alfa Laval Centrifugal Pump                                 Machinery & Equipment - N.A. Plant
    23-146           4/14/2023   Freezer Compressor                                          Machinery & Equipment - Elmhurst
    23-147           9/29/2023   Asphalt Paving                                              Leasehold Improvements - Bartlett
    23-148            9/8/2023   Quickcheck Tech Cryoscope                                   Machinery & Equipment - N.A. Plant
    23-149            9/7/2023   Allen Bradley Input Module                                  Machinery & Equipment - N.A. Plant
    23-150            9/7/2023   Allen Bradley AC Drive Powerflex 525                        Machinery & Equipment - N.A. Plant
    23-151           9/15/2023   Allen Bradley Powerflex 525                                 Machinery & Equipment - N.A. Plant
    23-152           9/18/2023   (2) U7000 Valves                                            Machinery & Equipment - N.A. Plant
    23-153           9/22/2023   2-Stage Gearmotor                                           Machinery & Equipment - N.A. Plant
    23-154           8/15/2023   (2) Allen Bradley 22B-B012C104 Powerflex 40 AC Drv          Machinery & Equipment - N.A. Plant
    23-155            4/9/2023   Fire Alarm System                                           Leasehold Improvements - Schaumburg
    23-156           10/5/2023   Control Valve                                               Machinery & Equipment - N.A. Plant
    23-157            9/6/2023   SS Steamer Frother                                          M&E - St. Charles
    23-158            9/6/2023   SS Steamer Frother                                          Machinery & Equipment - Western Springs
    23-159           9/14/2023   Compressor Serial #23G1217AD                                Machinery & Equipment - Arlington Heights
    23-160           8/18/2023   Evaporator                                                  Machinery & Equipment - Bloomingdale
    23-161           10/2/2023   Panasonic Toughpad FZ-N1                                    Data Processing Equipment
    23-162           10/2/2023   Panasonic Toughpad FZ-N1                                    Data Processing Equipment
    23-163           10/2/2023   Panasonic Toughpad FZ-N1                                    Data Processing Equipment
    23-164           10/2/2023   Panasonic Toughpad FZ-N1                                    Data Processing Equipment
    23-165           10/2/2023   Panasonic Toughpad FZ-N1                                    Data Processing Equipment
    23-166           12/1/2023   Panasonic Toughpad FZ-N1                                    Data Processing Equipment
    23-167           12/1/2023   Panasonic Toughpad FZ-N1                                    Data Processing Equipment
    23-168           12/1/2023   Panasonic Toughpad FZ-N1                                    Data Processing Equipment
    23-169            5/9/2023   Pitco Digital Display Board                                 Machinery & Equipment - Bolingbrook East TBJ
    23-170           3/31/2023   Panasonic Toughpad FZ-N1 Serial #3BKSA36790                 Data Processing Equipment
    23-171           3/31/2023   Panasonic Toughpad FZ-N1 Serial #3BKSA36811                 Data Processing Equipment
    23-172           3/31/2023   Panasonic Toughpad FZ-N1 Serial #3BKSA36836                 Data Processing Equipment



63817155
                      Case 24-05385           Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                           Document      Page 189 of 231


 Asset Number   Date Acquired    Asset Description 1                                         G/L Asset Account Description
    23-173           3/31/2023   Panasonic Toughpad FZ-N1 Serial #3BKSA36795                 Data Processing Equipment
    23-174           3/31/2023   Panasonic Toughpad FZ-N1 Serial #3BKSA36814                 Data Processing Equipment
    23-175            8/1/2023   Panasonic Toughpad FZ-N1 Serial #3BKSA36796                 Data Processing Equipment
    23-176            8/1/2023   Panasonic Toughpad FZ-N1 Serial #3BKSA36793                 Data Processing Equipment
    23-177            8/1/2023   Panasonic Toughpad FZ-N1 Serial #3BKSA36836                 Data Processing Equipment
    23-178            8/1/2023   Panasonic Toughpad FZ-N1 Serial #3BKSA36834                 Data Processing Equipment
    23-179            8/1/2023   Panasonic Toughpad FZ-N1 Serial #3BKSA36818                 Data Processing Equipment
    23-180            9/1/2023   Panasonic Toughpad FZ-N1 Serial #3BKSA36809                 Data Processing Equipment
    23-181            9/1/2023   Panasonic Toughpad FZ-N1 Serial #3BKSA36800                 Data Processing Equipment
    23-182            9/1/2023   Panasonic Toughpad FZ-N1 Serial #3BKSA36838                 Data Processing Equipment
    23-183            9/1/2023   Panasonic Toughpad FZ-N1 Serial #3BKSA36792                 Data Processing Equipment
    23-184            9/1/2023   Panasonic Toughpad FZ-N1 Serial #3BKSA36825                 Data Processing Equipment
    23-185           11/2/2023   Panasonic Toughpad FZ-N1                                    Data Processing Equipment
    23-186           11/2/2023   Panasonic Toughpad FZ-N1                                    Data Processing Equipment
    23-187           11/2/2023   Panasonic Toughpad FZ-N1                                    Data Processing Equipment
    23-188           11/2/2023   Panasonic Toughpad FZ-N1                                    Data Processing Equipment
    23-189           11/2/2023   Panasonic Toughpad FZ-N1                                    Data Processing Equipment
    23-190           4/30/2023   Stainless Steel Conveyor Covers                             Machinery & Equipment - N.A. Plant
    23-191           4/30/2023   Decasing System                                             Machinery & Equipment - N.A. Plant
    23-192           12/1/2023   Ammonia System Rebuild                                      Machinery & Equipment - N.A. Plant
    23-193            6/6/2023   2023 New System Design for Ice Cream Piping Proces          Machinery & Equipment - N.A. Plant
    23-194           5/22/2023   Silikal Flooring Installatin                                Machinery & Equipment - N.A. Plant
    23-195         10/31/2023    Case Stacker                                                Machinery & Equipment - N.A. Plant
    23-196           9/30/2023   HTST Plate Pack Rebuild                                     Machinery & Equipment - N.A. Plant
    23-197           6/18/2023   2023 Bottle Washer                                          Machinery & Equipment - N.A. Plant
    76-711           5/28/1996   RAIL CURBS AND ROOF PORTAL                                  Buildings - North Aurora Dairy Store
    80-072           1/31/1980   AIR COMPRESSOR                                              Machinery & Equipment - N.A. Plant
    90-509           5/19/1990   LABORATORY                                                  Machinery & Equipment - Lab
    90-513         10/29/1990    MICROSCOPE                                                  Machinery & Equipment - Lab
    92-525           9/10/1992   PHONE SYSTEM                                                Office Furniture - North Aurora
    94-556           9/23/1994   DIPPING CABINET - 10DF                                      Machinery & Equipment - Rolling Meadows



63817155
                      Case 24-05385         Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document      Page 190 of 231


 Asset Number   Date Acquired    Asset Description 1                                    G/L Asset Account Description
    94-557           9/23/1994   DIPPING CABINET 14DF                                   Machinery & Equipment - Rolling Meadows
    95-566           8/13/1995   CM&M-CONSTRUCTION/REHAB OF BUILDING                    Leasehold Improvements - Western Springs
    95-574            9/1/1995   ICE CREAM CART                                         Machinery & Equipment - North Aurora DS
    95-584           8/13/1995   ADE-WALK-IN COOLER/FREEZER,REF EQUIP,SHELVING, ETC     Machinery & Equipment - Western Springs
    95-585           8/13/1995   Western Springs L/H 39 Year Property                   Leasehold Improvements - Western Springs
    95-586           8/13/1995   Western Springs L/H 7 Year Property                    Leasehold Improvements - Western Springs
    95-587           8/13/1995   Western Springs L/H 5 Year Property                    Leasehold Improvements - Western Springs
    96-167           6/22/1998   ICE MACHINE                                            Machinery & Equipment - St. Louis TC
    96-587           3/15/1996   LEATHER CHAIR (President)                              Office Furniture - North Aurora
    96-588           4/15/1996   DRIVERS ROOM MAIL BIN                                  Office Furniture - North Aurora
    96-589           9/15/1996   FILE CABINETS                                          Office Furniture - North Aurora
    96-590           9/15/1996   CONFERENCE ROOM FURNITURE                              Office Furniture - North Aurora
    96-591           8/15/1996   TRAINING ROOM WALL UNIT                                Office Furniture - North Aurora
    96-592           8/15/1996   FILE CABINET - PLANT                                   Office Furniture - North Aurora
    96-593           4/15/1996   OFFICE MODULAR SYSTEMS                                 Office Furniture - North Aurora
    96-594           5/15/1996   REFRIGERATOR & DISHWASHER                              Office Furniture - North Aurora
    96-595           4/15/1996   SAFE                                                   Office Furniture - North Aurora
    96-596           4/15/1996   CREDENZAS (4)                                          Office Furniture - North Aurora
    96-597           4/15/1996   LATERAL FILES (5 DRAWER)                               Office Furniture - North Aurora
    96-598           5/15/1996   CREDENZA & BOOKSHELF                                   Office Furniture - North Aurora
    96-599           7/15/1996   CONFERENCE ROOM T.V.                                   Office Furniture - North Aurora
    96-600           7/15/1996   CONFERENCE ROOM V.C.R.                                 Office Furniture - North Aurora
    96-602           9/15/1996   DESK & RETURN - DISTRIB                                Office Furniture - North Aurora
    96-603           9/15/1996   CONFERENCE ROOM FURNITURE                              Office Furniture - North Aurora
    96-604           6/15/1996   TELEMARKETING MODULAR SYSTEMS                          Office Furniture - North Aurora
    96-609           5/21/1996   ADE EQUIPMENT                                          Machinery & Equipment - Elgin
    96-614           4/17/1996   ADE EQUIPMENT                                          Machinery & Equipment - Elmhurst
    96-615           4/17/1996   YOGURT MACHINES (2) HIGH P                             Machinery & Equipment - Elmhurst
    96-618           6/15/1996   TABLES & CHAIRS                                        Machinery & Equipment - Western Springs
    96-626           5/28/1996   EXTERIOR SIGNS & AWNINGS                               Buildings - North Aurora Dairy Store
    96-627           5/28/1996   RANDALL ROAD SIGN                                      Buildings - North Aurora Dairy Store



63817155
                      Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                     Document      Page 191 of 231


 Asset Number   Date Acquired    Asset Description 1                                   G/L Asset Account Description
    96-628           5/28/1996   OUTDOOR TABLES                                        Machinery & Equipment - North Aurora DS
    96-629           5/28/1996   MUZAK SYSTEM                                          Machinery & Equipment - North Aurora DS
    96-630           5/28/1996   TABLES & CHAIRS                                       Machinery & Equipment - North Aurora DS
    96-632           5/28/1996   TILT TRUCK/TRASH TRUNDLER                             Machinery & Equipment - North Aurora DS
    96-645           5/15/1996   RSPC STORE FIXTURES                                   Machinery & Equipment - Rolling Meadows
    96-647           5/15/1996   MUZAK SYSTEM                                          Machinery & Equipment - Rolling Meadows
    96-648           1/15/1996   #99 1995 CHEVY PICKUP - TRUCK MAINT                   Vehicles
    96-659           11/5/1996   EQUIPMENT                                             Machinery & Equipment - Bolingbrook
    96-663           1/22/1996   STRUCTURAL WORK                                       Leasehold Improvements - Western Springs
    96-664           5/10/1996   OUTSIDE TABLES                                        Machinery & Equipment - North Aurora DS
    96-665         12/23/1996    3X500 GALLON FLAVOR VATS                              Machinery & Equipment - N.A. Plant
    96-666            2/9/1996   CLASS ““1”“ WEIGHT SET                                Machinery & Equipment - Lab
    96-667            1/3/1996   STANDARD ELECTRONIC BALANCE                           Machinery & Equipment - Lab
    96-668           2/26/1996   BABCOCK SHAKER                                        Machinery & Equipment - Lab
    96-673           9/15/1996   FRONTLINE LEADERSHIP TAPES                            Office Furniture - North Aurora
    96-679         11/21/1996    2 HP 460V VARI DRIVE MOTOR                            Machinery & Equipment - N.A. Plant
    96-681         11/15/1996    BASIC WELDING PACKAGE                                 Machinery & Equipment - N.A. Plant
    96-682         11/12/1996    2 HP/3600 PUMP                                        Machinery & Equipment - N.A. Plant
    96-685         11/15/1996    OFFICE BLINDS                                         Office Furniture - North Aurora
    96-687            9/1/1996   LANDSCAPING - NORTH AURORA                            Land & Land Improvements
    96-688           5/15/1996   SECURITY SYSTEMS                                      Buildings - North Aurora
    96-689           4/15/1996   MONUMENT SIGN                                         Buildings - North Aurora
    96-690            5/1/1996   DAIRY SIGN - SOUTHWALL                                Buildings - North Aurora
    96-691           6/15/1996   MERCHANDISE STORAGE ROOM BUILDOUT                     Buildings - North Aurora
    96-692           7/15/1996   RECORDS STORAGE ROOM                                  Buildings - North Aurora
    96-693           4/15/1996   OFFICE CARPETING                                      Buildings - North Aurora
    96-699           5/28/1996   ARCHITECT                                             Buildings - North Aurora Dairy Store
    96-700            6/1/1996   CAP SNAP MACHINE ENHANCEMENT                          Machinery & Equipment - N.A. Plant
    96-703            6/1/1996   FLASH TANK & PUMP                                     Machinery & Equipment - N.A. Plant
    96-705            6/1/1996   PRINTER FOR PHONE PROGRAMS                            Office Furniture - North Aurora
    96-707           7/15/1996   STRETCH WRAPPER                                       Machinery & Equipment - N.A. Plant



63817155
                      Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                     Document      Page 192 of 231


 Asset Number   Date Acquired    Asset Description 1                                   G/L Asset Account Description
    96-708            7/1/1996   LOCKERS                                               Machinery & Equipment - N.A. Plant
    96-717            9/1/1996   #2 ICE CREAM FREEZER CONTROL SYSTEM                   Machinery & Equipment - N.A. Plant
    96-719           8/15/1996   DOCK SEALS (3)                                        Machinery & Equipment - N.A. Plant
    96-723         10/15/1996    ROLLING LADDER                                        Machinery & Equipment - N.A. Plant
    96-725         11/22/1996    WIRING FOR TRIPLE TANK                                Machinery & Equipment - N.A. Plant
    96-726         11/12/1996    DOCK SEALS                                            Machinery & Equipment - N.A. Plant
    96-727         11/22/1996    TRIPLE TANK INSTALL & WIRING                          Machinery & Equipment - N.A. Plant
    96-728           8/21/1996   TABLES & CHAIRS FOR TRAINING ROOM                     Office Furniture - North Aurora
    96-729           7/30/1996   SHELVING UNITES FOR RECORDS ROOM                      Office Furniture - North Aurora
    96-731         12/23/1996    TRIPLE TANK                                           Machinery & Equipment - N.A. Plant
    96-732            8/9/1996   CONVEYORS - STRIPS                                    Machinery & Equipment - N.A. Plant
    96-735         10/30/1996    INSTALL THERMOMETER IN TANKS                          Machinery & Equipment - N.A. Plant
    96-736         11/22/1996    INSTALL SAMPLE VALVES IN TANKS                        Machinery & Equipment - N.A. Plant
    96-737         12/31/1996    INSTALL FLAVOR VAT                                    Machinery & Equipment - N.A. Plant
    96-738            9/9/1996   ELECTRICAL CHANGE ORDERS                              Machinery & Equipment - N.A. Plant
    96-740           8/20/1996   INSTALL NEW ICE CREAM MACHINE                         Machinery & Equipment - N.A. Plant
    96-741            6/1/1996   FINAL CONNECT FOR HYDRAULICS, AIR & CONDENSATE LIN    Machinery & Equipment - N.A. Plant
    96-742           5/28/1996   LETTERING FOR MIRRORS AND COOLER DOORS                Buildings - North Aurora Dairy Store
    96-743           5/28/1996   AMC-TELEPHONE CABLING                                 Buildings - North Aurora Dairy Store
    96-744           5/28/1996   JSB-PERMIT FEES                                       Buildings - North Aurora Dairy Store
    96-745           5/28/1996   JSB-BOX OUT CONDUIT/PATCH & PAINT BLOCK WALL IN BK    Buildings - North Aurora Dairy Store
    96-746           5/28/1996   JSB-WALLCOVERING AT SOFFIT ABOVE SERVING COUNTER      Buildings - North Aurora Dairy Store
    96-747           5/28/1996   JSB-FOOT RAIL                                         Buildings - North Aurora Dairy Store
    96-749           5/28/1996   JSB-ADDITIONS TO CONTRACT                             Buildings - North Aurora Dairy Store
    96-750           5/28/1996   ADE-SODA SYSTEM                                       Machinery & Equipment - North Aurora DS
    96-752           5/28/1996   ADE-WALK-IN COOLER/FREEZER/W GLASS DOOR               Machinery & Equipment - North Aurora DS
    96-753           5/28/1996   ADE-ROOF COMPRESSOR                                   Machinery & Equipment - North Aurora DS
    96-754           5/28/1996   ADE-TEMPERATURE ALARM & CHEMICAL STORAGE SHELVING     Machinery & Equipment - North Aurora DS
    96-755           5/28/1996   ADE-SHELF UNITS                                       Machinery & Equipment - North Aurora DS
    96-756           5/28/1996   ADE-DRY STORAGE SHELVING                              Machinery & Equipment - North Aurora DS
    96-757           5/28/1996   ADE-WORK TABLE & CLEAN DIS TABLE                      Machinery & Equipment - North Aurora DS



63817155
                      Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document      Page 193 of 231


 Asset Number   Date Acquired    Asset Description 1                                    G/L Asset Account Description
    96-758           5/28/1996   ADE-REACH-IN FREEZER                                   Machinery & Equipment - North Aurora DS
    96-759           5/28/1996   ADE-SOILED DISH TABLE W/FAUCET                         Machinery & Equipment - North Aurora DS
    96-760           5/28/1996   ADE-DISH MACHINE                                       Machinery & Equipment - North Aurora DS
    96-761           5/28/1996   ADE-WALL SHELF & 2 HAND SINKS                          Machinery & Equipment - North Aurora DS
    96-762           5/28/1996   ADE-PREP SINK W/FAUCET                                 Machinery & Equipment - North Aurora DS
    96-763           5/28/1996   ADE-BEVERAGE COUNTER                                   Machinery & Equipment - North Aurora DS
    96-764           5/28/1996   ADE-ICE MAKER                                          Machinery & Equipment - North Aurora DS
    96-766           5/28/1996   ADE-REACH DOWN FREEZER                                 Machinery & Equipment - North Aurora DS
    96-767           5/28/1996   ADE-UTILITY COUNTER W/CUP DISPENSER                    Machinery & Equipment - North Aurora DS
    96-768           5/28/1996   ADE-TWO REFRIGERATORS W/SYRUP RAIL                     Machinery & Equipment - North Aurora DS
    96-769           5/28/1996   ADE-ACCESSORIES FOR SYRUP RAIL                         Machinery & Equipment - North Aurora DS
    96-770           5/28/1996   ADE-UTILITY COUNTER                                    Machinery & Equipment - North Aurora DS
    96-771           5/28/1996   ADE-DROP-IN FREEZER                                    Machinery & Equipment - North Aurora DS
    96-774           5/28/1996   ADE-CUP DISPENSER UNIT                                 Machinery & Equipment - North Aurora DS
    96-775           5/28/1996   ADE-DIPPING CABINET                                    Machinery & Equipment - North Aurora DS
    96-776           5/28/1996   ADE-DIPPING CABINET                                    Machinery & Equipment - North Aurora DS
    96-777           5/28/1996   ADE-END CABINET                                        Machinery & Equipment - North Aurora DS
    96-779           5/28/1996   ADE-DRY DISPLAY CASE                                   Machinery & Equipment - North Aurora DS
    96-780           5/28/1996   ADE-WATER COOLER                                       Machinery & Equipment - North Aurora DS
    96-781           5/28/1996   ADE-HAND DRYERS 2 @ 382.00                             Machinery & Equipment - North Aurora DS
    96-782           5/28/1996   GTE-TELEPHONE INSTALLATION                             Machinery & Equipment - North Aurora DS
    96-783           5/28/1996   JSB-DRYWALL & CARPENTRY                                Buildings - North Aurora Dairy Store
    96-784           5/28/1996   JSB-ACOUSTICS                                          Buildings - North Aurora Dairy Store
    96-785           5/28/1996   JSB-DOORS, FRAMES, HARDWARE & TOILET ACCESS            Buildings - North Aurora Dairy Store
    96-786           5/28/1996   JSB-TILE FLOORING                                      Buildings - North Aurora Dairy Store
    96-787           5/28/1996   JSB-MILLWORK                                           Buildings - North Aurora Dairy Store
    96-788           5/28/1996   JSB-PAINTING & WALL COVERING                           Buildings - North Aurora Dairy Store
    96-789           5/28/1996   JSB-GLASS                                              Buildings - North Aurora Dairy Store
    96-790           5/28/1996   JSB-SPRINKLERS                                         Buildings - North Aurora Dairy Store
    96-791           5/28/1996   JSB-PLUMBING                                           Buildings - North Aurora Dairy Store
    96-792           5/28/1996   JSB-HVAC                                               Buildings - North Aurora Dairy Store



63817155
                      Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19       Desc Main
                                                     Document      Page 194 of 231


 Asset Number   Date Acquired    Asset Description 1                                   G/L Asset Account Description
    96-793           5/28/1996   JSB-ELECTRIC                                          Buildings - North Aurora Dairy Store
    96-794           5/28/1996   JSB-GENERAL CONDITIONS                                Buildings - North Aurora Dairy Store
    96-795           5/28/1996   JSB-FEES                                              Buildings - North Aurora Dairy Store
    96-796            6/1/1996   BOTTLE FILLER - FOGG FG 185                           Machinery & Equipment - N.A. Plant
    96-797            6/1/1996   MATERIAL HANDLING EQUIPMENT                           Machinery & Equipment - N.A. Plant
    96-798            6/1/1996   MATERIAL HANDLING INSTALLATION                        Machinery & Equipment - N.A. Plant
    96-800            6/1/1996   CREAM STORAGE TANKS                                   Machinery & Equipment - N.A. Plant
    96-801            6/1/1996   P.T. TANKS                                            Machinery & Equipment - N.A. Plant
    96-803            6/1/1996   PROCESS CONTROLS                                      Machinery & Equipment - N.A. Plant
    96-804            6/1/1996   PROCESS MATERIAL                                      Machinery & Equipment - N.A. Plant
    96-805            6/1/1996   PROCESS INSTALLATION                                  Machinery & Equipment - N.A. Plant
    96-806            6/1/1996   EQUIPMENT RELOCATION                                  Machinery & Equipment - N.A. Plant
    96-807            6/1/1996   FREIGHT ON PROCESSOR                                  Machinery & Equipment - N.A. Plant
    96-808            6/1/1996   START UP & TRAINING                                   Machinery & Equipment - N.A. Plant
    96-809            6/1/1996   TETRA SEPARATOR                                       Machinery & Equipment - N.A. Plant
    96-810            6/1/1996   TETRA CLIP 10 PLATE UNIT                              Machinery & Equipment - N.A. Plant
    96-811            6/1/1996   TETRA ALH 25 HOMOGENIZER                              Machinery & Equipment - N.A. Plant
    96-812            6/1/1996   CEILING MONORAIL, HOIST & INSTALLATION                Machinery & Equipment - N.A. Plant
    96-816            6/1/1996   MODIFY HTST RECYCLE INE FOR STATE TESTING OF SYSTE    Machinery & Equipment - N.A. Plant
    96-817            6/1/1996   RELOCATE BAG’N’BOX INTO THE COOLER ROOM               Machinery & Equipment - N.A. Plant
    96-819            6/1/1996   ADD SAMPLE COCK-OFF HTST DISCHARGE                    Machinery & Equipment - N.A. Plant
    96-820            6/1/1996   ICE CREAM FREEZER PIPING                              Machinery & Equipment - N.A. Plant
    96-821            6/1/1996   ICE CREAM FREEZER PIPING                              Machinery & Equipment - N.A. Plant
    96-826            6/1/1996   SPRINKMAN-MISCELLANEOUS                               Machinery & Equipment - N.A. Plant
    96-828            6/1/1996   COMPLETION OF REFRIGERATION SYSTEM                    Machinery & Equipment - N.A. Plant
    96-829            6/1/1996   TWO 12 CYLINDER VILTER COMPRESSORS-REMANUFACTURED     Machinery & Equipment - N.A. Plant
    96-830            6/1/1996   PROCESS WIRING                                        Machinery & Equipment - N.A. Plant
    96-831            6/1/1996   EMERGENCY SHUT DOWN STATION FOR CONVEYORS             Machinery & Equipment - N.A. Plant
    96-833            6/1/1996   ADD’L MECHANICAL PIPE SYSTEM WORK                     Machinery & Equipment - N.A. Plant
    96-834            6/1/1996   GENERAL CONDITIONS                                    Buildings - North Aurora
    96-835            6/1/1996   ARCHITECT                                             Buildings - North Aurora



63817155
                      Case 24-05385         Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19     Desc Main
                                                      Document      Page 195 of 231


 Asset Number   Date Acquired    Asset Description 1                                    G/L Asset Account Description
    96-836            6/1/1996   MISCELLANEOUS FEES                                     Buildings - North Aurora
    96-837            6/1/1996   CONTINGENCY                                            Buildings - North Aurora
    96-838            6/1/1996   LaSALLE NATIONAL BANK - MISCELLANEOUS                  Buildings - North Aurora
    96-839            6/1/1996   EARTHWORK                                              Buildings - North Aurora
    96-840            6/1/1996   GRANULAR BEDDING                                       Buildings - North Aurora
    96-841            6/1/1996   EROSION CONTROL                                        Buildings - North Aurora
    96-842            6/1/1996   ASPHALT PAVING                                         Buildings - North Aurora
    96-843            6/1/1996   LANDSCAPING                                            Buildings - North Aurora
    96-844            6/1/1996   CONCRETE FORMING                                       Buildings - North Aurora
    96-845            6/1/1996   MISCELLANEOUS CONCRETE                                 Buildings - North Aurora
    96-846            6/1/1996   PRESTRESSED, STRUC                                     Buildings - North Aurora
    96-847            6/1/1996   MASONRY                                                Buildings - North Aurora
    96-848            6/1/1996   STRUCTURAL & MISCELLANEOUS                             Buildings - North Aurora
    96-849            6/1/1996   ROUGH CARPENTRY                                        Buildings - North Aurora
    96-850            6/1/1996   MISCELLANEOUS CARPENTRY                                Buildings - North Aurora
    96-851            6/1/1996   INTERIOR CARPENTRY                                     Buildings - North Aurora
    96-852            6/1/1996   INTERIOR CARPENTRY                                     Buildings - North Aurora
    96-853            6/1/1996   BUILDING INSULATION                                    Buildings - North Aurora
    96-854            6/1/1996   WALL & CEILING PANELS                                  Buildings - North Aurora
    96-855            6/1/1996   ROOFING                                                Buildings - North Aurora
    96-856            6/1/1996   CAULKING                                               Buildings - North Aurora
    96-857            6/1/1996   HOLLOW METAL DOORS & FRAMES                            Buildings - North Aurora
    96-858            6/1/1996   WOOD DOORS & FRAMES                                    Buildings - North Aurora
    96-859            6/1/1996   OVERHEAD DOORS                                         Buildings - North Aurora
    96-860            6/1/1996   SECTIONAL OVERHEAD DOORS                               Buildings - North Aurora
    96-861            6/1/1996   ALUMINUM WINDOWS                                       Buildings - North Aurora
    96-862            6/1/1996   METAL STUD FRAMING                                     Buildings - North Aurora
    96-863            6/1/1996   CERAMIC TILE                                           Buildings - North Aurora
    96-864            6/1/1996   FLOOR BRICK & GROUT                                    Buildings - North Aurora
    96-865            6/1/1996   RESILIENT TILE                                         Buildings - North Aurora
    96-866            6/1/1996   PAINTING                                               Buildings - North Aurora



63817155
                      Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19     Desc Main
                                                            Document      Page 196 of 231


 Asset Number   Date Acquired    Asset Description 1                                          G/L Asset Account Description
    96-867            6/1/1996   TOILET PARTITIONS                                            Buildings - North Aurora
    96-868            6/1/1996   INTERIOR SIGNS                                               Buildings - North Aurora
    96-869            6/1/1996   FIRE EXTINGUISHERS                                           Buildings - North Aurora
    96-870            6/1/1996   WIRE MESH PARTITIONS                                         Buildings - North Aurora
    96-871            6/1/1996   TOILET ACCESSORIES                                           Buildings - North Aurora
    96-872            6/1/1996   DOCK LEVELER                                                 Buildings - North Aurora
    96-873            6/1/1996   ELEVATORS                                                    Buildings - North Aurora
    96-874            6/1/1996   MECHANICAL INSULATION                                        Buildings - North Aurora
    96-875            6/1/1996   FIRE PROTECTION                                              Buildings - North Aurora
    96-876            6/1/1996   PLUMBING                                                     Buildings - North Aurora
    96-878            6/1/1996   ELECTRICAL                                                   Buildings - North Aurora
    96-879            6/1/1996   INSURANCE                                                    Buildings - North Aurora
    96-880            6/1/1996   HVAC                                                         Buildings - North Aurora
    96-881            6/1/1996   Earthwork & Site utilities                                   Buildings - North Aurora
    96-882            6/1/1996   Building Excavation                                          Buildings - North Aurora
    96-883            6/1/1996   Granular Bedding                                             Buildings - North Aurora
    96-884            6/1/1996   Erosion Control                                              Buildings - North Aurora
    96-885            6/1/1996   Asphalt Paving                                               Buildings - North Aurora
    96-886            6/1/1996   Concrete Forming                                             Buildings - North Aurora
    96-887            6/1/1996   Concrete Sidewalks/Curbs                                     Buildings - North Aurora
    96-888            6/1/1996   Concrete Equipment Pads                                      Buildings - North Aurora
    96-889            6/1/1996   Concrete Pavement                                            Buildings - North Aurora
    96-890            6/1/1996   Miscellaneous Concrete                                       Buildings - North Aurora
    96-891            6/1/1996   Protective Bollards                                          Buildings - North Aurora
    96-892            6/1/1996   Prestressed Structural Concrete                              Buildings - North Aurora
    96-893            6/1/1996   Masonry                                                      Buildings - North Aurora
    96-894            6/1/1996   Structural & Misc Steel                                      Buildings - North Aurora
    96-895            6/1/1996   Rough Carpentry/Drywall/Acoustical Ceilings                  Buildings - North Aurora
    96-896            6/1/1996   Miscellaneous Carpentry                                      Buildings - North Aurora
    96-897            6/1/1996   Interior Carpentry                                           Buildings - North Aurora
    96-898            6/1/1996   Building Insulation                                          Buildings - North Aurora



63817155
                      Case 24-05385           Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19     Desc Main
                                                          Document      Page 197 of 231


 Asset Number   Date Acquired    Asset Description 1                                        G/L Asset Account Description
    96-899            6/1/1996   Wall/Ceiling Panels including Cold Storage Doors           Buildings - North Aurora
    96-900            6/1/1996   Roofing                                                    Buildings - North Aurora
    96-901            6/1/1996   Caulking                                                   Buildings - North Aurora
    96-902            6/1/1996   Hollow Metal Doors and Frames                              Buildings - North Aurora
    96-903            6/1/1996   Wood Doors and Frames                                      Buildings - North Aurora
    96-904            6/1/1996   Overhead Doors                                             Buildings - North Aurora
    96-905            6/1/1996   Sectional Overhead Doors                                   Buildings - North Aurora
    96-906            6/1/1996   Aluminum Windows                                           Buildings - North Aurora
    96-907            6/1/1996   Metal Stud Framing                                         Buildings - North Aurora
    96-908            6/1/1996   Ceramic Tile                                               Buildings - North Aurora
    96-909            6/1/1996   Floor Brick and Grout                                      Buildings - North Aurora
    96-910            6/1/1996   Resilient Tile                                             Buildings - North Aurora
    96-911            6/1/1996   Painting                                                   Buildings - North Aurora
    96-912            6/1/1996   Toilet Partitions                                          Buildings - North Aurora
    96-913            6/1/1996   Fire Extinguishers                                         Buildings - North Aurora
    96-914            6/1/1996   Wire Mesh Partitions                                       Buildings - North Aurora
    96-915           6/10/1996   Toilet Accessories                                         Buildings - North Aurora
    96-916            6/1/1996   Dock Leveler & Dock Equipment                              Buildings - North Aurora
    96-917            6/1/1996   Elevators                                                  Buildings - North Aurora
    96-918            6/1/1996   Mechanical Insulation                                      Buildings - North Aurora
    96-919            6/1/1996   Insulation - Process Equipment Piping                      Buildings - North Aurora
    96-920            6/1/1996   Fire Protection                                            Buildings - North Aurora
    96-921            6/1/1996   Plumbing                                                   Buildings - North Aurora
    96-922            6/1/1996   Plumbing - Process Systems and Equipment                   Buildings - North Aurora
    96-923            6/1/1996   Plumbing - Kitchen Equipment                               Buildings - North Aurora
    96-924            6/1/1996   Plumbing - Laboratory Equipment                            Buildings - North Aurora
    96-925            6/1/1996   Plumbing - Emergency Fixtures                              Buildings - North Aurora
    96-926            6/1/1996   CO42 - Plumbing scope for Retail Area (F&I Grease          Buildings - North Aurora
    96-927            6/1/1996   CO49 - Add 2”“CW to batch tanks, add 3/4 to Liquip         Buildings - North Aurora
    96-928            6/1/1996   CO50 - Equipment Hookups (processing equip to DWs)         Buildings - North Aurora
    96-929            6/1/1996   HVAC Ductwork.Building                                     Buildings - North Aurora



63817155
                      Case 24-05385            Doc 229        Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                             Document      Page 198 of 231


 Asset Number   Date Acquired    Asset Description 1                                           G/L Asset Account Description
    96-930            6/1/1996   HVAC - Process Systems & Equipment                            Buildings - North Aurora
    96-931            6/1/1996   HVAC - Exhaust Intake Truck Bay                               Buildings - North Aurora
    96-932            6/1/1996   CO3 - Upgraded Refrigeration Control System                   Buildings - North Aurora
    96-933            6/1/1996   Electrical - Building                                         Buildings - North Aurora
    96-934            6/1/1996   Electrical - Site Lighting                                    Buildings - North Aurora
    96-935            6/1/1996   Electrical - Security Lighting                                Buildings - North Aurora
    96-936            6/1/1996   Electrical - Special Purpose Lighting                         Buildings - North Aurora
    96-937            6/1/1996   Electrical - Emergency Lighting                               Buildings - North Aurora
    96-938            6/1/1996   Electrical - Process Equipment Power                          Buildings - North Aurora
    96-939            6/1/1996   Electrical - Kitchen Equipment Power                          Buildings - North Aurora
    96-940            6/1/1996   Electrical - Office Equipment Power                           Buildings - North Aurora
    96-941            6/1/1996   Electrical - Laboratory Equipment Power                       Buildings - North Aurora
    96-942            6/1/1996   Computer Equipment electrical                                 Buildings - North Aurora
    96-943            6/1/1996   CO8 - Conduits for Future                                     Buildings - North Aurora
    96-944            6/1/1996   CO9 - Added Conduit for Card Reader System                    Buildings - North Aurora
    96-945            6/1/1996   CO10 - Electrical Hookup at Freezer Floor                     Buildings - North Aurora
    96-946            6/1/1996   CO42 - Conduit for Exterior Menu Board retail stor            Buildings - North Aurora
    96-947            6/1/1996   CO46 - Electrical for Exterior Building Signs                 Buildings - North Aurora
    96-948            6/1/1996   CO47 - Electrical for Monument Sign                           Buildings - North Aurora
    96-949            6/1/1996   Telephone Electrical Equipment                                Buildings - North Aurora
    96-950            6/1/1996   Monument Sign                                                 Buildings - North Aurora
    96-951            6/1/1996   Office Carpeting                                              Buildings - North Aurora
    96-952            6/1/1996   Dairy Sign South Wall                                         Buildings - North Aurora
    96-953            6/1/1996   Security Systems                                              Buildings - North Aurora
    96-954            6/1/1996   Landscaping                                                   Buildings - North Aurora
    96-955            6/1/1996   Merchandise Storage Room                                      Buildings - North Aurora
    96-956            6/1/1996   Records Storage Room                                          Buildings - North Aurora
    96-957            6/1/1996   Miscellaneous Construction                                    Buildings - North Aurora
    96-958           11/5/1996   Bolingbrook L/H 39 Year Property                              Leasehold Improvements - Bolingbrook
    96-959           11/5/1996   Bolingbrook L/J 7 Year Property                               Leasehold Improvements - Bolingbrook
    96-960           11/5/1996   Bolingbook L/H 5 Year Property                                Leasehold Improvements - Bolingbrook



63817155
                      Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document      Page 199 of 231


 Asset Number   Date Acquired    Asset Description 1                                    G/L Asset Account Description
    96-961           5/28/1996   North Aurora Dairy Store L/H 39 Year Property          Buildings - North Aurora Dairy Store
    96-962           5/28/1996   North Aurora Dairy Store L/H 7 Year Property           Buildings - North Aurora Dairy Store
    96-963           5/28/1996   North Aurora Dairy Store L/H 5 Year Property           Buildings - North Aurora Dairy Store
    97-100           9/22/1997   TELEPHONE SERVICE ESTABLISHED                          Leasehold Improvements - Oswego
    97-101           9/22/1997   EXTERIOR SIGNS-CUSTOM CHANNEL LETTERS                  Leasehold Improvements - Oswego
    97-103         10/27/1997    CUSTOM AWNING REPLACEMENT/LABOR/PLEXI FACES            Leasehold Improvements - Arlington Heights
    97-104         10/27/1997    CUSTOM CHANNEL LETTERS/LABOR                           Leasehold Improvements - Arlington Heights
    97-108           7/30/1997   JSB-PLUMBING                                           Leasehold Improvements - Park Ridge
    97-109         11/10/1997    ARCHITECT FEES                                         Buildings - North Aurora
    97-110         11/10/1997    GENERAL CONDITIONS                                     Buildings - North Aurora
    97-112           4/21/1997   2 TABLE TOPS IN CHECKER BOARD                          Machinery & Equipment - Park Ridge
    97-119         10/24/1997    ADE EQUIPMENT                                          Machinery & Equipment - Elgin
    97-122         10/10/1997    ADE EQUIPMENT                                          Machinery & Equipment - Oswego
    97-124           10/9/1997   FRONT LINE LEADERSHIP TRAINING                         Office Furniture - North Aurora
    97-126         11/10/1997    WASSTE OIL SYSTEM, 2 DRAIN CARTS & PUMP                Machinery & Equipment - Truck Maintenance
    97-131           9/23/1997   COMPUTER PROG-FIXED ASSET MANAGER                      Data Processing Equipment
    97-132           10/1/1997   CIP BALANCE-TO BE SEPERATED                            Leasehold Improvements - Oswego
    97-135         10/10/1997    EMERGENCY VENTS, DUST PLUGS & CAPS                     Machinery & Equipment - Truck Maintenance
    97-137           10/8/1997   SIX SUN SHADES                                         Leasehold Improvements - Oswego
    97-138         10/31/1997    TELEPHONE SERVICE ESTABLISHED                          Leasehold Improvements - Arlington Heights
    97-140           11/4/1997   INSTALLED PLANT MATERIAL                               Leasehold Improvements - Arlington Heights
    97-142           11/4/1997   BARRIER TENSION 890-1P                                 Machinery & Equipment - Arlington Heights
    97-150         11/10/1997    BARRIER TENSION 890-1P                                 Machinery & Equipment - Elmhurst
    97-155           3/24/1997   JSB INERIOR CONSTRUCTION                               Leasehold Improvements - Bolingbrook
    97-157           7/30/1997   JSB-HVAC                                               Leasehold Improvements - Park Ridge
    97-159           7/30/1997   JSB-MILLWORK                                           Leasehold Improvements - Park Ridge
    97-161           7/30/1997   JSB-PAINTING & WALL COVERING                           Leasehold Improvements - Park Ridge
    97-162         10/31/1997    ADE EQUIPMENT                                          Machinery & Equipment - Oswego
    97-163           9/30/1997   HAND DRYER                                             Machinery & Equipment - Western Springs
    97-166           7/30/1997   JSB-GLASS                                              Leasehold Improvements - Park Ridge
    97-168           7/30/1997   JSB-TILE FLOORING                                      Leasehold Improvements - Park Ridge



63817155
                      Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document      Page 200 of 231


 Asset Number   Date Acquired    Asset Description 1                                    G/L Asset Account Description
    97-170         11/13/1997    AWNING MATERIAL/LABOR                                  Leasehold Improvements - Western Springs
    97-172           7/30/1997   JSB-BATH ACCESS                                        Leasehold Improvements - Park Ridge
    97-174         10/31/1997    COMMUNICATION EQUIPMENT                                Communication Equipment
    97-183            8/6/1997   JSB-HVAC                                               Leasehold Improvements - Elmhurst
    97-189         11/12/1997    CHARM ADJUSTMENT                                       Machinery & Equipment - N.A. Plant
    97-190           4/24/1997   END DRIVE w/FLUSH ON ONE SIDE, FIXED RAILS & CHAI      Machinery & Equipment - N.A. Plant
    97-193           7/25/1997   FREEZER PIPING                                         Machinery & Equipment - N.A. Plant
    97-196         10/27/1997    JSB-ARCHITECTURAL FEES                                 Leasehold Improvements - Arlington Heights
    97-199           8/26/1997   JSB-PERMIT                                             Leasehold Improvements - Arlington Heights
    97-209           6/16/1997   WATER SOFTENER                                         Buildings - North Aurora Dairy Store
    97-210         12/19/1997    FRONT LINE LEADERSHIP TRNG-MANAGING CHN                Office Furniture - North Aurora
    97-211           7/30/1997   JSB-DOOR FRAMES & HARDWARE                             Leasehold Improvements - Park Ridge
    97-212            8/1/1997   WORK STATIONS - CUSTOMER SERVICE DEPT.                 Office Furniture - North Aurora
    97-213            8/8/1997   DESK, 5 CHAIRS & ORGANIZERS FOR CUSTOMER SERV DEPT     Office Furniture - North Aurora
    97-218           7/30/1997   JSB-ARCHITECTURAL FEES                                 Leasehold Improvements - Park Ridge
    97-219           7/30/1997   WHITE COFFEE MUGS                                      Machinery & Equipment - Park Ridge
    97-221            8/6/1997   JSB-DRYWALL, CARPENTRY, & ACCOUSTICS                   Leasehold Improvements - Elmhurst
    97-222           7/30/1997   GLASSES                                                Machinery & Equipment - Park Ridge
    97-224           7/30/1997   PERMIT                                                 Machinery & Equipment - Park Ridge
    97-225            8/6/1997   JSB-ELECTRIC                                           Leasehold Improvements - Elmhurst
    97-226            8/6/1997   JSB-PLUMBING                                           Leasehold Improvements - Elmhurst
    97-227           7/30/1997   CUSTOM AWNINGS/LABOR                                   Machinery & Equipment - Park Ridge
    97-229           7/30/1997   SAFE AND INSTALLATION                                  Machinery & Equipment - Park Ridge
    97-230           7/30/1997   ADE EQUIPMENT                                          Machinery & Equipment - Park Ridge
    97-231           7/30/1997   EGG CRATE AWNING PLATES/VINYL LETTERS                  Machinery & Equipment - Park Ridge
    97-233           7/30/1997   JSB-GENERAL CONDITIONS                                 Leasehold Improvements - Park Ridge
    97-234           7/30/1997   JSB-PERMIT FEES                                        Leasehold Improvements - Park Ridge
    97-235           7/30/1997   JSB-OTHER FEES                                         Leasehold Improvements - Park Ridge
    97-236           7/30/1997   JSB-CONCRETE                                           Leasehold Improvements - Park Ridge
    97-237           7/30/1997   JSB INTERIOR CONSTRUCTION                              Leasehold Improvements - Park Ridge
    97-238            8/6/1997   JSB-MILLWORK                                           Leasehold Improvements - Elmhurst



63817155
                      Case 24-05385          Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                        Document      Page 201 of 231


 Asset Number   Date Acquired    Asset Description 1                                      G/L Asset Account Description
    97-239            8/6/1997   JSB-PAINTING & WALLCOVERING                              Leasehold Improvements - Elmhurst
    97-240            8/6/1997   JSB-SPRINKLERS                                           Leasehold Improvements - Elmhurst
    97-241            8/6/1997   JSB-TILE FLOORING                                        Leasehold Improvements - Elmhurst
    97-242            8/6/1997   JSB-BATH ACCESS                                          Leasehold Improvements - Elmhurst
    97-243            8/6/1997   JSB-DOOR FRAMES & HARDWARE                               Leasehold Improvements - Elmhurst
    97-246            8/6/1997   JSB-CONCRETE                                             Leasehold Improvements - Elmhurst
    97-247           12/1/1997   CIP BALANCE-TO BE SEPERATED                              Machinery & Equipment - Elmhurst
    97-248            8/6/1997   JSB-FEES                                                 Leasehold Improvements - Elmhurst
    97-249           12/1/1997   JSB-FEES                                                 Leasehold Improvements - Elmhurst
    97-250            8/6/1997   JSB-GENERAL CONDITIONS                                   Leasehold Improvements - Elmhurst
    97-254            9/2/1997   JSB-MILLWORK                                             Leasehold Improvements - Arlington Heights
    97-258           9/18/1997   JSB-HVAC                                                 Leasehold Improvements - Arlington Heights
    97-259           9/18/1997   JSB-DRYWALL, CARPENTRY & ACCOUSTICS                      Leasehold Improvements - Arlington Heights
    97-260           9/18/1997   JSB-GENERAL CONDITIONS                                   Leasehold Improvements - Arlington Heights
    97-261           9/18/1997   JSB-PAINT & WALL COVERING                                Leasehold Improvements - Arlington Heights
    97-262         10/27/1997    JSB-ELECTRIC                                             Leasehold Improvements - Arlington Heights
    97-263         10/27/1997    JSB-PLUMBING                                             Leasehold Improvements - Arlington Heights
    97-264         10/27/1997    JSB-TILE FLOORING                                        Leasehold Improvements - Arlington Heights
    97-277         10/27/1997    JSB-PERMIT                                               Leasehold Improvements - Arlington Heights
    97-278           7/30/1997   Park Ridge L/H 39 Year Property                          Leasehold Improvements - Park Ridge
    97-279           7/30/1997   Park Ridge L/H 15 Year Property                          Leasehold Improvements - Park Ridge
    97-280           7/30/1997   Park Ridge L/H 5 Year                                    Leasehold Improvements - Park Ridge
    97-473            8/6/1997   Elmhurst L/H 39 Year Property                            Leasehold Improvements - Elmhurst
    97-474            8/6/1997   Elmhurst L/H 7 Year Property                             Leasehold Improvements - Elmhurst
    97-475            8/6/1997   Elmhurst L/H 5 Year Property                             Leasehold Improvements - Elmhurst
    98-102           5/19/1998   2 - 1 3/4”“ S.C. DOORS, GLASS INSERTS & KEYED LOCK       Buildings - North Aurora
    98-104            5/1/1998   30 X 40 2-SIDED MOO COOLER POSTERS                       Marketing / Promotional Assets
    98-105           1/14/1998   JSB-ASPHALT                                              Leasehold Improvements - Arlington Heights
    98-106           1/14/1998   JSB-CONCRETE PATCH/PLUMBING                              Leasehold Improvements - Arlington Heights
    98-107           1/14/1998   JSB-PERMIT REVIEW FEE                                    Leasehold Improvements - Arlington Heights
    98-108            5/4/1998   PHOTO PRINTS 10 PCS. AND 10 PCS.                         Marketing / Promotional Assets



63817155
                      Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document      Page 202 of 231


 Asset Number   Date Acquired    Asset Description 1                                    G/L Asset Account Description
    98-109           6/19/1998   JOHNSONITE RAISED ROUND STAIRTREADS WITH RISERS        Buildings - North Aurora
    98-117            6/1/1998   MICROS SYSTEMS - LINE CONDITIONER                      Machinery & Equipment - Arlington Heights
    98-119            6/1/1998   MICROS SYSTEMS - LINE CONDITIONER                      Machinery & Equipment - Oswego
    98-121            6/1/1998   46”“ ROUND TABLE W/CONCAVE SEATS - RED/VANILLA         Machinery & Equipment - Downers Grove
    98-125            6/1/1998   MICROS SYSTEMS - 3 LINE CONDITIONERS                   Machinery & Equipment - Western Springs
    98-127           6/22/1998   3 DESKS, 5 FILE CABINETS, CHAIRS, BOOK SHELF,MICOR     Office Furniture & Equipment - Bloomington
    98-128           6/22/1998   4 DESKS, 6 TABLES, 10 CHAIRS, 6 FILE CABINETS, FAX     Office Furniture & Equipment - St. Louis TC
    98-134           7/29/1998   CONDUIT & WIRE TO FREEZER-CONDENSOR & EVAPORATOR       Leasehold Improvements - Bloomington TC
    98-139           7/13/1998   RELOCATE W/I FREEZER FROM AURORA TO BLOOMINGTON        Machinery & Equipment - Bloomington TC
    98-144            1/1/1998   VIDEO PROGRAM-SERVICE & PRODUCTION FEE                 Marketing / Promotional Assets
    98-145           7/23/1998   FIRE ALARM SYSTEM IN TRUCK BARN                        Machinery & Equipment - Truck Maintenance
    98-152           7/10/1998   FIXTURES CHOOSEN BY THE VILLAGE & LABOR                Leasehold Improvements - Bloomingdale
    98-154           8/15/1998   BB-9C W/FOUR 7.75”“ HOLES FOR PIE LOCATION/DOLLI       Machinery & Equipment - N.A. Plant
    98-157           8/14/1998   ADE-WORK TABLE & RACK, ROLL-IN REFRIGERATOR            Machinery & Equipment - Rolling Meadows
    98-158           8/12/1998   CUSTOM DRIVE-THRU APPENDAGE/LABOR                      Machinery & Equipment - Rolling Meadows
    98-159           8/19/1998   SURVEILLANCE SYSTEM                                    Machinery & Equipment - Truck Maintenance
    98-163           8/27/1998   GATES-BUILDING & INSTALLING                            Leasehold Improvements - Bloomingdale
    98-168           6/22/1998   FREEZER                                                Machinery & Equipment - St. Louis TC
    98-172           6/22/1998   TWO ELECTRIC PALLET JACKS                              Machinery & Equipment - Bloomington TC
    98-176           6/22/1998   CLEAN IN PLACE TANK                                    Machinery & Equipment - N.A. Plant
    98-178           6/22/1998   3 PALLET RACKS & LADDER                                Machinery & Equipment - N.A. Plant
    98-181           1/23/1998   JSB-DEMOLITION                                         Leasehold Improvements - Bloomingdale
    98-182           1/23/1998   JSB-DRYWALL, CARPENTRY, ACCOUSTICS                     Leasehold Improvements - Bloomingdale
    98-183           1/23/1998   JSB-PAINTING & WALLCOVERING                            Leasehold Improvements - Bloomingdale
    98-184           1/23/1998   JSB-TILE                                               Leasehold Improvements - Bloomingdale
    98-185           1/23/1998   JSB-GLASS                                              Leasehold Improvements - Bloomingdale
    98-186           1/23/1998   JSB-MILLWORK                                           Leasehold Improvements - Bloomingdale
    98-187           1/23/1998   JSB-CONCRETE                                           Leasehold Improvements - Bloomingdale
    98-188           1/23/1998   JSB-DOOR KITS & BATH ACCESS                            Leasehold Improvements - Bloomingdale
    98-189           1/23/1998   JSB-PLUMBING                                           Leasehold Improvements - Bloomingdale
    98-190           1/23/1998   JSB-ELECTRIC                                           Leasehold Improvements - Bloomingdale



63817155
                      Case 24-05385         Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document      Page 203 of 231


 Asset Number   Date Acquired    Asset Description 1                                    G/L Asset Account Description
    98-191           1/23/1998   JSB-HVAC                                               Leasehold Improvements - Bloomingdale
    98-192           1/23/1998   JSB-ALARM SYSTEM                                       Leasehold Improvements - Bloomingdale
    98-193           1/23/1998   JSB-FLOOR PREP                                         Leasehold Improvements - Bloomingdale
    98-194           1/23/1998   JSB-GENERAL CONDITIONS                                 Leasehold Improvements - Bloomingdale
    98-195           1/23/1998   JSB-FEES                                               Leasehold Improvements - Bloomingdale
    98-196           1/23/1998   JSB-ADD’L ELECTRIC                                     Leasehold Improvements - Bloomingdale
    98-197           1/23/1998   JSB-ADD’L CARPENTRY                                    Leasehold Improvements - Bloomingdale
    98-198           1/23/1998   JSB-ADD’L MILLWORK                                     Leasehold Improvements - Bloomingdale
    98-199           1/23/1998   JSB-ADD’L GLAZER & PAINTER                             Leasehold Improvements - Bloomingdale
    98-200           1/23/1998   JSB-ADD’L HVAC                                         Leasehold Improvements - Bloomingdale
    98-201           1/23/1998   JSB-ADD’L PLUMBING & ENGINEERING REBATE                Leasehold Improvements - Bloomingdale
    98-202           1/23/1998   JSB-ADD’L PERMIT FEES                                  Leasehold Improvements - Bloomingdale
    98-203           1/23/1998   JSB-ADD’L FEES                                         Leasehold Improvements - Bloomingdale
    98-204           1/23/1998   JSB-ADD’L FEES FOR EXTERIOR WORK                       Leasehold Improvements - Bloomingdale
    98-205           1/23/1998   JSB-ADD’L EXTERIOR ELECTRICAL WORK                     Leasehold Improvements - Bloomingdale
    98-206           1/23/1998   JSB-ADD’L EXTERIOR WORK                                Leasehold Improvements - Bloomingdale
    98-207           1/23/1998   JSB-ADD’L REPAIR & PAINT EXTERIOR, INSTALL DRYVIT      Leasehold Improvements - Bloomingdale
    98-208           1/23/1998   JSB-HEALTH INSPEC PERMIT 300/MECH ENGINEERING 4500     Leasehold Improvements - Bloomingdale
    98-209            8/3/1998   PUSH BUTTON ENTRY LOCK, SIMPLEX 6000                   Leasehold Improvements - Truck Barn
    98-210           9/13/1998   LANDSCAPING-GRAVEL, VISQUEEN, GRADE & HYDRO SEED       Leasehold Improvements - Truck Barn
    98-212           9/15/1998   2500 GALLON DOUBLE WALL STEEL SKID TANK                Machinery & Equipment - Truck Maintenance
    98-215            1/1/1998   WEB-SITE                                               Marketing / Promotional Assets
    98-216           1/14/1998   JSB ADD’L-CARPENTRY                                    Leasehold Improvements - Arlington Heights
    98-217           1/14/1998   JSB ADD’L-PAINTING                                     Leasehold Improvements - Arlington Heights
    98-218           1/14/1998   JSB ADD’L-PLUMBING                                     Leasehold Improvements - Arlington Heights
    98-219           1/14/1998   JSB ADD’L-DRYWALL                                      Leasehold Improvements - Arlington Heights
    98-220           1/14/1998   JSB ADD’L-TILE                                         Leasehold Improvements - Arlington Heights
    98-221           1/14/1998   JSB ADD’L-MILLWORK                                     Leasehold Improvements - Arlington Heights
    98-222           1/14/1998   JSB ADD’L-HVAC                                         Leasehold Improvements - Arlington Heights
    98-223           1/14/1998   JSB ADD’L-CONCRETE                                     Leasehold Improvements - Arlington Heights
    98-224           1/14/1998   JSB ADD’L-ACCOUSTIC                                    Leasehold Improvements - Arlington Heights



63817155
                      Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                     Document      Page 204 of 231


 Asset Number   Date Acquired    Asset Description 1                                   G/L Asset Account Description
    98-225           1/14/1998   JSB ADD’L-ELECTRIC                                    Leasehold Improvements - Arlington Heights
    98-226           1/14/1998   JSB ADD’L-JSB FEES                                    Leasehold Improvements - Arlington Heights
    98-227            9/3/1998   NEW AIR COMPRESSOR/OLD COMPRESSOR, POWER TO CASER     Machinery & Equipment - N.A. Plant
    98-233         10/22/1998    PAINT STORAGE CABINET W/FLAME ARRESTOR                Machinery & Equipment - Truck Maintenance
    98-234         10/16/1998    MOTOR BASE-ICB-5B                                     Machinery & Equipment - North Aurora DS
    98-236           10/1/1998   CUSTOM CALL ROUTING SOFTWARE & EQUIPMENT              Communication Equipment
    98-245            8/1/1998   NORTH AURORA FIRE - NEW GARAGE                        Leasehold Improvements - Truck Barn
    98-246            8/1/1998   BUILDING PERMIT/PLAN REVIEW                           Leasehold Improvements - Truck Barn
    98-247            8/1/1998   SANITATION CONNECTION FEE                             Leasehold Improvements - Truck Barn
    98-248            8/1/1998   STORM SEWER                                           Leasehold Improvements - Truck Barn
    98-249            8/1/1998   WATER CONNECTION/METER                                Leasehold Improvements - Truck Barn
    98-250         10/21/1998    RAW MILK TANK INSTALLATION-SILO PROJECT               Buildings - North Aurora
    98-259           6/22/1998   61 MILK DISPENSERS                                    Machinery & Equipment - Bloomington TC
    98-276           6/22/1998   #208 1991 FORD F-450 SMALL BOX COLD-PLATE             Vehicles - Bloomington TC
    98-297           12/2/1998   B & W BULLET CAMERA, CAMERA SET-UP, VIDEOCABLE/CON    Machinery & Equipment - N.A. Plant
    98-299           12/8/1998   MID-BACK SWIVEL TILT CHAR, 2 SIDE CHAIRS & FREIGHT    Office Furniture - North Aurora
    98-301         12/18/1998    JSB-DRYWALL, CARPENTRY & ACOUSTICS                    Leasehold Improvements - Elgin
    98-302         12/18/1998    JSB-MASONRY                                           Leasehold Improvements - Elgin
    98-303         12/18/1998    JSB-PLUMBING                                          Leasehold Improvements - Elgin
    98-304         12/18/1998    JSB-ELECTRIC                                          Leasehold Improvements - Elgin
    98-305         12/18/1998    JSB-HVAC                                              Leasehold Improvements - Elgin
    98-306         12/18/1998    JSB-FLOORING                                          Leasehold Improvements - Elgin
    98-307         12/18/1998    JSB-GLAZING                                           Leasehold Improvements - Elgin
    98-308         12/18/1998    JSB-PAINTING                                          Leasehold Improvements - Elgin
    98-309         12/18/1998    JSB-DOORS/BATH ACCESSORIES                            Leasehold Improvements - Elgin
    98-310         12/18/1998    JSB-MILLWORK                                          Leasehold Improvements - Elgin
    98-311         12/18/1998    JSB-SPRINKLERS                                        Leasehold Improvements - Elgin
    98-312         12/18/1998    JSB-DRIVE THROUGH SYSTEM                              Leasehold Improvements - Elgin
    98-313         12/18/1998    JSB-ROOFING                                           Leasehold Improvements - Elgin
    98-314         12/18/1998    JSB-CONCRETE FLOOR PATCH                              Leasehold Improvements - Elgin
    98-315         12/18/1998    JSB-GLASS TINTING                                     Leasehold Improvements - Elgin



63817155
                      Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19     Desc Main
                                                      Document      Page 205 of 231


 Asset Number   Date Acquired    Asset Description 1                                    G/L Asset Account Description
    98-316         12/18/1998    JSB-GENERAL CONDITIONS                                 Leasehold Improvements - Elgin
    98-317         12/18/1998    JSB-FEES                                               Leasehold Improvements - Elgin
    98-318         12/18/1998    JSB-PERMIT FEES & ARCHITECTURAL FEES                   Leasehold Improvements - Elgin
    98-320         12/18/1998    MUSIC, EQUIPMENT & LABOR                               Machinery & Equipment - Elgin
    98-322         12/18/1998    GRATE SIGNS SIGNAGE-A                                  Leasehold Improvements - Elgin
    98-323         12/18/1998    TWO CHECKED TABLE TOPS (NO BASES)                      Machinery & Equipment - Elgin
    98-324         11/13/1998    MANUAL SLIDE FREEZER DOOR 43”“ X 45”“X4”“-FURNISH/     Machinery & Equipment - N.A. Plant
    98-325         12/18/1998    TELEPHONE SERVICE ESTABLISHED                          Leasehold Improvements - Elgin
    98-326         12/18/1998    DAIRY STORE PICTURES                                   Machinery & Equipment - Elgin
    98-329           3/10/1998   SIGNAGE                                                Machinery & Equipment - Downers Grove
    98-330           3/12/1998   SIGNAGE                                                Machinery & Equipment - Bloomingdale
    98-500            2/1/1999   RAW MILK SILO TANK                                     Machinery & Equipment - N.A. Plant
    98-501            2/1/1999   SILO-RECORDER&RTD ASSEMBLY MODEL WITH WIRE HEAD        Machinery & Equipment - N.A. Plant
    98-502            2/1/1999   SILO-REFRIGERATION PIPING, VALVES, INSTALLATION        Machinery & Equipment - N.A. Plant
    98-505            2/1/1999   LEVEL SENSOR                                           Machinery & Equipment - N.A. Plant
    98-507            2/1/1999   SILO-REMOVE/INSTALL NEW CEMENT BLOCKS AROUND TANK      Machinery & Equipment - N.A. Plant
    98-508            2/1/1999   FREIGHT CHARGES OMITTED OFF INVOICE 36752              Machinery & Equipment - N.A. Plant
    98-509            2/1/1999   SPRINKLER PLAN REVIEW                                  Machinery & Equipment - N.A. Plant
    98-510            2/1/1999   1000 GALLON PROCESSOR ADN C/B 3 WAY PLUG VALVE         Machinery & Equipment - N.A. Plant
    98-511            2/1/1999   FIELD ENGINEERING SERVICE                              Machinery & Equipment - N.A. Plant
    98-512            3/9/1998   Downers Grove L/H 39 Year Property                     Leasehold Improvements - Downers Grove
    98-513            3/9/1998   Downers Grove L/H 7 Year Property                      Leasehold Improvements - Downers Grove
    98-514            3/9/1998   Downers Grove L/H 5 Year Property                      Leasehold Improvements - Downers Grove
    98-515         12/18/1998    Elgin L/H 39 Year Property                             Leasehold Improvements - Elgin
    98-516         12/18/1998    Elgin L/H 15 Year Property                             Leasehold Improvements - Elgin
    98-517         12/18/1998    Elgin L/H 7 Year Property                              Leasehold Improvements - Elgin
    98-518         12/18/1998    Elgin L/H 5 Year Property                              Leasehold Improvements - Elgin
    98-519           1/23/1998   Bloomingdale L/H 39 Year Property                      Leasehold Improvements - Bloomingdale
    98-520           1/23/1998   Bloomingdale L/H 15 Year Property                      Leasehold Improvements - Bloomingdale
    98-521           1/23/1998   Bloomingdale L/H 7 Year Property                       Leasehold Improvements - Bloomingdale
    98-522           1/23/1998   Bloomingdale L/H 5 Year Property                       Leasehold Improvements - Bloomingdale



63817155
                      Case 24-05385        Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                     Document      Page 206 of 231


 Asset Number   Date Acquired    Asset Description 1                                   G/L Asset Account Description
    98-523           8/27/1998   Bloomingdale L/H 15 Year Property                     Leasehold Improvements - Bloomingdale
    99-002           2/15/1999   JSB-MECHANICAL ENGINEERING FEES                       Leasehold Improvements - Elgin
    99-005           2/10/1999   DRY STORAGE PACKING                                   Machinery & Equipment - N.A. Plant
    99-009           1/26/1999   GRATE SIGNS SIGNAGE-B                                 Machinery & Equipment - Elgin
    99-018           10/8/1999   CORD ENDS FOR TRUCK RECEPTACLES                       Machinery & Equipment - Truck Maintenance
    99-025           5/24/1999   DIAMOND TREAD SHEETING ON FREEZER FLOOR               Machinery & Equipment - St. Louis TC
    99-027           5/24/1999   CAPEX-EQUIPMENT-REPLACE FREEZER REFRIGERATION         Machinery & Equipment - St. Louis TC
    99-028            5/7/1999   FIRE FILES-4 DRW. VERTICAL 25”“D&25”“DLEGAL           Office Furniture - North Aurora
    99-035           1/13/1999   HYDRAULIC PIPING FOR CART STOP                        Buildings - North Aurora
    99-038           3/31/1999   FOUNTAIN RAIL ADAPTOR, JARS &PUMPS                    Machinery & Equipment - Rolling Meadows
    99-039           5/11/1999   ARCH. ENGINEERING INSPECTION                          Buildings - North Aurora
    99-040           5/27/1999   PLUMBING INSPECTION                                   Buildings - North Aurora
    99-057           4/10/1999   #403 TRAILER GRAPHIC KIT                              Vehicles
    99-064           5/22/1999   ICE CREAM RETAIL BERM-LANDSCAPING                     Land & Land Improvements
    99-065           5/26/1999   SEED YARD-DAIRY EXPANSION                             Land & Land Improvements
    99-066           6/10/1999   PARKING LOT PAVING & REFURBISHMENT                    Land & Land Improvements
    99-067           7/26/1999   PARKING LOT PLANT EXPANSION                           Land & Land Improvements
    99-069           6/10/1999   PARKING LOT REPAVING & REFURBISHMENT                  Leasehold Improvements - Arlington Heights
    99-070           6/10/1999   PARKING LOT PAVING & REFURBISHMENT                    Leasehold Improvements - Bloomingdale
    99-072           6/23/1999   COOLER HOSE REELS                                     Machinery & Equipment - N.A. Plant
    99-076           7/16/1999   GREASE PUMP                                           Machinery & Equipment - Truck Maintenance
    99-077            7/2/1999   SUN SHADES                                            Machinery & Equipment - North Aurora DS
    99-079            6/9/1999   ARCH ENGINEERING INSPECTION                           Buildings - North Aurora
    99-080            7/8/1999   ARCH ENGINEERING INSPECTION                           Buildings - North Aurora
    99-087            8/2/1999   4 SUN SHADES                                          Leasehold Improvements - Oswego
    99-088           5/24/1999   2ND COMPUTER ROOM CONSTRUCTION                        Buildings - North Aurora
    99-091           3/30/1999   CUSTOM MENU BOARDS                                    Machinery & Equipment - North Aurora DS
    99-093           3/30/1999   CUSTOM MENU BOARDS                                    Leasehold Improvements - Bolingbrook
    99-094            4/2/1999   CUSTOM MENU BOARDS                                    Leasehold Improvements - Western Springs
    99-095           7/27/1999   CUSTOM MENU BOARDS                                    Leasehold Improvements - Arlington Heights
    99-097           7/27/1999   CUSTOM MENU BOARDS                                    Leasehold Improvements - Bloomingdale



63817155
                      Case 24-05385         Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document      Page 207 of 231


 Asset Number   Date Acquired    Asset Description 1                                    G/L Asset Account Description
    99-099           7/27/1999   CUSTOM MENU BOARD                                      Leasehold Improvements - Elmhurst
    99-100           7/27/1999   CUSTOM MENU BOARD                                      Leasehold Improvements - Oswego
    99-101           7/27/1999   CUSTOM MENU BOARD                                      Leasehold Improvements - Downers Grove
    99-103           7/27/1999   CUSTOM MENU BOARD                                      Leasehold Improvements - Park Ridge
    99-106           1/20/1999   CUSTOM MAGNETIC INSERTS                                Leasehold Improvements - Elgin
    99-107           1/20/1999   CUSTOM MENU BOARDS                                     Leasehold Improvements - Elgin
    99-110            6/7/1999   ICE CREAM DIPPING CABINET                              Machinery & Equipment - North Aurora DS
    99-111            6/7/1999   WORK TABLE ADVANCE TABCO MODEL SFG-302                 Machinery & Equipment - North Aurora DS
    99-112            6/7/1999   WORK TABLE MODEL SFG-303                               Machinery & Equipment - North Aurora DS
    99-115           7/20/1999   FLOOR COATING OF TANK STORAGE AREA 1080 SQ FT.         Buildings - North Aurora
    99-120           2/25/1999   FIRE ALARM SYSTEM & UNDERCANOPY SOFFIT SIGN            Leasehold Improvements - Downers Grove
    99-122           6/24/1999   JSB LEASEHOLD IMPROVEMENTS                             Buildings - North Aurora Dairy Store
    99-123           3/23/1999   JSB ****                                               Leasehold Improvements - Elgin
    99-124           3/24/1999   JSB REMODELING                                         Leasehold Improvements - Western Springs
    99-125           6/24/1999   JSB REMODELING                                         Leasehold Improvements - Western Springs
    99-126            2/1/1999   BUILDING PERMITS-DRY STORAGE EXPANSION                 Buildings - North Aurora
    99-127            2/1/1999   BUILDING PERMITS-DRY STORAGE EXPANSION                 Buildings - North Aurora
    99-130           8/17/1999   NORTH AURORA PARKING LOT RESURFACING                   Land & Land Improvements
    99-131         10/18/1999    NEW OUTDOOR SIGN - ROLLING MEADOWS STORE               Machinery & Equipment - Rolling Meadows
    99-132         10/25/1999    DRIVE THRU MENU BOARDS                                 Machinery & Equipment - North Aurora DS
    99-133            9/8/1999   NEW WINDOW COUNTER                                     Buildings - North Aurora Dairy Store
    99-134            9/3/1999   JSB STORE LEASEHOLD IMPROVEMENTS                       Leasehold Improvements - Oswego
    99-135         11/29/1999    NEW OUTDOOR SIGNAGE                                    Leasehold Improvements - Arlington Heights
    99-136           8/30/1999   JSB LEASEHOLD IMPROVEMENTS                             Leasehold Improvements - Elgin
    99-137            8/1/1999   JSB L/H IMPROV - PLUMBING CHANGE ORDER                 Leasehold Improvements - Elgin
    99-146           9/10/1999   SUN SHADES                                             Machinery & Equipment - Downers Grove
    99-147           9/10/1999   SUN SHADES                                             Machinery & Equipment - Western Springs
    99-149           8/17/1999   ICE MAKER - CUBE STYLE                                 Machinery & Equipment - Rolling Meadows
    99-150           10/8/1999   FIVE SHELF CLOSED SHELVING                             Office Furniture - North Aurora
    99-151         10/21/1999    PLUMBING WORK-DRY STORAGE EXPANSION                    Buildings - North Aurora
    99-152         12/27/1999    DESIGN FEES - 2ND FLOOR OFFICE SPACE                   Buildings - North Aurora



63817155
                      Case 24-05385        Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document      Page 208 of 231


 Asset Number   Date Acquired    Asset Description 1                                    G/L Asset Account Description
    99-160         12/16/1999    24 GAL CLOSE CABINET                                   Machinery & Equipment - St. Louis TC
    99-161         11/23/1999    5.2 CUBIC FT INCUBATOR                                 Machinery & Equipment - Lab
    99-165           9/14/1999   RAW MILK PROJECT                                       Machinery & Equipment - N.A. Plant
    99-166           9/30/1999   RAW MILK PROJECT                                       Machinery & Equipment - N.A. Plant
    99-174           10/4/1999   REPAINT-WESTERN SPRINGS STORE                          Leasehold Improvements - Western Springs
    99-175         12/27/1999    CARPETING-2ND FLR OFFICE                               Buildings - North Aurora
    99-176           11/3/1999   CHAIRS-TRAINING ROOM                                   Office Furniture - North Aurora
    99-177         12/27/1999    2ND FLOOR PAINTING                                     Buildings - North Aurora
    99-178           8/31/1999   USED TRI BLENDER PUMP F3218                            Machinery & Equipment - N.A. Plant
    99-184            8/9/1999   RAW MILK PROJECT                                       Machinery & Equipment - N.A. Plant
    99-185         10/29/1999    RAW MILK PROJECT-PREP TIME/TRAVEL TIME                 Machinery & Equipment - N.A. Plant
    99-186           10/8/1999   #208 GRAPHICS-TRUCK                                    Vehicles
    99-187           9/26/1999   #208 REBUILD                                           Vehicles
    99-202         12/20/1999    CARPETING-UPSTAIRS                                     Office Furniture - North Aurora
    99-206         12/27/1999    PHONE & DATA WIRING FOR 2ND FLR OFFICE AREA            Office Furniture - North Aurora
    99-207           12/1/1999   2ND FLOOR OFFICE BUILD OUT                             Buildings - North Aurora
    99-210           8/31/1999   USED DISCHARGE PUMP                                    Machinery & Equipment - N.A. Plant
    99-212           11/4/1999   RAW MILK PROJ - BLENDER POWER & CONTROL WIRING         Machinery & Equipment - N.A. Plant
    99-213            9/3/1999   Oswego L/H 39 Year Property                            Leasehold Improvements - Oswego
    99-214            9/3/1999   Oswego L/H 7 Year Property                             Leasehold Improvements - Oswego
    99-215            9/3/1999   Oswego L/H 5 Year Property                             Leasehold Improvements - Oswego
    99-216           3/23/1999   Elgin L/H 39 Year Property                             Leasehold Improvements - Elgin
    99-220           6/30/1999   Building Dry Storage L/H 39 Year Property              Buildings - North Aurora
    99-221           6/30/1999   Building Dry Storage L/H 15 Year Property              Buildings - North Aurora
    99-222           6/30/1999   Building Dry Storage L/H 7 Year Property               Buildings - North Aurora
   08-001-09         12/1/2008   CA3700 Paymentech Driver                               Machinery & Equipment - Gurnee
   08-002-09         12/1/2008   Bolt over Door Section                                 Machinery & Equipment - Gurnee
   08-009-09         12/1/2008   Various Restaurant Equipment                           Machinery & Equipment - D.S. Equipment Inv
   08-013-09         12/1/2008   Signage                                                Machinery & Equipment - Gurnee
   08-018-09         12/1/2008   Credit Card Terminal                                   Machinery & Equipment - Arlington Heights
   08-019-09         12/1/2008   Credit Card Terminal                                   Machinery & Equipment - Ballwin



63817155
                      Case 24-05385          Doc 229          Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                             Document      Page 209 of 231


 Asset Number   Date Acquired    Asset Description 1                                           G/L Asset Account Description
   08-020-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Bartlett
   08-021-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Bloomingdale
   08-022-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Bolingbrook
   08-025-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Downers Grove
   08-026-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Elgin
   08-027-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Elmhurst
   08-028-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Evergreen Park
   08-029-09         12/1/2008   Credit Card Terminal                                          M/E - Glen Ellyn TBJ
   08-030-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Glenview
   08-031-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Gurnee
   08-033-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Joliet DS
   08-035-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Lake Zurich
   08-038-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Mokena
   08-039-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Naperville
   08-040-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Naperville North
   08-041-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - North Aurora DS
   08-043-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Orland Park
   08-046-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Park Ridge
   08-047-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Rolling Meadows
   08-048-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Schaumburg
   08-049-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Schereville
   08-050-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - St. Peters
   08-051-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Kirkwood
   08-052-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Oakville
   08-053-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Western Springs
   08-054-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - Wheaton
   08-055-09         12/1/2008   Credit Card Terminal                                          Machinery & Equipment - D.S. Equipment Inv
   08-056-09         12/1/2008   46” round Table                                               Machinery & Equipment - Gurnee
   08-058-09         12/1/2008   Freezer                                                       Machinery & Equipment - Bloomingdale
   08-064-09         12/1/2008   SheerWeaver Roller Shades                                     Machinery & Equipment - Lake Zurich
   08-066-09         12/1/2008   Silo/Evaporatior Piping                                       Machinery & Equipment - N.A. Plant



63817155
                      Case 24-05385         Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document      Page 210 of 231


 Asset Number   Date Acquired    Asset Description 1                                    G/L Asset Account Description
   08-067-09         12/1/2008   Tube Ice Cream Filling Machine                         Machinery & Equipment - N.A. Plant
   08-073-09         12/1/2008   Furnish and install Roller Shades                      Machinery & Equipment - Gurnee
   08-077-09         12/1/2008   bulk Can conveyor                                      Machinery & Equipment - N.A. Plant
   08-078-09         12/1/2008   Micros                                                 Machinery & Equipment - Lincolnwood
   08-080-09         12/1/2008   2 Computers                                            Machinery & Equipment - Lincolnwood
   08-081-09         12/1/2008   Coffee Machine                                         Machinery & Equipment - Lincolnwood
   08-082-09         12/1/2008   5 Picnic Tables, 6 Receptacles                         Machinery & Equipment - Lincolnwood
   08-083-09         12/1/2008   2 Soft Serve Machines                                  Machinery & Equipment - Lincolnwood
   08-084-09         12/1/2008   Signage                                                Machinery & Equipment - Lincolnwood
   08-086-09         12/1/2008   Restaurant Equipment                                   Machinery & Equipment - Lincolnwood
   08-102-09         12/1/2008   Credit Card Terminal                                   Machinery & Equipment - Oswego
    94-558A          9/23/1994   DIPPER WELLS & FLAVOR RAILS                            Machinery & Equipment - Rolling Meadows
    94-558B          9/23/1994   WALK-IN COOLER-FREEZER                                 Machinery & Equipment - Rolling Meadows
    94-558D          9/23/1994   SINK & FAUCET AND WORK TABLES                          Machinery & Equipment - Rolling Meadows
    94-558E          9/23/1994   REACH-IN FREEZER                                       Machinery & Equipment - Rolling Meadows
    94-558H          9/23/1994   DISPLAY CASE                                           Machinery & Equipment - Rolling Meadows
     94-558I         9/23/1994   HAND SINK & COFFEE MAKER                               Machinery & Equipment - Rolling Meadows
    94-558J          9/23/1994   DRY STORAGE SHELVING                                   Machinery & Equipment - Rolling Meadows
    94-558K          9/23/1994   BAR STOOLS & COOLER SHELVING                           Machinery & Equipment - Rolling Meadows
    94-558L          9/23/1994   UPRIGHT FREEZER                                        Machinery & Equipment - Rolling Meadows
    94-558M          9/23/1994   DUNNAGE RACKS & ELECTRIC WATER COOLER                  Machinery & Equipment - Rolling Meadows
    94-558N          9/23/1994   DISPLAY SHELF UNITS & WALL SHELVES                     Machinery & Equipment - Rolling Meadows
    94-558Q          9/23/1994   ALARM SYSTEM                                           Machinery & Equipment - Rolling Meadows
    94-558R          9/23/1994   OUTDOOR TABLES (5)                                     Machinery & Equipment - Rolling Meadows
    94-558S          9/23/1994   CHAIRS                                                 Machinery & Equipment - Rolling Meadows
    94-558T          9/23/1994   SIGNS                                                  Machinery & Equipment - Rolling Meadows
    94-558V          9/23/1994   DRIVE THRU SYSTEM                                      Machinery & Equipment - Rolling Meadows
   94-558W           9/23/1994   TABLES                                                 Machinery & Equipment - Rolling Meadows
    94-558X          9/23/1994   CABINETS                                               Machinery & Equipment - Rolling Meadows
    94-558Y          9/23/1994   WORK TABLE & CUP DISPENSER                             Machinery & Equipment - Rolling Meadows
    95-566A          8/13/1995   ARCHITECTURAL FEES & EXPENSES-Warren Johnson           Leasehold Improvements - Western Springs



63817155
                      Case 24-05385         Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19      Desc Main
                                                      Document      Page 211 of 231


 Asset Number   Date Acquired    Asset Description 1                                    G/L Asset Account Description
   95-566B           8/13/1995   CM&M-ADD’L ELECTRICAL WORK                             Leasehold Improvements - Western Springs
   95-566C           8/13/1995   CM&M-ADD’L-CERAMIC TILE                                Leasehold Improvements - Western Springs
   95-566D           8/13/1995   CM&M-ADD’L-CARPENTRY, PLUMB’G, PAINT’G & FIRE ALAR     Leasehold Improvements - Western Springs
   95-584B           8/13/1995   2 TAYLOR 754 WATER COOLED FREEZERS                     Machinery & Equipment - Western Springs
   95-584D           8/13/1995   FORMICA TABLES (5), CHESS TABLES (2)-30 X30            Machinery & Equipment - Western Springs
   95-584G           8/13/1995   FIRE EXTINGUISHERS(3), FIRE ALARM CONNECTION&MONIT     Machinery & Equipment - Western Springs
   95-584H           8/13/1995   WINDOW REPLACEMENT-1/4”“ CLEAR PLATE 54 X 90 & INS     Machinery & Equipment - Western Springs
    95-584J          8/13/1995   COCA COLA DISPENSER RENT & LEASE & MISCELLANEOUS       Machinery & Equipment - Western Springs
   97-255A            8/6/1997   JSB-FEES                                               Leasehold Improvements - Arlington Heights
   97-255B            9/2/1997   JSB-FEES                                               Leasehold Improvements - Arlington Heights
   97-255C           9/18/1997   JSB-FEES                                               Leasehold Improvements - Arlington Heights
   97-255D         10/27/1997    JSB-FEES                                               Leasehold Improvements - Arlington Heights
   97-256A           7/23/1997   JSB-DEMOLITION                                         Leasehold Improvements - Arlington Heights
   97-256B            8/6/1997   JSB-DEMOLITION                                         Leasehold Improvements - Arlington Heights
   97-257A           7/17/1997   JSB-MASONRY                                            Leasehold Improvements - Arlington Heights
   97-257B           7/23/1997   JSB-MASONRY                                            Leasehold Improvements - Arlington Heights




63817155
 Case 24-05385   Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19   Desc Main
                           Document      Page 212 of 231



                                   EXHIBIT E

                                 VEHICLE LIST


                                  (See attached.)




63817155
             Case 24-05385         Doc 229          Filed 06/07/24 Entered 06/07/24 11:41:19                        Desc Main
                                                   Document      Page 213 of 231
Unit #              VIN           Year   Mileage    Purchased       Make         Model      Fuel     Engine          Body            Lender
                                                        date
 16           1GCHK29173E213426   2003   415913      1/1/2003       Chevy        K2500      Diesel    Chevy
 26          1GTZ7TCG5D1125797    2013   181144      1/16/2014      Chevy        3500        Gas      Chevy
263           JALE5W167E7301889   2014   188396      5/19/2016       Isuzu        NRR       Diesel    Isuzu         Kidron
265          1FVACWFB9JHJP8200    2018   166126      10/8/2021    Freightliner     M2       Diesel    Detroit
316         3HAMMMMN4FL738071     2015   163041      4/2/2015          Intl      4300       Diesel   Cummins       Johnson
317         3HAMMMMN6FL738072     2015   151405      4/17/2015         Intl      4300       Diesel   Cummins       Johnson
318         3HAMMMMN8FL738073     2015   211105      4/2/2015          Intl      4300       Diesel   Cummins       Johnson
319         3HAMMMMN9FL738082     2015   224457      4/2/2015          Intl      4300       Diesel   Cummins       Johnson
320         3HAMMMMN0FL738083     2015   236768      4/17/2015         Intl      4300       Diesel   Cummins       Johnson
321         3HAMMMMN2FL738084     2015   192584      4/17/2015         Intl      4300       Diesel   Cummins       Johnson
322         3HAMMMMN4FL738085     2015   276124      5/29/2015         Intl      4300       Diesel   Cummins       Johnson
323         3HAMMMMN6FL738086     2015   233886      4/17/2015         Intl      4300       Diesel   Cummins       Johnson
324         3HAMMMMN8FL738087     2015   207391      4/21/2015         Intl      4300       Diesel   Cummins       Johnson
325         3HAMMMMNXFL744425     2015   199123      4/17/2015         Intl      4300       Diesel   Cummins       Johnson
326         1HTMMMMN1GH415748     2016   217381      2/11/2016         Intl      4300       Diesel   Cummins       Johnson
327         1HTMMMMN3GH415749     2016   169631      2/11/2016         Intl      4300       Diesel   Cummins       Johnson
328         1HTMMMMNXGH415750     2016   293714      2/11/2016         Intl      4300       Diesel   Cummins       Johnson
404           IUYVS2457PM800204   1993               1/1/2000        Utility     48 FT
406          1GRAA9025NB154910    1995               1/1/2000
410           1UYVS24811M511708   2001               1/1/2007        Utility     48 FT
411           1UYVS24891M511701   2000               1/1/2007        Utility     48 FT
412           1GRAA06276B708646   2006               1/27/2015     Great Dane    53 FT
413          1GRAA02607W700463    2007               1/27/2015     Great Dane    53 FT
414          1GRAA062X7W700468    2007               1/27/2015     Great Dane    53 FT
415           1GRAA06217B700740   2007               1/27/2015     Great Dane    53 FT
452          2HSCEAHR15C179485    2005   418034     11/12/2007        Intl        9200      Diesel   Cummins
454                 306445        2003   91333       3/18/2019       Ottawa      Spotter    Diesel   Cummins
C-29         3ALHCYD28NDND2177    2021   108713      8/31/2021         Ftl         M2       Diesel    Detroit      Johnson
C-28         1HTEVTARXNH215404    2021   90508       7/30/2021        Intl       MV607      Diesel   Cummins       Johnson            BOA
617          4UZAAPDU1HCJH0666    2017   143217      7/27/2017   FREIGHTLINER    MT45       Diesel   Cummins     Util/DelConc
627          4UZAAPFD7JCJL3239    2018   220643      9/26/2017   FREIGHTLINER    MT45       Diesel   Cummins     Util/DelConc
635          4UZAAPFDXJCJL3249    2018   225261     12/26/2017   FREIGHTLINER    MT45       Diesel   Cummins     Util/DelConc
638          4UZAAPFD3JCJL3254    2018   326460     12/26/2017   FREIGHTLINER    MT45       Diesel   Cummins     Util/DelConc
639          4UZAAPFD2JCJL3245    2018   326857     11/21/2017   FREIGHTLINER    MT45       Diesel   Cummins     Util/DelConc
648          4UZAAPFD1JCJL3253    2018   189818      1/18/2018   FREIGHTLINER    MT45       Diesel   Cummins     Util/DelConc
651          4UZAAPFD0JCJL3261    2017   226833     12/21/2017   FREIGHTLINER    MT45       Diesel   Cummins     Util/DelConc
653         4UZAC2GA4MCMR1288     2021   97640       2/25/2021   FREIGHTLINER    MT45        Gas      Chevy     Morganl/DelConc       BOA
654         4UZAC2GA6MCMR1289     2021   108972      2/26/2021   FREIGHTLINER    MT45        Gas      Chevy     Morganl/DelConc       BOA
655         4UZAC2GA2MCMR1290     2021   92833       1/29/2021   FREIGHTLINER    MT45        Gas      Chevy     Morganl/DelConc       BOA
658         4UZAAPFD0MCMR1299     2021   180588      4/16/2021   FREIGHTLINER    MT45       Diesel   Cummins    Morganl/DelConc       BOA
659         4UZAAPFD3MCMR1300     2021   147793      4/16/2021   FREIGHTLINER    MT45       Diesel   Cummins    Morganl/DelConc       BOA
 28           1GCWGAF4L1271383    2020   61665       4/11/2022       Chevy        2500       Gas      Chevy                           BOA
665         4UZAC2GA1NCNR4489     2022   63467       4/29/2022   FREIGHTLINER    MT45G       Gas      Chevy     Morganl/DelConc       BOA
668         4UZAC2GAXNCNR4491     2022   55602       6/13/2022   FREIGHTLINER    MT45G       Gas      Chevy     Morganl/DelConc       BOA
670         4UZAC2GA3NCNR4493     2022   76671       5/19/2022   FREIGHTLINER    MT45G       Gas      Chevy     Morganl/DelConc       BOA
C-30         1FVHCYD25PHNZ7361    2023   117208      6/9/2022          Ftl         M2       Diesel    Detroit      Johnson            BOA
C-31         1FVHCYD27PHNZ7362    2023   28017       6/28/2022         Ftl         M2       Diesel    Detroit      Johnson            BOA
673         4UZAC2GA9NCNR4496     2022   51955       6/8/2022    FREIGHTLINER    MT45G       Gas      Chevy     Morganl/DelConc       BOA
674         4UZAC2GA0NCNR4497     2022   47201       6/8/2022    FREIGHTLINER    MT45G       Gas      Chevy     Morganl/DelConc       BOA
677          4UZAC2G72PCUE8847    2023   40175       2/20/2023   FREIGHTLINER    MT45G       Gas      Chevy     Morganl/DelConc      Daimler
684          4UZAC2G7XPCUE8854    2023   43029       3/17/2023   FREIGHTLINER    MT45G       Gas      Chevy     Morganl/DelConc      Daimler
690          4UZAC2G75PCUE8860    2023   52488      12/16/2022   FREIGHTLINER    MT45G       Gas      Chevy     Morganl/DelConc      Daimler
676          4UZAC2G70PCUE8846    2023   43084       3/31/2023   FREIGHTLINER    MT45G       Gas      Chevy     Morganl/DelConc       First
                                                                                                                                  Commonwealth
 686        4UZAC2G73PCUE8856     2023   25415      1/20/2023    FREIGHTLINER    MT45G       Gas      Chevy     Morganl/DelConc       First
                                                                                                                                  Commonwealth
 680        4UZAC2G72PCUE8850     2023   65134      12/19/2022   FREIGHTLINER    MT45G       Gas      Chevy     Morganl/DelConc       First
                                                                                                                                  Commonwealth
 19          1GB5YLE71NF275052    2022   26222      6/20/2022        Chevy        2500       Gas      Chevy                        GM Financial
 671        4UZAC2GA5NCNR4494     2022   53900      7/28/2022    FREIGHTLINER    MT45G       Gas      Chevy     Morganl/DelConc      TriState
 672        4UZAC2GA7NCNR4495     2022   40230      7/28/2022    FREIGHTLINER    MT45G       Gas      Chevy     Morganl/DelConc      TriState
 675        4UZAC2GA2NCNR4498     2022   70939      7/28/2022    FREIGHTLINER    MT45G       Gas      Chevy     Morganl/DelConc      TriState
 175        WD3PF4CC3FP102249     2015   218539     2/28/2015      Mercedes      Sprinter   Diesel     MB         Del Concpt
 192        WD3PF4CC0GP280668     2016   170895     10/12/2016     Mercedes      Sprinter   Diesel     MB           CSTK




 63817155
 Case 24-05385   Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19   Desc Main
                           Document      Page 214 of 231



                                   EXHIBIT F

                            OBERWEIS IP SCHEDULE


                                  (See attached.)




63817155
                                      Case 24-05385                 Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19                                Desc Main
                                                                              Document      Page 215 of 231

BW Ref Number      Trademark           Mark Image (if applicable)       Jurisdiction   Status       Application No.   Filing Date   Registration   Registration   Goods                              Next Renewal

006085.00011IUS    3 Cows Logo                                          US             Registered   75/480809         02-Apr-1998   2299487        14-Dec-1999    Class 39: home delivery of         14-Dec-2029
                                                                                                                                                                  dairy and food products


006085.00040\US    3 Cows Logo                                          US             Registered   78/422879         21-May-2004   2981063        02-Aug-2005    Class 43: Restaurant Services      02-Aug-2025



006085.00038\US    3 Cows in Circle                                     US             Registered   78/403928         19-Apr-2004   2957310        31-May-2005    Class 43: Restaurant services      31-May-2025
                   Logo



006085.00034\US    COW SPOT                                             US             Registered   78/358517         28-Jan-2004   2923203        01-Feb-2005    Class 30: ice cream and ice        01-Feb-2025
                                                                                                                                                                  cream confections

006085.00105\US    Grain Logo                                           US             Registered   87/568478         14-Aug-2017   5422963        13-Mar-2018    43 int. Restaurant services;       13-Mar-2028
                                                                                                                                                                  restaurant services featuring
                                                                                                                                                                  pizza and salads; bar services;
                                                                                                                                                                  takeout restaurant services


006085.00113\UWS   HAPPYLICIOUS                                         US             Registered   90/003829         16-Jun-2020   6249405        19-Jan-2021    Class 35: Providing Incentive      19-Jan-2031
                                                                                                                                                                  award programs through
                                                                                                                                                                  issuance and processing of
                                                                                                                                                                  loyalty points for purchase of a
                                                                                                                                                                  company’s goods and
                                                                                                                                                                  services; providing incentive
                                                                                                                                                                  award programs for customers
                                                                                                                                                                  through the issuance and
                                                                                                                                                                  processing of loyalty

006085.00119\US    I WANT TO BE                                         US             Pending      97/909780         27-Apr-2023                                 Class 35: On-line ordering
                   YOUR MILKMAN                                                                                                                                   services in the field of
                                                                                                                                                                  restaurant take-out and
                                                                                                                                                                  delivery; Wholesale and retail
                                                                                                                                                                  store services featuring dairy
                                                                                                                                                                  products, beverages and food
                                                                                                                                                                  products

006085.00020\US    Jogging Happy                                        US             Registered   76/516472         22-May-2003   2898867        02-Nov-2004    Class 29: Milk and flavored        02-Nov-2024
                   Cow                                                                                                                                            milk




006085.00068\US    MOOLA                                                US             Registered   85/020849         22-Apr-2010   3886273        07-Dec-2010    Class 39: Home delivery            07-Dec-2030
                                                                                                                                                                  services featuring gift cards
                                                                                                                                                                  and stored value cards for
                                                                                                                                                                  customers; food and beverage

  63817155
                               Case 24-05385                 Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19                              Desc Main
                                                                         Document      Page 216 of 231

BW Ref Number     Trademark     Mark Image (if applicable)       Jurisdiction   Status       Application No.   Filing Date   Registration   Registration   Goods                             Next Renewal
                                                                                                                                                           home delivery services
                                                                                                                                                           featuring gift cards, loyalty
                                                                                                                                                           cards and stored value cards
                                                                                                                                                           for customers

006085.00070\US   MOOLA Logo                                     US             Registered   85/020870         22-Apr-2010   3866274        07-Deo-2010    Class 39: Horne delivery          07-Dec-2030
                                                                                                                                                           services featuring gift cards,
                                                                                                                                                           loyalty cards and stored value
                                                                                                                                                           cards for customers; food and
                                                                                                                                                           beverage home delivery
                                                                                                                                                           services featuring gift cards,
                                                                                                                                                           loyalty cards and stored value
                                                                                                                                                           cards for customers

006085.00067\US   MOOLA                                          US             Registered   85/020782         22-Apr-2010   3899646        04-Jan-2011    Class 9: Magnetic coded gift      04-Jan-2031
                                                                                                                                                           cards and magnetic coded
                                                                                                                                                           stored value cards for
                                                                                                                                                           restaurant services and food
                                                                                                                                                           delivery services

006085.00069\US   MOOLA Logo                                     US             Registered   85/020858         22-Apr-2010   3699647        04-Jan-2011    Class 9: Magnetic coded gift      04-Jan-2031
                                                                                                                                                           cards and magnetic coded
                                                                                                                                                           stored value cards for
                                                                                                                                                           restaurant services and food
                                                                                                                                                           delivery services

006085.00012\US   OBERWEIS                                       US             Registered   75/701888         10-May-1999   2326694        07-Mar-2000    Class 35: Retail and wholesale    07-Mar-2030
                                                                                                                                                           store services featuring dairy
                                                                                                                                                           products, beverages and food
                                                                                                                                                           products; and online retail
                                                                                                                                                           store services featuring dairy
                                                                                                                                                           products, beverages, and food
                                                                                                                                                           products

006085.00029\US   OBERWEIS                                       US             Registered   76/531059         21-Jul-2003   2857660        29-Jun-2004    Class 43: Restaurant services     29-Jun-2034

006085.00075\CN   OBERWEIS                                       China          Registered   9092211           21-Feb-2011   9092211        07-Feb-2012    Class 30:1. Ice cream; 2.         06-Feb-2032
                                                                                                                                                           sorbet (editable ice products);
                                                                                                                                                           3. sherbert (editable ice
                                                                                                                                                           products); 4. Ice cream pies
                                                                                                                                                           (cakes); 5. Ice cream cakes
                                                                                                                                                           (cakes); 6. Iced tea; 7. fruit-
                                                                                                                                                           flavored iced tea: 8.
                                                                                                                                                           sandwiches; 9:Chocolate
                                                                                                                                                           beverages with milk; 10. Tea;
                                                                                                                                                           11.

006085.00077\KR   OBERWEIS                                       South Korea    Registered   40-2011-          07-Jan-2011   XX-XXXXXXX     10-Feb-2012    Class 30: Powders for ice         10-Feb-2032
                                                                                             0001029                                                       cream. Yoghurt (Frozen -)
                                                                                                                                                           [confectionery ices], ice
                                                                                                                                                           candies. iced cakes, ice cream.
  63817155
                                Case 24-05385                 Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19                              Desc Main
                                                                          Document      Page 217 of 231

BW Ref Number     Trademark      Mark Image (if applicable)       Jurisdiction   Status       Application No.   Filing Date   Registration   Registration   Goods                              Next Renewal
                                                                                                                                                            Cones for ice cream, ice cream
                                                                                                                                                            miens, Edible fruit ices , Ices
                                                                                                                                                            (Powder for edible -), Sherbet,
                                                                                                                                                            Sherbets [Ices], Fruit Ice, Tea-
                                                                                                                                                            based

006085.00074\US   OBERWEIS                                        US             Registered   65/187670         30-Nov-2010   3989688        05-Jul-2011    Class 30: Candy                    05-Jul-2031

006085.00078\US   OBERWEIS                                        US             Registered   85/217902         14-Jan-2011   3990198        05-Jul-2011    Class 29: Cheese; Egg nog;         05-Jul-2031
                                                                                                                                                            Milk Class 30: Bakery goods,
                                                                                                                                                            namely, coffee cake, banana
                                                                                                                                                            bread, and brownies; ice
                                                                                                                                                            cream; iced tea Class 32: Fruit
                                                                                                                                                            punch; Lemonade; Orange
                                                                                                                                                            juice

006085.00041\US   OBERWEIS                                        US             Registered   78/461288         03-Aug-2004   3023381        08-Dec-2005    Class 21: Bowls and mugs           06-Dec-2025

006085.00079\CN   OBERWEIS                                        China          Registered   9092210           21-Feb-2011   9092210        07-Feb-2012    Class 30: 1. Ice. 2. sorbet        06-Feb-2032
                  (Chinese                                                                                                                                  (editable ice products); 3.
                  Characters)                                                                                                                               sherbert (editable ice
                                                                                                                                                            products), 4. Ice cream pies
                                                                                                                                                            (cakes); 5. ice

006085.00108\KR   OBERWEIS                                        South Korea    Registered   40-2018-          12-Mar-2018   XX-XXXXXXX     15-May-2019    Class 30: Ice cream; cones for     15-May-2029
                  (Korean                                                                     0032243                                                       ice cream; ice cream mixes;
                  Characters)                                                                                                                               powders for ice cream; yogurt
                                                                                                                                                            (frozen-) [confectionery Ices];
                                                                                                                                                            ice candies; iced cakes; edible
                                                                                                                                                            fruit ices; ices (powder for
                                                                                                                                                            edible-); sherbet; sherbets
                                                                                                                                                            [ices]; fruit ice; tea-based
                                                                                                                                                            beverages; bread; ice tea; fruit
                                                                                                                                                            flavored ice tea: ice cream
                                                                                                                                                            toppings: sandwiches; ice
                                                                                                                                                            cream cakes; ice cream pies;
                                                                                                                                                            ice cream chocolate topping;
                                                                                                                                                            ice cream caramel topping;
                                                                                                                                                            candy; coffee cake; banana
                                                                                                                                                            breed; brownies Class 32; Ice
                                                                                                                                                            cream drinks

006085.00004\US   OBERWEIS                                        US             Registered   76/473577         29-Nov-2002   2764082        16-Sep-2003    Class 35: Retail and wholesale     16-Sep-2033
                  DAIRY                                                                                                                                     store services featuring dairy
                                                                                                                                                            products, beverages and food
                                                                                                                                                            products; and online retail
                                                                                                                                                            store services featuring dairy
                                                                                                                                                            products, beverages, and food
                                                                                                                                                            products



  63817155
                                  Case 24-05385                 Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19                                Desc Main
                                                                          Document      Page 218 of 231

BW Ref Number     Trademark        Mark Image (if applicable)       Jurisdiction   Status       Application No.   Filing Date   Registration   Registration   Goods                              Next Renewal

006085.00016\US   OBERWEIS                                          US             Registered   75/460815         02-Apr-1998   2325294        07-Mar-2000    Class 21: insulated porch          07-Mar-2030
                  DAIRY                                                                                                                                       boxes for food and/or
                                                                                                                                                              beverages Class 29: Dairy
                                                                                                                                                              products, namely, milk, cottage
                                                                                                                                                              cheese and yogurt; meat,
                                                                                                                                                              sausage and bacon Class 30:
                                                                                                                                                              Ice cream; ice cream drinks;
                                                                                                                                                              and ice cream toppings,
                                                                                                                                                              namely, chocolate topping and
                                                                                                                                                              caramel topping Class 32:
                                                                                                                                                              Non-carbonated non-alcoholic
                                                                                                                                                              fruit punch; and orange Juice
                                                                                                                                                              Class 39: Home delivery of
                                                                                                                                                              dairy and food products

006085.00030\US   OBERWEIS                                          US             Registered   76/531060         21-Jul-2003   2857661        29-Jun-2004    Class 43: Restaurant services      29-Jun-2034
                  DAIRY

006085.00107\KR   OBERWEIS Logo                                     South Korea    Registered   40-2018-          09-Mar-2018   40.1477365     15-May-2019    Class 30: Ice cream; cones for     15-May-2029
                                                                                                0031426                                                       ice cream; ice cream mixes;
                                                                                                                                                              powders for ice cream; yogurt
                                                                                                                                                              (frozen-) [confectionery ices];
                                                                                                                                                              ice candies; iced cakes; edible
                                                                                                                                                              fruit ices; ices (powder for
                                                                                                                                                              edible-); sherbet, sherbets
                                                                                                                                                              [ices]; fruit ice; tea-based
                                                                                                                                                              beverages; bread;

006085.00024\US   OBERWEIS Logo                                     US             Registered   76/528363         10-Jul-2003   2853186        15-Jun-2004    Class 29 dairy products,           15-Jun-2034
                                                                                                                                                              namely, milk, flavored milk,
                                                                                                                                                              heavy cream, half and half,
                                                                                                                                                              sour cream, cottage cheese,
                                                                                                                                                              yogurt, butter and cheese;
                                                                                                                                                              meat, sausage and bacon
                                                                                                                                                              Class 30: Ice cream, ice cream
                                                                                                                                                              pies, ice cream cakes and ice
                                                                                                                                                              cream toppings; iced tea and
                                                                                                                                                              fruit-flavored iced tea;
                                                                                                                                                              sandwiches Class 32: Non-
                                                                                                                                                              carbonated and non-alcoholic
                                                                                                                                                              beverages, namely, fruit punch
                                                                                                                                                              and lemonade Class 35: Retail
                                                                                                                                                              and wholesale store services
                                                                                                                                                              featuring dairy products,
                                                                                                                                                              beverages end food products;
                                                                                                                                                              and online retail store services
                                                                                                                                                              featuring dairy products,
                                                                                                                                                              beverages, and food product
                                                                                                                                                              Class 39: Residential and
                                                                                                                                                              business delivery of dairy


  63817155
                                      Case 24-05385                 Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19                                Desc Main
                                                                              Document      Page 219 of 231

BW Ref Number      Trademark           Mark Image (if applicable)       Jurisdiction   Status       Application No.   Filing Date   Registration   Registration   Goods                             Next Renewal
                                                                                                                                                                  products, beverages and food
                                                                                                                                                                  products

006085.00031\US    OBERWEIS Logo                                        US             Registered   78/531058         21-Jul-2003   2857659        29-Jun-2004    Class 43: Restaurant services     29-Jun-2034



006085.00033\US    PINA COWLADA                                         US             Registered   78/358510         28-Jan-2004   2962350        14-Jun-2005    Class 30: Ice cream and ice       14-Jun-2025
                                                                                                                                                                  cream confections

006086.00022\US    Rafting Happy                                        US             Registered   76/516329         22-May-2003   2894597        19-Oct-2004    Class 29: Milk and flavored       19-Oct-2024
                   Cow Logo                                                                                                                                       milk



006085.00018\US    Roller-Skating                                       US             Registered   76/516330         22-May-2003   2894598        19-Oct-2004    Class 29; Milk and flavored       19-Oct-2024
                   Happy Cow Logo                                                                                                                                 milk




006085.0004M5\US   Scootering Happy                                     US             Registered   76/569770         17-Feb-2005   3057680        07-Feb-2006    Class 29: Milk and flavored       07-Feb-2026
                   Cow Logo                                                                                                                                       milk




006085.00002\US    SIMPLY THE                                           US             Registered   76/475290         18-Nov-2002   3038857        10-Jan-2006    Class 29:Dalry products,          10-Jan-2026
                   BEST                                                                                                                                           namely milk products excluding
                                                                                                                                                                  ice milk and frozen yogurt
                                                                                                                                                                  Class 30: Ice cream and iced
                                                                                                                                                                  tea Class 32: Non-carbonated
                                                                                                                                                                  and non-alcoholic beverages,
                                                                                                                                                                  namely, fruit punch and
                                                                                                                                                                  lemonade Class 39: Delivery of
                                                                                                                                                                  food products

006085.00051\US    SIMPLY THE                                           US             Registered   78/844368         23-Mar-2006   3203831        30-Jan-2007    Class 43: Restaurant services     30-Jan-2027
                   BEST

006085.00054\US    SIMPLY THE                                           US             Registered   78/844737         23-Mar-2006   3282800        21-Aug-2007    Class 35: Retail store services   21-Aug-2027
                   BEST                                                                                                                                           featuring dairy products,
                                                                                                                                                                  namely, milk, flavored milk,
                                                                                                                                                                  heavy cream, half and half,
                                                                                                                                                                  sour cream, cottage cheese,
                                                                                                                                                                  yogurt, butter and cheese; ice
                                                                                                                                                                  cream, ice cream pies, ice
                                                                                                                                                                  cream cakes and ice cream
                                                                                                                                                                  toppings; sandwiches; meat,
                                                                                                                                                                  sausage and bacon; and non-
                                                                                                                                                                  carbonated and non-alcoholic
  63817155
                                   Case 24-05385                 Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19                                Desc Main
                                                                           Document      Page 220 of 231

BW Ref Number     Trademark         Mark Image (if applicable)       Jurisdiction   Status       Application No.   Filing Date   Registration   Registration   Goods                            Next Renewal
                                                                                                                                                               beverages, namely, fruit punch
                                                                                                                                                               and lemonade

006085.00019\US   Skateboarding                                      US             Registered   76/516334         22-May-2003   2898865        02-Nov-2004    Class 29: Milk and flavored      02-Nov-2024
                  Happy Cow Logo                                                                                                                               milk




006085.00021\US   Surfing Happy                                      US             Registered   76/516331         22-May-2003   2898864        02-Nov-2004    Class 29: Milk and flavored      02-Nov-2024
                  Cow Logo                                                                                                                                     milk




006085.00090\US   THAT BURGER                                        US             Registered   86/019502         25-Jul-2013   4558851        01-Jul-2014    Class 30: hamburger              01-Jul-2034
                                                                                                                                                               sandwiches

006085.00082\US   THAT BURGER                                        US             Registered   85/333664         31-May-2011   4268983        01-Jan-2013    Class 43: Restaurant services;   01-Jan-2033
                  JOINT                                                                                                                                        Restaurant services featuring
                                                                                                                                                               sandwiches

006085.00083\US   THAT BURGER                                        US             Registered   85/401307         18-Aug-2011   4289129        01-Jan-2013    Class 43: Restaurant services;   01-Jan-2033
                  JOINT Logo                                                                                                                                   Restaurant services featuring
                                                                                                                                                               sandwiches



006085.00093\US   THAT CHICKEN                                       US             Registered   86/019584         25-Jul-2013   4558854        01-Jul-2014    Class 30: chicken sandwiches     01-Jul-2034

006085.00048\US   THE SPOT FOR                                       US             Registered   78/639310         27-May-2005   3093048        18-May-2006    Class 43: Restaurant services    18-May-2026
                  ICE CREAM

006085.00103\US   WOODGRAIN                                          US             Registered   86/707360         28-Jul-2015   5105979        20-Dec-2016    Class 43: Restaurant services;   20-Dec-2026
                                                                                                                                                               restaurant services featuring
                                                                                                                                                               pizza, salads, calzones, and
                                                                                                                                                               sandwiches; bar services;
                                                                                                                                                               takeout , restaurant services

006085.00104\US   WOODGRAIN                                          US             Registered   88/707381         28-Jul-2015   5105980        20-Dec-2018    Class 43: Restaurant services;   20-Dec-2026
                  Logo                                                                                                                                         restaurant services featuring
                                                                                                                                                               pizza, salads, calzones, and
                                                                                                                                                               sandwiches; bar services;
                                                                                                                                                               takeout restaurant services




  63817155
                                  Case 24-05385   Doc 229      Filed 06/07/24 Entered 06/07/24 11:41:19          Desc Main
                                                              Document      Page 221 of 231
 Ref. No.          Jurisdiction        Status       Application No.   Filing Date     Patent No.   Issue Date         Next Renewal   Expiration Date
 006085.00072\US   US                  Issued       13/083136         08-Apr-2011     8538679      17-Sep-2013        17-Mar-2025    12-Dec-2031
 006085.00080\US   US                  Issued       13/035814         25-Feb-2011     8863546      21-Oct-2014        21-Apr-2026    13-Nov-2031
 006085.00087\US   US                  Issued       13/675544         1 13-Nov-2012   8689993      08-Apr-2014        08-Oct-2025    27-Mar-2029




63817155
 Case 24-05385   Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19   Desc Main
                           Document      Page 222 of 231



                                   EXHIBIT G

                      TELEPHONE AND FAX NUMBERS


                                  (See attached.)




63817155
       Case 24-05385             Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19                         Desc Main
                                            Document      Page 223 of 231


LAST    FIRST   DEPARTMENT                  INTERNAL        EXTERNAL    CELL   MAIN                      INTERNAL         EXTERNAL
                                                                               Retail Sales Direct                    630.801-6000
                Purchasing                  x 2120          801.6034           Reception Direct                       630-801-6100
                IT                          x 2003          801-6192           Home & Treat Delivery                866-OBERWEIS
                Marketing Representative    x 2029          801.6163           Toll Free                              866-623.7934
                Stores                      x 2062          801.5350           Customer Service Direct   x 1004       630-897-6600
                Plant                       x 2117          801-6040
                Training                    x 2038          801.5381
                HR                          x 2123          801.6075           DEPARTMENTS               INTERNAL         EXTERNAL
                Store Maintenance                                              Cooler Office             x 2129           801-5389
                Accounting                  x 2131           801.6114          Driver’s Room             x 2109           801-6124
                Supply Chain                                 801-3287          IT Hotline
                Home Delivery               x 2148           801.6084          LAB                       x 2103           801-6183
                Marketing                   x 2095           801.6158          Lunch Room                x 2108
                Marketing Representative    x 2036           801-6020          Maintenance               x 2110           801-5321
                Marketing Representative    x 2039           801-6162          N Aurora Store            x 1119           801-6131
                Stores (District Manager)   x 2019           801.6133          Truck Barn                x 2112           801-6064
                Marketing Representative    x 2063           801-5317          Warehouse                 x 2130           801-5383
                Accounting                  x 2022           801.6117
                IT                          x 2004           801.6094
                IT                          x 2001           801-5382          CONFERENCE ROOMS          INTERNAL         EXTERNAL
                Route Sales (Indy)          x 2021     (317) 982.7357          1st Floor – Large         x 1010           801-6108
                Marketing                   x 2030           801.5364          2nd Floor – Large         x 1011           801-6132
                Home Delivery               x 2147           801-6013          2nd Floor – Small         x 2107           801-6132
                Plant                                                          Training Room             x 2106           801-6095
                Administration              x 2047           801.5372
                Plant                       x 2132           801.6186
                Supply Chain                x 2031           801.6171          FAX NUMBERS                                EXTERNAL
                Administration              x 2055           801.6109          2nd Floor – MAIN                           897-0562
                Store Maintenance                            801.6134          Wholesale                                  801-5343
                Route Sales                            (757) 938.5883          Truck Barn                                 801-3283
                Plant                       x 2066           801.5374
                Marketing Representative    x 2050           801-6019
                Stores (District Manager)   x 2034           801.5306
                Retail Sales                x 2102           801-6150
                Lab                         x 2010           801-6183
                Benefits / Payroll          x 2054           801.6153
                Accounting                  x 2070           801-5340
                Route Sales (Settlement)    x 2037           801-6182
                Retail Sales                x 2042           801-6148
                Marketing Representative    x 2074           801-6149
                IT                          x 2061           801.5339
                Route Sales (St. Louis)     x 2033     (314) 426-1377
                Marketing Representative    x 2043           801-6167
                Route Sales (Raleigh)
                Cooler                                      801-5383
                Accounting                  x 2032          801.6116
                Cooler
                Mechanic                    x 2075          801-3287
                Marketing Representative    x 2097          801.6172

  Note: All are codes are (630) unless otherwise specified.




  63817155
                               Case 24-05385                   Doc 229          Filed 06/07/24 Entered 06/07/24 11:41:19                             Desc Main
                                                                               Document      Page 224 of 231


                                                                                                                                                                             STORE LOCATIONS
                                                                                                                                                                  Store        Assistant   District
 Store:               #     Address:                                                         Established:   Phone:           E-mail:
                                                                                                                                                                  Manager:     Manager:    Manager:
 Illinois
 ARLINGTON HEIGHTS    5     9 East Dundee Road                 Arlington Heights, IL 60004   10/27/1997     847-368-9060     arlingtonheights.il@oberweis.com
 BARTLETT             21    925 S. Route 59                    Bartlett, IL 60103            12/28/2001     630-372-1633     bartletil@oberweis.com
 BLOOMINGDALE         9     338 W. Army Trail Road             Bloomingdale, IL 60108        1/23/1998      630-924-3020     bloominadaleil@oberweis.com
 BLOOMINGTON          68    2105 N. Veterans Parkway           Bloomington, IL 61704         10/25/2017     309-808-2382     bloomington.il@oberweis.com
 BOLINGBROOK          12    230 North Weber Road               Bolingbrook, IL 60440         11/5/1996      630-759-5557     bolingbrookil@oberweis.com
 BOLINGBROOK EAST     67    860 E. Boughton Rd.                Bolingbrook, IL 60440         11/2/2014      630-783-9101     bolingbrookeastil@oberweis.com
 BRADLEY              45    840 N. Kinzie Avenue, Unit F       Bradley, IL 60915             4/2/2007       815-932-4666     bradley.il@franchlsee.oberweis.com
 CHAMPAIGN            69    1905 S. Neil Street                Champaign, IL 61820           4/11/2018      217-568-6444     Champaiqn.il@oberweis.com
 CHICAGO (Lakeview)   63    3055 N. Sheffield Ave.             Chicago, IL 60657             9/6/2012       773-697-3317     lakeview.il@oberweis.com
 DOWNERS GROVE        14    60 Ogden Avenue, Store #A-9        Downers Grove, IL 60515       3/9/1998       630-810-1270     downersgrove.il@oberweis.com
 ELGIN                16    400 South Randall Road, Unit A     Elgin, IL 60123               12118/1998     847-697-5970     elgin.il@oberweis.com
 ELMHURST             1     1018-20 South York Road            Elmhurst, IL 60126            5/5/1997       630-782-0141     elmhurst.il@oberweis.com
 EVERGREEN PARK       38    3152 W. 95th. Street               Evergreen Park, IL 60805      8/30/2005      708-423-7700     evergreenpark.il@oberweis.com
 GENEVA               100   2150 S. Randall Road               Geneva, IL 60134              9/28/2020      630-686-9090     geneva.il@oberweis.com
 GLEN ELLYN           7     515 Roosevelt Road                 Glen Ellyn, IL 60137          12/92 (est.)   630-858-0234     glenellyn.il@oberweis.com
 GLENVIEW             22    967 Waukegan Road                  Glenview, IL 60025            3/1612002      847-729-8700     glenview.il@oberweis.com
 GURNEE               48    5572 Grand Ave., Suite 1           Gurnee, IL 60031              11/19/2007     847-406-3000     gurnee.il@oberweis.com
 JOLIET               17    2200 Route 59                      Plainfield, IL 60544          7/4/2000       815-254-6739     jollet.il@oberweis.com
 LAKE ZURICH          24    684 S. Rand Road                   Lake Zurich, IL 60047         7111/2002      847-550-9000     lakezurich.il@oberweis.com
 LINCOLNWOOD          51    6469 N. Lincoln Avenue             Lincolnwood, IL 60712         7/31/2008      847-983-4514     lincolnwood.il@oberweis.com
 MIDWAY (WOODGRAIN)         5700 S Cicero Ave.                 Chicago, IL 60638             7/30/2018      No store phone   mark Prudent 773.677.7844
 MOKENA               43    11310-12 W. Lincoln Hwy.           Mokena, IL 60448              8/2/2006       815-806-3045     moken.il@oberweis.com
 NAPERVILLE NORTH     37    760 N. Route 59, Suite 120         Naperville, IL 60566          3/19/2005      630-904-2600     napervillenorth.il@oberweis.com
 NAPERVILLE SOUTH     18    2879 95th Street Suite 155         Naperville, IL 60564          9/30/2000      630-922-7756     napervillesouth.il@oberweis.com
 NORTH AURORA         10    951 Ice Cream Drive                North Aurora, IL 60542        5/28/1996      630-801-6131     northaurora.il@oberweis.com
 OAK PARK             3     124 North Oak Park Avenue          Oak Park, IL 60301            5/26/1999      708-660-1350     oakpark.il@oberweis.com
 ORLAND PARK          27    7202 W. 159th St.                  Orland Park, IL 60462         4/18/2003      708-429-7220     orlandopark.il@oberweis.com
 OSWEGO               4     2274 Route 30, Suite C             Oswego, IL 60543              9/22/1997      630-906-6455     oswego.il@oberweis.com
 PARK RIDGE           2     101-103 S. Northwest Highway       Park Ridge, IL 60068          7/30/1997      847-692-9840     parkridge.il@oberweis.com
 ROLLING MEADOWS      8     1735 Algonquin Road                Rolling Meadows, IL 60008     10/94 (est.)   847-290-9222     rollingmeadows.il@oberweis.com
 SCHAUMBURG           30    30 Roselle Road                    Schaumburg, IL 60193          11/14/2003     847-534-0544     schaumburg.il@oberweis.com
 SKOKIE               64    4811 Dempster St                   Skokie, IL 60077              10/22/2012     224-534-7429     skokie.il@oberweis.com
 ST. CHARLES          44    1790 W. Main Street                St. Charles, IL 60175         1/22/2007      630-443-6666     stcharles.il@oberweis.com
 WESTERN SPRINGS      6     929 Burlington Avenue              Western Springs, IL 60558     08/95 (est.)   708-784-0200     westernsprings.il@oberweis.com
 WHEATON              25    811 E. Butterfield Road, Ste 119   Wheaton, IL 60189             10/2/2002      630-665-0000     wheaton.il@oberweis.com
 Indiana
 SCHERERVILLE         35    725 Main St.                       Schererville, IN 46375        8/19/2004      219-322-8811     schererville.in@oberweis.com
 Michigan
 ROYAL OAK WOODWARD   56    32808 Woodward Avenue              Royal Oak, MI 48073           3/1/2010       248-565-1071     royaloakwoodward.mi@oberweis.com
 TROY                 52    6854 Rochester Road                Troy, MI 48085                8/20/2008      248-250-9574     troy.mi@oberweis.com
 Missouri
 BALLWIN              32    15021 Manchester Road              Ballwin, MO 63011             11/24/2003     636-527-0550     callwin.mo@oberweis.com
 KIRKWOOD             26    10338 Manchester Road              Kirkwood, MO 63122            12/12/2002     314-966-8200     kirkwood.mo@oberweis.com
 O’FALLON             73    1816 Hwy K                         O’Fallon, MO 63366            4/29/2020      636-362-4770     o’fallon.mo@oberweis.com
 OAKVILLE             23    4590 Telegraph Road                St. Louis, MO 63129           5/24/2002      314-416-9600     oakville.mo@oberweis.com
 ST. PETERS           31    7090 Mexico Road                   St. Peters, MO 63376          11/17/2003     636-970-0105     stpeters.mo@oberweis.com

63817155
 Case 24-05385             Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19                Desc Main
                                     Document      Page 225 of 231


                                                                                   STORE LOCATIONS

 Alsip                                Milwaukee (Oak Creek)            St. Louis
 11643 S. Austin Avenue, Unit D       9803 R(rear) South 13th Street   8415 Mid County Industrial Drive
 Alsip, IL 60803                      Oak Creek, WI 53154-4923         St. Louis, MO 63114
 Phone (708) 824-9456                 Phone (414) 762-7015             Phone (314) 426-1377

 Bloomington                          Norfolk                          Truck Maintenance (North Aurora)
 1103 Martin Luther King Drive        3574 Argonne Ave., Bay 3         840 Ice Cream Drive
 Bldg 3, Suite B                      Norfolk, VA 23509                North Aurora, IL 60542
 Bloomington, IL 61701                Phone (757) 938-5883             Phone (630) 801-3287
 Phone (309) 827-6966

 Detroit (Plymouth)                   North Aurora (Main Plant)
 12809 Premier Center Court           951 Ice Cream Drive
 Plymouth, Ml 48170                   North Aurora, IL 60542
 Phone (734) 207-7006                 Phone (630) 801-6122

 Indianapolis                         Raleigh (Morrisville)
 2040 S. Lynhurst Dr. #N              2900 Perimeter Park Drive
 Indianapolis, IN 46241               Suite 400
 Phone (317) 982-7357                 Morrisville, NC 27560




63817155
 Case 24-05385   Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19   Desc Main
                           Document      Page 226 of 231



                                   EXHIBIT H

                             ASSUMED CONTRACTS


                                  (See attached.)




63817155
           Case 24-05385            Doc 229       Filed 06/07/24 Entered 06/07/24 11:41:19                              Desc Main
                                                 Document      Page 227 of 231

  Debtor Party to
                                       Name                                           Description                           Assume   Reject
    Contract

       ODI          1836 FARMS                                VENDOR AGREEMENT                                                       Reject
       ODI          3158 W 95th Street LLC                    Real property lease: 3152 W 95th St, Evergreen Park, IL       Accept
       ODI          7SHIFTS                                   SOFTWARE LICENSING                                            Accept
       ODI          Adam Kraber                               Retention bonus agreement                                     Accept
                                                              THIRD PARTY PROVIDER (BENEFITS, PAYROLL,
       ODI          ADP                                                                                                     Accept
                                                              FREIGHT)
       ODI          AFS TECHNOLOGIES                          SOFTWARE LICENSING                                            Accept
       ODI          Allie Beau Photography                    PROFESSIONAL SERVICE CONTRACT                                          Reject
       ODI          AMAZON                                    SOFTWARE LICENSING                                            Accept
       ODI          AMS MECHANICAL SYSTEMS, INC.              PROFESSIONAL SERVICE CONTRACT                                 Accept
                    Associated Material Handling Industries
       ODI                                                    LEASE: EQUIPMENT                                              Accept
                    Inc
       ODI          Bailey Lee and Susan Lum Trust            Real property lease: 7090 Mexico Road, Saint Peters, MO       Accept
       ODI          Bartlett Ice Cream, LLC                   Real property lease: 925 S. Route 59, Bartlett, IL            Accept
                                                              Real property lease: 1790 West Main Street, St. Charles,
       ODI          Bartlett Ice Cream, LLC                                                                                 Accept
                                                              IL
       ODI          Bossdesk                                  SOFTWARE LICENSING                                            Accept
       ODI          Brightedge                                SOFTWARE LICENSING                                                     Reject
       ODI          Brightedge Technologies, Inc.             Subscription Agreement                                                 Reject
       ODI          Brookwood Center, LLC                     Real property lease: 230 N. Weber Road, Bolingbrook, IL       Accept
                                                              Real property lease: 10338 Manchester Road Kirkwood,
       ODI          Brown and Sons' Foodliner, Inc.                                                                         Accept
                                                              MO
       ODI          C/O RDD ASSOCIATES                        PROFESSIONAL SERVICE CONTRACT                                 Accept
       ODI          Caswell Town Center, LLC                  Real property lease: 6854 Rochester Road, Troy, MI            Accept
       ODI          CDW DIRECT,LLC                            SOFTWARE LICENSING                                            Accept
       ODI          Chase Credit Cards                        BANKING SERVICE AGREEMENT                                     Accept
       ODI          CIBC                                      BANKING SERVICE AGREEMENT                                     Accept
       ODI          Clear                                     BANKING SERVICE AGREEMENT                                     Accept
                                                              THIRD PARTY PROFESSIONAL (E.G., LAWYERS,
       ODI          CLIFTON LARSON ALLEN LLP                                                                                         Reject
                                                              CONSULTANTS, AUDITORS, ETC.)
       ODI          COMCAST CABLE                             VENDOR AGREEMENT                                              Accept
       ODI          CONNECTRIA                                SOFTWARE LICENSING                                            Accept
                                                              Real property lease: 1103 Martin Luther King Jr. Drive,
       ODI          CORE 3 PROPERTIES                                                                                       Accept
                                                              Suite B, Bloomington, IL
       ODI          Coursera                                  SOFTWARE LICENSING                                                     Reject
       ODI          DARIFILL                                  LEASE: EQUIPMENT                                              Accept
                                                              Lease of real property: 925 Burlington Ave, Western
       NAIC         David Allen Johnson                                                                                     Accept
                                                              Springs, IL (residential space)
       ODI          David Gregory                             Real property lease: 2200 Illinois Rte 59 I, Plainfield, IL   Accept
       ODI          DELTA DENTAL OF ILLINOIS                  THIRD PARTY PROVIDER (BENEFITS, PAYROLL)                      Accept
       ODI          Disruptive Media                          VENDOR AGREEMENT                                                       Reject
       ODI          DUTCH FARMS                               DISTRIBUTION AGREEMENT                                        Accept
       ODI          ECOLAB                                    VENDOR AGREEMENT                                              Accept


63817155
           Case 24-05385            Doc 229     Filed 06/07/24 Entered 06/07/24 11:41:19                       Desc Main
                                               Document      Page 228 of 231

  Debtor Party to
                                       Name                                     Description                          Assume   Reject
    Contract

                                                         Real property lease: 338 W. Army Trail Rd., Bloomingdale,
       ODI          EMO Properties, LLC                                                                              Accept
                                                         IL
       ODI          FEDERAL MILK MARKET                  VENDOR AGREEMENT                                            Accept
       ODI          Fidelity Associates LLLP             Real property lease: 15021 Manchester Rd., Ballwin, MO      Accept
       ODI          First Commonwealth                   LEASE: AUTO                                                          Reject
       ODI          Fleetsoft                            SOFTWARE LICENSING                                          Accept
       ODI          FLEETSOFT LLC                        SOFTWARE LICENSING                                          Accept
       ODI          FLUID-AIRE DYNAMICS, INC.            LEASE: EQUIPMENT                                            Accept
       ODI          FOREMOST FARMS USA                   PURCHASE CONTRACT                                           Accept
                    FOX METRO WATER RECLAMATION
       ODI                                                                                                           Accept
                    DIST
                    Geneva Ice Cream LLC, Mid-America
       ODI                                               Real property lease: 2150 S. Randall Rd. Geneva, IL                  Reject
                    Management Corp.
       ODI          GM Financial                         LEASE: AUTO                                                 Accept
       ODI          GoDaddy                              SOFTWARE LICENSING                                          Accept
       ODI          GOODWIN RECRUITING                   EMPLOYMENT AGENCY                                           Accept
                                                         Real property lease: 879 W. 95th St., Suite 155,
       ODI          Greco/Reggi Development, LLC                                                                     Accept
                                                         Naperville, IL
       ODI          GROUPRAISE.COM INC                   SOFTWARE LICENSING                                          Accept
                                                         Real property lease: 2040 South Lynhurst Drive, Suite N,
       ODI          GSP Park Fletcher, LLC                                                                           Accept
                                                         Indianapolis, Indiana
      Brands        Happy Cows LLC                       Franchise Agreement                                         Accept
                                                         Real property lease: 3055 North Sheffield Avenue,
       ODI          Peak Properties                                                                                  Accept
                                                         Chicago, IL
                                                         THIRD PARTY PROFESSIONAL (E.G., LAWYERS,
       ODI          HONIGMAN LLP                                                                                              Reject
                                                         CONSULTANTS, AUDITORS, ETC.)
       ODI          IDEAL FOOD GROUP                     CUSTOMER AGREEMENT                                          Accept
       ODI          ILLINOIS LICENSE SERVICES,INC        PROFESSIONAL SERVICE CONTRACT                               Accept
                                                         Real property lease: 60 Ogden Ave. and 58 Ogden Ave.,
       ODI          IRC Downers Grove Marketplace, LLC                                                               Accept
                                                         Downers Grove, IL
       ODI          J.J. KELLER & ASSOC.                 VENDOR AGREEMENT                                            Accept
                                                         Real property lease: 2105 N. Veterans Parkway
                    James D Oberweis Living Trust                                                                             Reject
                                                         Bloomington, IL
                    James D Oberweis Living Trust        Real property lease: 1905 S Neil St., Champaign, IL                  Reject
                    James D Oberweis Living Trust        Real property lease: 30 S. Roselle Rd, Schaumburg, IL       Accept
                                                         Real property lease: 840 Ice Cream Drive, North Aurora,
                    James D Oberweis Living Trust                                                                    Accept
                                                         IL
       ODI          Keystone Lake Zurich, LLC            Real property lease: 684 S. Rand Road, Lake Zurich, IL      Accept
                    KONICA MINOLTA BUSINESS
       ODI                                               LEASE: EQUIPMENT                                            Accept
                    SOLUTION
       ODI          KONICA/MINOLTA BUSINESS SOL.         SOFTWARE LICENSING                                          Accept
                                                         Lease of real property: 6485 North Lincoln Avenue,
      TMRE          Lincoln Carryout, Inc.                                                                           Accept
                                                         Lincolnwood, IL
       ODI          Lexington Square, LLC                Real property lease: 1018 S. York Rd., Elmhurst, IL         Accept
                                                         Real property lease: 2274 Route 30, Oswego, IL (Unit C),
       ODI          LGF Capital, LLC                                                                                 Accept
                                                         Oswego, IL
63817155
           Case 24-05385           Doc 229          Filed 06/07/24 Entered 06/07/24 11:41:19                         Desc Main
                                                   Document      Page 229 of 231

  Debtor Party to
                                     Name                                         Description                           Assume    Reject
    Contract

       ODI          MAILFINANCE                             LEASE: EQUIPMENT                                             Accept
       ODI          MATRIX TRUST COMPANY                    THIRD PARTY PROVIDER (BENEFITS, PAYROLL)                     Accept
                                                            Real property lease: 400 South Randall Road, Suite A,
       ODI          Micromont Holdings 8, LLC                                                                            Accept
                                                            Elgin, IL
                                                            Real property lease: 8415-8419 Mid County Industrial
       ODI          Mid County Investors, L.L.C.                                                                         Accept
                                                            Drive, Vinita Park, MO
       ODI          Monday.com                              SOFTWARE LICENSING                                                    Reject
       ODI          Mood Media                              VENDOR AGREEMENT                                             Accept
       ODI          N-ABLE TECHNOLOGIES LTD                 SOFTWARE LICENSING                                                    Reject
       ODI          Naperville Associates, LLC              Real property lease: 760 North Route 59 Naperville, IL       Accept
       ODI          NEIMAN BROTHERS COMPANY, INC.           PURCHASE CONTRACT                                            Accept
                                                            Real property lease: 951 Ice Cream Drive, North Aurora,
                    North Aurora Ice Cream, LLC                                                                          Accept
                                                            IL
                    North Aurora Ice Cream, LLC             Real property lease: 4811 Dempster Road, Skokie, IL          Accept
                                                            Real property lease: 929 Burlington Ave., Western
                    North Aurora Ice Cream, LLC                                                                          Accept
                                                            Springs, IL
      Brands        NorthAmerican Concessions, Inc.         License Agreement                                            Accept
                    NUSSBAUM TRANSPORTATION
       ODI                                                  FREIGHT SERVICES AGREEMENT                                            Reject
                    SERVICES
                                                            Real property lease: 4568 & 4590 Telegraph Rd., St.
       ODI          Oakville Ice Cream LLC                                                                               Accept
                                                            Louis, MO
                                                            Lease of real property: 9 East Dundee Rd., Arlington
      TMRE          Oberweis Dairy, Inc.                                                                                 Accept
                                                            Heights, IL
                                                            Real property lease: 860 East Boughton Rd., Bolingbrook
       TRI          Oberweis Dairy, Inc.                                                                                 Accept
                                                            IL
       TRI          Oberweis Dairy, Inc.                    Real property lease: 515 Roosevelt Road, Glen Ellyn, IL      Accept
                                                            Lease of real property: 965/975 Glenview Rd., Glenview,
      TMRE          Oberweis Dairy, Inc.                                                                                 Accept
                                                            IL
                                                            Lease of real property: 6465-69 North Lincoln Avenue,
      TMRE          Oberweis Dairy, Inc.                                                                                 Accept
                                                            Lincolnwood, IL
                                                            Lease of real property: 951 Ice Cream Drive, North
       NAIC         Oberweis Dairy, Inc.                                                                                 Accept
                                                            Aurora, IL
       NAIC         Oberweis Dairy, Inc.                    Lease of real property:4811 W. Dempster St., Skokie, IL      Accept
                                                            Lease of real property: 925 Burlington Ave, Western
       NAIC         Oberweis Dairy, Inc.                                                                                 Accept
                                                            Springs, IL (retail space)
 ODI/Brands/TOGI    ODI/Brands/TOGI                         License of IP                                                Accept
       ODI          O'Fallon Ice Cream, LLC                 Real property lease: 1816 Highway K, O'Fallon, MO                     Reject
       ODI          ONE DIGITAL HEALTH BENEFITS             THIRD PARTY PROVIDER (BENEFITS, PAYROLL)                     Accept
       ODI          ORACLE AMERICA INC                      SOFTWARE LICENSING                                                    Reject
       ODI          Orland Park Ice Cream, LLC              Real property lease: 7202 W. 159th St., Orland Park, IL      Accept
                                                            Real property lease: 101 South Northwest Highway, Park
       ODI          Park Ridge Plaza LLC                                                                                 Accept
                                                            Ridge, IL
       ODI          PAYTRONIX SYSTEMS, INC.                 BANKING SERVICE AGREEMENT                                    Accept
       ODI          PENSKE LOGISTICS LLC                    LEASE: EQUIPMENT                                                      Reject
                                                            Real property lease: 12807 Premier Center Court,
       ODI          Plymouth Industrial Center, Inc.                                                                     Accept
                                                            Plymouth, MI

63817155
           Case 24-05385           Doc 229           Filed 06/07/24 Entered 06/07/24 11:41:19                      Desc Main
                                                    Document      Page 230 of 231

  Debtor Party to
                                     Name                                             Description                         Assume   Reject
    Contract

       ODI          PMA COMPANIES,INC                        THIRD PARTY PROVIDER (BENEFITS, PAYROLL)                     Accept
       ODI          Pointe Dairy Services, Inc.              Distribution Agreement                                       Accept
       ODI          PURE POWER GENERATORS                    VENDOR AGREEMENT                                             Accept
       ODI          QCS PURCHASING COOPERATIVE               VENDOR AGREEMENT                                                      Reject
       ODI          QUADIENT LEASING                         LEASE: EQUIPMENT                                             Accept
       ODI          RING CENTRAL INC                         LEASE: EQUIPMENT                                             Accept
       ODI          Riveroaks Properties, LLC                Real property lease: 11310-12 W Lincoln Hwy, Mokena, IL      Accept
                                                             Real property lease: 1735 Algonquin Road, Rolling
       ODI          Rolling Meadows Ice Cream LLC                                                                         Accept
                                                             Meadows, IL
                                                             THIRD PARTY PROFESSIONAL (E.G., LAWYERS,
       ODI          RSM MCGLADREY                                                                                                  Reject
                                                             CONSULTANTS, AUDITORS, ETC.)
       ODI          SAJE NETWORK SYSTEMS                     SOFTWARE LICENSING                                           Accept
       ODI          SALESFORCE.COM INC.                      SOFTWARE LICENSING                                                    Reject
       ODI          Schererville Main Street, LLC            Real property lease: 725 Main St., Schererville, IN          Accept
       ODI          SECURITY METRICS                         VENDOR AGREEMENT                                             Accept
                                                             Lease of real property: 925 Burlington Ave, Western
       NAIC         Shannon M. Leslie                                                                                     Accept
                                                             Springs, IL (residential space)
                                                             Real property lease: 9803/9805 S. 13th Street, Oak
       ODI          St. John Properties, LLC                                                                              Accept
                                                             Creek, WI
       ODI          TechWizard                               SOFTWARE LICENSING                                           Accept
       ODI          TekLynx                                  SOFTWARE LICENSING                                           Accept
                                                             Real property lease: 9 E. Dundee Rd., Arlington Heights,
       ODI          Third Millennium Real Estate L.L.C.                                                                   Accept
                                                             IL
       ODI          Third Millennium Real Estate L.L.C.      Real property lease: 967 Waukegan Rd., Glenview, IL          Accept
       ODI          Third Millennium Real Estate L.L.C.      Real property lease: 6469 N. Lincoln Ave., Lincolnwood, IL   Accept
       ODI          TOAST INC.                               SOFTWARE LICENSING                                           Accept
       ODI          TOGI RE I, LLC                           Real property lease: 860 E. Boughton Rd., Bolingbrook, IL    Accept
       ODI          TOGI RE I, LLC                           Real property lease: 515 Roosevelt Road, Glen Ellyn, IL      Accept
       ODI          Touchtunes                               VENDOR AGREEMENT                                             Accept
       ODI          TRAVELERS                                THIRD PARTY PROVIDER (BENEFITS, PAYROLL)                     Accept
       ODI          UNITED HEALTHCARE                        THIRD PARTY PROVIDER (BENEFITS, PAYROLL)                     Accept
                                                             Real property lease: 572 Grand Avenue, Suite 1, Gurnee,
       ODI          VEK Investments, LLC                                                                                  Accept
                                                             IL
                                                             Real property lease: 811 Butterfield Road, Suite 119,
       ODI          Wheaton Retail Wheaton, II LLC                                                                        Accept
                                                             Wheaton, IL
                                                             Real property lease: 32808 Woodward Avenue, Royal
       ODI          Woodward Samoset Associates LLC                                                                       Accept
                                                             Oak, MI
       ODI          WOOLPERT                                 SOFTWARE LICENSING                                           Accept
       ODI          Wsc Windstream                           VENDOR AGREEMENT                                             Accept
       ODI          Yext                                     SOFTWARE LICENSING                                           Accept
       ODI          ZENCOS CONSULTING, LLC.                  SOFTWARE LICENSING                                           Accept
       ODI          ZOOM VIDEO COMMUNICATIONS INC            SOFTWARE LICENSING                                           Accept




63817155
 Case 24-05385       Doc 229    Filed 06/07/24 Entered 06/07/24 11:41:19   Desc Main
                               Document      Page 231 of 231



                                         EXHIBIT I

                                EMPLOYEE AGREEMENTS


           1.   Retention Bonus with Adam Kraber, President - $50,000

           2.   Professional Services Agreement with Mark A. Kloster




63817155
